Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:1 of 278


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

  In re:                                             )      Chapter 11
                                                     )
  SEA ISLAND COMPANY, et al.,                        )      Case No. 10-21034
                                                     )      Jointly Administered
                                                     )
                Debtors.                             )      Judge John S. Dalis
                                                     )


                NOTICE OF FILING OF ASSET PURCHASE AGREEMENT

                Sea Island Company; Sea Island Coastal Properties LLC; Sea Island Services,

  Inc.; Sea Island Resort Residences, LLC; Sea Island Apparel, LLC; First Sea Island, LLC; and

  SICAL, LLC (collectively, the “Debtors”) hereby file the executed Asset Purchase Agreement

  by and among Sea Island Acquisition LP, Sea Island Company, Sea Island Coastal Properties

  LLC, Sea Island Resort Residences, LLC, First Sea Island, LLC, Sea Island Apparel, LLC and

  Sea Island Services, Inc. dated as of October 19, 2010 (the “Final APA”). For the convenience

  of the Court and parties in interest, the Final APA is attached hereto as Exhibit A and a

  blackline comparing the Final APA against the Stalking Horse APA is attached hereto as

  Exhibit B.
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00      Page:2 of 278


  Dated: October 19, 2010            Respectfully submitted,
         Brunswick, Georgia
                                     GILBERT, HARRELL, SUMERFORD &
                                     MARTIN, P.C.

                                     /s/ Robert M. Cunningham
                                     M. F. Martin, III
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                                             and

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                                     COUNSEL FOR THE
                                     DEBTORS-IN-POSSESSION




                                       -2-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:3 of 278


                                   EXHIBIT A




                                       -3-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:4 of 278


                                                             EXECUTION COPY



  ______________________________________________________________________________


                         ASSET PURCHASE AGREEMENT

                               BY AND BETWEEN

                          SEA ISLAND ACQUISITION LP,

                             SEA ISLAND COMPANY,

                    SEA ISLAND COASTAL PROPERTIES LLC,

                     SEA ISLAND RESORT RESIDENCES, LLC,

                             FIRST SEA ISLAND, LLC,

                           SEA ISLAND APPAREL, LLC

                                       and

                           SEA ISLAND SERVICES, INC.



                                 October 19, 2010




  ______________________________________________________________________________




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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:5 of 278



                               ASSET PURCHASE AGREEMENT


          THIS ASSET PURCHASE AGREEMENT dated as of October 19, 2010 (this
  “Agreement”) is entered into by and among Sea Island Acquisition LP, a Delaware limited
  partnership (“Purchaser”), on the one hand, and Sea Island Company, a Georgia corporation
  (“SIC”), Sea Island Coastal Properties LLC, a Georgia limited liability company, Sea Island
  Resort Residences, LLC, a Georgia limited liability company, First Sea Island, LLC, a Georgia
  limited liability company, Sea Island Apparel, LLC, a Georgia limited liability company, and
  Sea Island Services, Inc., a Georgia corporation (each a “Seller” and, collectively, “Sellers”), on
  the other hand. Purchaser and Sellers are sometimes individually referred to in this Agreement
  as a “Party” and collectively as the “Parties.”

                                            RECITALS:

          WHEREAS, Sellers own and operate a collection of exclusive hotel resorts, golf courses,
  spas and recreational complexes, together with certain related developed and undeveloped real
  estate held by Sellers in connection with their real estate development and management business,
  all of which are located in or around St. Simons Island and Sea Island, Georgia (the “Business”);

          WHEREAS, in connection with the conduct of the Business, Sellers own and operate
  certain properties and amenities, including the Cloister, the Sea Island Beach Club, the Cloister
  Spa and Fitness Center, the Lodge, the Seaside Golf Course, the Plantation Golf Course, the
  Retreat Golf Course and the Ocean Forest Golf Course;

         WHEREAS, Sellers desire to sell, transfer, convey, assign and deliver the Purchased
  Assets (as defined below) and to assign the Assumed Liabilities (as defined below), and
  Purchaser desires to purchase, take delivery of, and acquire such Purchased Assets and to assume
  such Assumed Liabilities, upon the terms and subject to the conditions set forth herein;

         WHEREAS, each of the Sellers has filed voluntary chapter 11 petitions with the United
  States Bankruptcy Court for the Southern District of Georgia, Brunswick Division (the
  “Bankruptcy Court”), and are debtors in case nos. 10-21034 to 10-21040 pending before the
  Bankruptcy Court (collectively, the “Bankruptcy Cases”); and

         WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) are
  subject to the approval of the Bankruptcy Court and will be consummated pursuant to and in
  accordance with the Plan of Reorganization (as defined below) and the Confirmation Order (as
  defined below), pursuant to Sections 105(a), 1123 and 1129 of the Bankruptcy Code (as defined
  below).

         NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
  covenants, representations, warranties, and promises set forth herein, and in order to prescribe
  the terms and conditions of such purchase and sale, intending to be legally bound, the Parties
  agree as follows:

         1. Definitions.
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:6 of 278



               1.1.   Definitions. The following terms, as used herein, have the following
  meanings:

                      (a)  “2010 Property Taxes” means Property Taxes with respect to the
        Acquired Owned Real Property for the Tax period January 1, 2010 through December 31,
        2010 payable November 15, 2010.

                        (b)     “Accounts Receivable” means all accounts and notes receivable,
        letters of credit and other rights to receive payments (whether current or non-current) of
        Sellers in respect of goods shipped, products sold or services rendered, or other
        indebtedness incurred to Sellers, prior to the Closing Date.

                       (c)    “Accrued Payroll” means Sellers’ accrued and unpaid payroll and
        commissions as of the Closing Date, excluding any amounts payable under any retention
        or incentive programs.

                        (d)     “Accrued Payroll Taxes” means Sellers’ incurred and, in the
        ordinary course of business consistent with past practice, not yet remitted payroll Taxes
        for the current period as of the Closing Date.

                       (e)     “Accrued Sales and Use Taxes” means Sellers’ collected and, in
        the ordinary course of business consistent with past practice, not yet remitted sales and
        use Taxes for the current period as of the Closing Date.

                      (f)     “Acquired Owned Real Property” means collectively (a) all of the
        Owned Real Property, including, but not limited to, the Owned Real Property set forth on
        Schedule 2.1(a), but excluding the Excluded Owned Real Property, and (b) the Specified
        Condo Units.

                       (g)     “Affiliate” means, with respect to any Person, any other Person
        directly or indirectly controlling, controlled by, or under common control with, such
        other Person.

                       (h)     “Assumed Insurance Policies” means all insurance policies set
        forth on Schedule 2.1(b), as such Schedule may be amended in accordance with Section
        15.10, provided that (i) such insurance policy is assignable to Purchaser at Closing under
        applicable law, and (ii) no D&O insurance policy shall be an Assumed Insurance Policy,
        and all claims arising under such policies prior to the Closing, and all credits, premium
        refunds, proceeds, causes of action or rights thereunder.

                       (i)    “Balance Sheet” means the unaudited pro forma adjusted balance
        sheet of the Business as of the Balance Sheet Date (a copy of which is attached hereto as
        Exhibit A).

                      (j)     “Balance Sheet Date” means June 30, 2010.

                      (k)     “Bankruptcy Code” means Title 11 of the United States Code (11

                                               -2-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:7 of 278



        U.S.C. § 101 et seq.), as amended.

                    (l)   “Base Working Capital” means $0, representing total Specified
        W/C Assets minus Specified W/C Liabilities as shown on the Base Working Capital
        Statement.

                       (m)    “Base Working Capital Statement” means the statement of
        Specified W/C Assets and Specified W/C Liabilities as of the Balance Sheet Date
        attached hereto as Exhibit B.

                      (n) “Business Day” means a day other than Saturday, Sunday or other
        day on which commercial banks in Brunswick, Georgia are authorized or required by
        Law to close.

                        (o)      “Cash Around the Resort” means as of any date, Sellers’ cash held
        at Sellers’ facilities as of such date for day-to-day operations in an amount not to exceed
        $100,000.

                     (p)    “CERCLA” means the Comprehensive Environmental Response,
        Compensation and Liability Act of 1980, as amended (42 U.S.C. §9601 et seq.) and any
        Laws promulgated thereunder.

                     (q)      “Claim” means a “claim” as defined in Section 101 of the
        Bankruptcy Code.

                       (r)    “Closing Date” means the date of the Closing.

                        (s)     “Club Member Agreements” shall mean all agreements entered
        into by one or more of Sellers with Club Members and relating to Sellers’ golfing, club,
        dining, social or other membership programs, including, without limitation, the Specified
        Member Agreements.

                      (t)   “Club Members” shall mean all Persons who are members under
        the Sea Island Club Membership Program or the Ocean Forest Golf Club Membership
        Program.

                       (u)    “Code” means the Internal Revenue Code of 1986, as amended.

                     (v)     “Confidentiality Agreement” means the Confidentiality Agreement
        dated May 26, 2010, between SIC and Oaktree Real Estate Opportunities Fund IV, L.P.,
        OCM Opportunities Fund VIIb, L.P. and Oaktree Opportunities Fund VIII, L.P.

                       (w)     “Cure Costs” means all amounts that must be paid and all
        obligations that otherwise must be satisfied, including pursuant to Sections 365(b)(1)(A)
        and (B) of the Bankruptcy Code, in connection with the assumption and/or assignment of
        the Assumed Contracts to Purchaser as provided herein.


                                                -3-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:8 of 278



                      (x)     “Customer Deposits and Prepayments” means any and all deposits,
        advances, prepayments, booking fees, or other amounts paid to Sellers by any of their
        customers prior to Closing on account of Customer Reservations.

                       (y)    “Customer Reservations” shall mean any reservations, tee times, or
        bookings made by any customer of Sellers prior to Closing on account of services or
        accommodations to be provided to such customer by Sellers, including hotel or lodging
        accommodations at the Cloister or the Lodge, dining or catering reservations or
        arrangements at any of the restaurants or other facilities included within the Business, spa
        treatments at the Cloister Spa and Fitness Center, tees times for rounds of golf at the
        Seaside Golf Course, the Plantation Golf Course, the Retreat Golf Course or the Ocean
        Forest Golf Course and/or rentals pursuant to the Sea Island Cottage Rental program.

                       (z)   “Declaration” shall mean a Declaration of Covenants, Conditions,
        Restrictions and Easements or similar document governing a planned community or
        condominium regime that is part of the Acquired Owned Real Property.

                     (aa) “Deferred Compensation Plan” means the Sea Island Company
        Executive Deferred Compensation Plan as amended and restated effective as of January
        1, 2008.

                       (bb) “Effective Date” means the date on which all conditions to
        effectiveness of the Plan of Reorganization have been satisfied or waived and the
        transactions contemplated by the Plan of Reorganization are consummated.

                       (cc) “Employee Benefit Plan” means any “employee benefit plan” (as
        defined in ERISA § 3(3)) and any other benefit or compensation plan, program,
        agreement or arrangement maintained, sponsored, or contributed or required to be
        contributed to by any Seller or any ERISA Affiliate or with respect to which any Seller or
        any ERISA Affiliate has any liability, including, but not limited to, the Sea Island
        Retirement Plan and Trust Agreement.

                        (dd) “Environmental Laws” means all federal, state, and local statutes,
        Laws, ordinances, directives and other provisions having the force or effect of Law, all
        judicial and administrative Orders and determinations, all common Law, in each case
        concerning public health and safety, pollution or protection of the environment, including
        all those relating to the presence, use, production, generation, handling, transportation,
        treatment, storage, disposal, processing, discharge, Release, threatened Release, control,
        or cleanup of any Hazardous Substances or wastes (including CERCLA and analogous
        state Laws).

                     (ee) “ERISA” means the Employee Retirement Income Security Act of
        1974, as amended, and all Laws issued thereunder.

                       (ff)    “ERISA Affiliate” means any Person that, at any relevant time, is
        or was treated as a single employer with any Seller for purposes of Code § 414.

                                                -4-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:9 of 278



                       (gg)    “Escrow Agent” means SunTrust Bank.

                       (hh) “Escrow Agreement” means an Escrow Agreement among the
        Escrow Agent, Sellers and Purchaser executed and delivered hereunder in form
        reasonably satisfactory to each of the foregoing Persons.

                      (ii)   “Escrow Fund ” means the Working Capital Adjustment Holdback
        Amount, plus any earnings accrued thereon under the terms of the Escrow Agreement.

                        (jj)    “Final Order” means an order of the Bankruptcy Court as to which
        the time to appeal, petition for certiorari or move for reargument or rehearing has expired
        and as to which no appeal, petition for certiorari or other proceedings for reargument or
        rehearing shall then be pending or as to which any right to appeal, petition for certiorari,
        reargue or rehear shall have been waived in writing in form and substance satisfactory to
        the parties hereto or, in the event that an appeal, writ of certiorari or reargument or
        rehearing thereof has been sought, such order of the Bankruptcy Court shall have been
        determined by the highest court to which such order was appealed, or certiorari,
        reargument or rehearing shall have been denied and the time to take any further appeal,
        petition for certiorari or move for reargument or rehearing shall have expired; provided,
        however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules
        of Civil Procedure, or any analogous rule under the Federal Rules of Bankruptcy
        Procedure, may be filed with respect to such order shall not preclude such order from
        being a Bankruptcy Final Order.

                       (kk)    “GAAP” means, at a given time, United States generally accepted
        accounting principles.

                         (ll)    “Gift Certificate Obligations” means Sellers’ obligations in respect
        of all gift certificates and gift cards issued by Sellers and unredeemed as of the Closing
        Date.

                       (mm) “Governmental Authority” means any federal, state, local,
        municipal, foreign, supranational or other governmental or quasi-governmental authority
        of any nature (including any governmental agency, branch, bureau, commission,
        department, official or entity and any court or other tribunal), or any administrative,
        executive, judicial, legislative, police, regulatory or Taxing Authority, or arbitral body.

                       (nn) “Hazardous Substances” means any pollutants, contaminants or
        chemicals, and any industrial, toxic or otherwise hazardous materials, substances or
        wastes and any other substance with respect to which liability or standards of conduct
        may be imposed under any Environmental Laws, including petroleum and petroleum
        related substances, products, by products and wastes, asbestos, urea, formaldehyde and
        lead based paint.

                       (oo) “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements
        Act of 1976, as amended, and the rules and Laws thereunder

                                                 -5-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:10 of
                                     278


                       (pp) “Improvements” means all buildings, improvements, structures,
      streets, roads, bridges and fixtures located, placed, constructed, or installed on or under
      the Owned Real Property, including the Cloister, the Sea Island Beach Club, the Cloister
      Spa and Fitness Center, the Lodge, the Seaside Golf Course, the Plantation Golf Course,
      the Retreat Golf Course, the Ocean Forest Golf Course, driving ranges, chipping greens,
      practice bunkers, putting greens, clubhouses, maintenance buildings, cart barns, entrance
      signage, pavilions, guard houses, fences, walls and gates, food and beverage facilities,
      cart and pedestrian paths, sidewalks, parking lots, access roads, tees, greens, holding
      ponds, water wells, effluent systems, irrigation lines, drainage facilities and pump
      stations, and all fixtures, machinery, apparatus or equipment affixed thereto, including all
      utilities, utility distribution lines, sewer, sewer lines, fire protection, security,
      surveillance, telecommunications, computer, wiring, cable, heat, exhaust, ventilation, air
      conditioning, electrical, mechanical, plumbing and refrigeration systems, facilities, lines,
      installations and conduits.

                    (qq) “Independent Accounting Firm” means any of the nationally
      recognized “big four” accounting firms, as mutually agreed.

                      (rr)   “Intellectual Property Rights” means all of Sellers’ intellectual
      property rights, including, but not limited to: (i) patents, patent applications and patent
      rights; (ii) trademarks (registered and at common law), trademark registrations and
      applications, trade names, logos, trade dress, brand names, service marks (registered and
      at common law), service mark registrations and applications, domain names and other
      indicia of source and all goodwill associated therewith; (iii) works of authorship,
      copyrights, copyright registrations and applications for registration, and moral rights; (iv)
      know-how, trade secrets, customer lists, proprietary information, proprietary processes
      and formulae, databases and data collections; (v) all source and object code, software,
      algorithms, architecture, structure, display screens, layouts, inventions and development
      tools; and (vi) all documentation and media constituting, describing or relating to the
      above, including, manuals, memoranda and records.

                      (ss)  “Inventory” means all inventory of Sellers of any kind or nature,
      whether or not prepaid, and wherever located, held or owned, including all raw materials,
      work in process, semi-finished and finished products, replacement and spare parts,
      packaging materials, operating supplies, in-transit or consigned inventory, and fuels and
      other similar items.

                      (tt)   “Knowledge of Seller” or any other similar knowledge
      qualification in this Agreement means all facts actually known by any of the following
      individuals: Alfred W. Jones, III, David Bansmer and James B. Gilbert.

                     (uu) “Law” means any law, statute, regulation, code, decree,
      constitution, ordinance, treaty, rule of common law, or Order of, administered or
      enforced by or on behalf of, any Governmental Authority.

                     (vv)    “Lien” means, with respect to any property or asset, any mortgage,

                                               -6-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:11 of
                                     278


      lien (statutory or otherwise), pledge, charge, security interest, Claim, encumbrance,
      restriction, charge, instrument, preference, priority, option, right of first refusal, Tax, or
      Order of any Governmental Authority, of any kind or nature, whether secured or
      unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or
      unnoticed, recorded or unrecorded, contingent or non-contingent, material or non-
      material, known or unknown. For the avoidance of doubt, the definition of Lien shall not
      be deemed to include the grant of any license or sublicense by any Seller of Intellectual
      Property Rights.

                     (ww) “Material Adverse Effect” means a material adverse effect on the
      Business and the Purchased Assets, taken as a whole, excluding any such effect to the
      extent resulting from or arising in connection with (i) the Transactions or the public
      announcement thereof, (ii) changes or conditions affecting the hotel, golf, recreation
      and/or real estate development industries generally, (iii) changes in national or
      international business, economic, political or social conditions, including the engagement
      by the United States of America in hostilities, whether or not pursuant to the declaration
      of a national emergency or war, or the occurrence of any military or terrorist attack upon
      the United States of America or any of its territories, possessions or diplomatic or
      consular offices or upon any military installation, equipment or personnel of the United
      States of America; (iv) changes in financial, banking or securities markets (including any
      disruption thereof or any decline in the price of securities generally or any market or
      index), (v) changes in Law or in GAAP, or (vi) changes resulting from the
      commencement or continuation of the Bankruptcy Cases.

                    (xx) “Ocean Forest Golf Club Membership Program” means the Ocean
      Forest Golf Club Rules and Regulations dated 2004.

                     (yy)    “OCGA” means the Official Code of Georgia Annotated.

                   (zz) “Order” means any award, decision, decree, order, injunction,
      ruling, judgment, or consent of or entered, issued, made or rendered by any
      Governmental Authority.

                    (aaa) “Owned Real Property” means all land, together with all
      Improvements located thereon and all easements, rights of way, servitudes, tenements,
      hereditaments, appurtenances, privileges and other rights and interests appurtenant
      thereto owned by any Seller.

                    (bbb) “Permits” means licenses, permits, approvals, certificates of
      occupancy, authorizations, operating permits, registrations, plans and the like.

                      (ccc) “Permitted Liens” means (i) Liens granted by Purchaser at or after
      the Closing in connection with any financing of Purchaser related to the purchase of the
      Purchased Assets pursuant to this Agreement, (ii) non-monetary Liens that (A) do not
      interfere with the ability of Purchaser to own and operate any underlying Purchased Asset
      in substantially the manner as conducted immediately prior to the execution of this

                                               -7-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:12 of
                                     278


      Agreement and (B) do not detract in any material respect from the value of any of the
      material Purchased Assets, (iii) Liens that arise under zoning, building codes, land use
      and other similar Laws, none of which would interfere with the ownership or operation
      by Purchaser of any underlying Purchased Asset following the Closing in substantially
      the manner as owned and operated immediately prior to the execution of this Agreement,
      (iv) Liens for Taxes not yet due and payable, (v) with respect to leased or licensed
      personal property, the terms and conditions of the lease or license applicable thereto to
      the extent constituting an Assumed Contact, (vi) with respect to Acquired Owned Real
      Property that is leased or subleased to any third party, the terms and conditions of the
      lease or sublease applicable thereto, and (vii) any and all matters disclosed on Schedule
      B, Section 2 of the Title Commitment other than the items described on Schedule
      1.1(ccc) hereto.

                    (ddd) “Person” means an individual, corporation, partnership, limited
      liability company, association, joint venture, trust or other entity or organization,
      including a Governmental Authority.

                     (eee) “Post-Petition Payables Adjustment Amount” means 50% of the
      amount, if any, by which (a) Sellers’ trade accounts payable related to the Business,
      incurred in the ordinary course of business after the commencement of the Bankruptcy
      Cases and outstanding as of the close of business on the Business Day prior to the
      Closing Date, exceeds (b) $1,700,000. The Post-Petition Payables Adjustment Amount
      shall be determined on the business day prior to the Closing based on a “payables run”
      from Sellers’ accounting systems made after close of business on such day.

                     (fff) “Pre-Closing Tax Period” means (i) any Tax period ending on or
      before the Closing Date and (ii) with respect to a Tax period that commences before but
      ends after the Closing Date, the portion of such period up to and including the Closing
      Date.

                     (ggg) “Property Taxes” means all real property Taxes, personal property
      Taxes and similar ad valorem obligations levied with respect to the Purchased Assets;
      provided, however, that Property Taxes shall not include Transfer Taxes on the transfer
      of the Purchased Assets pursuant to this Agreement.

                    (hhh) “Release” has the meaning set forth in CERCLA.

                  (iii)   “Sea Island Club Membership Program” means the Sea Island
      Club Membership Program dated October 1, 2000.

                     (jjj) “Secured Lenders” means each of (i) Synovus Bank, as lender
      under the Loan Agreement, dated as of August 7, 2008 and amended as of July 20, 2009,
      (ii) Synovus, as lender and agent, Bank of America, N.A., as lender, and Bank of
      Scotland, as lender, under the Restructuring Agreement, dated as of July 20, 2009 and
      amended as of August 31, 2009, and (iii) Synovus, as lender under a construction loan
      made pursuant to the Restructuring Agreement referred to in the preceding clause (ii) .

                                             -8-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:13 of
                                     278


                     (kkk) “Specified Avoidance Claims” means all avoidance claims of
      Sellers arising under Sections 544, 545, 547, 548, 549, 550 or 551 of the Bankruptcy
      Code or any similar state Law against any of the Sellers’ vendors, Transferred Employees
      (other than persons who have served as an officer, director or executive of the Sellers) or
      Club Members, in each case, in such Person’s capacity as a vendor, employee or Club
      Member, whether arising under the Bankruptcy Code or applicable state Law, and
      whether asserted or unasserted, all of which claims shall be released by Purchaser on the
      Closing Date.

                   (lll) “Specified Club Member Agreements” means the Sea Island Club
      Membership Program, the Ocean Forest Golf Club Membership Program and all
      membership applications and membership agreements thereunder.

                    (mmm)“Specified Condo Unit Owners” means each of Beach Club Ocean
      Residences, LLC, Beach Club Garden North Residences, LLC, Beach Club Garden South
      Residences, LLC, and Ocean Club North Residences, LLC.

                    (nnn) “Specified Condo Units” means those condominium units listed on
      Schedule 1.1(mmm) owned by the Specified Condo Unit Owners, as indicated on such
      schedule.

                      (ooo) “Specified Georgia Tax Obligation” means any obligation or
      liability (v) under OCGA § 48-8-46 for any Taxes imposed pursuant to Chapter 8 of Title
      48 of the OCGA (Sales and Use Taxes), (w) under OCGA § 48-7-106 for any Taxes
      imposed pursuant to Chapter 7 of Title 48 of the OCGA (Income Taxes), (x) under
      OCGA § 48-9-7 for any Taxes imposed pursuant to Article 1 of Chapter 9 of Title 48 of
      the OCGA (Motor Fuel Tax), (y) under OCGA § 48-13-53.1 for any Taxes imposed
      pursuant to Article 3 of Chapter 13 of Title 48 of the OCHA (Excise Tax on Rooms,
      Lodgings and Accommodations) or (z) under OCGA § 34-8-175 for any Taxes imposed
      pursuant to Chapter 8 of Title 34 of the OCGA (Employment Security).

                   (ppp) “Specified W/C Assets” means, as of any date, the assets shown on
      the Base Working Capital Statement determined as of such date.

                    (qqq) “Specified W/C Liabilities” means, as of any date, the liabilities
      shown on the Base Working Capital Statement determined as of such date.

                      (rrr) “Tax” means (i) any tax, governmental fee or other like assessment
      or charge of any kind whatsoever (including withholding on amounts paid to or by any
      Person), together with any interest, penalty, addition to tax or additional amount imposed
      by any Governmental Authority (a “Taxing Authority”) responsible for the imposition of
      any such tax (domestic or foreign), or (ii) liability for the payment of any amounts of the
      type described in (i) as a result of being party to any agreement or any express or implied
      obligation to indemnify any other Person.

                     (sss) “Tax Return” means any report or return filed with respect to
      Taxes, including all information returns, estimated Tax returns, claims for Tax refund and
                                              -9-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:14 of
                                     278


       attachments to or amendments of any of the foregoing.

                      (ttt) “Title Commitment” means, collectively, that certain Commitment
       for Title Insurance dated July 12, 2010 issued by Commonwealth Land Title Insurance
       Company with respect to the Acquired Owned Real Property (as modified by that certain
       Endorsement No. 1 to Amended and Restated Commonwealth Land Title Insurance
       Company Owner’s Commitment No. 10-039, that certain Endorsement No. 2 to
       Amended and Restated Commonwealth Land Title Insurance Company Owner’s
       Commitment No. 10-039, that certain Endorsement No. 3 to Amended and Restated
       Commonwealth Land Title Insurance Company Owner’s Commitment No. 10-039, and
       that certain Endorsement No. 4 to Amended and Restated Commonwealth Land Title
       Insurance Company Owner’s Commitment No. 10-039 and as may be modified by any
       additional endorsements mutually agreed to by Purchaser and Sellers issued after the date
       hereof).

                     (uuu) “Working      Capital    Adjustment   Holdback    Amount”     means
       $2,000,000.

               1.2.    Cross References. Each of the following terms is defined in the Section
set forth opposite such term:

        Term                                              Section
        Adjusted Base Working Capital                     2.7(b)
        Agreement                                         Preamble
        Assignment and Assumption Agreement               2.10(a)
        Assumed Contracts                                 2.1(b)
        Assumed Liabilities                               2.3
        Bankruptcy Cases                                  Recitals
        Bankruptcy Court                                  Recitals
        Business                                          Recitals
        Certified WC                                      2.7(c)
        Closing                                           2.9
        Communications Plan                               7.3
        Confirmation Order                                8.1
        Contracts                                         3.14
        Deficiency                                        2.7(c)
        Electing Club Members                             11.1(b)
        End Date                                          14.1(b)
        Excluded Assets                                   2.2
        Excluded Owned Real Property                      2.2(c)
        Excluded Liabilities                              2.4
        Existing Membership Documents                     3.17
        Final Working Capital                             2.7(a)
        Final Working Capital Statement                   2.7(a)
        Financial Statements                              3.18
        GFD Escrow Agent                                  2.8(a)

                                             -10-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:15 of
                                     278


         Good Faith Deposit                                  2.8 (a)
         Goldman Sachs                                       3.19
         Holdings Parties                                    2.8(a)
         Inventoried Baggage                                 7.6
         JLV-VASI Note                                       2.10(k)
         Modifying Order                                     14.1(j)
         New Membership Programs                             11.1(a)
         Party or Parties                                    Preamble
         Plan of Reorganization                              8.1
         Plan Support Agreement                              14.1(i)
         Post-Closing Tax Period                             9.3
         Purchase Price                                      2.6(a)
         Purchased Assets                                    2.1
         Purchaser                                           Preamble
         Seller or Sellers                                   Preamble
         Sellers Apportioned Tax Amount                      9.3
         SIC                                                 Preamble
         Specified Additional Deferred Compensation          2.3(k)
         Obligations
         Specified Base Deferred Compensation                2.3(d)
         Obligations
         Specified Deferred Compensation Obligations         2.3(k)
         Specified Supplemental Deferred                     2.3(j)
         Compensation Obligations
         Taxing Authority                                    1.1(qqq)
         Transactions                                        Recitals
         Transferred Employees                               10.1
         Transfer Taxes                                      9.2
         Transferred Employees’ Employment Date              10.8
         WARN Act                                            10.5
         WARN Obligations                                    10.5

       2. Purchase and Sale.

                2.1.   Purchase and Sale. Subject to and upon the terms and conditions set forth
in this Agreement, at the Closing, Sellers shall sell, transfer, convey, assign and deliver, or cause
to be sold, transferred, conveyed, assigned and delivered, to Purchaser, and Purchaser shall
purchase, acquire and accept from Sellers, on an “as is, where is” basis and without any
representation or warranty on the part of Sellers as to fitness, merchantability or otherwise, all
right, title and interest of Sellers in and to the following assets, properties and rights (the
“Purchased Assets”), free and clear of all Liens (other than Permitted Liens and Assumed
Liabilities):

                       (a)     the Acquired Owned Real Property;


                                                -11-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:16 of
                                     278


                      (b)    all rights of Sellers under the written agreements, contracts and
      leases set forth on Schedule 2.1(b), as such Schedule may be amended in accordance with
      Section 15.10 (collectively, the “Assumed Contracts”);

                     (c)    all Accounts Receivable;

                     (d)    all Inventory;

                     (e)    all Cash Around the Resort as of the Closing Date;

                      (f)    all tangible personal property, including all machinery, equipment
      (including all transportation and office equipment), vehicles, computers, mobile phones,
      personal digital assistants, computer equipment, hardware, peripherals, information
      technology infrastructure, telephone systems, furniture, office supplies, production
      supplies, other miscellaneous supplies, and other tangible personal property of any kind
      owned by Sellers, wherever located, including all such items which are located in any
      building, warehouse, office or other space leased, owned or occupied by Sellers or any
      other space where any of Sellers’ properties and or any other assets may be situated,
      including, but not limited to, those set forth on Schedule 2.1(f);

                     (g)     to the extent transferable pursuant to Section 2.5 as of the Closing
      Date or Section 7.9 thereafter, all Permits from all permitting, licensing, accrediting and
      certifying agencies, and the rights to all data and records held by such permitting,
      licensing and certifying agencies, in each case, of Sellers, including, without limitation,
      the Permits set forth on Schedule 3.8(a);

                     (h)    all goodwill as a going concern and all other intangible property of
      Sellers;

                     (i)    all Intellectual Property Rights, including,   but not limited to, the
      items listed on Schedule 2.1(i), and any rights to sue for and       remedies against past,
      present and future infringements thereof, rights of priority and     protection of interests
      therein under the laws of any jurisdiction worldwide and all         tangible embodiments
      thereof;

                     (j)     all data and records related to the operation of the Business,
      including client and customer lists and records, referral sources, equipment logs,
      operating guides and manuals, financial and accounting records, personnel records that
      are legally transferrable to Purchaser under applicable Law, Tax records, creative
      materials, advertising materials, promotional materials, studies, reports, correspondence
      and other similar documents and records (all in the state in which such records and
      information currently exist);

                     (k)    all books, records, files and papers of Sellers relating to the
      Business or the Purchased Assets and not subject to any applicable attorney-client
      privilege (provided that Sellers shall be entitled to retain copies of such books, records,
      files and papers);
                                             -12-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:17 of
                                     278


                      (l)    all utility deposits, security deposits, deposits held by parties to the
       Assumed Contracts, deposits held by vendors or trade creditors, and other deposits of any
       kind or nature whatsoever;

                      (m)     all Specified Avoidance Claims;

                    (n)     the proceeds of any and all rights under that certain Amended and
       Restated Membership Interest Purchase Agreement dated March 26, 2009 by and among
       Luxury Apparel Group, L.L.C., Sea Island Apparel, LLC, Winona Capital Partners, LLC
       Series E-PM and Sea Island Company and the related Escrow Agreement date March 31,
       2009 by and among Winona Capital Partners, LLC Series E-PM, Sea Island Apparel,
       LLC and RBS Citizens, N.A.;

                      (o)     if Purchaser so elects by written notice to Sellers on or before
       November 1, 2010, Sellers’ equity interest in Resort Hotel Insurance Company to the
       extent that such equity interests are transferable under applicable law; and

                       (p)   all other assets, properties, rights and claims, whether tangible or
       intangible, whether personal or mixed, whether accrued, contingent or otherwise that are
       reflected on the Balance Sheet.

                2.2.   Excluded Assets. Notwithstanding any other provision of this Agreement
to the contrary, the Purchased Assets shall not include the following (the “Excluded Assets”):

                      (a)     all of Sellers’ cash and cash equivalents on hand (including all
       undeposited checks) and in banks or other financial institutions other than Cash Around
       the Resort as of the Closing Date;

                      (b)     all avoidance claims or other causes of action of Sellers, whether
       arising under the Bankruptcy Code, applicable state Law or otherwise, and the proceeds
       thereof, including rights, actions and Claims arising under Chapter 5 of the Bankruptcy
       Code, of whatever kind or nature, and whether asserted or unasserted other than the
       Specified Avoidance Claims;

                     (c)   the portion of the Owned Real Property set forth on Schedule
       2.2(c), as such Schedule may be amended in accordance with Section 15.10 (the
       “Excluded Owned Real Property”);

                      (d)    Sellers’ corporate seals, stock record books, minute books and
       organizational documents and other records which are not necessary or useful for the
       operation of the Business;

                     (e)    any written or oral agreements, contracts or leases not identified in
       this Agreement as an Assumed Contract;

                    (f)     all insurance policies relating to the Business and all claims arising
       under such policies prior to the Closing, and all credits, premium refunds, proceeds,

                                               -13-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:18 of
                                     278


       causes of action or rights thereunder, but excluding the Assumed Insurance Policies;

                      (g)     all rights of Sellers arising under this Agreement or in connection
       with the Transactions;

                       (h)    any Inventory sold or otherwise disposed of pursuant to Section
       5.2 prior to the Closing Date;

                      (i)    any Tax refund or reimbursement due to Sellers or their Affiliates
       for a Pre-Closing Tax Period;

                      (j)     all amounts owed to any Seller by any one or more of the other
       Sellers;

                       (k)    any shares of stock, membership interests or other equity interests
       in any of Sellers;

                       (l)     If not included in Purchased Assets in accordance with Section
       2.1(0), Sellers’ equity interest in Resort Hotel Insurance Company; and

                      (m)     all other assets listed on Schedule 2.2(m).

               2.3.  Assumed Liabilities. Upon the terms and subject to the conditions of this
Agreement, and excluding the Excluded Liabilities, Purchaser shall, effective at the time of the
Closing, assume, and thereafter pay, perform and discharge, promptly when payment or
performance is due or required, the following liabilities and obligations of Sellers that have not
been paid, performed or discharged as of the Closing Date (the “Assumed Liabilities”):

                     (a)     all trade accounts payable related to the Business, incurred in the
       ordinary course of business and outstanding as of the Closing Date;

                       (b)    all obligations and liabilities of Sellers related to or arising under
       the Assumed Contracts, Permits and Intellectual Property Rights from and after the
       Closing (to the extent such Assumed Contracts, Permits and Intellectual Property Rights
       are validly assigned or transferred to Purchaser);

                    (c)    the Cure Costs set forth on Schedule 2.3(c), as such Schedule may
       be amended in accordance with Section 15.10, or reflected on the Final Working Capital
       Statement;

                     (d)    obligations under the Deferred Compensation Plan to the
       employees and former employees and in the amounts specified on Schedule 2.3(d) (the
       “Specified Base Deferred Compensation Obligations”);

                      (e)     all Accrued Payroll and Accrued Payroll Taxes;

                      (f)     all Accrued Sales and Use Taxes;

                                               -14-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:19 of
                                     278


                       (g)     to the extent expressly set forth in Section 9.2, all Transfer Taxes;

                      (h)    as contemplated by and in accordance with Section 7.9, all of
       Sellers’ obligations to honor Customer Reservations associated with the Customer
       Deposits and Prepayments;

                       (i)     all Gift Certificate Obligations;

                       (j)    supplemental obligations under the Deferred Compensation Plan
       owed to the employees and former employees and in the amounts specified on Schedule
       2.3(j) (the “Specified Supplemental Deferred Compensation Obligations”); and

                       (k)     obligations under the Deferred Compensation Plan to the persons
       set forth on Schedule 2.3(k) in an amount not to exceed $440,520 in the aggregate (the
       “Specified Additional Deferred Compensation Obligations”) (the Specified Base
       Deferred Compensation Obligations, the Specified Supplemental Deferred Compensation
       Obligations and the Specified Additional Deferred Compensation Obligations are
       collectively referred to as “Specified Deferred Compensation Obligations”).

                 2.4.     Excluded Liabilities. Notwithstanding any other provision of this
Agreement to the contrary and regardless of any disclosure to the Purchaser, Purchaser is
assuming only the Assumed Liabilities and is not assuming any other liability or obligation of
Sellers of whatever nature, whether presently in existence or arising hereafter, whether known or
unknown, and whether relating to or arising out of the operation of the Business or the Purchased
Assets. All such other liabilities and obligations shall be retained by and remain obligations and
liabilities of Sellers, (all such liabilities and obligations not being assumed being herein referred
to as the “Excluded Liabilities”), including but not limited to:

                        (a)     except for Accrued Payroll Taxes, Accrued Sales and Use Taxes
       and, to the extent expressly set forth in Section 9.2, Transfer Taxes, any and all Claims,
       liabilities or obligations relating to Taxes arising out of, relating to or in respect of the
       Business or the Purchased Assets for any Pre-Closing Tax Period and any and all Claims,
       liabilities or obligations relating to Taxes of any Seller or any Affiliate of any Seller;

                       (b)     any and all liabilities, obligations and commitments of the Sellers
       relating to or arising out of the Excluded Assets;

                     (c)     any and all liabilities, obligations and commitments of the Sellers
       with respect to environmental conditions, the presence or Release of Hazardous
       Substances and violations of Environmental Laws existing or occurring on or prior to the
       Closing;

                        (d)     except as expressly set forth in this Agreement, any and all
       liabilities, obligations and commitments of the Sellers with respect to current or former
       employees and their dependents and beneficiaries including, but not limited to, arising
       under any collective bargaining agreement, Employee Benefit Plan, stock appreciation
       rights plan, unit appreciation rights plan, executive restoration agreement, COBRA
                                                -15-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:20 of
                                     278


       liabilities, WARN Act liabilities, accrued severance, vacation, salary, wages, bonuses,
       applicable payroll or employment-related Taxes, employee benefits and other amounts of
       any kind or nature whatsoever due to or related to employees of the Sellers;

                       (e)     any and all liabilities, obligations and commitments of the Sellers
       or their Affiliates relating to or arising out of (i) any third-party debt (other than as
       expressly set forth in this Agreement) incurred or owed by the Sellers or any Affiliates of
       the Sellers or (ii) any intercompany debt incurred by the Sellers or any Affiliates of the
       Sellers;

                     (f)      any and all claims, liabilities, obligations or commitments related
       to any pending litigation involving the Sellers;

                        (g)     any and all obligations and liabilities (A) arising or in connection
       with any Club Member Agreements, including, but not limited to, obligations and
       liabilities arising or in connection with the Specified Club Member Agreements, or (B)
       owed to, or for the benefit of, members of the club located on St. Simons Island related to
       the Frederica Golf Club, including, but not limited to, any and all obligations and
       liabilities arising under or related to any membership agreements related to such
       members; provided, however that Purchaser has agreed to provide to certain Club
       Members the benefits set forth on Schedule 11.1(b) hereto; and

                     (h)    any and all liabilities and obligations under that certain Amended
       and Restated Membership Interest Purchase Agreement dated March 26, 2009 by and
       among Luxury Apparel Group, L.L.C., Sea Island Apparel, LLC, Winona Capital
       Partners, LLC Series E-PM and Sea Island Company and the related Escrow Agreement
       date March 31, 2009 by and among Winona Capital Partners, LLC Series E-PM, Sea
       Island Apparel, LLC and RBS Citizens, N.A.

               2.5.    Assumption/Assignment of Assumed Contracts. To the maximum extent
permitted by the Bankruptcy Code, the Assumed Contracts shall be assumed by Sellers and
assigned to Purchaser at the Closing pursuant to Section 365 of the Bankruptcy Code and the
Confirmation Order. Purchaser shall pay all Cure Costs due in connection with the assumption
and assignment of the Assumed Contracts, provided, that, to the extent the aggregate Cure Costs
paid by Purchaser exceed the aggregate Cure Costs set forth on Schedule 2.3(c), as such
Schedule may be amended in accordance with Section 15.10, such excess Cure Costs shall be
reflected on the Final Working Capital Statement. Notwithstanding any other provision of this
Agreement to the contrary, except as provided in Section 7.9, this Agreement shall not constitute
an agreement to assign any Purchased Asset or any right thereunder if an attempted assignment,
without the consent of a third party (unless such consent is not required pursuant to Section 365
of the Bankruptcy Code), would constitute a breach or in any way adversely affect the rights of
Purchaser or Sellers thereunder. If such consent is not obtained or such assignment is not
attainable pursuant to Sections 105, 365 and/or 1123 of the Bankruptcy Code, then such
Purchased Assets shall not be transferred hereunder and, subject to Section 12, the Closing shall
proceed with respect to the remaining Purchased Assets without any reduction in the Purchase
Price.

                                               -16-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:21 of
                                     278


             2.6.    Purchase Price; Allocation of Purchase Price.

                      (a)     In addition to the assumption of the Assumed Liabilities, in
      consideration for the sale, transfer and delivery of the Purchased Assets, at the Closing,
      Purchaser shall (i) deliver to Sellers by wire transfer of immediately available federal
      funds to a bank account (or accounts) designated by Sellers to Purchaser in writing not
      later than one (1) day prior to the Closing Date an amount equal to (x) Two Hundred Ten
      Million Seven Hundred Twenty-Three Thousand Seven Hundred Twenty Dollars
      ($210,723,720.00) (the “Purchase Price”) minus (y) the sum of (A) the Working Capital
      Adjustment Holdback Amount, (B) the Sellers Apportioned Tax Amount, (C) the Post-
      Petition Payables Adjustment Amount, and (D) the amount of the Good Faith Deposit
      retained by Sellers as a credit against the Purchase Price in accordance with Section
      2.8(b) and (ii) deposit the Working Capital Adjustment Holdback Amount with the
      Escrow Agent into the Escrow Fund created under the Escrow Agreement. In full
      satisfaction of Sellers obligations under Section 9.3, Purchaser shall pay on behalf of
      Sellers that portion of the Purchase Price equal to the Sellers Apportioned Tax Amount to
      the Taxing Authorities entitled thereto. The Purchase Price shall be subject to adjustment
      following the Closing as provided in Section 2.7.

                        (b)     Purchaser and Sellers agree that the Purchase Price (as adjusted),
      applicable Assumed Liabilities and other relevant items shall be allocated in accordance
      with Section 1060 of the Code and the regulations thereunder and Schedule 2.6 hereof
      (such schedule to be determined jointly by Purchaser and SIC prior to Closing).
      Purchaser and Sellers each agree to provide the other promptly with any other
      information required to complete Schedule 2.6. Such allocation shall be binding on
      Purchaser and Sellers for all purposes, including the reporting of gain or loss and
      determination of basis for income tax purposes, and each of the Parties hereto agrees (i)
      that it will file a statement (on IRS Form 8594 or other applicable form) setting forth such
      allocation with its federal and applicable state and local income tax returns and will also
      file such further information or take such further actions as may be necessary to comply
      with the regulations that have been promulgated pursuant to Section 1060 of the Code
      and similar applicable state and local Laws and regulations and (ii) that it will report
      (including filing its Tax Returns) in a manner consistent with such allocation to the extent
      permitted by applicable Law.

             2.7.    Adjustment of Purchase Price.

                     (a)      Within thirty (30) days after the Closing Date, Purchaser shall
      cause to be prepared, at Purchaser’s expense, a final statement of Specified W/C Assets
      and Specified W/C Liabilities as of the Closing Date (together with supporting
      calculations in reasonable detail, the “Final Working Capital Statement”). The Final
      Working Capital Statement shall be calculated and determined in the same manner as the
      Base Working Capital Statement, except that Final Working Capital Statement shall (i)
      exclude from Specified W/C Assets any amounts that would otherwise be included in
      “Prepaid Insurance” or “Prepaid Licenses/Permits/Fees” to the extent such amounts are in
      respect of assets (x) that are not transferred to Purchaser at Closing or (y) in the case of

                                              -17-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:22 of
                                     278


      the beer, wine and liquor licenses listed on Schedule 12.2(h), the benefits of which
      Purchaser does not continue to receive after the Closing, (ii) exclude from Specified W/C
      Liabilities the Post-Petition Payables Adjustment Amount, and (iii) include as an
      additional Specified W/C Liability the amount, if any, by which the aggregate Cure Costs
      paid by Purchaser exceed the aggregate Cure Costs set forth on Schedule 2.3(c), as such
      Schedule may be amended in accordance with Section 15.10. The amount equal to total
      Specified W/C Assets minus total Specified W/C Liabilities, each as shown in the Final
      Working Capital Statement is referred to as the “Final Working Capital”. Upon
      completion of such statement, Purchaser shall deliver the Final Working Capital
      Statement to Sellers.

                      (b)     To the extent the Base Working Capital Statement includes in
      “Prepaid Insurance” or “Prepaid Licenses/Permits/Fees” any amounts in respect of assets
      (x) that are not transferred to Purchaser at Closing or (y) in the case of the beer, wine and
      liquor licenses listed on Schedule 12.2(h), the benefits of which Purchaser does not
      continue to receive after the Closing, the Base Working Capital shall be adjusted to
      exclude such amounts from the calculation thereof. The Base Working Capital as so
      adjusted is referred to as the “Adjusted Base Working Capital”.

                     (c)     If the Final Working Capital, as set forth on the Final Working
      Capital Statement as conclusively determined as set forth in Section 2.7(e) (the Working
      Capital as so determined, the “Certified WC”), is less than the Adjusted Base Working
      Capital (such difference, the “Deficiency”), then (i) Purchaser shall be entitled to
      withdraw from the Escrow Fund the amount of the Deficiency up to and including the
      Working Capital Adjustment Holdback Amount, and (ii) Seller shall be entitled to
      withdraw from the Escrow Fund the portion of the Working Capital Adjustment
      Holdback Amount remaining following Purchaser’s withdrawal in accordance with this
      Section 2.7(b), if any. Any withdrawal pursuant to this Section 2.7(c) shall be made in
      accordance with the terms of the Escrow Agreement.

                    (d)     If the Certified WC is greater than or equal to the Adjusted Base
      Working Capital, then (i) Purchaser shall pay to Sellers the amount of any excess, and (ii)
      Sellers shall be entitled to withdraw from the Escrow Fund the Working Capital
      Adjustment Holdback Amount. Any payment pursuant to this Section 2.7(d) shall be
      made within ten (10) days following the date on which the Final Working Capital
      Statement (including the Certified WC calculation) becomes final pursuant to Section
      2.7(e). Any payment made pursuant to this Section 2.7(d) shall be made by wire transfer
      of immediately available federal funds to an account designated by Sellers. Any
      withdrawal pursuant to this Section 2.7(d) shall be made in accordance with the terms of
      the Escrow Agreement.

                      (e)     Unless Sellers notify Purchaser in writing within thirty (30) days
      after receipt by Sellers of the Final Working Capital Statement, of any objections thereto
      (specifying in reasonable detail the basis therefor), such statement shall be final and
      binding for all purposes. If Sellers timely notify Purchaser of any such objection,
      Purchaser and Sellers shall attempt in good faith to reach an agreement as to the matter in

                                              -18-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:23 of
                                     278


       dispute. If the Parties shall have failed to resolve any such dispute within ten (10)
       Business Days after receipt of timely notice of such objection, then any such disputed
       matter may, at the election of Purchaser or Sellers, be submitted to and determined by an
       Independent Accounting Firm. The fees and expenses of such Independent Accounting
       Firm incurred in resolving the disputed matter shall be equitably apportioned by such
       accountants based on the extent to which Purchaser, on the one hand, or Sellers, on the
       other hand, is or are determined by such accountants to be the prevailing Party or Parties
       in the resolution of such disputed matters. The Final Working Capital Statement shall,
       after resolution of any dispute pursuant to this Section 2.7(e), be final, binding and
       conclusive on all Parties hereto.

               2.8.    Good Faith Deposit.

                       (a)    Purchaser has deposited in escrow with Sellers’ counsel or an
       escrow agent acceptable to Purchaser and Seller (the “GFD Escrow Agent”) cash in
       immediately available federal funds by wire transfer to an account designated by the
       GFD Escrow Agent, an amount equal to Ten Million Dollars ($10,000,000) (the “Good
       Faith Deposit”), to be applied as provided in Section 2.8(b). The Good Faith Deposit
       shall be held by the GFD Escrow Agent in a non-interest bearing bank account and shall
       not be property of the estate in the Bankruptcy Cases, except to the extent of the Sellers’
       rights with respect thereto under Section 2.8(b). In the event that Purchaser reaches an
       agreement on or before October 19, 2010 to permit Sea Island Holdings, L.L.C., The
       Anschutz Company, Starwood Capital Group Global, L.P. or any of their affiliates
       (collectively, the “Holdings Parties”) to participate in the Transactions, Purchaser will
       accept an assignment of the Holdings Parties’ cash deposit, which shall be held as part of
       the Good Faith Deposit on the terms hereunder; provided, however, that the Good Faith
       Deposit shall be increased to $20,000,000 in such event.

                      (b)     The Good Faith Deposit may be retained by Sellers (i) at the
       Closing as a credit against the Purchase Price, or (ii) if this Agreement is terminated by
       Sellers pursuant to Section 14.1(b)(ii) or Section 14.1(e) and, in either case, at the time of
       such termination this Agreement is not terminable by Purchaser pursuant to Section
       14.1(d). Except as described in the previous sentence, the Good Faith Deposit shall be
       returned to Purchaser within two (2) Business Days after any termination of the
       Agreement pursuant to Section 14.1.

                2.9.   Closing. The closing (the “Closing”) of the purchase and sale of the
Purchased Assets and the assumption of the Assumed Liabilities shall take place at the offices of
King & Spalding LLP, 1180 Peachtree Street, Atlanta, Georgia, no later than five (5) days after
satisfaction of the conditions set forth in Section 12 (other than those requiring a delivery, or the
taking of other action, at the Closing), or at such other time or place as Purchaser and Sellers
may agree.

               2.10. Deliveries by Sellers. At the Closing, Sellers will deliver or cause to be
delivered to Purchaser (unless delivered previously) the following:


                                                -19-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:24 of
                                     278


                      (a)     a Bill of Sale, Assignment and Assumption Agreement
      substantially in the form attached hereto as Exhibit C (the “Assignment and Assumption
      Agreement”), duly executed by Sellers;

                      (b)     as to the Acquired Owned Real Property, limited warranty deeds
      in recordable form, duly executed by Sellers and transferring good, valid and marketable
      fee simple title to the Acquired Owned Real Property to Purchaser in form and substance
      reasonably satisfactory to Purchaser, other than as set forth in subsection (c) below;

                       (c)    a quit claim deed, in form and substance reasonably satisfactory to
      Purchaser, conveying to Purchaser all improvements located within and under any right-
      of-way, including, without limitation, underground sewer, water and other utility lines
      and facilities, as well as all improvements, including but not limited to all bridges, guard
      gates and guard buildings; notwithstanding the foregoing, all rights-of-way will be
      conveyed by limited warranty deed pursuant to Section 2.10(b);

                      (d)     originals (or, to the extent originals are not available, copies) of all
      Assumed Contracts (together with all amendments, supplements or modifications thereto)
      to the extent not already located at the Acquired Owned Real Property;

                     (e)   physical possession of all of the Purchased Assets capable of
      passing by delivery with the intent that title in such Purchased Assets shall pass by and
      upon delivery;

                      (f)    a duly executed assignment agreement or agreements transferring
      the Intellectual Property Rights to Purchaser, in form and substance reasonably
      satisfactory to Purchaser;

                     (g)    an affidavit from each Seller, sworn under penalty of perjury and
      dated as of the Closing Date, in form and substance required under the regulations issued
      pursuant to Section 1445 of the Code stating that such Seller is not a foreign person as
      defined in Section 1445 of the Code;

                     (h)    certificates of title and title transfer documents to all titled motor
      vehicles included within the Purchased Assets;

                     (i)    as to each Declaration, (A) an estoppel certificate from the
      property owners’ association or condominium owners’ association identified in the
      Declaration, (B) an assignment of the applicable Declarant’s rights, and (C) an
      assignment of the “development rights,” each of (A), (B) and (C) to be in form and
      substance reasonably satisfactory to Purchaser;

                      (j)     as to Dune Cottage Lot 38 at Ocean Forest, located on Parcel 49
      (as identified in the Title Commitment), which is subject to a Declaration, but for which
      the Title Commitment does not identify the amendment or supplement that annexed such
      Lot 38 into the Declaration, an amendment or supplement to the applicable Declaration
      annexing such Lot 38, in form and substance reasonably satisfactory to Purchaser;
                                               -20-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:25 of
                                     278


                      (k) the original $2,000,000 Non-Negotiable Promissory Note and
       Guaranty dated September 5, 2008 by JLV-VASI, LLC, as maker, to Sea Island
       Company, as payee (the “JLV-VASI Note”), which Sellers shall, on behalf of Purchaser,
       mark “canceled” and deliver to JLV-VASI, LLC against receipt by Sellers of the items
       described in the following clause (l) for delivery to Purchaser pursuant to Section 2.10;

                       (l) (i) a recordable easement agreement, in form and substance reasonably
       satisfactory to Purchaser, from JLV-VASI, LLC or its successor-in-interest for the benefit
       of Parcel 15 (as identified in the Title Commitment) providing (x) Parcel 15 with
       vehicular and pedestrian access to Sea Island Road (over and across the existing
       roadways located on the property immediately east of Parcel 15, which property is
       currently owned by JLV-VASI, LLC and (y) that all parking spaces located in whole or
       in part within the boundary lines of Parcel 15 are available for the exclusive use of
       Purchaser and its successors, assigns, affiliates, agents, employees, invitees and guests,
       and (ii) a recordable termination by and between Seller and JLV-VASI, LLC of that
       certain Agreement Regarding Right of First Refusal, filed and recorded on September 10,
       2008 as Book 2483, Page 84 with the Clerk of the Superior Court of Glynn County;

                      (m)    a waiver or extinguishment of any rights or options to purchase
       affecting the Acquired Owned Real Property;

                      (n)   as to each license and contract set forth on Schedule 2.10(n),
       consents to assignment of such licenses and contracts to Purchaser; and

                    (o)    all other documents, instruments and writings reasonably requested
       by Purchaser to be delivered by Sellers at or prior to the Closing pursuant to this
       Agreement.

               2.11. Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
be delivered to Sellers (unless previously delivered) the following:

                        (a)   the cash portion of the Purchase Price less the Good Faith Deposit;

                     (b)    a letter authorizing and directing the GFD Escrow Agent to release
       the Good Faith Deposit to Sellers;

                        (c)   the Assignment and Assumption Agreement, duly executed by
       Purchaser; and

                     (d)    all other documents, instruments and writings reasonably requested
       by Sellers to be delivered by Purchaser at or prior to the Closing pursuant to this
       Agreement.

         2.12. “AS IS” TRANSACTION. PURCHASER HEREBY ACKNOWLEDGES
AND AGREES THAT, NOTWITHSTANDING THE REPRESENTATIONS AND
WARRANTIES EXPRESSLY PROVIDED IN SECTION 3, THE CONSENT OF A PARTY
TO THE CLOSING SHALL CONSTITUTE A WAIVER BY SUCH PARTY OF ANY
                                              -21-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:26 of
                                     278


CONDITIONS TO CLOSING NOT SATISFIED AS OF THE CLOSING DATE, AND
FOLLOWING CLOSING SELLERS MAKE NO REPRESENTATIONS OR WARRANTIES
WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO ANY MATTER RELATING
TO THE PURCHASED ASSETS, INCLUDING INCOME TO BE DERIVED OR EXPENSES
TO BE INCURRED IN CONNECTION WITH THE PURCHASED ASSETS, THE PHYSICAL
CONDITION OF ANY PERSONAL OR REAL PROPERTY COMPRISING A PART OF THE
PURCHASED ASSETS OR WHICH IS THE SUBJECT OF ANY LEASE OR CONTRACT
TO BE ASSIGNED TO PURCHASER AT THE CLOSING, THE ENVIRONMENTAL
CONDITION OR ANY OTHER MATTER RELATING TO THE PHYSICAL CONDITION
OF ANY REAL PROPERTY OR IMPROVEMENTS, THE ZONING OF ANY SUCH REAL
PROPERTY OR IMPROVEMENTS, THE VALUE OF THE PURCHASED ASSETS (OR
ANY PORTION THEREOF), THE TRANSFERABILITY OF THE PURCHASED ASSETS,
THE TERMS, AMOUNT, VALIDITY OR ENFORCEABILITY OF ANY ASSUMED
LIABILITIES, THE TITLE OF THE PURCHASED ASSETS (OR ANY PORTION
THEREOF), THE MERCHANTABILITY OR FITNESS OF THE PERSONAL PROPERTY
OR ANY OTHER PORTION OF THE PURCHASED ASSETS FOR ANY PARTICULAR
PURPOSE, OR ANY OTHER MATTER OR THING RELATING TO THE PURCHASED
ASSETS OR ANY PORTION THEREOF. WITHOUT IN ANY WAY LIMITING THE
FOREGOING, SELLERS HEREBY DISCLAIM ANY WARRANTY, EXPRESS OR
IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS
TO ANY PORTION OF THE PURCHASED ASSETS. UPON THE CLOSING DATE,
PURCHASER WILL ACCEPT THE PURCHASED ASSETS AT THE CLOSING “AS IS,”
“WHERE IS,” AND “WITH ALL FAULTS.”

        3. Representations and Warranties of Sellers. Subject to the terms, conditions and
limitations set forth in this Agreement, Sellers hereby represent and warrant to Purchaser as of
the date hereof and as of the Closing Date as follows:

                3.1.   Organization. Each Seller is a legal entity duly organized, validly existing
and in good standing under the Laws of the state of its organization, is qualified to do business in
every jurisdiction in which it is required to be qualified and has the corporate or organizational
power and authority to own, lease and operate the Purchased Assets, and to carry on in all
material respects the Business as now being conducted.

               3.2.    Corporate Authorization. The execution, delivery and performance by
Sellers of this Agreement and the consummation of the Transactions are within Sellers’
corporate or organizational powers and have been duly authorized by all necessary actions on the
part of Sellers. Subject to entry by the Bankruptcy Court of the Confirmation Order in the
Bankruptcy Cases, this Agreement constitutes a valid and binding agreement of Sellers that is
enforceable in accordance with its terms. The boards of directors of the Sellers have resolved to
request that the Bankruptcy Court approve this Agreement, and the transactions contemplated
hereby.

               3.3.   Governmental Authorization. Except as set forth on Schedule 3.3, the
execution, delivery and performance by Sellers of this Agreement and the consummation of the
transactions contemplated hereby by Sellers require no action by or in respect of, or filing with,

                                               -22-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:27 of
                                     278


any Governmental Authority other than (a) consents, approvals or authorizations of, or
declarations or filings with, the Bankruptcy Court, and (b) any such action or filing as to which
the failure to make or obtain would not have a Material Adverse Effect.

                3.4.    Noncontravention. Except as set forth on Schedule 3.4, and subject to
entry by the Bankruptcy Court of the Confirmation Order in the Bankruptcy Cases, the
execution, delivery and performance by Sellers of this Agreement and the consummation of the
Transactions do not and will not (a) violate Sellers’ articles or certificates of incorporation,
bylaws, or other equivalent organizational documents, (b) assuming compliance with the matters
referred to in Section 3.3, materially violate any applicable Law, (c) except as to matters which
would not reasonably be expected to have a Material Adverse Effect, constitute a default under
or give rise to any right of termination, cancellation or acceleration of any right or obligation or
to a loss of any benefit relating to any Purchased Asset to which any Seller is entitled under any
provision of any agreement or other instrument binding upon such Seller except for breaches and
defaults referred to in Section 365(b)(2) of the Bankruptcy Code, or (d) result in the creation or
imposition of any Lien on any Purchased Asset, except for Permitted Liens and Assumed
Liabilities or Liens that will be released at or prior to Closing.

                 3.5.   Required Consents. Except for consents, approvals or authorizations of,
or declarations or filings with, the Bankruptcy Court, and except as otherwise set forth on
Schedule 3.5, there is no agreement or other instrument binding upon Sellers requiring by its
terms or pursuant to Section 365 of the Bankruptcy Code a consent or other action by any Person
as a result of the execution, delivery and performance of this Agreement, except such consents or
actions as would not, individually or in the aggregate, have a Material Adverse Effect if not
received or taken by the Closing Date.

                3.6.   Litigation. Except as disclosed in Schedule 3.6, as of the date hereof,
there is no action, suit, investigation or proceeding pending against, or to the Knowledge of
Sellers, threatened against or affecting, the Purchased Assets before any court or arbitrator or any
Governmental Authority which is reasonably likely to have a Material Adverse Effect or which
in any manner challenges or seeks to prevent, enjoin, alter or materially delay the Transactions.

               3.7.    Compliance with Laws and Court Orders. To the Knowledge of Sellers,
no Seller is in violation of any Law applicable to the Purchased Assets or the conduct of the
Business, except for violations which would not reasonably be expected to have a Material
Adverse Effect.

                3.8.   Permits. Sellers maintain and hold all rights to all Permits and all other
licenses and permits that are necessary to permit Sellers to lawfully conduct and operate the
Business, and to own and use the Purchased Assets, in the manner consistent with the past
practices of Sellers. Schedule 3.8(a) sets forth a list of all Permits required to conduct and
operate the Business as it is currently being conducted. Each such Permit is valid and in full
force and effect. Except as set forth on Schedule 3.8(b): (a) to the Knowledge of Sellers, each
Seller is in compliance with the terms and requirements of each such Permit; and (b) no notice of
violation of any Permit has been received from any Governmental Authority and no proceeding
is pending or, to the Knowledge of Sellers, threatened to revoke or limit any such Permit.

                                               -23-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:28 of
                                     278


               3.9.     Intellectual Property Rights. Schedule 3.9(a) sets forth an accurate and
complete list of all registered Intellectual Property Rights included in the Purchased Assets. The
Intellectual Property Rights being conveyed hereunder include: (a) all registered and
unregistered trademarks, service marks, trade dress, logos and trade names used in connection
with the Business (including all registrations and applications therefor), together with all
translations, adaptations, derivations, and combinations thereof and including all goodwill
associated therewith and all applications, registrations, and renewals in connection therewith, (b)
all copyrightable works, all copyrights, and applications, registrations, and renewals in
connection therewith used in connection with the Business and (c) all other Intellectual Property
Rights necessary to conduct the Business as currently conducted. Sellers have taken all actions
reasonably necessary to ensure that the Intellectual Property Rights are protected under
applicable Law. Except as set forth on Schedule 3.9(b), to the Knowledge of Sellers, there exist
no outstanding challenges to the ownership and use of such Intellectual Property Rights by any
Seller, nor any alleged infringements of such Intellectual Property Rights by third parties.
Except as set forth on Schedule 3.9(c), none of the Intellectual Property Rights have been
licensed by Sellers to any other Person.

               3.10. Environmental Matters. Other than as may be set forth in the reports
described on Schedule 3.10, none of Sellers have received written notice from any Governmental
Authority or third party of any violation of or failure to comply with any Environmental Laws
with respect to the Acquired Owned Real Property which to the Knowledge of Sellers remains
uncorrected, or of any obligation to undertake or bear the cost of any remediation with respect to
the Acquired Owned Real Property which to the Knowledge of Sellers remains unperformed.

                 3.11. Real Property. Schedule 3.11(a) sets forth the address and description of
all Owned Real Property of Sellers. With respect to each parcel of Acquired Owned Real
Property, except as set forth on Schedule 3.11(b), (a) the applicable Seller has fee simple title
free and clear of all encumbrances, except for Permitted Liens and Liens that will be released at
or prior to Closing; (b) there are no leases, subleases, licenses, concessions, or other agreements,
written or oral, granting to any Person the right of use or occupancy of any portion of such
Acquired Owned Real Property; (c) there are no outstanding options, rights of first offer, or
rights of first refusal to purchase such Acquired Owned Real Property (other than the right of
Purchaser pursuant to this Agreement), or any portion thereof or interest therein; and (d) there
are no condemnation or eminent domain proceedings pending or, to the Knowledge of Sellers,
threatened with respect to all or any part of the Acquired Owned Real Property. Except as set
forth on Schedule 2.1(b), none of the Sellers are lessees, sublessees or licensees under any leases,
subleases or licenses, as applicable, with respect to any real property.

                3.12. Employee Benefit Plans. Schedule 3.12(a) sets forth a complete and
accurate list of each Employee Benefit Plan that provides health benefits to current or former
employees of Sellers. Sellers have provided to Purchaser true and correct copies of each such
Employee Benefit Plan and all material documents pursuant to which such Employee Benefit
Plans are maintained, funded and administered (including all plan documents and amendments
thereto, and the most recent or current summary plan documents, trust documents, annual
reports, actuarial reports, service agreements and group insurance contracts, and schedule of
employee contributions).

                                               -24-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:29 of
                                     278


                3.13. Personnel Matters. Sellers have provided to Purchaser an accurate and
complete list of the names, job classifications, dates of hire, base compensation, and any
supplemental or bonus compensation (including any retention or stay bonus arrangements) for
and any accrued vacation, severance or other commitments that exist with respect to all salaried
employees of any Seller including: (a) information about each Seller’s obligations to make salary
payments to salaried employees who are terminable at will and without notice, and (b) all other
commitments that exist with respect to salaried employees, including accrued vacation and
severance, whether oral or in writing, including all employment agreements, consulting
agreements, retainers and severance agreements, under which any Seller has any obligation to
provide wages, salary, commissions, or other compensation, remuneration or benefits. Sellers
have provided to Purchaser true and correct copies of each written employment agreement,
consulting agreement, retainer and severance agreement or other similar agreement under which
any Seller has any obligation to provide wages, salary, commissions, or other compensation,
remuneration or benefits to any salaried employee. No Seller is in default with respect to any
material obligation to any of such salaried employees. To the Knowledge of Sellers, no key
executive employee of any Seller has any plans to terminate his or her employment with such
Seller. Sellers have provided to Purchaser an accurate and complete list of the names, job
classifications, dates of hire, hourly rate and any accrued vacation, severance or other
commitments that exist with respect to hourly employees, whether oral or in writing. Such
schedules also indicate which such employees, if any, are not actively at work as of the date
specified therein (other than due to vacation or short-term illness).

                3.14. Contracts. To the Knowledge of Sellers, there are no material outstanding
contracts, commitments, leases, licenses, understandings, undertaking or agreements of any
nature, written or oral (including commitments to enter into any of such) to which Sellers or their
Affiliates are or may become subject in respect of the Purchased Assets or the Business, except
the contracts and agreements listed on Schedule 3.14 (the “Contracts”). Except for defaults that
will be cured in connection with the assumption and assignment of the Assumed Contracts,
Sellers are not currently in default under any term, condition, or provision of any Assumed
Contract and no Seller has received written notice from any third party regarding any alleged
default that has not been previously cured or resolved. To the Knowledge of Sellers, no other
party to any Assumed Contract is in material default thereunder. There are no other material
amendments or any other material agreements concerning the Contracts that are not listed on
Schedule 3.14. All of the Assumed Contracts are in full force and effect and, following the
Closing, shall be enforceable by Purchaser in accordance with their terms.

                 3.15. Sufficiency of and Title to the Purchased Assets. Sellers will have at
Closing good, valid and marketable title to, or a valid leasehold interest in, all of the Purchased
Assets, free and clear of all Liens (other than Permitted Liens, Liens to be satisfied in full or
released at or prior to Closing, and the Assumed Liabilities). Upon consummation of the
Transactions at the Closing, Purchaser will have acquired good, valid and marketable title in and
to, or a valid leasehold interest in, each of the Purchased Assets, free and clear of all Liens, other
than Assumed Liabilities and Permitted Liens. The Acquired Owned Real Property is all of the
real property owned or used in connection with the Business as currently conducted. The
Purchased Assets constitute all of the assets, properties and rights required for the conduct of the
Business as currently conducted and as conducted as of the Closing Date. The material
                                                -25-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:30 of
                                     278


equipment included in the Purchased Assets is in good repair and operating condition, subject
only to ordinary wear and tear, and is adequate and suitable for the purposes for which such
equipment is presently being used or held for use.

                3.16. Condition of Improvements.         To the Knowledge of Sellers, all
Improvements located on the Acquired Owned Real Property are in good general state of repair
and good working order sufficient to carry out the functions for which they are currently being
used and have no structural defects, and there are no conditions with respect to such
Improvements that currently require material repairs or replacements, except for those set forth
on Schedule 3.16. The Improvements located on the Acquired Owned Real Property have been
constructed and installed in material compliance with all Laws. The Improvements located on
the Acquired Owned Real Property have been maintained in accordance with industry standards.
The tees, fairways, roughs, bunker complexes, greens and practice areas of the golf properties
included in the Acquired Owned Real Property have been properly cultivated, are free of disease,
except as is reasonable and customary, and have been properly maintained.

              3.17. Club Documents, Memberships. Schedule 3.17 contains a true and correct
copy of the Sea Island Club Membership Program, the Ocean Forest Golf Club Membership
Program, and the form of membership application/agreements used by Sellers with respect to
each program (the “Existing Membership Documents”), and a complete listing of all of the
current Club Members, detailing the type of membership that is applicable to each such Club
Member and the amount of all refundable initiation fees paid to Sellers by each such Club
Member. Except as disclosed to Purchaser in writing, each Club Member has paid all amounts
due and payable pursuant to the Existing Membership Documents.

                3.18. Financial Statements. Sellers’ consolidated audited financial statements
for the year ended December 31, 2009 (the “Financial Statements”) attached hereto as Schedule
3.18 are complete, true, and correct in all material respects and fairly present the financial
condition and the results of operation of the Business, as of the date of and for the period stated
in the Financial Statements, in accordance with GAAP except as provided on Schedule 3.18.
There are no material costs or expenses associated with the operation of the Business or the
Purchased Assets other than those detailed on Schedule 3.18, and the amounts of such costs and
expenses are not materially (individually or in the aggregate) in excess of the amounts shown on
Schedule 3.18 with respect to such period. Since the date of the latest of the Financial
Statements, there has been no material adverse change in the financial condition or operations of
the Business except any change that would not constitute a Material Adverse Effect and the
filing of the Bankruptcy Cases.

               3.19. Certain Fees. Sellers have retained Goldman, Sachs & Co. (“Goldman
Sachs”) as financial advisor in connection with the Transactions. Sellers shall be responsible for
all fees due and owing to Goldman Sachs and its other professional advisors in connection with
the Transactions contemplated in this Agreement and no such advisor is entitled to any fee or
commission or like payment from Purchaser in connection with the Transactions.

               3.20.   Taxes. Except as set forth on Schedule 3.20:


                                               -26-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:31 of
                                     278


                       (a)    Each Seller has filed all Tax Returns required to be filed by Seller
       (taking into account any extensions of time within which to file such Tax Returns) with
       respect to the Purchased Assets and the Business, and all such Tax Returns are complete
       and accurate in all material respects. Each Seller has paid all Taxes required to be paid
       by Seller with respect to the Purchased Assets and the Business. All Taxes required to be
       withheld, collected or deposited by or with respect to each Seller have been withheld,
       collected or deposited, as the case may be, and to the extent required by applicable Law,
       have been paid to the relevant Governmental Authority.

                     (b)     To the Knowledge of Sellers, there are no outstanding audits,
       examinations or judicial or administrative proceedings with respect to Taxes relating to
       the Purchased Assets or the Business.

        4. Representations and Warranties of Purchaser. Purchaser represents and warrants
to Sellers as follows:

               4.1.   Organization. Purchaser is a legal entity duly organized, validly existing
and in good standing under the Laws of the state of its organization and has all corporate or
organizational powers and all material governmental licenses, authorizations, permits, consents
and approvals required to carry on its business as now conducted.

                4.2.    Corporate Authorization. The execution, delivery and performance by
Purchaser of this Agreement and the consummation of the Transactions are within the corporate
or organizational powers of Purchaser and have been duly authorized by all necessary actions on
the part of Purchaser. This Agreement constitutes a valid and binding agreement of Purchaser
that is enforceable in accordance with its terms.

               4.3.    Governmental Authorization. The execution, delivery and performance by
Purchaser of this Agreement and the consummation of the Transactions by Purchaser require no
action by or in respect of, or filing with, any Governmental Authority other than (a) consents,
approvals or authorizations of, or declarations or filings with, the Bankruptcy Court and (b) any
such action or filing as to which the failure to make or obtain would not have a material adverse
effect on the Purchaser or its ability to close the Transactions.

                4.4.   Noncontravention. Neither the execution and delivery of this Agreement
by Purchaser nor the consummation of the Transactions by Purchaser will (a) conflict with or
result in any breach of any provision of the articles or certificate of incorporation, bylaws, or
other equivalent organizational documents of Purchaser; (b) require any filing with, or the
obtaining of any permit, authorization, consent or approval of, any Governmental Authority; (c)
violate, conflict with or result in a default (or any event which, with notice or lapse of time or
both, would constitute a default) under, or give rise to any right of termination, cancellation or
acceleration under, any of the terms, conditions or provisions of any note, mortgage, other
evidence of indebtedness, guarantee, license, agreement, lease or other contract, instrument or
obligation to which Purchaser is a party or by which Purchaser or any of its assets may be bound;
or (d) violate any Law applicable to Purchaser, excluding from the foregoing clauses (b), (c) and
(d) such requirements, violations, conflicts, defaults or rights (i) which would not adversely

                                              -27-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:32 of
                                     278


affect the ability of Purchaser to consummate the Transactions, or (ii) which become applicable
as a result of any acts or omissions by, or the status of or any facts pertaining to, Sellers.

               4.5.   Financing. Purchaser has sufficient cash, readily available lines of credit
or other sources of immediately available funds to enable it to make payment of the Purchase
Price and any other amounts to be paid by it hereunder.

                4.6.    Litigation. There is no action, suit, investigation or proceeding pending
against or, to the knowledge of Purchaser, threatened against or affecting Purchaser before any
court or arbitrator or any Governmental Authority which in any manner challenges or seeks to
prevent, enjoin, alter or materially delay the Transactions.

               4.7.    Certain Fees. Purchaser has not employed any broker, finder, investment
banker, or other intermediary or incurred any liability for any investment banking fees, financial
advisory fees, brokerage fees, finders’ fees, or other similar fees in connection with this
Agreement or the Transactions.

               4.8.   No Other Representations. Purchaser acknowledges that Sellers make no
representation or warranty with respect to (a) any projections, estimates or budgets delivered to
or made available to Purchaser of future revenues, future results of operations (or any component
thereof), future cash flows or future financial condition (or any component thereof) of the
Business or the future prospects or operations of the Business or (b) any other information or
documents made available to Purchaser or its counsel, accountants or advisors with respect to the
Business, except as expressly set forth in this Agreement.

       5. Covenants of Sellers. Sellers agree that:

               5.1.    Intentionally Omitted.

                5.2.    Conduct of the Business. Except as may be required by the Bankruptcy
Code or by order of the Bankruptcy Court, and except as may be required or contemplated by
this Agreement, from the date hereof until the Closing Date, Sellers shall use their commercially
reasonable efforts to conduct the Business in the ordinary course consistent with past practice
and to preserve intact their relationships with third parties (including suppliers and customers)
and to keep available the services of the present employees of the Business. Without limiting the
generality of the foregoing, from the date hereof until the Closing Date, except (i) as disclosed on
Schedule 5.2 or (ii) as may be required or contemplated by this Agreement, Sellers will not:

                     (a)    with respect to the Business, acquire a material amount of assets
       from any other Person;

                       (b)    sell, lease, license or otherwise dispose of any Purchased Assets,
       except for the leasing of resort and event space and sales of Inventory, in each case, in the
       ordinary course of business consistent with past practice;

                       (c)    terminate or amend in any material respect any Assumed Contract
       or existing insurance policies;
                                                -28-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:33 of
                                     278


                      (d)    incur any material obligation or liability, except current liabilities
       for trade or business obligations incurred in connection with the purchase of goods or
       services in the ordinary course of business consistent with past practice or otherwise
       permitted by the terms of this Agreement;

                       (e)    transfer, grant or modify any existing rights with respect to the
       Intellectual Property Rights, except for non-exclusive licenses in the ordinary course of
       business consistent with past practice;

                    (f)     bill and collect membership dues for periods after the date of this
       Agreement on other than a monthly basis;

                       (g)    agree or commit to do any of the foregoing; or

                      (h)     take any action that would reasonably be expected to cause the
       failure of any condition contained in Section 12.2 (other than actions taken by Sellers in
       connection with the discharge of their fiduciary duties during the Bankruptcy Cases).

                5.3.   Access to Information. From the date hereof until the Closing Date,
Sellers shall reasonably afford, and shall cause its officers, employees, attorneys and other agents
to reasonably afford, to Purchaser and its counsel, accountants and other representatives, access
(at reasonable times during normal business hours) to officers and other employees of the
Business for the purposes of evaluating the Business and all properties, books, accounts, records
and documents of, or relating to, the Business, subject to the terms of the Confidentiality
Agreement.

               5.4.    Notices of Certain Events. Sellers shall promptly notify Purchaser of:

                      (a)    any written notice or, to Knowledge of Sellers, other
       communication from any Person alleging that the consent of such Person is or may be
       required in connection with the consummation of the Transactions;

                     (b)     any material communication from any Governmental Authority in
       connection with or relating to the Transactions, the Business or the Purchased Assets; and

                       (c)   the commencement of any actions, suits, investigations or
       proceedings relating to Sellers, the Business or the Purchased Assets that, if pending on
       the date of this Agreement, would have been required to have been disclosed pursuant to
       Section 3.6.

               5.5.   New Club Members. From the date hereof, the Sellers shall not accept
any new members into Sellers’ golfing, club, dining, social or other membership programs,
including, without limitation, the Specified Club Member Agreements, except (a) Persons to
whom Club Members transfer all of their rights under either of the Specified Club Member
Agreements with the consent of the Sellers in connection with a sale by such Club Member to
such Person of a residence located on Sea Island or a Sea Island development, provided that any
such transferee acknowledges in writing the amount of refundable initiation fees associated with
                                               -29-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:34 of
                                     278


the transferred membership, which shall not exceed the amount shown on Schedule 3.17 for the
transferor, or (b) as agreed to in writing by Purchaser. Sellers shall give Purchaser prompt
written notice of any transfer of membership pursuant to clause (a) of the preceding sentence,
which notice shall identify the transferor, the transferee and the transferred membership and
include a copy of the transferee’s acknowledgement referred to in the proviso to such clause (a).

                5.6.   Notices to Parties to Assumed Contracts. Sellers shall provide timely and
proper written notice of the Confirmation Order to all parties to executory contracts and
unexpired leases to be assumed by Sellers and assigned to Purchaser pursuant to this Agreement
and to take all other actions necessary to cause such executory contracts and unexpired leases to
be assumed by Sellers and assigned to Purchaser pursuant to Section 365 of the Bankruptcy
Code.

                5.7    Cooperation with respect to Title. From and after the date hereof until the
Closing Date, Sellers shall reasonably cooperate with Purchaser in order to address and correct
any title and/or survey issues that may arise.

                 5.8      Condemnation, Casualty. Promptly upon learning thereof, Sellers shall
give Purchaser written notice of any condemnation, casualty, damage or destruction of all or any
portion of the Acquired Owned Real Property occurring prior to the Closing. If any such
condemnation, casualty, damage or destruction to all or any portion of the Acquired Owned Real
Property occurs prior to the Closing and Purchaser does not exercise its right to terminate this
Agreement pursuant to Section 14.1(f) to the extent that it is entitled to do so, then (i) the
proceeds of any condemnation award or payment under any property or casualty insurance
policies (for losses other than business interruption) shall be applied toward the payment of the
Purchase Price to the extent such condemnation awards or insurance payments have been
received by any Seller and (ii) Purchaser shall receive an assignment from Sellers of Sellers'
right, title and interest in any such awards or payments.

        5.9     Personnel Matters. On or before Closing, Sellers shall provide Purchaser an
updated version of the lists provided to Purchaser pursuant to Section 3.13, with the data therein
as of a date not earlier than five (5) days prior to Closing.

       6. Covenants of Purchaser. Purchaser agrees that:

              6.1.   Confidentiality. Prior to the Closing Date and after any termination of this
Agreement, the Confidentiality Agreement shall remain in full force and effect.

                6.2.  Access. On and after the Closing Date, upon reasonable advance notice,
Purchaser will afford promptly to Sellers and their agents, advisers and representatives
reasonable access during normal business hours to Purchaser’s properties, books, records,
employees, auditors and counsel to the extent necessary for financial reporting and accounting
matters, employee benefits matters, the preparation and filing of any Tax returns, reports or
forms, the defense of any Tax audit, claim or assessment, the reconciliation of Claims in the
Bankruptcy Cases or otherwise to enable Sellers to address issues arising in connection with or
relating to the Bankruptcy Cases or to permit Sellers to determine any matter relating to their

                                               -30-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:35 of
                                     278


rights and obligations hereunder (including in connection with Sellers’ review of the Final
Working Capital Statement) or any other reasonable business purpose related to the Excluded
Assets or Excluded Liabilities; provided, however, that any such access by Sellers shall not
unreasonably interfere with the conduct of the business of Purchaser or any of its Affiliates.
Sellers will hold, and will use their commercially reasonable efforts to cause their officers,
directors, employees, accountants, counsel, consultants, advisors and agents to hold, in
confidence, unless compelled to disclose by judicial or administrative process or by other
requirements of Law, all confidential documents and information concerning Purchaser or any of
its Affiliates or the Business provided to them pursuant to this Section 6.2.

              6.3.    Insurance. Except as otherwise provided in Section 5.8, to the extent that
any insurance policies of Sellers or any of their Affiliates cover any loss, liability, claim, damage
or expense relating to any Purchased Assets and such insurance policies continue after the
Closing to permit claims to be made thereunder with respect to events occurring prior to the
Closing, Purchaser shall use reasonable commercial efforts to cooperate with Sellers in
submitting and pursuing such claims for the benefit of Sellers.

       7. Covenants of Purchaser and Seller. Purchaser and Sellers agree that:

                  7.1.    Efforts; Further Assurances. Subject to the terms and conditions of this
Agreement, Purchaser and Sellers will use their respective commercially reasonable efforts to
take, or cause to be taken, all actions and to do, or cause to be done, all things necessary or
desirable under applicable Laws and regulations to consummate the Transactions contemplated
by this Agreement. Sellers and Purchaser agree to execute and deliver such other documents,
certificates, agreements and other writings and to take such other actions as may be necessary or
desirable in order to vest in Purchaser good title to the Purchased Assets or to evidence the
assumption by Purchaser of the Assumed Liabilities. Notwithstanding anything to the contrary
set forth herein, nothing in this Agreement shall be construed as requiring Purchaser or its
affiliates to litigate or agree to hold separate or to dispose of any assets or property in order to
obtain approval of any Governmental Authority of the consummation of the Transactions
contemplated by this Agreement.

               7.2.    Certain Filings. Sellers and Purchaser shall cooperate with one another in
good faith (a) in determining whether any action by or in respect of, or filing with, any
Governmental Authority is required, including any filing required by the HSR Act, or any
actions, consents, approvals or waivers are required to be obtained from parties to any Assumed
Contracts or Intellectual Property Rights, in connection with the consummation of the
Transactions and (b) in taking such actions or making any such filings, including any filings
required by the HSR Act, furnishing information required in connection therewith and seeking
timely to obtain any such actions, consents, approvals or waivers.

                7.3.   Public Announcements. Sellers shall develop a communications plan with
respect to the Transactions in consultation with Purchaser. Such communications plan, including
any and all written scripts, handouts, letters or other written communications intended for
widespread distribution pursuant thereto, shall be subject to Purchaser’s prior written approval
(as so approved, the “Communications Plan”). Except pursuant to the Communications Plan or

                                                -31-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:36 of
                                     278


as otherwise may be required by Law, neither Purchaser nor Sellers shall make any public
announcements or statements concerning the Transactions (other than statements made to, or
filings with, the Bankruptcy Court in the Bankruptcy Cases) without the prior written consent of
the other; in case such consent shall not be unreasonably withheld, delayed or conditioned.
Purchaser acknowledges and agrees that Sellers may provide copies of this Agreement to parties
in interest in the Bankruptcy Cases and to those parties to whom Sellers determine it is necessary
to provide copies in connection with the Bankruptcy Cases. Sellers also shall be entitled to file
copies of this Agreement with the Bankruptcy Court or as otherwise required by Law and shall
be entitled to publish notice of the contemplated Transactions as may be required to give
adequate notice under the Bankruptcy Code thereof. In case any Party is required by Law to
make any public announcement or statement, or any filing with any Governmental Entity or any
national securities exchange concerning the Transaction that is not made pursuant to the
Communications Plan, the Party required to make such announcement, statement or filing shall,
to the extent practicable (i) consult with the other Party prior to making such announcement,
statement or filing and (ii) provide that the content of such announcement, statement or filing is
consistent with the Communications Plan. Nothing herein shall prevent either Sellers or
Purchasers from responding to inquiries in a manner consistent with the Communications Plan.

               7.4.    Notices. If at any time (a) Purchaser becomes aware of any material
breach by Sellers of any representation, warranty, covenant or agreement contained herein and
such breach is capable of being cured by Sellers, or (b) Sellers become aware of any material
breach by Purchaser of any representation, warranty, covenant or agreement contained herein
and such breach is capable of being cured by Purchaser, the Party becoming aware of such
breach shall promptly notify the other Party, in accordance with Section 14.1, in writing of such
breach. Upon such notice of breach, the breaching Party shall have ten (10) days to cure such
breach prior to the exercise of any remedies in connection therewith.

               7.5.   Liquor License. Purchaser has made all necessary applications (subject to
any amendments that may be required) for, and shall thereafter diligently pursue, issuance of all
licenses and approvals required under any Law for the continued sale of alcoholic beverages in
connection with the conduct of the Business from and after the Closing Date (including
temporary permits, to the extent available) consistent with the practices and procedures in effect
as of the date hereof. Purchaser shall keep Sellers informed of the status of such applications,
and shall promptly respond to Sellers’ inquiries regarding the status of the same.

                7.6.    Checked Baggage. On the Closing Date, representatives of Sellers and
Purchaser shall make a written inventory of all baggage and similar items left in the care of
Sellers by Sellers’ customers (collectively, “Inventoried Baggage”). Purchaser shall be
responsible for, and shall indemnify Sellers and their Affiliates and their respective directors,
officers and employees against, any losses or liabilities incurred by any of them with respect to
any theft, loss or damage to any Inventoried Baggage from and after the time of such inventory,
and any other baggage or similar items left in the care of Purchaser on or after the Closing Date
which was not inventoried. Sellers shall be responsible for, and shall indemnify the Purchaser
against, any losses or liabilities incurred by Purchaser with respect to any theft, loss or damage to
any Inventoried Baggage prior to the time of such inventory, and any other baggage or similar
items left in the care of Sellers prior to the Closing Date which was not inventoried.

                                                -32-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:37 of
                                     278


                7.7.    Safe Deposit Boxes. On or before the Closing Date, Sellers shall notify all
guests who are then using a safe deposit box owned or maintained by Sellers in connection with
the conduct of the Business advising them of the pending change in the management of the
Business. At Closing, all safe deposit boxes which are then in use shall be opened in the presence
of representatives of Sellers and Purchaser, and the contents thereof shall be inventoried.
Following the inventory of each safe deposit box, Sellers shall deliver to Purchaser all keys,
receipts and agreements for such box. Purchaser shall be responsible for, and shall indemnify
Sellers and their Affiliates and their respective directors, officers and employees against, any
losses or liabilities incurred by any of them with respect to any theft, loss or damage to the
contents of any safe deposit box from and after the time such safe deposit box is inventoried,
provided that such claimed theft, loss or damage relates to contents that were inventoried.
Sellers shall be responsible for, and shall indemnify Purchaser against, any losses or liabilities
incurred by Purchaser with respect to any theft, loss or damage to the contents of any safe
deposit box prior to the time such safe deposit box is inventoried.

                7.8.    Customer Obligations. Purchaser agrees that with respect to any
Customer Reservation related to services, amenities, activities or accommodations to be provided
to a customer of the Business after the Closing Date, (a) Purchaser will honor such Customer
Reservation in a manner consistent with Sellers’ past practices, and (b) Purchaser will give such
customer a credit against the amounts owed with respect to the Customer Reservation in an
amount equal to the Customer Deposit and Prepayment made by the customer consistent with
Sellers’ past practices. For the sake of clarity, the Parties acknowledge that Sellers have
included a line item for outstanding and unapplied Customer Deposits and Prepayments as of the
Balance Sheet Date in the current Assumed Liabilities on the Base Working Capital calculation
attached hereto as Exhibit B. Likewise, the Parties agree and acknowledge that the Final
Working Capital Statement shall include a similar line item setting forth the outstanding and
unapplied Customer Deposits and Prepayments as of the Closing Date in the current Assumed
Liabilities used to determine the Final Working Capital.

               7.9.    Transfers Not Effected as of Closing. Nothing herein shall be deemed to
require the conveyance, assignment or transfer of any Purchased Asset that by its terms and by
operation of applicable Law (including, but not limited to, Section 365 of the Bankruptcy Code)
cannot be freely conveyed, assigned, transferred or assumed. To the extent the parties hereto
have been unable to obtain on or before the Closing Date any governmental or any third-party
consents or approvals required under applicable Law for the transfer of any Purchased Asset and
to the extent not otherwise prohibited by the terms of any Purchased Asset, for not more than
ninety 90 days following the Closing Date, (a) the parties hereto shall continue to use their
commercially reasonable efforts to obtain such unobtained consents or approvals at the earliest
practicable date, (b) Sellers shall continue to be bound by the terms of such applicable Purchased
Asset, but shall exercise or exploit their rights in respect of such Purchased Assets only as
directed by Purchaser and at Purchaser’s expense, and (c) Purchaser shall pay, perform and
discharge fully all the obligations of Sellers thereunder from and after the Closing to the extent
that the corresponding benefit is received by Purchaser. If and when any such consents or
approvals shall be obtained, then Sellers shall promptly assign their rights and obligations
(except to the extent such obligations constitute Excluded Liabilities) thereunder to Purchaser
without payment of consideration and Purchaser shall, without the payment of any consideration
                                               -33-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:38 of
                                     278


therefore, assume such rights and obligations. The parties shall execute such good and sufficient
instruments as may be necessary to evidence such assignment and assumption.

       8. Bankruptcy Related Covenants.

                8.1.   Plan of Reorganization. Sellers have filed with the Bankruptcy Court (i) a
plan of reorganization with respect to Sellers’ bankruptcy estates that, among other things,
implements, contains or otherwise incorporates the terms, conditions and provisions of this
Agreement (the “Plan of Reorganization”), and (ii) a disclosure statement related to and
accompanying the Plan of Reorganization. Sellers shall use commercially reasonable efforts to
obtain entry of an Order confirming the Plan of Reorganization (the “Confirmation Order”) by
no later than November 8, 2010, and such Confirmation Order shall be in form and substance
consistent with this Agreement and satisfactory to Purchaser in its reasonable discretion. The
Confirmation Order will provide, among other things, that: (i) the Plan of Reorganization is
confirmed and the transactions contemplated therein are approved; (ii) this Agreement and the
Transactions contemplated herein are approved; (iii) on the Effective Date, the Purchased Assets
shall be sold to Purchaser free and clear of any and all Liens (except for Permitted Liens and the
Assumed Liabilities); and (iv) on the Effective Date, the Assumed Contracts shall be assumed by
Sellers and assigned to the Purchaser pursuant to Section 365 of the Bankruptcy Code and
Purchaser shall pay all Cure Costs due in connection with the assumption and assignment of the
Assumed Contracts, provided, that, to the extent the aggregate Cure Costs paid by Purchaser
exceed the aggregate Cure Costs set forth on Schedule 2.3(c), as such Schedule may be amended
in accordance with Section 15.10, such excess Cure Costs shall be reflected on the Final
Working Capital Statement. In addition, the Confirmation Order will include the matters
specified in Section 9.5. Sellers and Purchaser agree to use commercially reasonable efforts
cooperate, assist and consult with each other to obtain the issuance and entry of the Confirmation
Order, including furnishing affidavits, declarations or other documents or information for filing
with the Bankruptcy Court.

               8.2.   Bidding Procedures.

                      (a)     Intentionally Omitted.

                      (b)     Intentionally Omitted.

                      (c)     Intentionally Omitted:

                      (d)    Notice to Parties to Acquired Contracts. Sellers provided timely
       and proper written notice of the motion seeking entry of a bidding procedures order
       (docket no. 190 in the Bankruptcy Cases) to all parties to executory contracts and
       unexpired leases to be assumed by Sellers and assigned to Purchaser pursuant to that
       certain Asset Purchase Agreement dated as of August 4, 2010 by and among the Sellers,
       as seller, and Sea Island Acquisition LP, as buyer, and shall take all other actions
       necessary to cause the executory contracts and unexpired leases set forth on Schedule
       2.1(b) to be assumed by Sellers and assigned to Purchaser pursuant to Section 365 of the
       Bankruptcy Code and Sellers shall, at or prior to the Closing, comply with all

                                              -34-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:39 of
                                     278


       requirements under Section 365 necessary to assign to the Purchaser the contracts and
       agreements included in the Assumed Liabilities.

                      (e)    Intentionally Omitted.

                      (f)    Intentionally Omitted.

        9. Tax Matters. Except as otherwise provided in this Section 9, Purchaser and Sellers
agree that after the Closing:

              9.1.    Tax Cooperation. Purchaser and Sellers agree to furnish or cause to be
furnished to each other, upon reasonable written request, as promptly as practicable, such
information and assistance relating to the Business and the Purchased Assets (including access to
books and records) as is reasonably necessary for the preparation and filing of all Tax Returns,
the making of any election relating to Taxes, the preparation for any audit by any Taxing
Authority, and the prosecution or defense of any Claim, suit or proceeding relating to any Tax.
Sellers and Purchaser shall reasonably cooperate with each other in the conduct of any audit or
other proceeding relating to Taxes involving the Purchased Assets or the Business or in
connection with any Tax matter set forth in this Section 9.

              9.2.    Allocation of Taxes.

                       (a)    The Parties acknowledge and agree that the Transactions will be
       consummated pursuant to a confirmed plan of reorganization in the Bankruptcy Cases.
       As a result, as contemplated by Section 1146(a) of the Bankruptcy Code, the making or
       delivery of any instrument of transfer, including the filing of any deed or other document
       to evidence, effectuate or perfect the rights, transfers and interests contemplated by this
       Agreement, shall be free and clear of any and all transfer taxes, stamp taxes or similar
       taxes. All deeds, instruments, Orders and agreements transferring the Purchased Assets
       to Purchaser shall contain the following endorsement:

              “Because this [instrument] has been authorized pursuant to Grantor’s plan
              of reorganization that was confirmed by order of the United States
              Bankruptcy Court for the Southern District of Georgia, it is exempt from
              transfer taxes, stamp taxes or similar taxes pursuant to 11 U.S.C.
              §1146(a).”

                      (b)     In the event that, notwithstanding the provisions of Section 1146(a)
       of the Bankruptcy Code or for any other reason, any sales, use, value added, transfer,
       stamp, recording, documentary, registration or other similar taxes, fees or charges (the
       “Transfer Taxes”) are assessed at Closing or at any time thereafter on the transfer of any
       Purchased Assets pursuant to this Agreement, then in each instance such Transfer Taxes
       incurred as a result of the Transactions contemplated hereby shall be paid by Purchaser.
       Purchaser and Sellers shall reasonably cooperate in providing each other with any
       appropriate resale exemption certifications and other similar documentation.


                                              -35-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:40 of
                                     278


                 9.3.   Property Taxes. 2010 Property Taxes shall be apportioned between
Sellers, on the one hand, and Purchaser, on the other hand, based on the number of days of such
Tax period included in the Pre-Closing Tax Period and the number of days of such Tax period
after the Closing Date (with respect to any such Tax period, the “Post-Closing Tax Period”).
Sellers shall be liable for the proportionate amount of such 2010 Property Taxes that is
attributable to the Pre-Closing Tax Period (the “Sellers Apportioned Tax Amount”), and
Purchaser shall be liable for the proportionate amount of such 2010 Property Taxes that is
attributable to the Post-Closing Tax Period.

              9.4.   Return Filing. Purchaser shall have the right to prepare and file (or cause
to be prepared and filed) all Tax Returns due after the Closing with respect to any Property
Taxes, Transfer Taxes, Accrued Payroll Taxes or Accrued Sales and Use Taxes and shall pay or
cause to be paid any liability shown as due on any such Tax Return to the applicable Taxing
Authority.

                 9.5.   Certain Tax Matters. Without limiting the provisions of Section 8.1, each
Seller shall use its commercially reasonable efforts to include in the Confirmation Order express
rulings that: (i) under Ga. Comp. R & Regs. 560-12.1-.07, the transfer of the Purchased Assets to
Purchaser or any of its Affiliates as contemplated by this Agreement is exempt from taxation
under Chapter 8 of Title 48 of the OCGA (Sales and Use Taxes); (ii) under OCGA § 48-6-
2(a)(7.1) and Section 1146(a) of the Bankruptcy Code, the transfer of the Purchased Assets to
Purchaser or any of its Affiliates as contemplated by this Agreement is exempt from taxation
under OCGA § 48-6-1 (Real Estate Transfer Tax); (iii) upon the payment of the Purchase Price
by Purchaser pursuant to this Agreement, any obligation or liability Purchaser or any of its
Affiliates may have under any applicable Law to withhold, deduct or deposit any amount from
the Purchase Price and any obligation or liability Purchaser or any of its Affiliates may have
under any applicable Law as successor or transferee for Taxes of any Seller or any Affiliate of
any Seller shall hereby be satisfied and Purchaser and its Affiliates shall hereby be released and
discharged from any such obligation or liability (in each case, including, without limitation, all
Specified Georgia Tax Obligations); (iv) the Purchased Assets and the Business transferred to
Purchaser or any of its Affiliates as contemplated by this Agreement shall be free and clear from,
and shall not be subject to, any Liens for or arising from any Tax delinquencies or deficiencies of
any Seller or any Affiliate of any Seller (including, without limitation, any Liens for or arising
with respect to any Specified Georgia Tax Obligation); and (v) any bank account designated in
writing by Sellers pursuant to Section 2.6(a) shall be approved by the Bankruptcy Court to be an
account in which the Purchase Price may be deposited, and all amounts deposited therein by
Purchaser shall be distributed only pursuant to the Confirmation Order.

               9.6.   Tax Treatment. Purchaser and Sellers agree to treat any payment
(including an indemnity payment, if any) made between one another pursuant to, or in
connection with, this Agreement as an adjustment to the Purchase Price for Tax purposes to the
extent permitted by applicable Law.

       10. Employee Matters.



                                               -36-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:41 of
                                     278


                10.1. Employees and Offers of Employment. Effective as of the Closing Date,
Purchaser shall offer employment to all employees of Sellers that are actively at work at the
Closing, including those employees who are away from work due to vacation or short-term
illness. Purchaser shall also offer employment to each other person employed by Sellers at
Closing, to be effective as of the date such person is available to return to active employment,
provided that the Purchaser shall not be obligated to offer employment to any person who cannot
return to active employment on or before the 90th day following Closing. From and after the date
he or she commences employment with the Purchaser, each employee of Seller hired by
Purchaser pursuant to the two immediately preceding sentences shall be called “Transferred
Employees.” In each case, such offers of employment shall be on terms and with benefits agreed
to between Purchaser and such persons and, except as expressly set forth in this Agreement,
without regard to, and without assumption or continuation of, any compensation, benefits or
arrangements provided by Sellers. Effective as of the Closing Date, Purchaser shall assume
responsibility for the Transferred Employees, but, except as expressly set forth in this
Agreement, only to the extent related to (i) services rendered after the Closing Date, (ii) any
termination by Purchaser of a Transferred Employee after the Closing Date or (iii) any actions by
Purchaser. Sellers shall retain all liabilities in respect of all Sellers’ employees, including
Transferred Employees, except (a) liabilities associated with (x) the Transferred Employees’
service with Purchaser after the Closing Date, (y) any termination of a Transferred Employee by
Purchaser after the Closing Date, or (z) any violation by Purchaser of applicable law or this
Section 10.1, and (b) as otherwise expressly set forth in this Agreement. For the avoidance of
doubt, nothing in this Agreement (A) guarantees any Transferred Employee employment with
Purchaser for any period of time, (B) causes any Transferred Employee to be employed on any
basis other than on an “at-will” basis or (C) in any way restricts Purchaser’s right to terminate
the employment of any Transferred Employee after the Closing Date.

                10.2. Specified Deferred Compensation Obligations. The Specified Deferred
Compensation Obligations shall be paid by Purchaser at the time and in the manner provided for
by the terms of the Deferred Compensation Plan, including employee elections thereunder.
Information as to such payment dates (including any employee elections) shall be provided to
Purchaser by Sellers as soon as reasonably practicable, but in no event later than 10 business
days after Closing; provided, however, that payments with respect to the Specified Additional
Deferred Compensation Obligations shall be made on a pro rated basis only to each person
Listed on Schedule 2.3(k) who has not waived his or her rights to such claims (each, an “Eligible
Payee”) in an amount determined by multiplying (i) $440,520 times (ii) the percentage
determined with respect to such Eligible Payee by dividing (A) the total obligation to such
Eligible Payee in respect of such Special Additional Deferred Compensation Obligations by (B)
the aggregate amount of all obligations to all Eligible Payees in respect of such Special
Additional Deferred Compensation Obligations. From and after the date the respective amounts
of Specified Deferred Compensation Obligations listed on Schedules 2.3(d), 2.3(j) and 2.3(k)
were determined (including after giving effect to the proviso in the immediately preceding
sentence), such amounts shall be credited quarterly with interest at an annual rate equal to the
“Prime Rate” that is reported in the Money Rates section of the Wall Street Journal published on
the first business day of such quarter.



                                              -37-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:42 of
                                     278


                10.3. Retiree Health Benefits. From and for a period of one year following
Closing, Purchaser shall make available to the retirees listed on Schedule 10.3 the same health
benefit plan as is in effect from time to time for active employees of Purchaser at a level of
contribution not greater than the level of contribution in effect for such retirees at the time of
Closing under the Sea Island Company Healthgram employee benefits plan designed and
maintained by the Sea Island Company to provide health care benefits; provided that for a retiree
or any beneficiary thereof eligible for Medicare, the benefits under such health benefit plan shall
be secondary to Medicare benefits. Nothing in the immediately preceding sentence shall be
construed to limit Purchaser’s right to modify the terms of its health benefit plan or, following
the period specified therein, to modify the level of contribution required from retirees, or the
eligibility of retirees to participate in such health benefit plan; provided, however, that, if
Purchaser at any time directly or indirectly ceases to make coverage under its health benefits
plan applicable to active employees available to the retirees listed on Schedule 10.3 and their
beneficiaries, Purchaser shall promptly establish a trust or other funding vehicle to make medical
benefits available to such retirees and their beneficiaries and shall contribute to such trust or
vehicle an amount, if any, equal to the remainder of (i) $1,448,957 minus (ii) the costs incurred
by Purchaser prior to such cessation of coverage to provide medical benefits coverage to such
retirees and their beneficiaries. The retiree health benefits provided pursuant to this Section shall
be subject to a lifetime maximum for each participant of (x) $50,000 minus (y) the total amount
of retiree health benefits received by each such participant prior to Closing. Schedule 10.3 shall
indicate the total amount of benefits received by each retiree health plan participant, and the
amount of the remaining benefits each participant is eligible to receive.

               10.4.   Employee Plans.

                       (a)     Each Transferred Employee shall be eligible to receive benefits
       consistent with Purchaser’s applicable human resources policies. As promptly as
       reasonably practicable after the Closing Date (and as permitted by Purchaser’s employee
       benefit plans and employee policies), Purchaser shall enroll the Transferred Employees in
       Purchaser’s employee benefit plans for which such employees are eligible (and as
       permitted by Purchaser’s employee benefit plans and employee policies). Purchaser
       shall, as permitted by Purchaser’s employee benefit plans and employee policies,
       recognize the prior service with Sellers of each of the Transferred Employees for
       purposes of eligibility to participate under such employee benefit plans of Purchaser.
       Transferred Employees will be eligible to participate in Purchaser’s employee benefit
       plans (including Purchaser’s health plans), as permitted by Purchaser’s employee benefit
       plans and employee policies, and will be treated under such plans on the same terms and
       conditions as any other similarly situated employee of Purchaser with similar service
       (after giving effect to this Section 10.4) with Purchaser. Notwithstanding anything to the
       contrary contained herein, (i) Purchaser shall recognize the prior service with the Seller
       of each of the Transferred Employees for purposes of eligibility to participate under
       Purchaser’s health plans and 401(k) defined contribution plan, if any, and shall enroll the
       Transferred Employees in such plans without waiting periods so long they have satisfied
       prior service requirements (after giving effect to the foregoing recognition of prior
       service with Sellers) and (ii) Purchaser shall provide coverage to such employees who are
       eligible under Purchaser’s health, medical, life insurance and other welfare plans (A)
                                                -38-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:43 of
                                     278


      without the need to undergo a physical examination or otherwise provide evidence of
      insurability; (B) by taking into account the period of coverage under Sellers’ (or its
      Affiliates’) plans for purposes of applying any pre-existing condition or similar
      limitations or exclusions; and (C) by applying and giving credit for amounts paid for the
      plan year in which the Closing Date occurs as deductibles, out of pocket expenses and
      similar amounts paid by individuals and their beneficiaries. Except as expressly
      provided by this Agreement, the Purchaser shall retain the right to modify, amend or
      terminate any and all employee benefit plans and policies at any time.

                      (b)    Effective as of Closing, Purchaser shall assume and make available
      to Transferred Employees the accrued vacation amounts indicated on the list provided
      pursuant to Section 5.9, which accrued vacation amounts shall be determined and
      administered consistently with the policies of Sellers as of the date of this Agreement.
      Purchaser may adopt differing policies with respect to any vacation benefits accruing on
      or after the Closing Date.

                      (c)     Effective as of Closing, Purchaser shall adopt a policy to provide
      severance payments to Transferred Employees who are terminated without cause and
      who have provided at least one complete year of service to the business. If any employee
      of Sellers who accepts an offer of employment from Purchaser is subsequently terminated
      by Purchaser within the 6-month period after the Closing Date, then Purchaser shall make
      severance payments to such employee in an amount that is not less than the amount of
      severance that such employee would have been entitled to receive under Sellers’
      severance policy in effect on the date hereof if such employee had been terminated by
      Sellers as of the Closing Date.

                    (d)     From and after the Closing Date, Sellers shall remain solely
      responsible for any and all liabilities relating to or arising in connection with the
      requirements of Section 4980B of the Code to provide continuation of health care
      coverage in respect of (A) employees and their covered dependents with respect to any
      qualifying event occurring prior to the Effective Time and (B) employees other than
      Transferred Employees with respect to any qualifying event occurring after the Effective
      Time. Purchaser shall be responsible for any and all liabilities relating or arising in
      connection with the requirements of Section 4980B of the Code to provide continuation
      of health care coverage in respect of Transferred Employees and their covered
      dependents with respect to any qualifying event occurring after the Effective Time.

                      (e)    Neither Purchaser nor any of its affiliates shall have any liability or
      responsibility for any (i) claims arising out of the employment by the Sellers of any
      current or former Employee or a beneficiary or dependent thereof or (ii) benefits payable
      in respect of any current or former Employee under any Employee Benefits Plan., in each
      case, other than the Specified Deferred Compensation Obligations. The Sellers shall
      remain solely responsible for any and all liabilities, obligations and commitments in
      respect of such current or former Employee relating to or arising out of or as a result of
      the employment or the actual or constructive termination of employment of any such
      current or former Employee by the Sellers (including in connection with the

                                              -39-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:44 of
                                     278


       consummation of the Transaction). The Sellers shall remain responsible for the payment
       of any and all severance, retention, change in control or other similar compensation or
       benefits under the various plans and arrangements maintained or entered into by the
       Sellers and that are or may become payable in connection with the consummation of the
       Transaction.

                10.5. WARN Obligations. From and after the Closing Date, Sellers shall
remain solely responsible for any and all obligations that might arise under the Worker
Adjustment and Retraining Notification Act (the “WARN Act”), or under any similar provision
of any federal, state, regional, foreign or local law, rule or regulation (hereinafter referred to
collectively as “WARN Obligations”) arising as a result of any employment losses occurring
prior to, on or after the Closing Date with respect to all current and former employees.

              10.6. Collective Bargaining Agreements. The Sellers shall retain all collective
bargaining agreements, including all employee benefit obligations thereunder.

               10.7. Employee Records. Purchaser shall maintain employee records transferred
to Purchaser hereunder for a period of not less than four (4) years and during that period will
afford Sellers reasonable access to such records during Purchaser’s normal business hours.
Purchaser shall maintain the confidentiality of such records and limit access thereto in a manner
consistent with Purchaser’s treatment of its employee records.

               10.8. Workers’ Compensation. Sellers shall be liable for all workers’
compensation claims arising out of injuries with an identifiable date of occurrence sustained by
Sellers’ employees prior to the Closing Date. Purchaser shall be liable for all workers’
compensation claims arising out of injuries with an identifiable date of occurrence, sustained by
the Transferred Employees on and after the dates (hereinafter, “Transferred Employees’
Employment Date”) Purchaser hires them, including injuries sustained by a Transferred
Employee on or after the Transferred Employees’ Employment Date that are aggravations,
exacerbations or re-injuries of medical conditions or diagnoses resulting from injuries that were
sustained before the Transferred Employees’ Employment Date. Sellers shall be liable for all
workers’ compensation claims arising out of injuries or occupational diseases without an
identifiable date of occurrence or exposure, which are alleged to have been sustained or
contracted prior to the Closing Date, provided such claims are filed with the appropriate
Workers’ Compensation authority within ninety (90) days after the Transferred Employees’
Employment Date. Purchaser shall be liable for all workers’ compensation claims arising out of
injuries or occupational diseases without an identifiable date of occurrence or exposure, which
are alleged to have been sustained or contracted either before or after the Transferred
Employees’ Employment Date, provided that, in the case of any such injuries or diseases
allegedly sustained before the Transferred Employees’ Employment Date, such claims are filed
with the appropriate workers’ compensation authority more than ninety (90) days after the
Transferred Employees’ Employment Date.

       11. Club Memberships.

               11.1.   New Membership Programs and Agreements.

                                              -40-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:45 of
                                     278


                      (a)    Purchaser will offer Club Members, including inactive Club
       Members who have terminated their membership and are waiting for return of their
       deposit, the opportunity to join the new Ocean Forest and Sea Island clubs and execute
       agreements on the terms and conditions of new membership programs, which shall set
       forth and govern the rights of club members post-Closing (the “New Membership
       Programs”).

                      (b)    The New Membership Programs will be generally consistent with
       the Sea Island Club Membership Program or the Ocean Forest Golf Club Membership
       Program, as applicable, with certain modifications, including, but not limited to, those
       specified in Schedule 11.1(b). Purchaser will credit to new member accounts of Club
       Members who execute agreements under the New Membership Programs (“Electing Club
       Members”) an amount equal to their respective existing membership deposits that had
       been paid in cash. Electing Club Members will not be required to post any additional
       deposit amounts to join under the New Membership Programs. Purchaser will refund
       member deposits of Electing Club Members as set forth on Schedule 11.1(b) in
       paragraphs 1, 3 and 4 under the heading “Sea Island Club” and paragraphs 1, 2, 3 and 4
       under the heading “Ocean Forest Golf Club”, as applicable.

       12. Closing Conditions.

              12.1. Conditions to Obligations of Purchaser and Seller. The obligations of
Purchaser and Sellers to consummate the Closing are subject to the satisfaction of the following
conditions:

                       (a)    the Bankruptcy Court shall have entered the Confirmation Order in
       the Bankruptcy Cases, authorizing the Transactions and approving this Agreement and
       the ancillary agreements contemplated hereby under Sections 105(a), 365, 1123 and 1129
       of the Bankruptcy Code, in form and substance reasonably acceptable to Sellers and
       Purchaser, and as of the Closing Date the Confirmation Order shall be a Final Order and
       shall not be stayed, shall be in full force and effect, and shall not have been vacated or
       reversed.

                      (b)    the Effective Date shall have occurred or shall occur as a result of
       the Closing; and

                      (c)     no injunction, stay or similar Order, issued by any Governmental
       Authority shall be in effect that restrains, enjoins, stays or prohibits the consummation of
       the Transactions.

               12.2. Conditions to Obligations of Purchaser. The obligation of Purchaser to
consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the following
further conditions:

                      (a)    Sellers shall have performed in all material respects all of their
       obligations hereunder required to be performed by Sellers on or prior to the Closing Date;

                                               -41-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:46 of
                                     278


                      (b)     Sellers shall have made all deliveries required of them by Section
       2.10;

                      (c)      the representations and warranties of Sellers contained in this
       Agreement shall be true and correct in all material respects at and as of the Closing Date,
       as if made at and as of such date (or to the extent such representations and warranties
       speak as of an earlier date, they shall be true and correct as of such earlier date);

                        (d)   a title insurance company selected by Purchaser and
       Commonwealth Land Title Insurance Company (“Commonwealth Title”), as co-insurers
       on a 50/50 basis with Commonwealth Title acting as the lead underwriter in connection
       with the preparation of the Title Commitment, shall have irrevocably and unconditionally
       committed to issue an owner’s title insurance policy in form and substance reasonably
       satisfactory to Purchaser, insuring Purchaser’s good, marketable and indefeasible fee
       simple title to the Acquired Owned Real Property, subject only to the Permitted Liens;

                       (e)    no material adverse changes to the condition of any of the
       Acquired Owned Real Property (other than immaterial Acquired Owned Real Property)
       shall have occurred since the date of this Agreement for which Purchaser, in its sole
       discretion, has not consented to in writing; and

                      (f)   all consents required for the assignment to Purchaser of the Permits
       listed on Schedule 3.8(a) (other than licenses for the sale of beer, wine and liquor),
       Assumed Contracts and Intellectual Property Rights listed on Schedule 12.2(f) shall have
       been received;

                      (g)   Sellers shall have issued a compliant WARN notice with respect to
       Sellers’ employees and at least sixty (60) days shall have passed since such notice was
       delivered; and

                     (h)    Purchaser shall have received approval of the beer, wine and liquor
       licenses set forth on Schedule 12.2(h) or such licenses are otherwise available to
       Purchaser on reasonable terms to permit the continued sale of beer, wine and liquor in
       connection with the Business.

               12.3. Conditions to Obligations of Seller. The obligation of Sellers to
consummate the Closing is subject to the satisfaction (or waiver by Sellers) of the following
further conditions:

                       (a)     (i) Purchaser shall have performed in all material respects all of its
       obligations hereunder required to be performed by it at or prior to the Closing Date, and
       (ii) the representations and warranties of Purchaser contained in this Agreement shall be
       true and correct in all material respects at and as of the Closing Date, as if made at and as
       of such date (or to the extent such representations and warranties speak as of an earlier
       date, they shall be true and correct in all material respects as of such earlier date); and

                      (b)     Purchaser shall have made all deliveries required of it by Section
                                               -42-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:47 of
                                     278


       2.11.

       13. Survival; Indemnification.

                13.1. Survival.      The (a) representations and warranties of Sellers, and
(b) covenants and agreements of Sellers that by their terms are to be performed before Closing,
contained in this Agreement or in any certificate or other writing delivered in connection
herewith, shall not survive the Closing. The covenants and agreements of Sellers contained
herein that by their terms are to be performed after Closing shall survive the Closing for such
terms. The (a) representations and warranties of Purchaser, and (b) covenants and agreements of
Purchaser that by their terms are to be performed before Closing, contained in this Agreement or
in any certificate or other writing delivered in connection herewith, shall not survive the Closing.
The covenants and agreements of Purchaser contained herein that by their terms are to be
performed after Closing shall survive the Closing for such terms.

                13.2. Indemnification. Each of Purchaser and Sellers agrees to indemnify the
other with respect to any investment banking fees, financial advisory fees, brokerage fees,
finders’ fees, or other similar fees which are alleged to be due and payable with respect to the
Transactions and which are asserted as a result of the actions of the indemnifying party. There
shall be no post-Closing indemnification of Purchaser by Sellers with respect to any matter not
set forth in Section 7.6, Section 7.7 or this Section 13.2.

       14. Termination.

                14.1. Grounds for Termination. This Agreement may be terminated at any time
prior to the Closing:

                       (a)    by mutual written agreement of Sellers and Purchaser;

                      (b)     by Sellers or Purchaser, if the Closing shall not have been
       consummated on or before the later of (i) December 31, 2010, or (ii) eleven (11) days
       after any notice delivered pursuant to Section 7.4 if the breach that is the subject of such
       notice remains uncured (the later of clause (i) and (ii), the “End Date”), unless the Party
       seeking termination is in breach of its obligations hereunder;

                       (c)    by Sellers or Purchaser, if any condition set forth in Section 12.1 is
       not satisfied, and such condition is incapable of being satisfied by the End Date;

                       (d)    by Purchaser, if any condition set forth in Section 12.2 has not
       been satisfied, and such condition is incapable of being satisfied by the End Date;

                       (e)    by Sellers, if any condition set forth in Section 12.3 has not been
       satisfied, and such condition is incapable of being satisfied by the End Date;

                     (f)    by Purchaser, if a Material Adverse Effect has occurred and is
       continuing and such matter is incapable of being remedied or cured on or before the End
       Date;

                                               -43-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:48 of
                                     278


                      (g)     Intentionally Omitted.

                      (h)     by Purchaser, if Sellers execute and deliver a definitive agreement
       with a third party (other than Purchaser) for the acquisition of all or substantially all the
       Purchased Assets;

                       (i)      by Purchaser, if the Secured Lenders have not entered into an
       agreement with Sellers, in form and substance satisfactory to Purchaser, to support the
       Plan of Reorganization, not to credit bid their secured indebtedness or otherwise bid in
       the auction and not to transfer any of the secured indebtedness they hold unless such
       transfer is subject to the terms of such agreement (the “Plan Support Agreement”);

                      (j)     Intentionally Omitted;

                      (k)     by Purchaser, if the Bankruptcy Cases are dismissed or converted
       to chapter 7 of the Bankruptcy Code or a trustee or examiner with expanded powers is
       appointed for the Sellers;

                       (l)    by Purchaser if (A) the Confirmation Order has not been entered
       by the Bankruptcy Court on or before November 8, 2010, provided that Purchaser shall
       not be entitled to exercise its rights under this clause if the Confirmation Order has been
       entered by the Bankruptcy Court prior to Purchaser exercising such rights, or (B)
       following entry of the Confirmation Order, the Confirmation Order is materially and
       adversely modified by a Modifying Order and such Modifying Order is not reversed,
       revoked, voided, vacated, stayed or further modified within thirty (30) days such that the
       Confirmation Order is in full force and effect;

                      (m)    by Purchaser, if either (i) Sellers do not obtain from the Secured
       Lenders prior to commencing the Bankruptcy Cases, (x) consent to debtor-in-possession
       financing in aggregate principal of $5,000,000 to be provided in the Bankruptcy Cases by
       Affiliates of Purchaser on the terms previously provided to Sellers or (y) a commitment,
       in form and substance satisfactory to Purchaser, to provide Sellers not less than
       $5,000,000 aggregate principal amount of debtor-in-possession financing in the
       Bankruptcy Cases, (ii) the Bankruptcy Court does not enter an Order approving such
       debtor-in possession financing on a final basis on or before September 30, 2010, or (iii)
       such debtor-in possession financing is terminated for any reason and not promptly
       replaced by another comparable financing facility;

                       (n)     by Purchaser, if any Secured Lender or transferee of any secured
       lender is in breach of the Plan Support Agreement.

The Party desiring to terminate this Agreement pursuant to this Section 14.1 (other than pursuant
to Section 14.1(a)) shall give notice of such termination to the other Party in accordance with
Section 15.1.

              14.2. Effect of Termination. If this Agreement is terminated as permitted by
Section 14.1, such termination shall be without liability of any Party (or any stockholder,
                                               -44-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:49 of
                                     278


director, officer, employee, agent, consultant or representative of such Party) to the other Party to
this Agreement except as expressly provided in Sections 2.8 and 14.3. The provisions of
Sections 6.1 and 13.2, 14.2, 14.3, 15.1, 15.2, 15.4, 15.5, 15.6, 15.7 and 15.9 shall survive any
termination hereof pursuant to Section 14.1.

               14.3. Remedies. Effective as of Closing, Purchaser waives irrevocably any
rights and Claims Purchaser may have against Sellers, whether in Law or in equity, relating to (i)
any breach of representation, warranty, covenant or agreement contained herein and occurring on
or prior to the Closing, or (ii) the Purchased Assets, Assumed Liabilities or the Business.
Purchaser and Sellers acknowledge and agree that if this Agreement is terminated by Purchaser
pursuant to Section 14.1, the provisions of Section 14.2 set forth the sole and exclusive remedies
of Purchaser. Purchaser and Sellers further acknowledge and agree that if this Agreement is
terminated by Sellers pursuant to either (i) Section 14.1(e) or (ii) Section 14.1(b)(ii), then, in
addition to Sellers’ remedies set forth in Section 14.2, Sellers shall also retain any and all claims,
rights, remedies, prayers for damages and causes of action, whether arising in law or in equity,
arising from or related to any breach of this Agreement by Purchaser, including the right to
specific performance.

               14.4. Expenses. Except as otherwise set forth expressly herein, all costs and
expenses incurred in connection with this Agreement shall be paid by the Party incurring such
cost or expense.

       15. Miscellaneous.

               15.1. Notices. All notices, requests and other communications to any Party
hereunder shall be in writing (including facsimile transmission) and shall be given,

               if to Purchaser, to:

                       Sea Island Acquisition GP, LLC
                       333 South Grand Avenue, 28th Floor
                       Los Angeles, CA 90071
                       Attention: Kenneth Liang
                       Fax: 213-830-8585




               with copies to:

                       Oaktree Capital Management. L.P.
                       333 South Grand, 28th Floor
                       Los Angeles, CA 90071

                                                -45-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:50 of
                                     278


                       Attention: Emily Alexander, Esq.
                       Fax: 213-830-8599

                       Oaktree Capital Management. L.P.
                       1301 Avenue of the Americas, 34th Floor
                       New York, NY 10019
                       Attention: Philip Hofmann
                       Fax: 212-284-7879

                       Avenue Capital Management II, LP
                       535 Madison Avenue
                       New York, NY 10022
                       Attention: Edward Gellert
                       Fax 212 850 7545

                       Debevoise & Plimpton LLP
                       919 Third Ave
                       New York, NY 10022
                       Attention: Steven R. Gross, Esq.
                                  George E.B. Maguire, Esq.
                       Fax: 212-909-6836
                       Fax: 212.521.7586

               if to Sellers, to:

                       Sea Island Company
                       100 Salt Marsh Drive
                       Sea Island, Georgia 31522
                       Attention: James B. Gilbert, Jr.
                       Fax: 912-634-3124

               with a copy to:

                       King & Spalding LLP
                       1180 Peachtree Street
                       Atlanta, Georgia 30309
                       Attention: Sarah Robinson Borders, Esq.
                       Fax: 404-572-5128

All such notices, requests and other communications shall be deemed received on the date of
receipt by the recipient thereof if received prior to 5:00 p.m. in the place of receipt and such day
is a Business Day in the place of receipt. Otherwise, any such notice, request or communication
shall be deemed not to have been received until the next succeeding Business Day in the place of
receipt.


                                               -46-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:51 of
                                     278


               15.2. Waivers. No failure or delay by any Party in exercising any right, power
or privilege hereunder shall operate as a waiver thereof nor shall any single or partial exercise
thereof preclude any other or further exercise thereof or the exercise of any other right, power or
privilege. The rights and remedies herein provided shall be cumulative and not exclusive of any
rights or remedies provided by Law.

               15.3. Successors and Assigns. The provisions of this Agreement shall be
binding upon and inure to the benefit of the Parties and their respective successors and assigns;
provided, however, that no Party may assign, delegate or otherwise transfer any of its rights or
obligations under this Agreement without the written consent of the other Party. Notwithstanding
the foregoing, in the event that by written notice to the Sellers given not later than three (3)
Business days prior to the Closing, Purchaser may, in its sole discretion, designate one or more
entities which have been newly formed for such purpose and are directly or indirectly wholly
owned by funds managed by Oaktree Capital Management, L.P., Avenue Capital Management
II, L.P., Sea Island Holdings, L.L.C., The Anschutz Company or Starwood Capital Group
Global, L.P. to take title to specified Purchased Assets, in which case, Section 2.10 shall be
deemed to be appropriately amended to reflect any such designation.

               15.4. Governing Law. This Agreement shall be governed by and construed in
accordance with the internal Laws of the State of Georgia and any applicable provisions of the
Bankruptcy Code, without regard to the principles of conflicts of Law that would provide for
application of another Law.

               15.5.   Jurisdiction.

                       (a)    Prior to the closing of the Bankruptcy Cases, except as otherwise
       expressly provided in this Agreement, the Parties hereto agree that any suit, action or
       proceeding seeking to enforce any provision of, or based on any matter arising out of or
       in connection with, this Agreement or the Transactions shall be brought exclusively in the
       Bankruptcy Court, and each of the Parties hereby irrevocably consents to the jurisdiction
       of the Bankruptcy Court (and of the appropriate appellate courts therefrom) in any such
       suit, action or proceeding and irrevocably waives, to the fullest extent permitted by Law,
       any objection that it may now or hereafter have to the laying of the venue of any such
       suit, action or proceeding in the Bankruptcy Court or that any such suit, action or
       proceeding which is brought in the Bankruptcy Court has been brought in an
       inconvenient forum. Process in any such suit, action or proceeding may be served on any
       Party anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
       Court. Without limiting the foregoing, each Party agrees that service of process on such
       Party as provided in Section 15.1 shall be deemed effective service of process on such
       Party.

                      (b)    Upon the closing of the Bankruptcy Cases, except as otherwise
       expressly provided in this Agreement, the Parties hereto agree that any suit, action or
       proceeding seeking to enforce any provision of, or based on any matter arising out of or
       in connection with, this Agreement or the Transactions may be brought in any court
       having subject matter jurisdiction over such suit, action or proceeding, and that any cause

                                               -47-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:52 of
                                     278


       of action arising out of this Agreement shall be deemed to have arisen from a transaction
       of business in the State of Georgia, and each of the Parties hereby irrevocably consents to
       the jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any
       such suit, action or proceeding and irrevocably waives, to the fullest extent permitted by
       Law, any objection that it may now or hereafter have to the laying of the venue of any
       such suit, action or proceeding in any such court or that any such suit, action or
       proceeding which is brought in any such court has been brought in an inconvenient
       forum. Process in any such suit, action or proceeding may be served on any Party
       anywhere in the world, whether within or without the jurisdiction of any such court.
       Without limiting the foregoing, each Party agrees that service of process on such Party as
       provided in Section 15.1 shall be deemed effective service of process on such Party.

          15.6. Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS.

              15.7. Third Party Beneficiaries. No provision of this Agreement is intended to
confer upon any Person other than the Parties hereto any rights or remedies hereunder.

               15.8. Entire Agreement; Amendments; Counterparts.                This Agreement
(including the Schedules and Exhibits hereto) and the Confidentiality Agreement set forth the
entire agreement among the Parties with respect to the subject matter hereof and may be
amended only by a writing executed by Purchaser and Sellers. This Agreement may be executed
in counterparts, each of which when taken together shall constitute an original. This Agreement
shall become effective when each Party hereto shall have received a counterpart hereof signed by
the other Party hereto.

                15.9. Captions, Headings, Interpretation. The captions herein are included for
convenience of reference only and shall be ignored in the construction or interpretation hereof.
The headings contained in this Agreement are for convenience of reference only and shall not
affect the meaning or interpretation of this Agreement. Whenever the words “include,”
“includes” or “including” are used in this Agreement, they shall be deemed to be followed by the
words “without limitation.” In the event an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the Parties and no presumption
or burden of proof shall arise favoring or disfavoring any Party by virtue of authorship of any
provisions of this Agreement.

              15.10. Disclosure Schedules.

                       (a)     The Parties acknowledge and agree that (i) the Schedules to this
       Agreement may include certain items and information solely for informational purposes
       for the convenience of Purchaser and (ii) the disclosure by Sellers of any matter in the
       Schedules shall not be deemed to constitute an acknowledgment by Sellers that the matter
       is required to be disclosed by the terms of this Agreement or that the matter is material.


                                              -48-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:53 of
                                     278


                       (b)     Notwithstanding anything in this Agreement to the contrary,
       Purchaser may amend Schedule 2.1(b) and Schedule 2.3(c) by giving written notice to
       Sellers on or before October 15, 2010 in order to (i) exclude from the definition of
       Assumed Contracts and Cure Costs, any contract, agreement or lease not otherwise
       excluded therefrom, or (ii) include in the definition of Assumed Contracts and Cure
       Costs, any contract, agreement or lease not otherwise included therein, and Sellers agree
       to give required notice to any of the non-debtor parties to any such contract, agreement or
       lease or as otherwise reasonably requested by Purchaser, provided, however, that any
       such exclusion or inclusion shall not serve to reduce, increase or otherwise affect the
       amount of the Purchase Price. In connection with the possible inclusion of any contract,
       agreement or lease as an Assumed Contract pursuant to this Section 15.10, Sellers shall
       reasonably cooperate with Purchaser to determining any related Cure Costs to be
       included on Schedule 2.3(c), which Cure Costs shall be paid by Purchaser and shall not
       be reflected in the Final Working Capital Statement.

                     (c)     Notwithstanding anything in this Agreement to the contrary,
       Purchaser may amend Schedule 2.2(c) by giving written notice to Sellers on or before
       two (2) days prior to the Closing Date in order to include in the definition of Excluded
       Owned Real Property any Acquired Owned Real Property set forth in Part II of
       Schedule 2.1(a) or not otherwise included on Schedule 2.1(a).

                15.11. Certain Cooperation. Sellers shall use commercially reasonable efforts to
facilitate any request by Purchaser to pay a portion of the Purchase Price by making a payment to
any or all of the Sellers’ secured lenders in exchange for an assignment of the secured debt held
by such Persons, which secured debt Purchaser would immediately contribute to Sellers to be
cancelled.

                15.12. License of Name. SIC grants to Purchaser and its Affiliates a royalty free,
non-exclusive license to use “Sea Island” in the name of such Persons in connection with the
transactions contemplated by this Agreement, provided that such license shall terminate upon a
termination of this Agreement pursuant to Section 14.1 and Purchaser and its Affiliates will
remove “Sea Island” from the name of any such Person through appropriate filings in the
jurisdiction of their organization.




                                              -49-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:54 of
                                     278
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:55 of
                                     278
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:56 of
                                     278
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:57 of
                                     278

                                  Exhibit A
                                 Balance Sheet
                                                                                      Confidential
            Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:58 of
Sea Island Company
                                                 278
Consolidated Balance Sheet
June 2010
                                                 Actual
                                                6/30/2010
Assets:
Cash                                        $     14,266,067
Accounts & Notes Receivable                       11,260,770
Inventories                                        3,066,872
Land and Homes Held for Sale                      24,328,720
Residential Construction in Progress              43,793,660
Prepaid Expenses                                   1,738,367
Total Current Assets                              98,454,455


Property, Plant and Equipment                    598,162,008
Accumulated Depreciation                         (173,620,442)
Net Fixed Assets                                 424,541,566


Long-term Investments                             53,794,723
Cash Value - Life Insurance                          818,408
Goodwill                                                    -
Notes Receivable - other                           3,052,745
Other Assets                                      57,665,876
Total Assets                                $    580,661,897


Liabilities and Equity:
Current Portion - LTD                       $    545,825,299
Trade Accounts Payable                             3,212,202
Retirement, current                               15,658,448
Other Accrued Liabilities                         73,595,378
Property, Payroll and Other Taxes Payable          3,199,097
Deposits - Resort and Other                        8,788,804
Deferred Revenue - Real Estate                        74,076
Current Liabilities                              650,353,304


Term Loans                                         2,550,173
Club Deposits                                    149,613,859
Retirement Obligations                            56,711,270
Other Long Term Obligations                          483,968
Total Long-Term Obligations                      209,359,270
Total Liabilities                                859,712,574


Capital Stock                                      4,835,478
Retained Earnings                                (217,561,428)
Cost of Treasury Stock                            (66,324,727)
Total Stockholders Equity                        (279,050,677)
Total Liabilities & Stockholders Equity     $    580,661,897
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:59 of
                                     278

                                   Exhibit B
                          Base Working Capital Statement
                    Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                                   Page:60 of
Working Capital Statement                                278
 ($ Millions)                                                                                                           Base WC

 Working Capital Assets                                                                                                 Jun-10
 Operating Cash Held in Registers throughout the Resort                                                             $             0.1
 Resort / Member AR (Subject to Excluded Receivables / 60 Day Aging Cap)                                                          4.5
 Inventory                                                                                                                        3.1
 Prepaid Insurance                                                                                                                1.0
 Prepaid Licenses / Permits / Fees                                                                                                0.3
 Prepaid Sales Tax                                                                                                                0.1
 Beverage Deposits (Subject to Final Validation)                                                                                  0.1
   Total                                                                                                            $             9.3

 Working Capital Liabilities
 Trade Payables                                                                                                     $             3.1
 Gift Cards                                                                                                                       0.6
 Resort Deposits                                                                                                                  2.6
 Accrued Payroll / Commissions / Payroll Taxes                                                                                    2.3
 Sales and Use Taxes                                                                                                              0.7
 Unearned Membership Revenue*                                                                                                     -
   Total                                                                                                            $             9.3

 Net Working Capital (Deficiency)/Addition                                                                          $             (0.0)



 *Represents amount of monthly dues billed in advance by the Company for which service has not yet been rendered.
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:61 of
                                     278

                                   Exhibit C
                       Assignment and Assumption Agreement
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:62 of
                                     278

           BILL OF SALE, ASSIGNMENT AND ASSUMPTION AGREEMENT


               THIS BILL OF SALE, ASSIGNMENT AND ASSUMPTION AGREEMENT
(this “Agreement”), dated [], 2010, is made and entered into by and between Sea Island
Company, a Georgia corporation, Sea Island Coastal Properties LLC, a Georgia limited liability
company, Sea Island Resort Residences, LLC, a Georgia limited liability company, First Sea
Island, LLC, a Georgia limited liability company, Sea Island Apparel, LLC, a Georgia limited
liability company and Sea Island Services, Inc., a Georgia corporation (individually and
collectively, “Seller” or “Sellers”), and Sea Island Acquisition LP, a Delaware limited
partnership (“Purchaser”). Capitalized terms used and not otherwise defined herein shall have
the meanings ascribed to such terms in the Asset Purchase Agreement (the “Asset Purchase
Agreement”), dated August 4, 2010, by and among Sellers and Purchaser.

                                      W I T N E S S E T H:


        WHEREAS, in accordance with the terms of the Asset Purchase Agreement, Sellers
have agreed to sell, transfer, convey, assign and deliver, or cause to be sold, transferred,
conveyed, assigned and delivered, to Purchaser all right, title and interest of Sellers in and to the
Purchased Assets and Purchaser has agreed to purchase, acquire and accept from Sellers all right,
title and interest of Sellers in and to the Purchased Assets and to assume the Assumed Liabilities
on the conditions and subject to the terms set forth in the Asset Purchase Agreement, for
consideration in the amount therein.

        NOW, THEREFORE, in consideration of the foregoing and the respective
representations, warranties, covenants, agreements and conditions set forth herein and in the
Asset Purchase Agreement, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto agree as follows:

        Section 1.     Assignment. Sellers hereby assign to Purchaser all right, title and interest
of Sellers in and to the Purchased Assets, free and clear of all Liens (other than Permitted Liens
and Assumed Liabilities).

       Section 2.    Assumption. Purchaser hereby assumes and hereafter agrees to pay,
perform and discharge the Assumed Liabilities.

        Section 3.      Binding Effect. This Agreement will be binding upon and will inure to the
benefit of the parties hereto and their successors and assigns.

        Section 4.     Entire Agreement; No Third Party Beneficiaries. This Agreement (a)
constitutes the entire agreement and supersedes all prior agreements and understandings, both
written and oral, among the parties with respect to the subject matter hereof, and (b) is not
intended to confer upon any person other than the parties identified herein and their successors
and permitted assigns any rights or remedies hereunder.
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:63 of
                                     278

        Section 5.     Captions. The Section headings contained in this Agreement are inserted
in this Agreement only as a matter of convenience and for reference and in no way define, limit,
extend or describe the scope of this Agreement or the intent of any provision of this Agreement.

       Section 6.    Controlling Law. This Agreement will be governed by and construed and
enforced in accordance with the laws of the State of Georgia.

        Section 7.   Further Assurances. Sellers and Purchaser agree, each at their own
expense, to perform all such further acts and execute and deliver all such further agreements,
instruments and other documents as the other party shall reasonably request to evidence more
effectively the assignments and assumptions made by Sellers and Purchaser under this
Agreement.

         Section 8.    Counterparts. This Agreement may be executed in two or more
counterparts, and it shall not be necessary that any one of the counterparts be executed by all of
the parties hereto. Each fully or partially executed counterpart shall be deemed an original, but
all of such counterparts taken together shall constitute one and the same instrument.

        Section 9.      Severability. If any provision of this Agreement (or any portion thereof)
or the application of any such provision (or any portion thereof) to any person or circumstance
shall be held invalid, illegal or unenforceable in any respect by a court of competent jurisdiction,
the remainder of this Agreement will continue in full force and effect and the application of such
provision will be interpreted so as reasonably to effect the intent of the parties hereto. The
parties further agree to replace such invalid, illegal or unenforceable provision with a valid, legal
and enforceable provision that will achieve, to the extent possible, the economic, business and
other purposes of such invalid, illegal or unenforceable provision.

       Section 10. Conflicts. For the avoidance of doubt, the terms and conditions of the
Asset Purchase Agreement shall be controlling, and any conflict or inconsistency between the
terms of this Agreement and the Asset Purchase Agreement shall be resolved in favor of the
Asset Purchase Agreement.


         [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00         Page:64 of
                                     278

        IN WITNESS WHEREOF, the undersigned have executed this Agreement as of the
date first above written.

                                  SELLERS:


                                  SEA ISLAND COMPANY


                                  By:
                                  Name:
                                  Title:


                                  SEA ISLAND COASTAL PROPERTIES LLC

                                  By Sea Island Company
                                      its manager


                                  By:
                                  Name:
                                  Title:


                                  SEA ISLAND RESORT RESIDENCES, LLC

                                  By Sea Island Company
                                      its Sole Member


                                  By:
                                  Name:
                                  Title:


                                  FIRST SEA ISLAND, LLC

                                  By Sea Island Company
                                      its Sole Member


                                  By:
                                  Name:
                                  Title:




                    Signature page to Assignment and Assumption Agreement
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00         Page:65 of
                                     278


                                  SEA ISLAND APPAREL, LLC

                                  By Sea Island Company
                                      its Sole Member


                                  By:
                                  Name:
                                  Title:


                                  SEA ISLAND SERVICES, INC.


                                  By:
                                  Name:
                                  Title:




                    Signature page to Assignment and Assumption Agreement
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00         Page:66 of
                                     278

                                  PURCHASER:

                                  SEA ISLAND ACQUISITION LP

                                  By Sea Island Acquisition GP, LLC
                                     its General Partner


                                  By:
                                  Name:
                                  Title:



                                  By:
                                  Name:
                                  Title:




                    Signature page to Assignment and Assumption Agreement
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00 Page:67 of
                                     278                   EXECUTION COPY




                          DISCLOSURE SCHEDULE TO



                        ASSET PURCHASE AGREEMENT



                                      among



                         SEA ISLAND ACQUISITION LP;



                            SEA ISLAND COMPANY,

                    SEA ISLAND COASTAL PROPERTIES, LLC,

                     SEA ISLAND RESORT RESIDENCES, LLC,

                            FIRST SEA ISLAND, LLC,

                          SEA ISLAND APPAREL, LLC

                                        and

                          SEA ISLAND SERVICES, INC.



                            Dated as of October 19, 2010




23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                           Page:68 of
                                     278


Reference is hereby made to that certain Asset Purchase Agreement, dated as of October 19, 2010 (the
“Agreement”), by and among Sea Island Acquisition LP, a Delaware limited partnership (the
“Purchaser”), and Sea Island Company, Sea Island Coastal Properties, LLC, Sea Island Resort
Residences, LLC, First Sea Island, LLC, Sea Island Apparel, LLC and Sea Island Services, Inc. (each a
“Seller” and, collectively, the “Sellers”). This Disclosure Schedule has been prepared and delivered in
accordance with the Agreement. Capitalized terms used in this Disclosure Schedule without definition
shall have the respective meanings ascribed to them in the Agreement.

The Parties acknowledge and agree that (i) this Disclosure Schedule may include certain items and
information solely for informational purposes for the convenience of Purchaser and (ii) the disclosure by
Sellers of any matter in this Disclosure Schedule shall not be deemed to constitute an acknowledgment by
Sellers that the matter is required to be disclosed by the terms of this Agreement or that the matter is
material.




                                                    2
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:69 of
                                     278

                                      SECTION 1.1(ccc)
                                 Exceptions to Permitted Liens


See Exhibit A attached hereto.




                                              3
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00       Page:70 of
                                     278

                                      SECTION 1.1(mmm)
                                     Specified Condo Units


1. Parcel 38, Beach Club Residences, Unit BCO1 and BCO2
2. Parcel 39, Ocean Club Residences, Unit ON3
3. Parcel 40, Beach Club Residences, Unit GS6
4. Parcel 42, Ocean Club Residences, ON Resort Unit
5. Parcel 43, Beach Club Residences, BCO Resort Unit and GN Resort Unit




                                                4
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                  Page:71 of
                                     278

                                               SECTION 2.1(a)
                                                                          1
                                      Acquired Owned Real Property



1. Parcel 1, Cloister Hotel and Resort -- West of Sea Island Drive
2. Parcel 2, Black Banks River Residences, a Condominium, Resort Unit
3. Parcel 3, Sea Island Resorts Beach Club Condominium, 25 Resort Units and 209 Parking Units
4. Parcel 4, Cloister Ocean Residences on Sea Island, a Condominium, Quarter Ownership Interests
5. Parcel 5, Cloister Hotel and Resort -- East of Sea Island Drive
6. Parcel 6, Sea Island Strip of Oceanfront Property
7. Parcel 7, Sea Island Street and Road rights of way, including without limitation any bridges
8. Parcel 8, Ocean Forest Lots 30 and 31
9. Parcel 9, Ocean Forest Clubhouse, Golf Course, and Resort Facilities
10. Parcel 10, Lodge, Plantation and Seaside Golf Courses, and Resort Facilities, including, for the
    avoidance of doubt, the Corn Barn and Golf School depicted as “Real Estate B” and “Real Estate C”
    respectively, on page 43 of the Sea Island Management Presentation dated June 2010.
11. Parcel 11, Retreat Clubhouse, Golf Course, and Resort Facilities
12. Parcel 13, Black Banks Residential Tract
13. Parcel 14, Sea Island Support Services Campus - South
14. Parcel 15, Sea Island Support Services Campus - North (Parking Area)
15. Parcel 18, Frederica Lots 201, 219, 232 and 240
16. Parcel 26(a) and (b), Dune Cottage Lots, Ocean Forest
17. Parcel 27, Ocean Forest Expansion Property
18. Parcel 29 and 29 (a), Old Seaside Lot 9 and Lot 8
19. Parcel 30, Old Seaside Expansion Property
20. Parcel 31, Sea Island Lake Cottages Lots
21. Parcel 32, Sea Island Lake Cottages Expansion Property
22. Parcel 33, Frederica Lots 202 and 251
23. Parcel 35, Tract IX, “Finger”, Cloister Residences East
24. Parcel 36, Expanded Tract V, Cloister Residences East
25. Parcel 37, Tract I (West Point Plantation), Tract III (Lot 12, Marsh Point), Tract IV (Lot 19 Vassar
    Point), Tract V (Lot 122, Phase 2-B, Oak Forest) and Tract VI (portion of Black Banks Subdivision)
26. Parcel 38(a) and (b), Beach Club Residences, Unit BCO1 and BCO2
27. Parcel 39, Ocean Club Residences, Unit ON3

1
 The Acquired Owned Real Property includes the parcels included on this list, as more fully described on the Legal
Descriptions attached as Exhibit B hereto, which may be revised to be consistent with the Title Commitment.

                                                        5
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:72 of
                                     278

28. Parcel 40, Beach Club Residences, Unit GS6
29. Parcel 41, Beach Club Residences, GS Resort Unit
30. Parcel 42, Ocean Club Residences, ON Resort Unit
31. Parcel 43, Beach Club Residences, BCO Resort Unit and GN Resort Unit
32. Parcel 44, Kings Point Lot 13
33. Parcel 45, Kings Point Lot 15
34. Parcel 47, Frederica Subdivision Lot 46
35. Parcel 48, Frederica Subdivision Lot 131 (1/2 interest)
36. Parcel 49, Dune Cottage Lot 38, Ocean Forest
37. Parcel 50, Tracts 1, 2 and 3, Woodbine property
38. Parcel 51, Tabby House at Malcolm McKinnon Airport
39. Parcel 52, Salt Marsh, Frederica and Cannon’s Point Tracts
40. Parcel 53, Laundry and Purchasing Facility
41. Parcel 54, Rainbow Hammock
42. Parcel 55, Salt Marsh and Hammocks lying to the west of the Plantation and Seaside Golf Courses
    and south of Kings Way
43. Parcel 56, South End of Sea Island
44. Parcel 57, Salt Marsh and high ground west of Sea Island Subdivision No. 1
45. Parcel 58, Native American Burial Ground
46. Parcel 59, Well Site, Sea Island
47. Parcel 60, Marshlands Around Hawkins Island bounded south by property of Epworth By The Sea,
    Inc., by Hamilton Landing Subdivision, etc.
48. Parcel 61, Lanier Island
49. Parcel 62, Sea Island Resorts Beach Club Condominium, Beach Club Suite “CC”
50. Parcel 63, Sixty Acres, more or less (60 +/-), Camden County
51. Parcel 64, Twitty Park lying north of Sea Island Road
52. Parcel 65, Old Seaside Drive in Old Seaside Subdivision, St. Simons Island, Glynn County, Georgia
53. Parcel 66, 400 Sea Island Drive Subdivision Streets and Buffers
54. Parcel 67, Tract between Sea Island Road and Epworth Oaks Subdivision
55. Parcel 68, St. Perpetual Church Lot
56. Parcel 69, Roads and Streets, St. Simons Island Club Subdivision




                                                      6
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:73 of
                                     278

                                         SECTION 2.1(a)
                                   Acquired Owned Real Property


                                                Part II

1. Parcel 27, Ocean Forest Expansion Property
2. Parcel 63, Sixty Acres, more or less (60 +/-), Camden County
3. Parcel 64, Twitty Park lying north of Sea Island Road
4. Parcel 65, Old Seaside Drive in Old Seaside Subdivision, St. Simons Island, Glynn County, Georgia
5. Parcel 66, 400 Sea Island Drive Subdivision Streets and Buffers
6. Parcel 67, Tract between Sea Island Road and Epworth Oaks Subdivision
7. Parcel 68, St. Perpetual Church Lot
8. Parcel 69, Roads and Streets, St. Simons Island Club Subdivision




                                                  7
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                Page:74 of
                                     278

                                        SECTION 2.1(b)
                                       Assumed Contracts


     1.      Agreement by and among Sea Island Company and E-Z-GO dated August 25, 2008.
     2.      Agreement by and among Sea Island Company and Georgia Turf & Tractor, Inc. and
             John Deere Equipment Company dated March 31, 2008.
     3.      Master Lease Agreement by and among Textron Financial Corporation and Sea
             Island Company dated September 26, 2007.
     4.      Master Lease Agreement by and among Textron Financial Corporation and Sea
             Island Company dated November 6, 2002.
     5.      Letter Agreement by and among PGA TOUR, INC., Davis Love III Foundation and
             Sea Island Company dated January 22, 2010.
     6.      Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest
             Golf Club and GCI, LLC.
     7.      Management Agreement by and among MeadWestvaco Coated Board, Inc. and
             MWV Cabin Bluff, LLC and Sea Island Company dated December 2009.
     8.      Software License Agreement by and among Host Analytics, Inc. and Sea Island
             Company dated September 29, 2010.
     9.      Software License Agreement by and among InvoTech Systems, Inc. and Sea Island
             Company dated April 11, 2003.
     10.     Licensing and Services Agreement by and among Littleton Marketing Group LLC
             and Sea Island Company dated December 3, 2007.
     11.     Landscape Service Agreements by and among Sea Island Company and certain
             property owners.
     12.     Outsourcing Services Agreement by and among Sea Island Company and Network
             Services Plus, Inc. dated November 7, 2008.
     13.     Statement of Work by and among Sea Island Company and Network Services Plus,
             Inc. dated November 11, 2009.
     14.     16. Hardware Maintenance Agreement by and among Sea Island Company and
             Postec, Inc. dated June 16, 2005.
     15.     Consulting Services Agreement by and among Sea Island Company and Ultimate
             Software dated July 18, 2008.
     16.     Essentials Renewal Service Agreement and Extended Warranty by and among Sea
             Island Company d/b/a Sea Island Golf Club and Toro National Support Network
             dated May 28, 2008.
     17.     Classic 36 Renewal Service Agreement and Extended Warranty by and among Sea
             Island Company d/b/a Retreat Golf Club and Toro National Support Network dated
             May 28, 2008.
     18.     Lease Agreement by and among Sea Island Company and Golden Isles dated October
             1, 2009.

                                               8
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:75 of
                                     278

     19.     Lodging Official Appointment Agreement by and among Sea Island Company and
             the American Automobile Association dated May 28, 2009.
     20.     Agreement by and among the Cloister Hotel and American Express Travel Related
             Services Company, Inc. dated July 24, 2009.
     21.     Agreement by and among the Lodge at Sea Island and American Express Travel
             Related Services Company, Inc. dated July 24, 2009.
     22.     Agreement by and among Sea Island Company and Due South Publishing, Inc. dated
             April 8, 2010.
     23.     Subscription Agreement by and among Sea Island Company and Hoovers dated
             November 28, 2009.
     24.     Participation Agreement by and among The Cloister at Sea Island and Kiwi
             Collection, Inc. dated January 25, 2010 (Visa Luxury Hotel Collection).
     25.     Agreement by and among The Cloister at Sea Island and Signature Travel Network
             effective January 1, 2010.
     26.     Agreement by and among Sea Island Company and SpearTek, Inc. effective October
             1, 2002.
     27.     Marketing and Management Services Agreement by and among Sea Island Company
             and TIG Global, LLC effective January 1, 2010.
     28.     Subscription Agreement by and among The Cloister at Sea Island and TravelCLICK,
             Inc. dated December 7, 2009.
     29.     Preferred Supplier Agreement by and among Sea Island – The Cloister and Virtuoso,
             Ltd. effective January 1, 2010.
     30.     Preferred Supplier Agreement by and among Sea Island – The Lodge and Virtuoso,
             Ltd. effective January 1, 2010.
     31.     Professional Services Agreement by and among Sea Island Company and Roger and
             Anne Ditmer dated November 26, 2008.
     32.     Professional Services Agreement by and among Sea Island Company and Ellen
             Rogers dated September 12, 2008.
     33.     Professional Services Agreement by and among Sea Island Company and Celeste
             Pittman dated February 17, 2009.
     34.     Professional Services Agreement by and among Sea Island Company and Dulany
             Hall dated October 2, 2008.
     35.     Professional Services Agreement by and among Sea Island Company and Audrey
             Wood dated October 3, 2008.
     36.     Agreement by and among Sea Island Company and William Lewis Mason dated July
             27, 2009.
     37.     Independent Contractor Agreement by and among Sea Island Company and Coastal
             Commercial Laundry Services, Inc. dated January 5, 2009.
     38.     Professional Services Agreement by and among Sea Island Company and J&S
             Associates, Inc. dated July 23, 2010.

                                                9
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:76 of
                                     278

     39.     Service Agreement by and among Sea Island Company and Audio Visual Services
             Group, Inc. dated September 2, 2009.
     40.     Agreement by and among Sea Island Company and E-Z-GO dated September 10,
             2009.
     41.     Planned Maintenance Agreement by and among Sea Island Company and Agri-
             Business Technologies, Inc. dated February 11, 2010.
     42.     Lease Agreement by and among Sea Island Company and Sea Island Coastal
             Properties LLC and CSI Leasing, Inc. dated January 22, 2009.
     43.     Care Management Services Agreement by and among Sea Island Company and
             Primary PhysicianCare, Inc. dated December 17, 2007.
     44.     Agreement by and among Sea Island Company and Stromberg dated December 23,
             2005.
     45.     Lease Agreement by and among Sea Island Company and Williams Scotsman, Inc.
             dated July 21, 2009.
     46.     Lease Agreement by and among Sea Island Company and PNCEF, LLC (f/n/a
             National City Commercial Capital Company) dated September 24, 2009, as amended.
     47.     Agreement by and among Sea Island Company and Hasty’s Communications East,
             Inc.
     48.     Lease Agreement by and among Sea Island Company and Ecolab Inc. dated June 23,
             2005.
     49.     Lease Agreement by and among Sea Island Company and the United States Postal
             Service dated March 17, 2008.
     50.     Agreement by and among Sea Island Company and Agilysys, NV, LLC dated January
             7, 2010.
     51.     Products and Services Agreement by and among Sea Island Company and The Active
             Network, Inc. dated April 1, 2010.
     52.     Agreement by and among Sea Island Company and OpenCourse Solutions, LLC
             dated October 15, 2004.
     53.     Agreement by and among Sea Island Company and Tri H Friesians LLC dated
             February 4, 2010.
     54.     Shared Equity Financing Agreement by and among C. Allen Brown and Sea Island
             Company.
     55.     Shared Equity Financing Agreement by and among Todd W. Anderson, Stacey L.
             Anderson and Sea Island Company.
     56.     Land Lease Agreement by and among Sea Island Company and Verizon Wireless of
             the East LP dated March 8, 2004 (The Cloister).
     57.     Land Lease Agreement by and among Sea Island Company and Verizon Wireless of
             the East LP dated March 24, 2004 (Sea Island Lodge).
     58.     Land Lease Agreement by and among Sea Island Company and Verizon Wireless of
             the East LP dated March 8, 2004 (Ocean Forest).

                                              10
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:77 of
                                     278

     59.     Master Lease Agreement by and among Sea Island Company and Sea Island Coastal
             Properties LLC and Computer Sales International, Inc. dated March 10, 2004.
     60.     Agreement by and among Sea Island Company and AG-Hill Farms, Inc. dated August
             16, 2007.
     61.     Agreement by and among Sea Island Company and Tabby House, Inc. dated
             December 6, 2007.
     62.     Agreements by and among Sellers and any customer entered into in the ordinary
             course of business for services or accommodations to be provided to such customer
             by Sellers.
     63.     Rental agreements for the rental of the Beach Club Suites, the Cloister Ocean
             Residences Sea Island Cottages and Beach Club Condominiums by Sea Island
             Company on behalf of unit owners.
     64.     Rental management agreements for the rental of the Beach Club Suites, the Cloister
             Ocean Residences, Sea Island Cottages and Beach Club Condominiums between Sea
             Island Company and the unit owners.
     65.     Master Lease Agreement by and among Sea Island Company and Deere Credit, Inc.
             dated July 8, 2008, and related individual equipment leases.
     66.     Agreement by and among Sea Island Resorts and CapSure, Inc. dated May 5, 2007.
     67.     National Service Agreement by and among Sea Island Company and Verizon
             Wireless dated December 23, 2008.
     68.     Travel Directory Marketing Agreement by and among The Cloister at Sea Island and
             Andrew Harper dated October 16, 2009.
     69.     Agreement by and among Sea Island Resorts and Fortibus Marketing of Charleston,
             LLC July 17, 2009.
     70.     Affiliate Hotel Agreement by and among Sea Island Resort and Clubcorp USA, Inc.
             dated August 7, 2009.
     71.     Cable Television Service Agreement and License by and among Sea Island Company
             and Owensboro-Brunswick, Inc. d/b/a Adelphia Cable Communications dated March
             28, 2006.
     72.     Bulk Services Agreement by and among Sea Island Company and Comcast of
             Florida/Georgia, LLC dated April 23, 2008.
     73.     Container Lease Agreement #GGL 104459 by and among Sea Island Company and
             Con Global Industries dated February 29, 2008.
     74.     Container Lease Agreement #GGL 105115 by and among Sea Island Company and
             Con Global Industries dated February 29, 2008.
     75.     Net Lease Agreement by and among Sea Island Company and JLV VASI, LLC dated
             September 5, 2008, as amended December 31, 2008.
     76.     Professional Services Agreement by and among Sea Island Company and Nancy
             Adcock.
     77.     Google Message Delivery Contract by and among Google, Inc. and Sea Island

                                                11
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:78 of
                                     278

             Company dated January 1, 2009.
     78.     Lease Agreement by and among Sea Island Company and Alfred W. Jones, III dated
             October 8, 2007.
     79.     Microsoft Enterprise Enrollment and Pricing for Office Pro Sea Island dated
             November 1, 2006 under Business Agreement U9423233 and Master Agreement
             Number 01E611258.
     80.     Software License Agreement by and among Sea Island Company and Newmarket
             International, Inc. dated December 30, 2003.
     81.     Property Exposure Contract No. 000902-0609-31 by and among The Cloister at Sea
             Island and Kiwi Collection Inc. dated June 23, 2009.
     82.     Property Exposure Contract No. 001403-0110-250 by and among The Lodge at Sea
             Island Golf Club and Kiwi Collection Inc. dated January 15, 2010.
     83.     Finance Agreement by and among Sea Island Company and Imperial Credit
             Corporation dated March 16, 2010.
     84.     Premium Finance Agreement and Disclosure Statement and Security Agreement by
             and among Sea Island Company and Imperial Credit Corporation dated June 17,
             2010.
     85.     Letter Agreement by and among Sea Island Company and Atlantic Bike Shop, Inc.
             dated March 11, 2010.
     86.     Agreement by and among Sea Island Company and Georgia Power Company dated
             January 23, 2004.
     87.     Equipment Service Agreement by and among Sea Island Company and BancTec, Inc.
             dated January 22, 2007.
     88.     Merchant Agreement by and among Sea Island Resort and Columbus Bank and Trust
             dated March 11, 2009.
     89.     Business Rental Preferred Rate Agreement by and among Sea Island and Enterprise
             Leasing Company – Southeast dated July 8, 2010.
     90.     Concessionaire Agreement by and among Sea Island Company and Enterprise Rent-
             A-Car Southeast dated September 8, 2008.
     91.     Extended Warranty Agreement by and among Sea Island Company and SAFLOK,
             Inc. dated December 3, 2007.
     92.     Product Service Agreement by and among Sea Island Company and Dowling-
             Douglas Co. dated July 22, 2010.
     93.     Contract Service Arrangement Agreement by and among Sea Island Company and
             Bellsouth Telecommunications, Inc. dated February 4, 2005.
     94.     Contract Service Arrangement Agreement by and among Sea Island Company and
             Bellsouth Telecommunications, Inc. dated May 18, 2006.
     95.     Transport Payment Plan by and among Sea Island Company and BellSouth
             Telecommunications, Inc. dated February 4, 2005.
     96.     Services Master Agreement by and among Sea Island Co. and BellSouth Company

                                               12
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:79 of
                                     278

             dated October 4, 2006.
     97.     Marketing Support Agreement by and among Sea Island Company and American
             Express Travel Related Services Company, Inc. dated November 20, 1998.
     98.     Card Acceptance Agreement by and among Sea Island Company and American
             Express Travel Related Services Company, Inc. dated November 20, 1998, as
             amended November 20, 1998 and January 15, 2002.
     99.     Master Services Agreement by and among Sea Island Company and International
             Business Machines Corporation dated December 28, 2005.
     100. Service Agreement by and among Sea Island Company and Badger Meter, Inc. dated
          January 10, 2006.
     101. Service Agreement by and among Sea Island Company and Badger Meter, Inc. dated
          July 10, 2001.
     102. Software License Agreement by and among Sea Island Company and Badger Meter,
          Inc. dated July 10, 2001.
     103. Agreements entered into in the ordinary course of business with certain unaffiliated
          Persons for the short-term leasing of resort and event space.
     104. Commercial lease contract by and among Sea Island Company and Island
          Acquisitions, LLC dated September 28, 2009.
     105. Contract for Accounting Services by and among Sea Island Company and Eaddy
          Sams dated August 2, 2010.
     106. Letter Agreement by and among Sea Island Company and Jack Lumpkin dated
          December 17, 2009.
     107. Independent Contractor Agreement by and among Sea Island Company and Mike
          Taylor dated December 18, 2009.
     108. Agreement by and among Sea Island Company and PEAK Technologies dated
          Sepetember 29, 2009.
     109. SDD Managed Services Agreement (SDD-Hosted) by and between Sea Island
          Company and Systems Design and Development, Inc. Dated December 10, 2007.




                                               13
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:80 of
                                     278

                                 SECTION 2.1(f)
                                 Personal Property


See Exhibit C attached hereto.




                                        14
23290154v5
                       Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                       Page:81 of
                                                            278




                                                                        SECTION 2.1(i)
                                                                  Intellectual Property Rights


                                                                             Copyrights

                                                                                                                    Owned /        Registration       Registration
        Sea Island Party                                         Copyright                                          Licensed        Number               Date

      Sea Island Company     This happy isle : the story of Sea Island and the Cloister / Harold H. Martin         Owned         TX0000250694        12/26/78
      Sea Island Company     The Sea Island activity and coloring book                                             Owned         VA0000729934        8/7/95


                                                                             Trademarks

      Mark            Jurisdiction     Status       Serial No        Reg. No.       Owner                                    Class/Description
                                                   Filing Date      Reg. Date
OCEAN FOREST          United         Registered    74391941        1949354         Sea          36    Residential real estate brokerage; residential real estate
                      States of                                                    Island       management.
                      America                      May 18,         Jan 16, 1996    Company      37    Residential real estate development; custom construction of homes.
                                                   1993                                         41    Golf club and country club services.

SEA ISLAND            United         Registered    73481430        1338346         Sea          36       Planning and laying out of residential communities and real estate
                      States of                                                    Island       brokerage and management services.
                      America                      May 21,         May 28,         Company      37       Garage and auto repair services, laundry and dry cleaning services,
                                                   1984            1985                         landscaping services and construction of resort homes and condominiums.
                                                                                                41       Educational services - namely, providing instruction in the fields of
                                                                                                dancing, tennis, golf, horseback riding, skeet shooting, swimming, diving,
                                                                                                fishing, sailing and windsurfing, entertainment services - namely, arranging
                                                                                                and conducting tennis and golf tournaments, lectures and concerts for
                                                                                                others; and country club and beach club services.
                                                                                                42       Barber and beauty salon services, retail flower shop services and
                                                                                                resort hotel and restaurant services.




                                                                                  15
     23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                   Page:82 of
                                                              278

        Mark            Jurisdiction    Status       Serial No       Reg. No.      Owner                                   Class/Description
                                                    Filing Date     Reg. Date
SEA ISLAND              United         Registered   74342270       1789075         Sea       03      Personal care products and toiletries, namely, shampoo, hair
                        States of                                                  Island    conditioner, body lotion, bath/shower gel, sunscreen and massage oil.
                        America                     Dec 22,        Aug 24,         Company
                                                    1992           1993
SEA ISLAND              United         Registered   77025670       3443477        Sea        16      Wedding planning guides and information guides and score cards
                        States of                                                 Island     for playing sports; and paper goods, namely, stationery and photographs;
                        America                     Oct 20, 2006   Jun 10, 2008   Company    Publications, namely, magazines, newsletters, guidebooks, maps, historical
                                                                                             and photographic books and brochures related to a Georgia coastal resort
                                                                                             and the scenery, culture, life style and history of the Golden Isles region of
                                                                                             the Georgia coast.
                                                                                             41      Wedding event planning and coordination services; special events
                                                                                             planning and coordination services; wedding party planning and
                                                                                             consultation.

SEA ISLAND (and         United         Registered   74444546       1888148        Sea        03      Personal care products and toiletries; namely, hair shampoo, hair
shield design)          States of                                                 Island     conditioner, body lotion, bath and shower gel, skin cleansing lotion, skin
                        America                     Oct 7, 1993    Apr 11,        Company    moisturizer lotion, skin moisturizer gel, sunscreen preparations, sun block
                                                                   1995                      preparations, skin dyes, namely sunless self tanning skin preparations and
                                                                                             massage oils.



SEA ISLAND (stylized)   United         Registered   73002723       1001562        Sea        25       Trousers, slacks, robes, swimwear, shirts and jackets, [the shirts
                        States of                                                 Island     being known as dress-shirts, outer-shirts, terry shirts, knit-shirts and sport-
                        America                     Oct 3, 1973    Jan 14, 1975   Company    shirts, and the jackets being known as outer-jackets, parka-jackets, regular-
                                                                                             lined jackets, regular-unlined jackets, and ski-jackets].




                                                                                  16
      23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                Page:83 of
                                                              278

        Mark            Jurisdiction    Status       Serial No      Reg. No.     Owner                                  Class/Description
                                                    Filing Date    Reg. Date
SEA ISLAND (stylized)   United         Registered   73481562      1338347        Sea       36       Planning and laying out of residential communities and real estate
                        States of                                                Island    brokerage and management services.
                        America                     May 22,       May 28,        Company   37       Garage and auto repair services, laundry and dry cleaning services,
                                                    1984          1985                     landscaping services and construction of resort homes and condominiums.
                                                                                           41       Educational services, namely, providing instruction in the fields of
                                                                                           dancing, tennis, golf, horseback riding, skeet shooting, swimming, diving,
                                                                                           fishing, sailing and windsurfing; entertainment services-namely, arranging
                                                                                           and conducting tennis and golf tournaments, lectures and concerts for
                                                                                           others; and country club beach club services.
                                                                                           42       Barber and beauty salon services, retail flower shop services and
                                                                                           resort hotel and restaurant services.

SEA ISLAND BEACH        United         Registered   74445354      1885428       Sea        42       Snack bar services, restaurant and cocktail lounge services, and
CLUB                    States of                                               Island     retail gift shop services.
                        America                     Oct 8, 1993   Mar 21,       Company
                                                                  1995
SEA ISLAND BEACH        United         Registered   74444466      1887573       Sea        42     Resort services; namely, beach club and swimming club services
CLUB (and design)       States of                                               Island     and beauty care, spa and health club services.
                        America                     Oct 7, 1993   Apr 4, 1995   Company




                                                                                17
      23290154v5
                    Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                  Page:84 of
                                                         278

      Mark         Jurisdiction    Status       Serial No       Reg. No.      Owner                                   Class/Description
                                               Filing Date     Reg. Date
SEA ISLAND CLUB    United         Registered   75563878       3436491        Sea       35       Retail stores featuring items, sporting goods, souvenirs, and
                   States of                                                 Island    toiletries; and retail flower shop services.
                   America                     Oct 1, 1998    May 27,        Company   41       Recreational, educational and entertainment services in connection
                                                              2008                     with providing golf courses, tennis courts, golf and tennis instruction,
                                                                                       tournaments, lectures and competitions in the fields of fitness, exercise,
                                                                                       beauty, health, yoga, boating, yachting, sailing, fishing, nature, sightseeing,
                                                                                       shooting, movies, swimming, diving, windsurfing, history, art, architecture,
                                                                                       literature, music, dancing, cooking, wines, decorative arts, games, cards,
                                                                                       bingo, bridge, crafts, organized children's activities, volleyball, bicycling,
                                                                                       horseback riding, birdwatching, gardening, landscaping, horticulture,
                                                                                       storytelling and singing; country club, golf club, tennis club, beach club,
                                                                                       health club, swim club and yacht club services; theater productions; live
                                                                                       music performances.
                                                                                       42       Resort hotel, restaurant, cocktail bar, and snack bar services,
                                                                                       catering services, barber and beauty salon services, health spa services.

SEA ISLAND YACHT   United         Registered   75125258       2196269        Sea       39      Marina services and boat and yacht charter services.
CLUB               States of                                                 Island
                   America                     Jun 25, 1996   Oct 13, 1998   Company

SEA ISLAND YACHT   United         Registered   75125348       2200173        Sea       41      Yacht club services.
CLUB               States of                                                 Island    42      Restaurant and bar services and food and beverage catering
                   America                     Jun 25, 1996   Oct 27, 1998   Company   services.

SHIELD DESIGN      United         Registered   74491423       1877007        Sea       41      Resort services, namely beach club, golf club, swimming club, and
                   States of                                                 Island    health club services.
                   America                     Feb 16,        Jan 31, 1995   Company   42      Hotel, restaurant, cocktail bar, and snack bar services, beauty salon
                                               1994                                    services, and health spa services, and retail stores featuring clothing,
                                                                                       clothing accessories, gift items, sporting goods, souvenirs, and toiletries.


THE CLOISTER       United         Registered   73060424       1197018        Sea       42      Restaurant services.
                   States of                                                 Island
                   America                     Aug 13,        Jun 1, 1982    Company
                                               1975




                                                                             18
     23290154v5
                   Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                 Page:85 of
                                                        278

      Mark        Jurisdiction    Status       Serial No      Reg. No.     Owner                                  Class/Description
                                              Filing Date    Reg. Date
THE CLOISTER      United         Registered   73481518      1329070       Sea       42      Hotel services.
                  States of                                               Island
                  America                     May 22,       Apr 2, 1985   Company
                                              1984
THE CLOISTER      United         Registered   75566137      2323479       Sea       25       Clothing, namely, shirts, jackets, t-shirts, sweatshirts, caps, hats
                  States of                                               Island    and shorts.
                  America                     Oct 6, 1998   Feb 29,       Company   41       Recreational and entertainment services; namely, providing golf
                                                            2000                    courses, tennis courts, conducting and arranging golf and tennis
                                                                                    tournaments and competitions, theater productions, and live music
                                                                                    performances; educational services; namely, providing instruction and
                                                                                    lectures in the fields of golf, tennis, fitness, exercise, beauty, health, yoga,
                                                                                    boating, yachting, sailing, fishing, nature, sightseeing, shooting, movies,
                                                                                    swimming, diving, windsurfing, history, art, architecture, literature, music,
                                                                                    dancing, cooking, wines, decorative arts, games, cards, bingo, bridge,
                                                                                    crafts, organized children's activities, ping pong, volleyball, bicycling,
                                                                                    horseback riding, birdwatching, gardening, landscaping, horticulture,
                                                                                    storytelling and singing; country club, golf club, tennis club, beach club,
                                                                                    health club, swim club and yacht club services.

THE CLOISTER      United         Registered   77134629      3637264       Sea       41       Recreational and entertainment services; namely, providing golf
(stylized)        States of                                               Island    courses, tennis courts, squash courts, conducting and arranging golf and
                  America                     Mar 19,       June 16,      Company   tennis tournaments and competitions, live music performances, movies,
                                              2007          2009                    boating, yachting, sailing, fishing, sightseeing, shooting, swimming, diving,
                                                                                    games, cards, bingo, bridge, crafts, organized children's activities, table
                                                                                    tennis, volleyball, bicycling, horseback riding, birdwatching, storytelling,
                                                                                    and singing; country club, golf club, tennis club, swim club and yacht club
                                                                                    services; Educational services; namely, providing instruction and lectures
                                                                                    in the fields of golf, tennis, fitness, exercise, beauty, health, yoga, history,
                                                                                    art, architecture, literature, music dancing, cooking, wines, gardening,
                                                                                    landscaping, horticulture, and decorative arts; special event planning and
                                                                                    coordinating, namely, planning and consultation for parties and weddings;
                                                                                    Beach club services, namely providing a membership club with beach and
                                                                                    pool swimming facilities; Health club services, namely, providing
                                                                                    instruction and equipment in the field of physical exercise.
                                                                                    43       Hotel and resort services; restaurant services.




                                                                          19
     23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                Page:86 of
                                                              278

        Mark            Jurisdiction    Status       Serial No      Reg. No.       Owner                                Class/Description
                                                    Filing Date    Reg. Date
TREE AND WAVE           United         Registered   76189092      2512487         Sea       41     Private club services featuring, tennis, beach club, swimming,
DESIGN                  States of                                                 Island    organized events and entertainment, bar and restaurant services for
                        America                     Jan 3, 2001   Nov 27,         Company   members; golf club services.
                                                                  2001




SEA ISLAND              US-Georgia     Registered                 S5177           Sea        01    Resort hotel and restaurant services.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 S5178           Sea        08    Educational, recreational and entertainment.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 S5180           Sea        02    Business and retail services.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 T12413          Sea        51     Personal care products and toiletries, namely, conditioner, body
                                                                                  Island     lotion, bath/shower gel, sunscreen and massage oil.
                                                                  Jan 27, 1993    Company
SEA ISLAND              US-Georgia     Registered                 T12475          Sea        52    Shampoo.
                                                                                  Island
                                                                  Feb       15,   Company
                                                                  1993
SEA ISLAND (stylized)   US-Georgia     Registered                 S5175           Sea        02    Retail services.
                                                                                  Island
                                                                  Jun 20, 1984    Company




                                                                                  20
      23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                               Page:87 of
                                                              278

         Mark            Jurisdiction    Status       Serial No     Reg. No.       Owner                                Class/Description
                                                     Filing Date    Reg. Date
SEA ISLAND (stylized)    US-Georgia     Registered                 S5179          Sea       08   Educational, recreational and entertainment services.
                                                                                  Island
                                                                   Jun 20, 1984   Company




SEA ISLAND (stylized)    US-Georgia     Registered                 S5176          Sea       01   Resort hotel and restaurant services.
                                                                                  Island
                                                                   Jun 20, 1984   Company




SHOPS     AT       SEA   US-Georgia     Registered                 S14791         Sea       04   Shopping center development services.
ISLAND                                                                            Island
                                                     Jul 5, 1995   Jul 5, 1995    Company

ST. SIMON'S ISLAND       US-Georgia     Registered                 S5181          Sea       08   Beach, golf and tennis club services.
CLUB (and oval design)                                                            Island
                                                                   Jun 20, 1984   Company




ST. SIMON'S ISLAND       US-Georgia     Registered                 S5182          Sea       01   Restaurant services.
CLUB (and oval design)                                                            Island
                                                                   Jun 20, 1984   Company




                                                                                  21
      23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                              Page:88 of
                                                              278

        Mark             Jurisdiction    Status       Serial No     Reg. No.       Owner                              Class/Description
                                                     Filing Date    Reg. Date
ST. SIMON'S ISLAND       US-Georgia     Registered                 S5183          Sea       02   Real estate development, sales and management services.
CLUB (and oval design)                                                            Island
                         S1710-                                    Jun 20, 1984   Company
                         010759




THE CLOISTER             US-Georgia     Registered                 S2944          Sea       01   Hotel, restaurant and resort services.
                                                                                  Island
                         S1710-                                    Oct 3, 1973    Company
                         010755

      Patents

      None.

      Licenses

      None.




                                                                                  22
      23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                 Page:89 of
                                     278

                                            SECTION 2.2(c)
                                     Excluded Owned Real Property 2


None.




2
 The Excluded Owned Real Property includes any land tracts included on this list, as more fully described on the
Legal Descriptions attached as Exhibit D hereto, which may be revised to be consistent with the Title Commitment.

                                                       23
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                           Page:90 of
                                     278

                                           SECTION 2.2(m)
                                         Other Excluded Assets

1. The personal property of A.W. Jones III and members of the Jones family or extended relatives
   thereof located within the Purchased Assets, as disclosed to Purchaser in writing on August 4, 2010.
2. For purposes of clarity, any and all personal property of any employee of any Seller kept in the office
   or other working space of employee is an Excluded Asset under the Agreement.




                                                    24
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:91 of
                                     278

                                SECTION 2.3(c)
                                  Cure Costs


None.




                                      25
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00      Page:92 of
                                     278

                                    SECTION 2.3(d)
                    Specified Base Deferred Compensation Obligations

                  Name                                      Amount ($)
Adams, C.T.                                556,844
Alexander, C.                              15,845
Butler, N.                                 48,814
Cate, Vassa                                28,547
Edenfield, W.                              97,945
Engel, S.                                  11,112
Graham, W.R.                               48,339
Heins, Ann                                 7,439
Huffman, C.                                1,290
McNeely, J.                                100,379
Miller, B.                                 69,788
Owens, C.A.                                16,340
Rogers, E.                                 12,731
Sayer, S.                                  466,448
Schneider, Eric                            72,905
Tipton, M.                                 125,784
Veal, Brannen                              15,918




                                          26
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:93 of
                                     278

                                        SECTION 2.3(j)
                    Specified Supplemental Deferred Compensation Obligations

                    Name                                       Amount ($)
Adams, C.T.                                    308,900
Alexander, C.                                  2,580
Butler, N.                                     34,580
Cason, J. M.                                   32,690
Cate, Vassa                                    570
Edenfield, W.                                  24,370
Engel, S.                                      15,480
Fox, G. P.                                     6,250
Gibson, B. R.                                  133,470
Graham, W.R.                                   103,250
Heins, A.                                      3,110
Hogan, D.                                      12,170
Huffman, C.                                    2,770
Johns, B. A.                                   50,050
Johnson, M. B.                                 1,960
Kelly, J. R.                                   10,060
Lembcke, B.                                    42,510
McNeely, J.                                    31,160
Miller, B.                                     10,530
O’Connor, K.                                   54,340
Owens Jr., C.A.                                98,470
Sayer, S.                                      136,770
Shelnutt, R. D.                                11,150
Shelnutt, T. L.                                4,340
Smith, W. C.                                   53,490
Talley Jr., C. P.                              43,280
Theus Jr., A. S.                               9,770
Tipton, M.                                     13,210
Veal, B.                                       1,500
Watson, D. S.                                  7,980



                                              27
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:94 of
                                     278

                                        SECTION 2.3(k)
                    Specified Additional Deferred Compensation Obligations

                    Name                                         Amount ($)
Capone, P.                                     401,907
Gibson, B.R.                                   282,828
Hodgdon, M.                                    48,119
Jones III, A. W.                               1,544,629
Love III, D.                                   389,775
McSwiney, J                                    512,051
Nunn, S.                                       357,093
Smith, W.                                      83,444
Williams, J. B.                                432,644
Wright Jr., E. T.                              26,129


For the avoidance of doubt, amounts paid shall be capped at an aggregate amount of $440,520 as
provided in the Agreement.




                                               28
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:95 of
                                     278

                                  SECTION 2.6(b)
                                    Allocation

                         [To be agreed upon prior to Closing]




                                         29
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:96 of
                                     278

                                SECTION 2.10(n)
                                   Consents

None.




                                      30
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:97 of
                                     278

                                         SECTION 3.3
                                   Governmental Authorizations

1. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission
   allowing Sea Island Company the nonexclusive right and privilege of providing limited ground
   transportation services between Brunswick Golden Isles Airport and the Sea Island Company.
2. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah
   District US Army Corps of Engineers allowing Sea Island Company to perform certain work to
   construct a marina facility at the Cloister Hotel.
3. Coastal Marshlands Protection Committee Permit #508, dated October 20, 2005, issued by the
   Coastal Resources Division of the Georgia Department of Natural Resources allowing Sea Island
   Company to perform certain work to construct a marina facility at the Cloister Hotel.
4. Department of Army Permit 074OYN dated January 8, 1990 allowing beach renourishment activities.
5. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
6. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
7. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
8. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).




                                                 31
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:98 of
                                     278

                                            SECTION 3.4
                                           Noncontravention

1. Reference is made to the liquor licenses listed on Section 3.8(a) hereof.
2. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
3. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
   dated November 6, 2002.
4. Agreement by and among Sea Island Company and Tennant Capital Services dated May 28, 2008.
5. Software License and Support Agreement by and among Sea Island Company and Datavision
   Technologies, Inc. dated December 27, 2005.
6. Card Acceptance Agreement by and among Sea Island Company and American Express Travel
   Related Services Company, Inc. dated November 20, 1998, as amended November 20, 1998 and
   January 15, 2002.
7. Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest Golf Club and
   GCI, LLC.
8. Lease Agreement by and among Sea Island Company and Hasler Financial Services, LLC dated July
   9, 2007.
9. Extended Warranty Agreement by and among Sea Island Company and SAFLOK, Inc. dated
   December 3, 2007.




                                                    32
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:99 of
                                     278

                                            SECTION 3.5
                                              Consents

1. Software License Agreement by and among Host Analytics, Inc. and Sea Island Company dated
   December 12, 2005.
2. Software License Agreement by and among InvoTech Systems, Inc. and Sea Island Company dated
   April 11, 2003.
3. Outsourcing Services Agreement by and among Sea Island Company and Network Services Plus, Inc.
   dated November 7, 2008.
4. Agreement by and among Sea Island Company and SpearTek, Inc. effective October 1, 2002.
5. Master Lease Agreement by and among Sea Island Company and Sea Island Coastal Properties LLC
   and Computer Sales International, Inc. dated March 10, 2004.
6. Products and Services Agreement by and among Sea Island Company and The Active Network, Inc.
   dated April 1, 2010.
7. Agreement by and among Sea Island Company and OpenCourse Solutions, LLC dated October 15,
   2004.
8. Agreement by and among the Cloister Hotel and American Express Travel Related Services
   Company, Inc. dated July 24, 2009.
9. Agreement by and among the Lodge at Sea Island and American Express Travel Related Services
   Company, Inc. dated July 24, 2009.
10. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah
    District US Army Corps of Engineers allowing Sea Island Company to perform certain work to
    construct a marina facility at the Cloister Hotel.
11. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission
    allowing Sea Island Company the nonexclusive right and privilege of providing limited ground
    transportation services between Brunswick Golden Isles Airport and the Sea Island Company.
12. Independent Contractor Agreement by and among Sea Island Company and Coastal Commercial
    Laundry Services, Inc. dated January 5, 2009.
13. Lease Agreements by and among Sea Island Company and GMAC.
14. Services Agreement by and among Exclusive Resorts Club Management, LLC and Sea Island
    Company dated May 15, 2007, as amended.
15. Management Agreement by and among MeadWestvaco Coated Board, Inc. and MWV Cabin Bluff,
    LLC and Sea Island Company dated December 2009.
16. Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest Golf Club and
    GCI, LLC.
17. Licensing and Services Agreement by and among Littleton Marketing Group LLC and Sea Island
    Company dated December 3, 2007.
18. Preferred Supplier Agreement by and among Sea Island – The Cloister and Virtuoso, Ltd. effective
    January 1, 2010.
19. Preferred Supplier Agreement by and among Sea Island – The Lodge and Virtuoso, Ltd. effective
    January 1, 2010.


                                                  33
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:100 of
                                     278

 20. Product Purchase Agreement by and among Sea Island Company and Institution Food House, Inc.
     dated August 1, 2010.
 21. Lease by and among Sea Island Company and Donald C. McCaskill III and Annie Bell McCaskill
     Friedman dated February 5, 2008.
 22. Gas Service Agreement by and among Sea Island Company and SouthStar Energy Services, LLC
     d/b/a Georgia Natural Gas dated April 27, 2009.
 23. Premium Finance Agreement by and among Sea Island Company and Imperial Credit Corporation
     dated March 16, 2010.
 24. Lease Agreement by and among Sea Island Company and Hasler Financial Services, LLC dated July
     9, 2007.
 25. Care Management Services Agreement by and among Sea Island Company and Primary
     PhysicianCare, Inc. dated December 17, 2007.
 26. Service Agreement by and among Sea Island and Georgia Trane Service Company dated January 20,
     2005.
 27. Service Agreement by and among Sea Island and Georgia Trane Service Company dated June 15,
     2006 (New Chiller Plant).
 28. Service Agreement by and among Sea Island and Georgia Trane Service Company dated June 15,
     2006 (Cloister Hotel).
 29. Service Agreement by and among Sea Island and Georgia Trane Service Company dated July 20,
     2006.
 30. Service Agreement by and among Sea Island and Georgia Trane Service Company dated December 6,
     2007.
 31. Lease Agreement by and among Sea Island Company and Ecolab Inc. dated June 23, 2005.
 32. Lease Agreement by and among Sea Island Company and the United States Postal Service dated
     March 17, 2008.
 33. Master Lease Agreement by and among Sea Island Company and Deere Credit, Inc. dated July 8,
     2008.
 34. Agreement by and among Sea Island Resorts and CapSure, Inc. dated May 5, 2007.
 35. Container Lease Agreement # GGL 104459 by and among Sea Island Company and Con Global
     Industries dated February 29, 2008.
 36. Container Lease Agreement #GGL 105115 by and among Sea Island Company and Con Global
     Industries dated February 29, 2008.
 37. Reference is made to the liquor licenses listed on Section 3.8(a) hereof.
 38. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
 39. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
     dated September 26, 2007.
 40. Agreement by and among Sea Island Company and Tennant Capital Services dated May 28, 2008.
 41. Software License and Support Agreement by and among Sea Island Company and Datavision
     Technologies, Inc. dated December 27, 2005.
 42. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission.


                                                     34
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:101 of
                                     278

 43. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
 44. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
     dated November 6, 2002.
 45. Software License Agreement by and among Sea Island Company and Newmarket International, Inc.
 dated December 30, 2003.
 46. Merchant Agreement by and among Sea Island Resort and Columbus Bank and Trust dated March
 11, 2009.
 47. Extended Warranty Agreement by and among Sea Island Company and SAFLOK, Inc. dated
 December 3, 2007.
 48. Contract Service Arrangement Agreement by and among Sea Island Company and BellSouth
 Telecommunications, Inc. dated February 4, 2005.
 49. Contract Service Arrangement Agreement by and among Sea Island Company and BellSouth
 Telecommunications, Inc. dated May 18, 2006.
 50. Services Master Agreement by and among Sea Island Company and BellSouth Company dated
 October 4, 2006.
 51. Card Acceptance Agreement by and among Sea Island Company and American Express Travel
 Related Services Company, Inc. dated November 20, 1998, as amended November 20, 1998 and January
 15, 1998.
 52. Software License Agreement by and among Sea Island Company and Badger Meter, Inc. dated July
 10, 2001.
 53. Database Management Services Agreement by and among LMG Data Mining and Sea Island
     Company dated December 3, 2007.
 54. Microsoft Enterprise Enrollment and Pricing for Office Pro dated November 1, 2006 under Business
     Agreement U9423233 and Master Agreement Number 01E61258.
 55. Commercial Lease contract by and among Sea Island Company and Island Acquisitions, LLC dated
     September 28, 2009.
 56. Lodging Official Appointment Agreement by and among Sea Island Company and the American
     Automobile Association dated May 28, 2009.
 57. Agreement by and among Sea Island Company and Verizon Wireless dated December 23, 2008.
 58. Premium Finance Agreement and Disclosure Statement and Security Agreement by and among Sea
     Island Company and Imperial Credit Corporation dated June 17, 2010.
 59. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
 60. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
 61. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
 62. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).




                                                  35
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                             Page:102 of
                                     278

                                               SECTION 3.6
                                                 Litigation
 1. Claim made orally by owner of Cloister Ocean Residence that Sea Island Company breached an oral
    representation made by an agent that a like interest in such individual’s unit would not be sold for less
    than what the individual paid for her interest.
 2. Cross-claims filed by Joseph Ferguson and Andrew Head, owners of a membership interest in Beach
    Club Garden North Residences, LLC, alleging fraudulent actions by Sea Island Company to induce
    them to buy such interest.
 3. Claim made orally by owner of Ocean Club Residence alleging that Sea Island Company failed to
    deliver the purchased unit as agreed upon.
 4. Claim asserted by SAI Engineering (orally through a collection agency) in the approximate amount of
    $225,000 for engineering work alleged to have been performed on property now or formerly owned
    by Sea Island Company. No lien has been filed of record and the time for perfecting a lien under
    Georgia law has expired. Because no formal, written statement of the claim has been presented, it is
    not possible to provide an opinion as to whether all or any part of this amount is due at this time.
 5. Claim made orally by property owner alleging that certain landscaping of a beach right of way owned
    by Sea Island Company is an obstruction to an easement granted to such owner. The legal action
    would seek the removal of the landscaping as an obstruction to the claimed easement.
 6. Indemnification claim made in writing by Winona Capital Partners, LLC Series E-PM, the purchaser
    of Sea Island Apparel, LLC’s membership interest in Luxury Apparel Group, L.L.C. under that
    certain Amended and Restated Membership Interest Purchase Agreement dated March 26, 2009. If
    such claim were to be successful, any amounts due pursuant to such indemnification claim.
 7. Audit and investigation by the U.S. Immigration and Customs Enforcement (ICE) into potential
    violations relating to the Sea Island Company’s I-9 forms.
 8. Workers’ compensation claims made by employees of Sea Island Company, including the following:
       • Claim of Robert Cundy (1998) – Quarterly medical tx/antiflammatories
       • Claim of Raymond Ray (2001) – Claim is closed with final payment to be made
       • Claim of James Smith (2001) – Claim is closed with final payment to be made
       • Claim of Danny Moreu (2004) – Open claim
       • Claim of Don Smith (2006) – Claim is closed with final payment to be made
       • Claim of Rodney Butler (2006) – Company has prevailed and expects to close in October
       • Claim of Joyce West (2007) – Open claim
       • Claim of Carla Pentelakis (2008) – Open claim
       • Claim of Cheryl Peeples (2009) – Open claim
       • Claim of Carlos Recinos (2010) – Claim controverted, deposition August 2nd
       • Claim of Karen Blake (2010) – Open claim
       • Claim of Sonya Floyd (2010) – Open claim
       • Claim of Hubert Clark (2010) – Open claim
       • Claim of Tina Nimmo (2010) – Open claim

                                                     36
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:103 of
                                     278

       • Claim of Edward Joyner (2010) – Open claim
       • Claim of Chuck Dean (2008) – Open claim
       • Claim of Octoria Kent (2010) – Open claim
       • Claim of Sonny Sullivan (2010) – Open claim




                                                37
 23290154v5
                  Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                             Page:104 of
                                                       278

                                                                SECTION 3.8(a)
                                                                   Permits


Liquor Licenses

The following liquor licenses have been obtained at both the state and county level. Unless otherwise indicated, the county in which the license
has been obtained is Glynn County.

                         Location                                  Licensee               License Type             Products Sold
 Davis Love Grill                                            Sea Island Company      Consumption                Beer, Wine & Liquor
 Ocean Forest Golf Club (Tee House)                          James B. Gilbert        Retail                     Beer
 Ocean Forest Golf Club                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Ocean Forest Golf In Room Service                           James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor
 The Lodge at Sea Island                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 The Lodge at Sea Island In Room Service                     Sea Island Company      Hotel In-Room Service      Beer, Wine & Liquor
 The Lodge at Sea Island Additional Facility                 Sea Island Company      Consumption                Beer, Wine & Liquor
 Sea Island Golf Club Snack Bar                              Sea Island Company      Retail                     Beer
 Cloister Hotel Clubrooms                                    Sea Island Company      Consumption                Beer, Wine & Liquor
 Cloister Hotel                                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Hotel In Room Service                              James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor
 Cloister Hotel (Additional Facility, River Bar)             James B. Gilbert        Consumption                Beer, Wine & Liquor
 Black Banks Parlor                                          James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Ballroom East                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Ballroom West                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Garden (North)                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Garden (South)                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Patio                                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Georgia Room Terrace                                        James B. Gilbert        Consumption                Beer, Wine & Liquor
 Main Dining Room Terrace                                    James B. Gilbert        Consumption                Beer, Wine & Liquor
 North Hospitality Suite                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 North Patio                                                 James B. Gilbert        Consumption                Beer, Wine & Liquor
 South Hospitality Suite                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Spanish Lounge Terrace                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Big George's Raw Bar and Grill                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Sea Island Beach Club     (In-room)                         James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor


                                                                        38
23290154v5
                   Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:105 of
                                                        278

 Restaurant Terrace                                        James B. Gilbert     Consumption              Beer, Wine & Liquor
 Beach Bar                                                 James B. Gilbert     Consumption              Beer, Wine & Liquor
 Snack Bar                                                 James B. Gilbert     Consumption              Beer, Wine & Liquor
 Miramar                                                   James B. Gilbert     Consumption              Beer, Wine & Liquor
 Miramar Terrace                                           James B. Gilbert     Consumption              Beer, Wine & Liquor
 Ocean Room                                                James B. Gilbert     Consumption              Beer, Wine & Liquor
 Ocean Room Terrace                                        James B. Gilbert     Consumption              Beer, Wine & Liquor
 Beach Pavilion                                            James B. Gilbert     Consumption              Beer, Wine & Liquor
 Sea Island Spa (NO SUNDAY SALES on county
         license)                                          James B. Gilbert     Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff                                 Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Pub at Cabin Bluff                                   Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff Additional Facility             Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff Additional Facility (In Rm
         Svc)                                              Ellis H. Howard      Hotel In-Room Service    Beer, Wine & Liquor

         *County license obtained in Camden County.

Elevator Operating Permits

             Jurisdiction                       Serial #                          Location                        Expiration Date
225325                              643-1851                           Beach Club Garden North - #8      3/1/2011
225309                              642-8512                           Beach Club Garden North - #1      3/1/2011
225310                              642-8523                           Beach Club Garden North - #3      3/1/2011
225311                              642-3089                           Beach Club Garden North - #5      3/1/2011
225312                              642-0226                           Beach Club Garden North - #9      3/1/2011
225313                              642-0248                           Beach Club Garden North - #4      3/1/2011
225323                              642-3078                           Beach Club Garden North – Beach   3/1/2011
                                                                       Club
225324                              642-3067                           Beach Club Garden North – Beach   3/1/2011
                                                                       Club
241304                              238073                             Beach Club Garden North -         2/1/2011
                                                                       Basement
241313                              28680831                           Beach Club Garden North -         2/1/2011
                                                                       Basement
236852                              238077                             Beach Club Garden North - #1      2/1/2011

                                                                     39
23290154v5
             Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00       Page:106 of
                                                  278

236853                    238078                     Beach Club Garden North - #2     2/1/2011
236854                    238079                     Beach Club Garden North - #3     2/1/2011
236855                    238080                     Beach Club Garden North - #4     2/1/2011
215427                    B5612-05                   Cloister Hotel - #5 Hotel        3/1/2011
215428                    B5614-07                   Cloister Hotel - #7              3/1/2011
215429                    B5615-08                   Cloister Hotel - #8 Hotel        3/1/2011
215430                    B4984-03                   Cloister Hotel - #3 Wing         3/1/2011
215433                    B5610-03                   Cloister Hotel - #3 Hotel        3/1/2011
215463                    B5613-06                   Cloister Hotel - #6 Hotel        3/1/2011
215464                    B5616-09                   Cloister Hotel - #9 Hotel        3/1/2011
215480                    4982-01                    Cloister Hotel - #2 Wing         3/1/2011
215482                    B4985-04                   Cloister Hotel - #4 Wing         3/1/2011
215483                    B5609-01                   Cloister Hotel - #1 Hotel        3/1/2011
215484                    B5609-02                   Cloister Hotel - #2 Hotel        3/1/2011
220280                    B5611-04                   Cloister Hotel - #4 Hotel        3/1/2011
223148                    34983-02                   Cloister Hotel - #2 Wing         3/1/2011
241323                    PD6639A                    Cloister Hotel – River Bar       3/1/2011
241325                    PD6699B                    Cloister Hotel – 100 Hudson      3/1/2011
241326                    PD6639C                    Cloister Hotel – Main Kitchen    3/1/2011
120533                    457910                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Dunbar
120495                    457911                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Mackay
241315                    31820835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241319                    31830835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241320                    31840835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241305                    238071                     Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
195448                    1359946                    Beach Club Residences P.O.A. -   3/1/2011
                                                     Office
195353                    460447                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Abbott


                                                   40
23290154v5
                   Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:107 of
                                                        278

195354                            460448                       Beach Club Residences P.O.A. -    3/1/2011
                                                               Sinclair
236856                            238081                       Ocean Club North - #1             2/1/2011
236858                            238082                       Ocean Club North - #2             2/1/2011
236859                            238083                       Ocean Club North - #3             2/1/2011


Water Heater Operating Permits

             Jurisdiction             National Board Number                Location                       Expiration Date
215472                            107091                       Cloister Hotel – Boiler Room      3/1/2012
215473                            107034                       Cloister Hotel – Boiler Room      3/1/2012
215474                            107045                       Cloister Hotel – Boiler Room      3/1/2012
215475                            107174                       Cloister Hotel – Boiler Room      3/1/2012
215476                            107144                       Cloister Hotel – Boiler Room      3/1/2012
215477                            107026                       Cloister Hotel – Boiler Room      3/1/2012
215469                            107033                       Cloister Hotel – Boiler Room      3/1/2012
215470                            107180                       Cloister Hotel – Boiler Room      3/1/2012
215471                            107046                       Cloister Hotel – Boiler Room      3/1/2012
243496                            2780                         Cloister Hotel – Womens’ Spa      3/1/2012
243497                            2916                         Cloister Hotel – Ladies Fitness   3/1/2012
243498                            2800                         Cloister Hotel – Mens Fitness     3/1/2012
243499                            2910                         Cloister Hotel – Mens Spa         3/1/2012


Low Pressure Water Heater Operating Permits

             Jurisdiction             National Board Number                Location                         Expiration Date
243485                            243485                       Cloister Hotel – North Wing       3/1/2012
243486                            104943                       Cloister Hotel – North Wing       3/1/2012
243487                            106427                       Cloister Hotel – North Wing       3/1/2012
243488                            106451                       Cloister Hotel – South Wing       3/1/2012
242489                            106479                       Cloister Hotel – South Wing       3/1/2012
243490                            106478                       Cloister Hotel – South Wing       3/1/2012
243491                            108793                       Cloister Hotel – Spa & Tennis     3/1/2012
243492                            108795                       Cloister Hotel – Spa & Tennis     3/1/2012

                                                              41
23290154v5
                 Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                           Page:108 of
                                                      278

243493                              108744                              Cloister Hotel – Spa & Tennis        3/1/2012
243494                              108796                              Cloister Hotel – Spa & Tennis        3/1/2012
243495                              108792                              Cloister Hotel – Spa & Tennis        3/1/2012


Other Permits/Licenses

1. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission allowing Sea Island Company the
   nonexclusive right and privilege of providing limited ground transportation services between Brunswick Golden Isles Airport and the Sea
   Island Company.
2. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah District US Army Corps of Engineers
   allowing Sea Island Company to perform certain work to construct a marina facility at the Cloister Hotel.
3. Coastal Marshlands Protection Committee Permit #508, dated October 20, 2005, issued by the Coastal Resources Division of the Georgia
   Department of Natural Resources allowing Sea Island Company to perform certain work to construct a marina facility at the Cloister Hotel.
4. MPLC Certificate of License renewal, dated June 3, 2010, issued by the Motion Picture Licensing Corporation allowing the Cloister Hotel –
   Children’s Program the right under copyright law to publicly perform certain lawfully obtained motion pictures.
5. Building Permit CBUI10042 issued July 2, 2010 by the Glynn County, Georgia Building Inspection Department.
6. Department of Army Permit 074OYN dated January 8, 1990 allowing beach renourishment activities.
7. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
8. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
9. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
10. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).
11. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000073 (The Cloister).
12. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000077 (Ocean Forest).
13. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000074 (Beach Club) .
14. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000075 (Rainbow Island).
15. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000076 (The Lodge).
16. Department of Community Health, Division of Public Health Food Service Permit FS139-4224 (Davis Love III Grill).
17. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000073 (The Cloister).

                                                                      42
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:109 of
                                     278

                                 SECTION 3.8(b)
                                Permits in Violation

 None.




                                        43
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00           Page:110 of
                                     278

                                            SECTION 3.9(a)
                                      Intellectual Property Rights


 1.   Reference is made to Schedule 2.1(i).
 2.   Reference is made to the software licenses listed on Schedule 2.1(b).




                                                    44
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:111 of
                                     278

                                     SECTION 3.9(b)
                       Intellectual Property Rights Infringements
 None.




                                          45
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:112 of
                                     278

                                            SECTION 3.9(c)
                                 Intellectual Property Rights Licenses

 The Sea Island Company has granted a non-exclusive (except with respect to certain media rights, which
 may be exclusive) royalty free right and license to PGA TOUR, INC. and the Davis Love III Foundation
 to use the Sea Island Club logo and the name, logo and images of Seaside Golf Course in connection with
 the McGladrey Classic, a PGA TOUR co-sanctioned 72 hole competition to take place at the Seaside Golf
 Course in October 2010.




                                                   46
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:113 of
                                     278

                                         SECTION 3.10
                                      Environmental Matters

 See reports attached as Exhibit E.




                                               47
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                      Page:114 of
                                     278

                                                   SECTION 3.11(a)
                                                  Owned Real Property 3

             DESCRIPTION                                ADDRESS                               TAX PARCEL

 PARCEL 1
 Cloister Resort West of Sea Island Drive   250 Service Rd Sea Island, GA 31561    Portion of 05-00462
 PARCEL 2
                                            100 Black Banks Ln 90 Sea Island, GA
 Black Banks River Residences RU            31561                                  05-01314
 PARCEL 3
 SIBCR Condo Resort/Parking Units           N/A                                    05-00822
 SIBCR Condo Resort/Parking Units           N/A                                    05-00911
 PARCEL 4
 COR Unit 1-I                               50 Dune Av 101 Sea Island, GA 31561    05-01150
 COR Unit 1-II                              50 Dune Av 1012 Sea Island, GA 31561   05-01151
 COR Unit 1-III                             50 Dune Av 1013 Sea Island, GA 31561   05-01152
 COR Unit 1-IV                              50 Dune Av 1014 Sea Island, GA 31561   05-01153
 COR Unit 2-I                               50 Dune Av 102 Sea Island, GA 31561    05-01154
 COR Unit 2-II                              50 Dune Av 1022 Sea Island, GA 31561   05-01155
 COR Unit 2-III                             50 Dune Av 1023 Sea Island, GA 31561   05-01156
 COR Unit 2-IV                              50 Dune Av 1024 Sea Island, GA 31561   05-01157
 COR Unit 4a-I                              50 Dune Av 106 Sea Island, GA 31561    05-01162
 COR Unit 4a-II                             50 Dune Av 1062 Sea Island, GA 31561   05-01163
 COR Unit 4a-III                            50 Dune Av 1063 Sea Island, GA 31561   05-01164
 COR Unit 4a-IV                             50 Dune Av 1064 Sea Island, GA 31561   05-01165
 COR Unit 4b-I                              50 Dune Av 107 Sea Island, GA 31561    05-01166
 COR Unit 4b-II                             50 Dune Av 1072 Sea Island, GA 31561   05-01167
 COR Unit 4b-III                            50 Dune Av 1073 Sea Island, GA 31561   05-01168
 COR Unit 4b-IV                             50 Dune Av 1074 Sea Island, GA 31561   05-01169
 COR Unit 6-I                               50 Dune Av 113 Sea Island, GA 31561    05-01174
 COR Unit 6-IV                              50 Dune Av 1134 Sea Island, GA 31561   05-01177
 COR Unit 7-III                             50 Dune Av 1173 Sea Island, GA 31561   05-01180
 COR Unit 7-IV                              50 Dune Av 1174 Sea Island, GA 31561   05-01181
 COR Unit 8-I                               50 Dune Av 116 Sea Island, GA 31561    05-01182
 COR Unit 8-II                              50 Dune Av 1162 Sea Island, GA 31561   05-01183
 COR Unit 8-III                             50 Dune Av 1163 Sea Island, GA 31561   05-01184
 COR Unit 8-IV                              50 Dune Av 1164 Sea Island, GA 31561   05-01185
 COR Unit 9-I                               50 Dune Av 121 Sea Island, GA 31561    05-01186
 COR Unit 9-III                             50 Dune Av 1213 Sea Island, GA 31561   05-01188
 COR Unit 10-II                             10 Dune Av 1302 Sea Island, GA 31561   05-01191
 COR Unit 10-III                            10 Dune Av 1303 Sea Island, GA 31561   05-01192
 COR Unit 10-IV                             10 Dune Av 1304 Sea Island, GA 31561   05-01193
 COR Unit 11-I                              10 Dune Av 132 Sea Island, GA 31561    05-01194
 COR Unit 11-III                            10 Dune Av 1323 Sea Island, GA 31561   05-01196
 COR Unit 12-I                              10 Dune Av 134 Sea Island, GA 31561    05-01198
 COR Unit 12-II                             10 Dune Av 1342 Sea island, GA 31561   05-01199
 COR Unit 12-III                            10 Dune Av 1343 Sea Island, GA 31561   05-01200
 COR Unit 12-IV                             10 Dune Av 1344 Sea Island, GA 31561   05-01201
 COR Unit 14-I                              10 Dune Av 136 Sea Island, GA 31561    05-01202
 COR Unit 14-II                             10 Dune Av 1362 Sea Island, GA 31561   05-01203
 COR Unit 14-III                            10 Dune Av 1363 Sea Island, GA 31561   05-01204
 COR Unit 15-I                              10 Dune Av 137 Sea Island, GA 31561    05-01206
 COR Unit 15-II                             10 Dune Av 1372 Sea Island, GA 31561   05-01207
 COR Unit 15-III                            10 Dune Av 1373 Sea Island, GA 31561   05-01208
 COR Unit 15-IV                             10 Dune Av 1374 Sea Island, GA 31561   05-01209
 COR Unit 16-II                             10 Dune Av 1402 Sea Island, GA 31561   05-01211
 COR Unit 16-III                            10 Dune Av 1403 Sea Island, GA 31561   05-01212
 COR Unit 16-IV                             10 Dune Av 1404 Sea Island, GA 31561   05-01213
 COR Unit 17-I                              10 Dune Av 142 Sea Island, GA 31561    05-01214
 COR Unit 18-II                             10 Dune Av 1432 Sea Island, GA 31561   05-01219


 3
     Tax parcel identification numbers in this Section 3.11(a) are for information purposes only.

                                                             48
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                           Page:115 of
                                     278

 COR Unit 18-III                           10 Dune Av 1433 Sea Island, GA 31561         05-01220
 COR Unit 18-IV                            10 Dune Av 1434 Sea Island, GA 31561         05-01221
 COR Unit 22-I                             10 Dune Av 152 Sea Island, GA 31561          05-01234
 COR Unit 22-III                           10 Dune Av 1523 Sea Island, GA 31561         05-01236
 COR Unit 22-IV                            10 Dune Av 1524 Sea Island, GA 31561         05-01237
 PARCEL 5
 East of Sea Island Drive                  N/A                                          Portion of 05-00462
 PARCEL 6
 Strip of Oceanfront Property              N/A                                          Portion of 05-00462
 PARCEL 7
 Roads                                     N/A                                          05-00796
 PARCEL 8
 OFOC Lot 30, Ph 9                         14 Ocean Lane Sea Island, GA 31561           05-01146
 OFOC Lot 31, Ph 9                         15 Ocean Lane Sea Island, GA 31561           05-01145
 PARCEL 9
 OF Golf Cottage                           100 Ocean Road Sea Island, GA 31561          05-01148
 Acreage North of 36th Street (Ocean
 Forest)                                   N/A                                          Portion of 05-00001
 PARCEL 10
                                           97 Retreat Ave, St Simons Island, GA
 Sea Island Golf Course                    31522                                        Portion of 04-04808
 Golf Retreat North Common Area            N/A                                          04-02852
 Golf Retreat North Common Area            N/A                                          04-13700
 Portion of Old Seaside Drive              N/A                                          Portion of 04-11777
                                           16 Retreat Ave, St. Simons Island, GA
 Lot 24, Golf Retreat North                31522                                        04-14185
 PARCEL 11
 Retreat Golf course, club house &
 support facilities (120 acres Clubhouse   168 Merion 11000 St. Simons Island, GA
 area; 89.6 acres Golf Course, 15.9        31522                                        04-05967
 PARCEL 13
 Black Banks Residential                   N/A                                          04-14249
 PARCEL 14
                                           100 Salt Marsh Dr St. Simons Island, GA
 Admin Bldg, Salt Marsh Drive              31522                                        04-01597
 PARCEL 15
 Support Campus North - Parking            N/A                                          04-14220
 PARCEL 18
                                           344 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 201                                31522                                        04-13465
                                           297 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 219                                31522                                        04-13432
                                           435 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 232                                31522                                        04-13445
                                           26 Telford Lane St. Simons Island,      GA
 FT Lot 240                                31522                                        04-13720
 PARCEL 26(a) and 26(b)
 OFDC Lot 3                                17 Forest Ln, Sea Island, GA 31561           05-00803
 OFDC Lot 6                                426 Forest Rd, Sea Island, GA 31561          05-00805
 OFDC Lot 7                                430 Forest Rd, Sea Island, GA 31561          05-00806
 OFDC Lot 9                                438 Forest Rd, Sea Island, GA 31561          05-00748
 OFDC Lot 10                               442 Forest Rd, Sea Island, GA 31561          05-00749
 OFDC Lot 12                               420 Forest Rd, Sea Island, GA 31561          05-00808
 OFDC Lot 13                               454 Forest Rd, Sea Island, GA 31561          05-00809
 OFDC Lot 14                               458 Forest Rd, Sea Island, GA 31561          05-00810
 OFDC Lot 16                               466 Forest Rd, Sea Island, GA 31561          05-00812
 OFDC Lot 17                               470 Forest Rd, Sea Island, GA 31561          05-00813
 PARCEL 27
 OF Common Area 9.439 AC Forest Rd         N/A                                          05-00687
 OF Forest Cottage Expansion, remainder
 acreage                                   N/A                                          05-00744
 OFOC Common Area - Ph 1                   N/A                                          05-00693
 OFOC Common Area - Ph 2                   N/A                                          05-00692
 OFOC Common Area - Ph 3                   N/A                                          05-00697


                                                             49
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                             Page:116 of
                                     278

 OFOC Common Area - Ph 4                       N/A                                        05-00715
 OFOC Common Area Ph 5                         N/A                                        05-00734
 OFOC Common Areas, Ph VIII                    N/A                                        05-00823
 PARCEL 29 and 29(a)
                                               352 Old Seaside Dr, St Simons Island,
 OS Lot 8                                      GA 31522                                   04-11785
                                               105 Old Seaside Ln, St Simons Island,
 OS Lot 9                                      GA 31522                                   04-11786
 PARCEL 30
 7.853 AC, Old Seaside                         N/A                                        04-11368
 Seaside Tract                                 N/A                                        Portion of 04-11777
 PARCEL 31
                                               222 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 8                            Simons Island, GA 31522                    04-11405
                                               212 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 9                            Simons Island, GA 31522                    04-11406
                                               127 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 37                           Simons Island, GA 31522                    04-14165
                                               129 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 38                           Simons Island, GA 31522                    04-14166
 PARCEL 32
 Roads within SI Lake Cottages; 3.595 AC       N/A                                        04-11397
 SI Lake Cottages Undeveloped Acreage          N/A                                        04-00798
 PARCEL 33
                                               348 Pikes Bluff Dr, St Simons Island, GA
 FT Lot 202                                    31522                                      04-13464
                                               124 Telford Ln, St Simons Island, GA
 FT Lot 251                                    31522                                      04-13709
 PARCEL 35
 Tract 9; 6.550 total acres; "Finger" parcel   N/A                                        05-01241
 PARCEL 36
 Expanded Tract V, Cloister Residences
 East                                          100 Dune Avenue, Sea Island, GA 31561      05-00787
 1/2 TIC                                                                                  05-01242
 PARCEL 37
                                               427 Mimosa Dr, St Simons Island, GA
 Tract 1, West Point Plantation, SSI           31522                                      04-01009
                                               2023 Sea Palms W Dr, St Simons Island,
 Lot 12 Marsh Point, SSI                       GA 31522                                   04-09512
                                               509 Vassar Point Dr, St Simons Island,
 Lot 19 Vassar Point                           GA 31522                                   04-08447
                                               118 Brookfield Trc, St Simons Island, GA
 Oak Forest - Phase 2-B                        31522                                      04-10017
                                               69 Black Banks Dr, St Simons Island, GA
 Black Banks                                   31522                                      04-00742
 PARCEL 38
                                               200 Beach Club Ln 401, Sea Island, GA
 200 Beach Club Lane, Unit 401; BCO1           31561                                      05-01243
 200 Beach Club Lane, Unit 402; BCO2           200 Beach Club Ln 402, Sea Island, GA
 Beach Club Residences                         31561                                      05-01244
 PARCEL 39
 Ocean Club Unit ON3                           150 Dune Av 173, Sea Island, GA 31561      05-01300
 PARCEL 40
                                               100 Beach Club Lane, 431, Sea Island,
 Beach Club Residences Unit GS6                GA 31561                                   05-01286
 PARCEL 41
                                               100 Beach Club Ln 10000, Sea Island,
 Beach Club Residences GS Resort Unit          GA 31561                                   05-01297
 PARCEL 42
                                               159 Dune Av 10001, Sea Island, GA
 Ocean Club Resort Unit                        31561                                      05-01312
 PARCEL 43
                                               200 Beach Club Ln 10001, Sea Island,
 Beach Club Residences BCO Resort Unit         GA 31561                                   05-01263


                                                                 50
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                        Page:117 of
                                     278

                                           300 Beach Club Ln 10001, Sea Island,
 Beach Club Residences GN Resort Unit      GA 31561                                  05-01280
 PARCEL 44
                                           146 Point Ln, St Simons Island, GA
 Kings Point Lot 13                        31522                                     04-11178
 PARCEL 45
                                           145 Point Ln, St Simons Island, GA
 Kings Point Lot 15                        31522                                     04-11176
 PARCEL 47
                                           21 Marlin Ln, St Simons Island, GA
 FT Lot 46                                 31522                                     04-12386
 PARCEL 48
                                           185 Kirkaldy Ln, St Simons Island, GA
 FT Lot 131                                31522                                     04-13111
 PARCEL 49
 OFDC Lot 38                               220 Forest Rd, Sea Island, GA 31561       05-01313
 PARCEL 50
 Woodbine                                  N/A                                       W09 01 002
 Woodbine                                  N/A                                       W09 01 003
 PARCEL 51
                                           1550 Frederica Rd, St Simons Island, GA
 Tabby House                               31522                                     04-02802
 PARCEL 52
 1545 AC Marsh Frederica Tract             N/A                                       04-14275
 6.7 AC Marsh Frederica Tract              N/A                                       04-14276
 1268.44 AC Marsh Cannons Point            N/A                                       04-14277
 PARCEL 53
                                           3374 Cypress Mill Rd, Brunswick, GA
 Laundry Facility - Brunswick              31520                                     01-06954
 PARCEL 54
                                           11 Sea Island Rd, St. Simons Island, GA
 Shooting School                           31522                                     05-00459
                                           46 Rainbow Island Dr, St Simons Island,
 Rainbow Marsh                             GA 31522                                  04-00715
 PARCEL 55
 Salt Marsh and Hammocks lying to the
 west of the Plantation and Seaside Golf
 Courses and south of Kings Way            N/A                                       Portion of 04-02830
 PARCEL 56
 South End of Sea Island                   N/A                                       Portion of 05-00462
 PARCEL 57                                                                           N/A
 Salt Marsh and High Ground west of SI
 Subdivision No. 1                         N/A                                       05-00001
 PARCEL 58
                                           315 Cedar Bank Rd, St Simons Island,
 Native American Burial Ground             GA 31522                                  04-13359
 PARCEL 59
                                           238 W Twenty Second St 21000, Sea
 22nd Street Well Site                     Island, GA 31561                          05-00821
 PARCEL 60
 Undeveloped Marsh Hamilton Landing        N/A                                       04-01706
 Undeveloped Marsh Hamilton Hawkins
 Island                                    N/A                                       04-01116
 PARCEL 61
                                           0 FJ Torras Cswy, St Simons Island, GA
 Lanier Island                             31522                                     02-00100
 PARCEL 62
                                           500 Beach Club Dr 522, Sea Island, GA
 SIBCR Condo Unit CC                       31561                                     05-00901
 PARCEL 63
 60 Acres - Camden                         N/A                                       118 036A
 PARCEL 64


                                                            51
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                             Page:118 of
                                     278

 Twitty Park lying north of Sea Island      3000 Frederica Road, St. Simons Island,
 Road                                       Georgia 31522                               04-13915
 PARCEL 65
 Old Seaside Drive in Old Seaside
 Subdivision, St. Simons Island, Glynn      100 Sea Island Drive, St. Simons Island,
 County, Georgia                            Georgia 31522                               04-11777
 PARCEL 66
 400 Sea Island Drive Subdivision Streets   400 Sea Island Circle, St. Simons Island,
 and Buffers                                Ga 31522                                    04-10248
 PARCEL 67
 Tract between Sea Island Road and          847 Sea Island Road, St. Simons Island,
 Epworth Oaks Subdivision                   Georgia 31522                               04-01716
 PARCEL 68
                                            115 Lawrence Road, St. Simons Island,
 St. Perpetua Church Lot                    Ga 31522                                    04-00215
 PARCEL 69
 Roads and Streets, St. Simons Island
 Club Subdivision                           N/A                                         None (mapped as public streets)




                                                              52
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:119 of
                                     278

                                         SECTION 3.11(b)
                               Acquired Owned Real Property Exceptions



 1. As to Parcels 38, 39, and 40, Sea Island Company does not now have fee simple title free and clear of
    all encumbrances, except for Permitted Liens and Liens that will be released at or prior to Closing,
    but shall have such title at Closing. For additional information:

     Parcel 38: Sea Island Company owns good and valid title to membership interests in Beach Club
     Ocean Residences, LLC, which entitle it to require Beach Club Ocean Residences, LLC (and Beach
     Club Garden North Residences, LCC, and Beach Club Garden South Residences, LLC) to convey to
     it the real property in Parcel 38.

     Parcel 39: Sea Island Company owns good and valid title to membership interests in Ocean Club
     North Residences, LLC, which entitle it to require Ocean Club North Residences, LLC, to convey to
     it the real property in Parcel 39.

     Parcel 40: Sea Island Company owns good and valid title to membership interests in Beach Club
     Garden South Residences, LLC, which entitle it to require Beach Club Garden South Residences,
     LLC (and Beach Club Ocean Residences, LCC, and Beach Club Garden North Residences, LLC) to
     convey to it the real property in Parcel 40.

 2. As to Parcels 42 and 43, Sea Island Resort Residences, LLC does not now have fee simple title free
    and clear of all encumbrances, except for Permitted Liens and Liens that will be released at or prior to
    Closing, but shall have such title at Closing. For additional information:

     Parcel 42: Sea Island Resort Residences, LLC owns good and valid title to membership interests in
     Ocean Club North Residences, LLC, which entitle it to require Ocean Club North Residences, LLC,
     to convey to it the real property in Parcel 42.

     Parcel 43: Sea Island Resort Residences, LLC owns good and valid title to membership interests in
     Beach Club Ocean Residences, LLC, and Beach Club Garden North Residences, LLC, which entitle
     it to require Beach Club Ocean Residences, LLC, Beach Club Garden North Residences, LLC (and
     Beach Club Garden South Residences, LLC) to convey to it the real property in Parcel 43.

 3. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to the United
    States Postal Service dated March 17, 2008, as set forth in the Title Commitment.


 4. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Atlantic Bike
    Shop, Inc. dated March 11, 2010.


 5. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Steve
    Hightower dated November 30, 2008.


 6. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Resort
    Photography, LLC dated March 6, 2000.


                                                     53
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:120 of
                                     278



 7. As to Parcel 01, a portion of Parcel 01 is subject to a Yacht Charter Agreement relating to the Cloister
    Belle, between Sea Island Company and Captain Brian Quinn dated August 2008.


 8. As to Parcel 03, two parking units, which are currently fenced and identified by signage as reserved
    for use by certain Beach Club Suites as storage, are subject to agreements reserving such parking
    units for the benefit of the owners of such Beach Club Suites.


 9. As to Parcels 05, 06, and 07, portions of such parcels are subject to a lease from Sea Island Company
    to Barry’s Beach Service, Inc. dated June 30, 2006.


 10. As to Parcels 05, 06, 07, and 54, portions of such parcels are subject to a lease from Sea Island
     Company to Tri H Friesians LLC dated February 4, 2010.


 11. As to Parcels 06 and 07, Sea Island Company has from time to time granted licenses to owners of
     property on Sea Island (including Ocean Forest) and their guests and invitees to access Sea Island
     Beach and in some cases to maintain landscaping and/or improvements on real property owned by
     Sea Island Company within Parcels 06 and 07 including without limitation the rights of way of the
     roads on Sea Island.


 12. As to Parcel 09, portions of Parcel 09 constitute common area and/or limited common area for the
     benefit of the owners of property within Ocean Forest.


 13. As to Parcel 09, a portion of Parcel 09 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East LP dated March 8, 2004 (Ocean Forest), as set forth in the Title Commitment.


 14. As to Parcel 10, owners of lots within Old Seaside, and their guests and invitees, have been granted
     rights to cross the road within Parcel 10 providing access to Old Seaside and to cross the boardwalk
     and pathway leading from Old Seaside subdivision to the beach adjacent to the St. Simons Sound.


 15. As to Parcel 10, a portion of Parcel 10 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East LP dated March 24, 2004 (Sea Island Lodge), as set forth in the Title
     Commitment.


 16. As to Parcel 11, owners of lots within Retreat (formerly St. Simons Island Club Subdivision), and
     their guest and invitees, have been granted rights to cross the entrance road to the subdivision
     crossing a portion of Parcel 11.


 17. As to Parcel 15, Parcel 15 is subject to an Agreement Regarding Right of First Refusal by and
     between Sea Island Company and JLV-VASI, LLC. dated September 5, 2008, as set forth in the Title
     Commitment.



                                                     54
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                              Page:121 of
                                     278

 18. As to Parcel 27, portions of Parcel 27 constitute common area and/or limited common area for the
     benefit of the owners of property within Ocean Forest.


 19. As to Parcel 32, Parcel 32 is subject to a right of first offer in the Purchase Agreement by and among
     Sea Island Coastal Properties LLC, Lake Cottages III, LLC, and Sea Island Company, dated July 17,
     2007, which right of first offer shall be extinguished prior to Closing.


 20. As to Parcel 32, portions of Parcel 32 constitute common area and/or limited common area for the
     benefit of the owners of property within Lake Cottages, and other portions of Parcel 32 indentified as
     Twitty Park are subject to the rights of others for use as a park.


 21. As to Parcel 37, Parcel 37, Tract VI is subject to a lease from Sea Island Company to Alfred W.
     Jones, III dated October 8, 2007.


 22. As to Parcel 48, Parcel 48 is subject to a Shared Equity Financing Agreement with C. Allen Brown
     dated April 25, 2005, as set forth in the Title Commitment.


 23. As to Parcel 50, a portion of Parcel 50 is subject to a lease from Sea Island Company to Satilla River
     Keeper dated February 15, 2010, as set forth in the Title Commitment.


 24. As to Parcel 51, Parcel 51 is subject to a lease from Sea Island Company to The Tabby House, as set
     forth in the Title Commitment.


 25. As to Parcels 52, 55, 57, 60, and 61, such parcels are subject to existing encroachments by existing
     docks or other existing improvements constructed by third parties.


 26. As to Parcel 54, a portion of Parcel 54 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East dated March 8, 2004 (The Cloister), as set forth in the Title Commitment.


 27. As to Parcel 64, the restrictive covenants and reversion clause set out in that certain deed from Glynn
     County to Sea Island Company dated April 26, 1982, recorded in the office of the Clerk of Superior
     Court of Glynn County, Georgia at Deed Book 23-P, Page 609 (the Parcel being affected thereby
     containing 0.892 acre).


 28. As to Parcel 65, the rights of owners of lots in Old Seaside Subdivision, their guests, invitees and
     licensees, to use said road for access to the lots in said subdivision.


 29. As to Parcel 66, the rights of owners of lots in 400 Sea Island Drive Subdivision, their guests, invitees
     and licensees, to use Hamilton Island Circle for access to the lots in said subdivision.


 30. As to Parcel 52, lack of a right of access to and from the land.


                                                      55
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:122 of
                                     278



 31. As to Parcels 52, 54, 55, 56, 57, 60 and 61, the terms and conditions of the Georgia Coastal
     Marshlands Protection Act of 1970 and such title claims as the State of Georgia may choose to exert
     to the title to salt marshes, which Act and claims may relate only to certain portions of said parcels.


 32. As to Parcel 68, the inexact nature of the description of the property, and the rights of others
     associated with the probability of at least one grave being located upon the property.


 33. As to Parcel 69, the rights of lot owners in the nine phases of St. Simons Island Club Subdivision to
     the streets in said phases, and that certain Agreement, dated February 20, 1989 (recorded as Exhibit A
     to that certain Agreement, dated April 21, 2004, between the St. Simons Island Club Property
     Owner’s Association, Inc. and Sea Island Company on March 23, 2005 at Deed Book 1675, Page
     322), between the St. Simons Island Club Property Owner’s Association and Sea Island Company,
     whereby the Association assumed the duty and responsibility of maintaining all streets in the nine
     phases of St. Simons Island Subdivision.




                                                     56
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:123 of
                                     278

                                       SECTION 3.12(a)
                            Employee Benefit Plans with Health Benefits

 1. Postretirement Benefit Plan, contained in the Sea Island Company Healthgram 2010 Health Care Plan
 2. Sea Island Company Healthgram 2010 Health Care Plan
 3. Sea Island Dental Care Plan, contained in the Sea Island Company Healthgram 2010 Health Care
 Plan
 4. Prescription Drug Plan, contained in the Sea Island Company Healthgram 2010 Health Care Plan
 5. Starbridge Sickness and Accident Plan
 6. Long-term Care Insurance
 7. Employment Agreement by and among Sea Island Company and David Bansmer dated April 15,
 2006
 8. Separation Agreement by and among Jim Brown and Sea Island Company
 9. Separation Agreement by and among Taylor Adams and Sea Island Company




                                                 57
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                         Page:124 of
                                     278

                                              SECTION 3.14
                                                Contracts

 1. The contracts listed in Section 2.1(b) hereof.
 2. The permits and licenses listed in Section 3.8(a) hereof.
 3. Sea Island Club Membership agreements with approximately 3,000 members.
 4. Ocean Forest Membership agreements with approximately 450 members.
 5. The Employee Benefit Plans listed in Section 3.12(a) hereof and all other Employee Benefit Plans of
 Sellers.
 6. Certain insurance policies of Sellers.




                                                     58
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:125 of
                                     278

                                           SECTION 3.16
                                           Improvements


 Reference is made to that certain Property Condition Assessment Report prepared by Shepard Consulting
 Group, Inc. dated June 30, 2010 attached hereto as Exhibit F.




                                                  59
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:126 of
                                     278

                                         SECTION 3.17
                                   Club Documents; Membership

 See documents attached as Exhibit G and the list of all current Club Members of Sea Island Club
 Membership Program and the Ocean Forest Club Membership Program, detailing the type of membership
 that is applicable to each such Club Member and the amount of all refundable initiation fees paid to
 Sellers by each such Club Member provided in writing to Purchaser on August 4, 2010.




                                                 60
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:127 of
                                     278

                                              SECTION 3.18
                                           Financial Statements

 See financial statements attached as Exhibit H.




                                                   61
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:128 of
                                     278

                                  SECTION 3.20
                                     Taxes

 None.




                                       62
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                          Page:129 of
                                     278

                                             SECTION 5.2
                                           Conduct of Business

      Sellers shall in no way be prohibited from conducting the following activities:


      1. Conducting and completing the sale or transfer of the Excluded Owned Real Property listed on
         Schedule 2.2(c) hereof.


      2. Reevaluating and reducing the principal amount of that certain loan made my Sea Island
         Company to Todd W. Anderson and Stacey L. Anderson pursuant to that certain Shared Equity
         Financing Agreement and related documents.


      3. Entering into a final Tournament Agreement with PGA TOUR, INC. and the Davis Love III
         Foundation in connection with the McGladrey Classic, a PGA TOUR co-sanctioned 72 hole
         competition to take place at the Seaside Golf Course in October 2010, provided that the licenses
         contained therein shall remain non-exclusive, except as to matters where Sea Island has
         exclusive rights to grant.




                                                    63
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:130 of
                                     278

                                   SECTION 10.3
                               Retiree Health Benefits


                            Remaining Balance in Medical     Consumed Balance in Medical
                            Plan as of December 31, 2009     Plan as of December 31, 2009
            Name                         ($)                              ($)
 ADAMS, CAMILLE                                    29,620                           20,380
 ADAMS, CLAUDE T                                   30,636                           19,364
 ATKINSON, S.G.                                      4,598                          45,402
 BALDWIN, ULYSESS                                  14,971                           35,029
 BEISEL, ALICE                                     16,540                           33,460
 BENEFIELD, J.D.                                   33,915                           16,085
 BENEFIELD, MIRIAM                                 36,022                           13,978
 BUTLER, CALVIN                                    50,000                                 -
 BUTLER, NANCY                                     47,701                             2,299
 BUTLER, ROBERT                                    42,749                             7,251
 BYARD, MARGARET                                   48,359                             1,641
 CASON, JULIAN                                     42,836                             7,164
 CLARK, ALBERT
 CLARK, DONNIE                                     23,543                           26,457
 CLAYTON, ERNESTINE                                48,491                            1,509
 CRAWFORD, PAUL                                    47,055                            2,945
 DAVIS, ELBA                                       48,037                            1,963
 DAVIS, LOUIS                                      47,245                            2,755
 DERKACZ, MICHAEL                                  48,718                            1,282
 DICKERSON, ROBERT                                 44,555                            5,445
 DIXON, EDNA                                       45,689                            4,311
 ESPANA, ANGEL                                      5,562                           44,438
 FLETCHER, GEORGE                                  24,404                           25,596
 FLETCHER, PHYLLIS                                 39,238                           10,762
 GALBREATH, ELVENOIR                               43,506                            6,494
 GALBREATH, ELVENOIR                               46,632                            3,368
 GIBSON, BILLY R.                                  40,215                            9,785
 GIBSON, LINDA                                     43,678                            6,322
 GIBSON, PATRICIA                                  43,969                            6,031
 GIVENS, FLORENCE
 GRAHAM, MIRIAM                                    48,975                            1,025
 GRAHAM, W.R.                                      48,705                            1,295
 GROVNER, CELIA                                    44,192                            5,808
 HAAS, BETTY                                       46,321                            3,679
 HAMMETT, JANET                                    47,004                            2,996
 HAMMETT, WILLIE                                   47,805                            2,195
 HARRISON, EDWEINA
 HARRISON, MAYNARD                                 44,408                            5,592
 HARRISON, VALERIE F.                              46,778                            3,222
 HARVEY, HARRIS                                    44,431                            5,569
 HIGGENBOTHAM, WILLIE M.                           40,558                            9,442
 HOPKINS, ALMA                                     49,479                              521


                                         64
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:131 of
                                     278

 HUGHES JR, CLAUDE R
 HUTCHERSON, CARLETHA
 IHDE, INGEBORG                                31,744                     18,256
 IHDE, WERNER                                  37,458                     12,542
 JOHNS, BARBARA                                48,661                      1,339
 JOHNS, CODY                                   44,341                      5,659
 JOHNS, CODY (Larry)                           25,988                     24,012
 JONES JR, IRVIN                               46,410                      3,590
 JONES, ELSIE                                  45,389                      4,611
 JONES, JAMES                                  49,323                        677
 JONES, JANICE                                 46,654                      3,346
 JONES, SARAH                                  45,928                      4,072
 KUNTZ, DAVID                                  32,257                     17,743
 KUNTZ, MARIANNA                               18,074                     31,926
 LOTT, ARCHIE                                  47,217                      2,783
 LOTT, WILLENE                                 44,701                      5,299
 MANKIN, LANOLA
 MARION, ISIAH
 MARION, NORMA                                 35,253                     14,747
 MAY, DEBORAH
 MAY, ROBERT                                   30,683                     19,317
 MCCRARY, DENNIE                               39,426                     10,574
 MCCRARY, FRANCIS                              15,695                     34,305
 MCNEELY, JOYCE                                49,562                        438
 MULLIS, MARY                                  33,865                     16,135
 NUNNALLY, HAZEL                               49,750                        250
 NUNNALLY, TOMMY
 O'CONNOR, KATHERINE                           15,727                     34,273
 O'CONNOR, PAUL                                32,225                     17,775
 OUTLAW, NETHEL R.                             49,517                        483
 OWENS, RANDY                                  38,080                     11,920
 RAMSEY, CARTER                                38,583                     11,417
 RAMSEY, JOYCE S.                              36,283                     13,717
 RAULS, SHIRLEY                                30,387                     19,613
 SAWYER, JANE                                  46,572                      3,428
 SHEDD, LOUISE                                 42,752                      7,248
 SMALL, LUVENIA                                43,908                      6,092
 SMITH, WILLIAM C.                             34,440                     15,560
 SMITH, WILLIAM C.                             45,819                      4,181
 TALLEY, CARL PATRICK                          46,300                      3,700
 TALLEY, CLYDE                                 41,820                      8,180
 TODD, ELEANOR                                 36,525                     13,475
 WALKER, HERCULE                               41,718                      8,282
 WELLS, LENOIR                                 46,903                      3,097
 WICKER, GENE
 WILLIAMS, JOHN
 WRIGHT, E.T.                                  36,633                     13,367
 WRIGHT, RACHEL                                37,807                     12,193


                                      65
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:132 of
                                     278

                                  SECTION 11.1(b)
                                  Membership Terms

 See Exhibit I attached hereto.




                                        66
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:133 of
                                     278

                                SECTION 12.2(f)
                                Required Consents

 None.




                                       67
 23290154v5
                 Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:134 of
                                                      278

                                                    SECTION 12.2(h)
                                                     Liquor Licenses

                        Location                        Licensee            License Type          Products Sold
Davis Love Grill                                  Sea Island Company   Consumption             Beer, Wine & Liquor
Ocean Forest Golf Club (Tee House)                James B. Gilbert     Retail                  Beer
Ocean Forest Golf Club                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Ocean Forest Golf In Room Service                 James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
The Lodge at Sea Island                           James B. Gilbert     Consumption             Beer, Wine & Liquor
The Lodge at Sea Island In Room Service           Sea Island Company   Hotel In-Room Service   Beer, Wine & Liquor
The Lodge at Sea Island Additional Facility       Sea Island Company   Consumption             Beer, Wine & Liquor
Sea Island Golf Club Snack Bar                    Sea Island Company   Retail                  Beer
Cloister Hotel Clubrooms                          Sea Island Company   Consumption             Beer, Wine & Liquor
Cloister Hotel                                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Hotel In Room Service                    James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
Cloister Hotel (Additional Facility, River Bar)   James B. Gilbert     Consumption             Beer, Wine & Liquor
Black Banks Parlor                                James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Ballroom East                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Ballroom West                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Garden (North)                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Garden (South)                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Patio                                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Georgia Room Terrace                              James B. Gilbert     Consumption             Beer, Wine & Liquor
Main Dining Room Terrace                          James B. Gilbert     Consumption             Beer, Wine & Liquor
North Hospitality Suite                           James B. Gilbert     Consumption             Beer, Wine & Liquor
North Patio                                       James B. Gilbert     Consumption             Beer, Wine & Liquor
South Hospitality Suite                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Spanish Lounge Terrace                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Big George's Raw Bar and Grill                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Sea Island Beach Club     (In-room)               James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
Restaurant Terrace                                James B. Gilbert     Consumption             Beer, Wine & Liquor
Beach Bar                                         James B. Gilbert     Consumption             Beer, Wine & Liquor
Snack Bar                                         James B. Gilbert     Consumption             Beer, Wine & Liquor
Miramar                                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Miramar Terrace                                   James B. Gilbert     Consumption             Beer, Wine & Liquor
Ocean Room                                        James B. Gilbert     Consumption             Beer, Wine & Liquor


                                                           68
23290154v5
                Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:135 of
                                                     278

Ocean Room Terrace                                    James B. Gilbert   Consumption             Beer, Wine & Liquor
Beach Pavilion                                        James B. Gilbert   Consumption             Beer, Wine & Liquor
Sea Island Spa (NO SUNDAY SALES on county
        license)                                      James B. Gilbert   Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff                              Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Pub at Cabin Bluff                                Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff Additional Facility          Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff Additional Facility (In Rm
        Svc)                                          Ellis H. Howard    Hotel In-Room Service   Beer, Wine & Liquor




                                                                69
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:136 of
                                     278

                                         SCHEDULE 11.1(b)

                   CERTAIN CHANGES TO THE SEA ISLAND CLUB
              AND OCEAN FOREST GOLF CLUB MEMBERSHIP PROGRAMS


 All Club Member Agreements with members under the existing Sea Island Club and Ocean
 Forest Golf Club Membership Programs will be rejected in the Bankruptcy Cases pursuant to
 Section 365 of the Bankruptcy Code, including, without limitation, rejection of the possible
 option of members, which may presently exist under the existing Ocean Forest Golf Club
 Membership Program, to buy the club facilities. Purchaser will honor the deposit liability owed
 to each existing Club Member who agrees to be bound by the terms and conditions of new
 membership documents to be prepared for their respective clubs by crediting the amount of such
 deposit liability to such member’s account pursuant to the applicable New Membership Program;
 provided that the Purchaser’s obligation to refund such credited deposit liability will be
 exclusively governed by the terms of the applicable New Membership Program, and not by the
 terms of the applicable existing Club Member Agreements that will be rejected in the
 Bankruptcy Cases. Please note that those Club Members who received a credit or the benefit of
 any promotion upon acquiring their existing membership will only receive a credit to their new
 membership account in the amount of their existing membership deposit paid in cash. Electing
 Club Members will not be required to post any additional deposit amounts to join under the New
 Membership Programs.

 The New Membership Programs will be generally consistent with the existing Sea Island Club
 and Ocean Forest Golf Club Membership Programs, however, the new documentation will be
 more contemporary and comprehensive. A determination will have to be made concerning what
 categories of membership will be offered following the closing, the timing of the offerings and
 the pricing thereof so as to be responsive to the marketplace and grow the membership, while
 being sensitive to the interests of existing members. Some of the more significant changes,
 clarifications and reaffirmations Purchaser presently proposes are set forth below.


 Sea Island Club

         1.     The 30-year deposit refund obligation for each member who joins under the New
 Membership Program will be reset to a date which is the later of (a) December 31, 2035 or (b)
 the date which is 30 years after the member joined the Sea Island Club.

         2.     Limitations or caps on dues increases or fee increases, will be eliminated.    In
 light of this change, the Club may elect to offer preferred pricing for a member’s extended
 family members (i.e., the member’s and spouse’s parents, adult children, grandchildren and their
 respective spouses) versus regular guests with respect to guest cards and usage fees.

         3.     Until the Club has issued all of its memberships, the Club will refund one deposit
 for a membership on the resigned membership list (by reissuing the membership of the member
 on the resigned membership list) for every three of its memberships that are sold (i.e., 1 in 4). At
 such time as the Club has issued all of its memberships, each membership issued will be a


 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:137 of
                                     278

 resigned membership. Resigned memberships will be reissued on a first-resigned, first-reissued
 basis, subject to paragraph 4 below.

        4.      Upon the death of a member, if the surviving spouse or an adult child does not
 succeed to the membership, the membership will be placed on the resigned wait list for refunding
 of the applicable deposit below the last membership of a deceased member and above all
 memberships of resigning but not deceased members. This change will not be applied to
 already deceased members and their memberships shall be refunded based upon death of the
 member prior to the New Membership Program taking effect.

         5.      The Club will reaffirm its right to offer memberships to owners of properties that
 are not located in a Sea Island Company development or a development that has been designated
 as a “Qualified Residential Development,” upon terms and conditions as determined from time to
 time by the Club.

         6.      The Club can be converted to an equity, member-owned club. Further, the Club
 can sell or otherwise dispose of any or all of the Club facilities.

        7.       The Club will reserve the right to modify, eliminate or add to the dues options that
 are available for any membership category, such as single, family, national, etc.

          8.      The Club will reserve the right to offer new dues categories and new membership
 categories having different membership joining fees, including deposits and non-refundable
 initiation fees, and different dues. Further, the Club will reserve the right to terminate or modify
 any dues category or membership category, as well as discontinue offering any dues category or
 membership category.

        9.     Those members who presently do not pay dues as a result of an agreement arising
 from or in connection with a prior real estate transaction with the Sea Island Company will be
 obligated to commence paying dues, but at a rate equal to seventy-five percent (75%) of the
 applicable dues for their particular category. This lower dues rate is not transferable to the
 successor member.

       10.     Rental guests staying in a member’s residence will be entitled to have temporary
 membership privileges at the Club as renters and not as guests, subject to approval and the
 payment of applicable fees and charges.

         11.     The Club will reserve the right to, from time to time, discontinue or determine the
 terms of eligibility for inactive status, and to modify the terms and conditions relating to inactive
 status such as, for example, the duration of this status.

         12.    The Club will reserve the right to enter into reciprocal use arrangements with
 other clubs and resorts.

        13.     A membership can be transferred to an adult child during the member’s lifetime
 or upon death, subject to the Club’s approval of the adult child and payment of an administrative
 fee only; a new 30-year period will start for the refund of the membership deposit. This is a one-
 time only right per membership. The next transfer to an adult child will require the payment of

                                                  2
 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:138 of
                                     278

 the difference between the then current membership deposit and the amount of the membership
 deposit previously paid for the membership in question.

         14.    Members, through the Club, can exchange their membership privileges and dues
 obligations, on a membership year basis.

         15.    The Club can issue honorary, company and other complimentary memberships on
 terms and conditions determined by it. These memberships shall not count against any cap or
 limit on the number of memberships.



 Ocean Forest Golf Club

        1.     The 30-year deposit refund obligation for each member who joins under the New
 Membership Program will be reset to a date which is the later of (a) December 31, 2035 or (b)
 the date which is 30 years after the member joined the Ocean Forest Golf Club (the “Outside
 Refund Date”).

          2.      The refund procedure specified in the existing Ocean Forest Golf Club
 Membership Program will be revised to provide that until the Club has issued all of its
 memberships, the Club will refund one deposit for a membership on the resigned membership
 list (by reissuing the membership of the member on the resigned membership list) for every three
 of its memberships that are sold (i.e., 1 in 4). At such time as the Club has issued all of its
 memberships, each membership issued will be a resigned membership. Resigned memberships
 will be reissued on a first-resigned, first-reissued basis.

          3.     At the Outside Refund Date, a member who desires to continue the membership
 privileges must keep their initiation deposit with the Club and continue to pay applicable dues,
 fees and charges. The member will then be entitled to a deposit refund 30 years thereafter or
 earlier, upon resignation and reissuance of the membership.

      4.      The obligation of the Club to refund the initiation deposit paid for a spousal
 membership upon the spousal member succeeding to his or her deceased spouse’s primary
 membership in the Club or in the case of divorce, will be eliminated. Instead, the spousal
 membership will be placed on a resigned wait list for refunding.

         5.      The Club can be converted to an equity, member-owned club. Further, the Club
 can sell or otherwise dispose of any or all of the Club facilities.

        6.       The Club will reserve the right to modify, eliminate or add to the dues options that
 are available for any membership category, such as single, family, national, etc.

          7.      The Club will reserve the right to offer new dues categories and new membership
 categories having different membership joining fees, including deposits and non-refundable
 initiation fees, and different dues. Further, the Club will reserve the right to terminate or modify
 any dues category or membership category, as well as discontinue offering any dues category or
 membership category.

                                                  3
 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:139 of
                                     278

         8.     A membership can be transferred to an adult child during the member’s lifetime
 or upon death, subject to the Club’s approval of the adult child and payment of an administrative
 fee only; with a new 30-year period starting for the refund of the initiation deposit. This is a one-
 time only right per membership. The next transfer to an adult child will require the payment of
 the difference between the then current initiation deposit and the amount of the membership
 deposit previously paid.

         9.     The age of children who can enjoy membership privileges under a membership
 will be increased to 25.

         10.    Membership in the Club is by invitation only. The New Membership Program
 will reaffirm that the owner of Ocean Forest Golf Club has the right in its sole discretion to
 determine eligibility criteria for admission to the Club’s membership.

       11.    The Club will reserve the right to issue honorary, company and other
 complimentary memberships on such terms and conditions as are determined by the Club, which
 memberships do not count against the cap on the number of primary memberships permitted.




                                                  4
 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:140 of
                                     278

                                  EXHIBIT B




                                      -4-
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:141 of
                                     278

                                                            EXECUTION COPY



 ______________________________________________________________________________


                        ASSET PURCHASE AGREEMENT

                              BY AND BETWEEN

                         SEA ISLAND ACQUISITION LP,

                            SEA ISLAND COMPANY,

                   SEA ISLAND COASTAL PROPERTIES LLC,

                    SEA ISLAND RESORT RESIDENCES, LLC,

                            FIRST SEA ISLAND, LLC,

                          SEA ISLAND APPAREL, LLC

                                      and

                          SEA ISLAND SERVICES, INC.



                            AUGUST 4October 19, 2010




 ______________________________________________________________________________
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:142 of
                                     278


                              ASSET PURCHASE AGREEMENT


         THIS ASSET PURCHASE AGREEMENT dated as of August 4October 19, 2010
 (this “Agreement”) is entered into by and among Sea Island Acquisition LP, a Delaware limited
 partnership (“Purchaser”), on the one hand, and Sea Island Company, a Georgia corporation
 (“SIC”), Sea Island Coastal Properties LLC, a Georgia limited liability company, Sea Island
 Resort Residences, LLC, a Georgia limited liability company, First Sea Island, LLC, a Georgia
 limited liability company, Sea Island Apparel, LLC, a Georgia limited liability company, and
 Sea Island Services, Inc., a Georgia corporation (each a “Seller” and, collectively, “Sellers”), on
 the other hand. Purchaser and Sellers are sometimes individually referred to in this Agreement
 as a “Party” and collectively as the “Parties.”

                                           RECITALS:

         WHEREAS, Sellers own and operate a collection of exclusive hotel resorts, golf courses,
 spas and recreational complexes, together with certain related developed and undeveloped real
 estate held by Sellers in connection with their real estate development and management business,
 all of which are located in or around St. Simons Island and Sea Island, Georgia (the “Business”);

         WHEREAS, in connection with the conduct of the Business, Sellers own and operate
 certain properties and amenities, including the Cloister, the Sea Island Beach Club, the Cloister
 Spa and Fitness Center, the Lodge, the Seaside Golf Course, the Plantation Golf Course, the
 Retreat Golf Course and the Ocean Forest Golf Course;

        WHEREAS, Sellers desire to sell, transfer, convey, assign and deliver the Purchased
 Assets (as defined below) and to assign the Assumed Liabilities (as defined below), and
 Purchaser desires to purchase, take delivery of, and acquire such Purchased Assets and to assume
 such Assumed Liabilities, upon the terms and subject to the conditions set forth herein;

        WHEREAS, as contemplated by Section 5.1each of this Agreement, promptly following
 the date hereof, Sellers will each filehas filed voluntary chapter 11 petitions with the United
 States Bankruptcy Court for the Southern District of Georgia, Brunswick Division (the
 “Bankruptcy Court”), and it is anticipated thatare debtors in case nos. 10-21034 to 10-21040
 pending before the chapter 11 cases of Sellers will be jointly administered with each
 otherBankruptcy Court (collectively, the “Bankruptcy Cases”); and

        WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) are
 subject to the approval of the Bankruptcy Court and will be consummated pursuant to and in
 accordance with the Plan of Reorganization (as defined below) and the Confirmation Order (as
 defined below), pursuant to Sections 105(a), 1123 and 1129 of the Bankruptcy Code (as defined
 below).

        NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
 covenants, representations, warranties, and promises set forth herein, and in order to prescribe
 the terms and conditions of such purchase and sale, intending to be legally bound, the Parties
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:143 of
                                     278


 agree as follows:

        1. Definitions.

                1.1.   Definitions. The following terms, as used herein, have the following
 meanings:

                      (a)  “2010 Property Taxes” means Property Taxes with respect to the
        Acquired Owned Real Property for the Tax period January 1, 2010 through December 31,
        2010 payable November 15, 2010.

                        (b)     “Accounts Receivable” means all accounts and notes receivable,
        letters of credit and other rights to receive payments (whether current or non-current) of
        Sellers in respect of goods shipped, products sold or services rendered, or other
        indebtedness incurred to Sellers, prior to the Closing Date.

                       (c)    “Accrued Payroll” means Sellers’ accrued and unpaid payroll and
        commissions as of the Closing Date, excluding any amounts payable under any retention
        or incentive programs.

                        (d)     “Accrued Payroll Taxes” means Sellers’ incurred and, in the
        ordinary course of business consistent with past practice, not yet remitted payroll Taxes
        for the current period as of the Closing Date.

                       (e)     “Accrued Sales and Use Taxes” means Sellers’ collected and, in
        the ordinary course of business consistent with past practice, not yet remitted sales and
        use Taxes for the current period as of the Closing Date.

                      (f)     “Acquired Owned Real Property” means collectively (a) all of the
        Owned Real Property, including, but not limited to, the Owned Real Property set forth on
        Schedule 2.1(a), but excluding the Excluded Owned Real Property, and (b) the Specified
        Condo Units.

                       (g)     “Affiliate” means, with respect to any Person, any other Person
        directly or indirectly controlling, controlled by, or under common control with, such
        other Person.

                       (h)     “Assumed Insurance Policies” means all insurance policies set
        forth on Schedule 2.1(b), as such Schedule may be amended in accordance with Section
        15.10, provided that (i) such insurance policy is assignable to Purchaser at Closing under
        applicable law, and (ii) no D&O insurance policy shall be an Assumed Insurance Policy,
        and all claims arising under such policies prior to the Closing, and all credits, premium
        refunds, proceeds, causes of action or rights thereunder.

                       (i)    “Balance Sheet” means the unaudited pro forma adjusted balance
        sheet of the Business as of the Balance Sheet Date (a copy of which is attached hereto as

                                               --2-
                                                 -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:144 of
                                     278


       Exhibit A).

                      (j)    “Balance Sheet Date” means June 30, 2010.

                     (k)      “Bankruptcy Code” means Title 11 of the United States Code (11
       U.S.C. § 101 et seq.), as amended.

                   (l)   “Base Working Capital” means $0, representing total Specified
       W/C Assets minus Specified W/C Liabilities as shown on the Base Working Capital
       Statement.

                      (m)    “Base Working Capital Statement” means the statement of
       Specified W/C Assets and Specified W/C Liabilities as of the Balance Sheet Date
       attached hereto as Exhibit B.

                     (n) “Business Day” means a day other than Saturday, Sunday or other
       day on which commercial banks in Brunswick, Georgia are authorized or required by
       Law to close.

                       (o)      “Cash Around the Resort” means as of any date, Sellers’ cash held
       at Sellers’ facilities as of such date for day-to-day operations in an amount not to exceed
       $100,000.

                    (p)    “CERCLA” means the Comprehensive Environmental Response,
       Compensation and Liability Act of 1980, as amended (42 U.S.C. §9601 et seq.) and any
       Laws promulgated thereunder.

                    (q)      “Claim” means a “claim” as defined in Section 101 of the
       Bankruptcy Code.

                      (r)    “Closing Date” means the date of the Closing.

                       (s)     “Club Member Agreements” shall mean all agreements entered
       into by one or more of Sellers with Club Members and relating to Sellers’ golfing, club,
       dining, social or other membership programs, including, without limitation, the Specified
       Member Agreements.

                     (t)   “Club Members” shall mean all Persons who are members under
       the Sea Island Club Membership Program or the Ocean Forest Golf Club Membership
       Program.

                      (u)    “Code” means the Internal Revenue Code of 1986, as amended.

                    (v)     “Confidentiality Agreement” means the Confidentiality Agreement
       dated May 26, 2010, between SIC and Oaktree Real Estate Opportunities Fund IV, L.P.,
       OCM Opportunities Fund VIIb, L.P. and Oaktree Opportunities Fund VIII, L.P.

                                              --3-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:145 of
                                     278


                      (w)     “Cure Costs” means all amounts that must be paid and all
       obligations that otherwise must be satisfied, including pursuant to Sections 365(b)(1)(A)
       and (B) of the Bankruptcy Code, in connection with the assumption and/or assignment of
       the Assumed Contracts to Purchaser as provided herein.

                     (x)     “Customer Deposits and Prepayments” means any and all deposits,
       advances, prepayments, booking fees, or other amounts paid to Sellers by any of their
       customers prior to Closing on account of Customer Reservations.

                      (y)    “Customer Reservations” shall mean any reservations, tee times, or
       bookings made by any customer of Sellers prior to Closing on account of services or
       accommodations to be provided to such customer by Sellers, including hotel or lodging
       accommodations at the Cloister or the Lodge, dining or catering reservations or
       arrangements at any of the restaurants or other facilities included within the Business, spa
       treatments at the Cloister Spa and Fitness Center, tees times for rounds of golf at the
       Seaside Golf Course, the Plantation Golf Course, the Retreat Golf Course or the Ocean
       Forest Golf Course and/or rentals pursuant to the Sea Island Cottage Rental program.

                      (z)   “Declaration” shall mean a Declaration of Covenants, Conditions,
       Restrictions and Easements or similar document governing a planned community or
       condominium regime that is part of the Acquired Owned Real Property.

                    (aa) “Deferred Compensation Plan” means the Sea Island Company
       Executive Deferred Compensation Plan as amended and restated effective as of January
       1, 2008.

                      (bb) “Effective Date” means the date on which all conditions to
       effectiveness of the Plan of Reorganization have been satisfied or waived and the
       transactions contemplated by the Plan of Reorganization are consummated.

                      (cc) “Employee Benefit Plan” means any “employee benefit plan” (as
       defined in ERISA § 3(3)) and any other benefit or compensation plan, program,
       agreement or arrangement maintained, sponsored, or contributed or required to be
       contributed to by any Seller or any ERISA Affiliate or with respect to which any Seller or
       any ERISA Affiliate has any liability, including, but not limited to, the Sea Island
       Retirement Plan and Trust Agreement.

                       (dd) “Environmental Laws” means all federal, state, and local statutes,
       Laws, ordinances, directives and other provisions having the force or effect of Law, all
       judicial and administrative Orders and determinations, all common Law, in each case
       concerning public health and safety, pollution or protection of the environment, including
       all those relating to the presence, use, production, generation, handling, transportation,
       treatment, storage, disposal, processing, discharge, Release, threatened Release, control,
       or cleanup of any Hazardous Substances or wastes (including CERCLA and analogous
       state Laws).

                                               --4-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:146 of
                                     278


                    (ee) “ERISA” means the Employee Retirement Income Security Act of
       1974, as amended, and all Laws issued thereunder.

                      (ff)    “ERISA Affiliate” means any Person that, at any relevant time, is
       or was treated as a single employer with any Seller for purposes of Code § 414.

                      (gg)    “Escrow Agent” means SunTrust Bank.

                      (hh) “Escrow Agreement” means an Escrow Agreement among the
       Escrow Agent, Sellers and Purchaser executed and delivered hereunder in form
       reasonably satisfactory to each of the foregoing Persons.

                     (ii)   “Escrow Fund ” means the Working Capital Adjustment Holdback
       Amount, plus any earnings accrued thereon under the terms of the Escrow Agreement.

                       (jj)    “Final Order” means an order of the Bankruptcy Court as to which
       the time to appeal, petition for certiorari or move for reargument or rehearing has expired
       and as to which no appeal, petition for certiorari or other proceedings for reargument or
       rehearing shall then be pending or as to which any right to appeal, petition for certiorari,
       reargue or rehear shall have been waived in writing in form and substance satisfactory to
       the parties hereto or, in the event that an appeal, writ of certiorari or reargument or
       rehearing thereof has been sought, such order of the Bankruptcy Court shall have been
       determined by the highest court to which such order was appealed, or certiorari,
       reargument or rehearing shall have been denied and the time to take any further appeal,
       petition for certiorari or move for reargument or rehearing shall have expired; provided,
       however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules
       of Civil Procedure, or any analogous rule under the Federal Rules of Bankruptcy
       Procedure, may be filed with respect to such order shall not preclude such order from
       being a Bankruptcy Final Order.

                      (kk)    “GAAP” means, at a given time, United States generally accepted
       accounting principles.

                        (ll)    “Gift Certificate Obligations” means Sellers’ obligations in respect
       of all gift certificates and gift cards issued by Sellers and unredeemed as of the Closing
       Date.

                      (mm) “Governmental Authority” means any federal, state, local,
       municipal, foreign, supranational or other governmental or quasi-governmental authority
       of any nature (including any governmental agency, branch, bureau, commission,
       department, official or entity and any court or other tribunal), or any administrative,
       executive, judicial, legislative, police, regulatory or Taxing Authority, or arbitral body.

                     (nn) “Hazardous Substances” means any pollutants, contaminants or
       chemicals, and any industrial, toxic or otherwise hazardous materials, substances or
       wastes and any other substance with respect to which liability or standards of conduct
                                               --5-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:147 of
                                     278


       may be imposed under any Environmental Laws, including petroleum and petroleum
       related substances, products, by products and wastes, asbestos, urea, formaldehyde and
       lead based paint.

                      (oo) “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements
       Act of 1976, as amended, and the rules and Laws thereunder

                        (pp) “Improvements” means all buildings, improvements, structures,
       streets, roads, bridges and fixtures located, placed, constructed, or installed on or under
       the Owned Real Property, including the Cloister, the Sea Island Beach Club, the Cloister
       Spa and Fitness Center, the Lodge, the Seaside Golf Course, the Plantation Golf Course,
       the Retreat Golf Course, the Ocean Forest Golf Course, driving ranges, chipping greens,
       practice bunkers, putting greens, clubhouses, maintenance buildings, cart barns, entrance
       signage, pavilions, guard houses, fences, walls and gates, food and beverage facilities,
       cart and pedestrian paths, sidewalks, parking lots, access roads, tees, greens, holding
       ponds, water wells, effluent systems, irrigation lines, drainage facilities and pump
       stations, and all fixtures, machinery, apparatus or equipment affixed thereto, including all
       utilities, utility distribution lines, sewer, sewer lines, fire protection, security,
       surveillance, telecommunications, computer, wiring, cable, heat, exhaust, ventilation, air
       conditioning, electrical, mechanical, plumbing and refrigeration systems, facilities, lines,
       installations and conduits.

                     (qq) “Independent Accounting Firm” means any of the nationally
       recognized “big four” accounting firms, as mutually agreed.

                       (rr)   “Intellectual Property Rights” means all of Sellers’ intellectual
       property rights, including, but not limited to: (i) patents, patent applications and patent
       rights; (ii) trademarks (registered and at common law), trademark registrations and
       applications, trade names, logos, trade dress, brand names, service marks (registered and
       at common law), service mark registrations and applications, domain names and other
       indicia of source and all goodwill associated therewith; (iii) works of authorship,
       copyrights, copyright registrations and applications for registration, and moral rights; (iv)
       know-how, trade secrets, customer lists, proprietary information, proprietary processes
       and formulae, databases and data collections; (v) all source and object code, software,
       algorithms, architecture, structure, display screens, layouts, inventions and development
       tools; and (vi) all documentation and media constituting, describing or relating to the
       above, including, manuals, memoranda and records.

                       (ss)  “Inventory” means all inventory of Sellers of any kind or nature,
       whether or not prepaid, and wherever located, held or owned, including all raw materials,
       work in process, semi-finished and finished products, replacement and spare parts,
       packaging materials, operating supplies, in-transit or consigned inventory, and fuels and
       other similar items.

                       (tt)   “Knowledge of Seller” or any other similar knowledge
       qualification in this Agreement means all facts actually known by any of the following
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:148 of
                                     278


       individuals: Alfred W. Jones, III, David Bansmer and James B. Gilbert.

                      (uu) “Law” means any law, statute, regulation, code, decree,
       constitution, ordinance, treaty, rule of common law, or Order of, administered or
       enforced by or on behalf of, any Governmental Authority.

                       (vv) “Lien” means, with respect to any property or asset, any mortgage,
       lien (statutory or otherwise), pledge, charge, security interest, Claim, encumbrance,
       restriction, charge, instrument, preference, priority, option, right of first refusal, Tax, or
       Order of any Governmental Authority, of any kind or nature, whether secured or
       unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or
       unnoticed, recorded or unrecorded, contingent or non-contingent, material or non-
       material, known or unknown. For the avoidance of doubt, the definition of Lien shall not
       be deemed to include the grant of any license or sublicense by any Seller of Intellectual
       Property Rights.

                      (ww) “Material Adverse Effect” means a material adverse effect on the
       Business and the Purchased Assets, taken as a whole, excluding any such effect to the
       extent resulting from or arising in connection with (i) the Transactions or the public
       announcement thereof, (ii) changes or conditions affecting the hotel, golf, recreation
       and/or real estate development industries generally, (iii) changes in national or
       international business, economic, political or social conditions, including the engagement
       by the United States of America in hostilities, whether or not pursuant to the declaration
       of a national emergency or war, or the occurrence of any military or terrorist attack upon
       the United States of America or any of its territories, possessions or diplomatic or
       consular offices or upon any military installation, equipment or personnel of the United
       States of America; (iv) changes in financial, banking or securities markets (including any
       disruption thereof or any decline in the price of securities generally or any market or
       index), (v) changes in Law or in GAAP, or (vi) changes resulting from the
       commencement or continuation of the Bankruptcy Cases.

                     (xx) “Ocean Forest Golf Club Membership Program” means the Ocean
       Forest Golf Club Rules and Regulations dated 2004.

                      (yy)    “OCGA” means the Official Code of Georgia Annotated.

                    (zz) “Order” means any award, decision, decree, order, injunction,
       ruling, judgment, or consent of or entered, issued, made or rendered by any
       Governmental Authority.

                     (aaa) “Owned Real Property” means all land, together with all
       Improvements located thereon and all easements, rights of way, servitudes, tenements,
       hereditaments, appurtenances, privileges and other rights and interests appurtenant
       thereto owned by any Seller.

                      (bbb) “Permits” means licenses, permits, approvals, certificates of
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:149 of
                                     278


       occupancy, authorizations, operating permits, registrations, plans and the like.

                       (ccc) “Permitted Liens” means (i) Liens granted by Purchaser at or after
       the Closing in connection with any financing of Purchaser related to the purchase of the
       Purchased Assets pursuant to this Agreement, (ii) non-monetary Liens that (A) do not
       interfere with the ability of Purchaser to own and operate any underlying Purchased Asset
       in substantially the manner as conducted immediately prior to the execution of this
       Agreement and (B) do not detract in any material respect from the value of any of the
       material Purchased Assets, (iii) Liens that arise under zoning, building codes, land use
       and other similar Laws, none of which would interfere with the ownership or operation
       by Purchaser of any underlying Purchased Asset following the Closing in substantially
       the manner as owned and operated immediately prior to the execution of this Agreement,
       (iv) Liens for Taxes not yet due and payable, (v) with respect to leased or licensed
       personal property, the terms and conditions of the lease or license applicable thereto to
       the extent constituting an Assumed Contact, (vi) with respect to Acquired Owned Real
       Property that is leased or subleased to any third party, the terms and conditions of the
       lease or sublease applicable thereto, and (vii) any and all matters disclosed on Schedule
       B, Section 2 of the Title Commitment other than the items described on Schedule
       1.1(ccc) hereto.

                     (ddd) “Person” means an individual, corporation, partnership, limited
       liability company, association, joint venture, trust or other entity or organization,
       including a Governmental Authority.

                      (eee) “Post-Petition Payables Adjustment Amount” means 50% of the
       amount, if any, by which (a) Sellers’ trade accounts payable related to the Business,
       incurred in the ordinary course of business after the commencement of the Bankruptcy
       Cases and outstanding as of the close of business on the Business Day prior to the
       Closing Date, exceeds (b) $1,700,000. The Post-Petition Payables Adjustment Amount
       shall be determined on the business day prior to the Closing based on a “payables run”
       from Sellers’ accounting systems made after close of business on such day.

                      (fff) “Pre-Closing Tax Period” means (i) any Tax period ending on or
       before the Closing Date and (ii) with respect to a Tax period that commences before but
       ends after the Closing Date, the portion of such period up to and including the Closing
       Date.

                      (ggg) “Property Taxes” means all real property Taxes, personal property
       Taxes and similar ad valorem obligations levied with respect to the Purchased Assets;
       provided, however, that Property Taxes shall not include Transfer Taxes on the transfer
       of the Purchased Assets pursuant to this Agreement.

                      (hhh) “Release” has the meaning set forth in CERCLA.

                   (iii)   “Sea Island Club Membership Program” means the Sea Island
       Club Membership Program dated October 1, 2000.
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:150 of
                                     278


                      (jjj)  “Secured Lenders” means each of (i) Synovus Bank, as lender
       under the Loan Agreement, dated as of August 7, 2008 and amended as of July 20, 2009,
       (ii) Synovus, as lender and agent, Bank of America, N.A., as lender, and Bank of
       Scotland, as lender, under the Restructuring Agreement, dated as of July 20, 2009 and
       amended as of August 31, 2009, and (iii) Synovus, as lender under a construction loan
       made pursuant to the Restructuring Agreement referred to in the preceding clause (ii) .

                      (kkk) “Specified Avoidance Claims” means all avoidance claims of
       Sellers arising under Sections 544, 545, 547, 548, 549, 550 or 551 of the Bankruptcy
       Code or any similar state Law against any of the Sellers’ vendors, Transferred Employees
       (other than persons who have served as an officer, director or executive of the Sellers) or
       Club Members, in each case, in such Person’s capacity as a vendor, employee or Club
       Member, whether arising under the Bankruptcy Code or applicable state Law, and
       whether asserted or unasserted, all of which claims shall be released by Purchaser on the
       Closing Date.

                    (lll)   “Specified Club Member Agreements” means the Sea Island Club
       Membership Program, the Ocean Forest Golf Club Membership Program and all
       membership applications and membership agreements thereunder.

                     (mmm)“Specified Condo Unit Owners” means each of Beach Club Ocean
       Residences, LLC, Beach Club Garden North Residences, LLC, Beach Club Garden South
       Residences, LLC, and Ocean Club North Residences, LLC.

                     (nnn) “Specified Condo Units” means those condominium units listed on
       Schedule 1.1(mmm) owned by the Specified Condo Unit Owners, as indicated on such
       schedule.

                       (ooo) “Specified Georgia Tax Obligation” means any obligation or
       liability (v) under OCGA § 48-8-46 for any Taxes imposed pursuant to Chapter 8 of Title
       48 of the OCGA (Sales and Use Taxes), (w) under OCGA § 48-7-106 for any Taxes
       imposed pursuant to Chapter 7 of Title 48 of the OCGA (Income Taxes), (x) under
       OCGA § 48-9-7 for any Taxes imposed pursuant to Article 1 of Chapter 9 of Title 48 of
       the OCGA (Motor Fuel Tax), (y) under OCGA § 48-13-53.1 for any Taxes imposed
       pursuant to Article 3 of Chapter 13 of Title 48 of the OCHA (Excise Tax on Rooms,
       Lodgings and Accommodations) or (z) under OCGA § 34-8-175 for any Taxes imposed
       pursuant to Chapter 8 of Title 34 of the OCGA (Employment Security).

                    (ppp) “Specified W/C Assets” means, as of any date, the assets shown on
       the Base Working Capital Statement determined as of such date.

                     (qqq) “Specified W/C Liabilities” means, as of any date, the liabilities
       shown on the Base Working Capital Statement determined as of such date.

                     (rrr) “Tax” means (i) any tax, governmental fee or other like assessment
       or charge of any kind whatsoever (including withholding on amounts paid to or by any
                                              --9-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:151 of
                                     278


        Person), together with any interest, penalty, addition to tax or additional amount imposed
        by any Governmental Authority (a “Taxing Authority”) responsible for the imposition of
        any such tax (domestic or foreign), or (ii) liability for the payment of any amounts of the
        type described in (i) as a result of being party to any agreement or any express or implied
        obligation to indemnify any other Person.

                       (sss) “Tax Return” means any report or return filed with respect to
        Taxes, including all information returns, estimated Tax returns, claims for Tax refund and
        attachments to or amendments of any of the foregoing.

                        (ttt) “Title Commitment” means, collectively, that certain Commitment
        for Title Insurance dated July 12, 2010 issued by Commonwealth Land Title Insurance
        Company with respect to the Acquired Owned Real Property (as modified by that certain
        Endorsement No. 1 to Amended and Restated Commonwealth Land Title Insurance
        Company Owner’s Commitment No. 10-039, that certain Endorsement No. 2 to
        Amended and Restated Commonwealth Land Title Insurance Company Owner’s
        Commitment No. 10-039, that certain Endorsement No. 3 to Amended and Restated
        Commonwealth Land Title Insurance Company Owner’s Commitment No. 10-039,
        and that certain Endorsement No. 4 to Amended and Restated Commonwealth
        Land Title Insurance Company Owner’s Commitment No. 10-039 and as may be
        modified by any additional endorsements mutually agreed to by Purchaser and Sellers
        issued after the date hereof).

                       (uuu) “Working      Capital   Adjustment    Holdback     Amount”     means
        $2,000,000.

                1.2.    Cross References. Each of the following terms is defined in the Section
 set forth opposite such term:

         Term                                               Section
         Adjusted Base Working Capital                      2.7(b)
         Agreement                                          Preamble
         Assignment and Assumption Agreement                2.10(a)
         Assumed Contracts                                  2.1(b)
         Assumed Liabilities                                2.3
         Auction                                            8.2(e)
         Bankruptcy Cases                                   Recitals
         Bankruptcy Court                                   Recitals
         Bid Deadline                                       8.2(b)(i)
         Bidding Procedures                                 8.2(b)
         Bidding Procedures Motion                          8.2(a)
         Bidding Procedures Order                           8.2(a)
         Breakup Fee                                        8.2(f)
         Business                                           Recitals
         Certified WC                                       2.7(c)
         Closing                                            2.9
                                         --10-
                                           -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:152 of
                                     278


        Communications Plan                          7.3
        Confirmation Hearing                         8.2(e)
        Confirmation Order                           8.1
        Contracts                                    3.14
        Deficiency                                   2.7(c)
        Disclosure Statement                         8.1
        Electing Club Members                        11.1(b)
        End Date                                     14.1(b)
        Excluded Assets                              2.2
        Excluded Owned Real Property                 2.2(c)
        Excluded Liabilities                         2.4
        Existing Membership Documents                3.17
        Final Working Capital                        2.7(a)
        Final Working Capital Statement              2.7(a)
        Financial Statements                         3.18
        GFD Escrow Agent                             2.8(a)
        Good Faith Deposit                           2.8 (a)
        Goldman Sachs                                3.19
        Incremental Bid AmountHoldings Parties       8.2(e)2.8(a)
        Initial Overbid                              8.2(b)(i)
        Initial Overbid Amount                       8.2(b)(i)(A)
        Inventoried Baggage                          7.6
        JLV-VASI Note                                2.10(k)
        Modifying Order                              14.1(j)
        New Membership Programs                      11.1(a)
        Party or Parties                             Preamble
        Plan of Reorganization                       8.1
        Plan Support Agreement                       14.1(i)
        Post-Closing Tax Period                      9.3
        Prevailing Bid                               8.2(e)
        Purchase Price                               2.6(a)
        Purchased Assets                             2.1
        Purchaser                                    Preamble
        Qualified Bidder                             8.2(e)
        Seller or Sellers                            Preamble
        Sellers Apportioned Tax Amount               9.3
        SIC                                          Preamble
        Specified Additional Deferred Compensation   2.3(d)k)
        Obligations
        Specified Base Deferred Compensation         2.3(d)
        Obligations
        Specified Deferred Compensation              2.3(k)
        Obligations
        Specified Supplemental Deferred              2.3(j)
        Compensation Obligations
                                          --11-
                                            -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:153 of
                                     278


          Taxing Authority                                    1.1(qqq)
          Transactions                                        Recitals
          Transferred Employees                               10.1
          Transfer Taxes                                      9.2
          Transferred Employees’ Employment Date              10.8
          WARN Act                                            10.5
          WARN Obligations                                    10.5

        2. Purchase and Sale.

                 2.1.   Purchase and Sale. Subject to and upon the terms and conditions set forth
 in this Agreement, at the Closing, Sellers shall sell, transfer, convey, assign and deliver, or cause
 to be sold, transferred, conveyed, assigned and delivered, to Purchaser, and Purchaser shall
 purchase, acquire and accept from Sellers, on an “as is, where is” basis and without any
 representation or warranty on the part of Sellers as to fitness, merchantability or otherwise, all
 right, title and interest of Sellers in and to the following assets, properties and rights (the
 “Purchased Assets”), free and clear of all Liens (other than Permitted Liens and Assumed
 Liabilities):

                        (a)     the Acquired Owned Real Property;

                        (b)    all rights of Sellers under the written agreements, contracts and
        leases set forth on Schedule 2.1(b), as such Schedule may be amended in accordance with
        Section 15.10 (collectively, the “Assumed Contracts”);

                        (c)     all Accounts Receivable;

                        (d)     all Inventory;

                        (e)     all Cash Around the Resort as of the Closing Date;

                        (f)    all tangible personal property, including all machinery, equipment
        (including all transportation and office equipment), vehicles, computers, mobile phones,
        personal digital assistants, computer equipment, hardware, peripherals, information
        technology infrastructure, telephone systems, furniture, office supplies, production
        supplies, other miscellaneous supplies, and other tangible personal property of any kind
        owned by Sellers, wherever located, including all such items which are located in any
        building, warehouse, office or other space leased, owned or occupied by Sellers or any
        other space where any of Sellers’ properties and or any other assets may be situated,
        including, but not limited to, those set forth on Schedule 2.1(f);

                       (g)     to the extent transferable pursuant to Section 2.5 as of the Closing
        Date or Section 7.9 thereafter, all Permits from all permitting, licensing, accrediting and
        certifying agencies, and the rights to all data and records held by such permitting,
        licensing and certifying agencies, in each case, of Sellers, including, without limitation,

                                                 --12-
                                                   -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:154 of
                                     278


       the Permits set forth on Schedule 3.8(a);

                      (h)     all goodwill as a going concern and all other intangible property of
       Sellers;

                      (i)    all Intellectual Property Rights, including,   but not limited to, the
       items listed on Schedule 2.1(i), and any rights to sue for and       remedies against past,
       present and future infringements thereof, rights of priority and     protection of interests
       therein under the laws of any jurisdiction worldwide and all         tangible embodiments
       thereof;

                      (j)     all data and records related to the operation of the Business,
       including client and customer lists and records, referral sources, equipment logs,
       operating guides and manuals, financial and accounting records, personnel records that
       are legally transferrable to Purchaser under applicable Law, Tax records, creative
       materials, advertising materials, promotional materials, studies, reports, correspondence
       and other similar documents and records (all in the state in which such records and
       information currently exist);

                      (k)    all books, records, files and papers of Sellers relating to the
       Business or the Purchased Assets and not subject to any applicable attorney-client
       privilege (provided that Sellers shall be entitled to retain copies of such books, records,
       files and papers);

                      (l)    all utility deposits, security deposits, deposits held by parties to the
       Assumed Contracts, deposits held by vendors or trade creditors, and other deposits of any
       kind or nature whatsoever;

                      (m)     all Specified Avoidance Claims;

                    (n)     the proceeds of any and all rights under that certain Amended and
       Restated Membership Interest Purchase Agreement dated March 26, 2009 by and among
       Luxury Apparel Group, L.L.C., Sea Island Apparel, LLC, Winona Capital Partners, LLC
       Series E-PM and Sea Island Company and the related Escrow Agreement date March 31,
       2009 by and among Winona Capital Partners, LLC Series E-PM, Sea Island Apparel,
       LLC and RBS Citizens, N.A.;

                     (o)     if Purchaser so elects by written notice to Sellers on or before two
       (2) Business Days prior to the AuctionNovember 1, 2010, Sellers’ equity interest in
       Resort Hotel Insurance Company to the extent that such equity interests are transferable
       under applicable law; and

                       (p)   all other assets, properties, rights and claims, whether tangible or
       intangible, whether personal or mixed, whether accrued, contingent or otherwise that are
       reflected on the Balance Sheet.

                                               --13-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:155 of
                                     278


                 2.2.   Excluded Assets. Notwithstanding any other provision of this Agreement
 to the contrary, the Purchased Assets shall not include the following (the “Excluded Assets”):

                       (a)     all of Sellers’ cash and cash equivalents on hand (including all
        undeposited checks) and in banks or other financial institutions other than Cash Around
        the Resort as of the Closing Date;

                       (b)     all avoidance claims or other causes of action of Sellers, whether
        arising under the Bankruptcy Code, applicable state Law or otherwise, and the proceeds
        thereof, including rights, actions and Claims arising under Chapter 5 of the Bankruptcy
        Code, of whatever kind or nature, and whether asserted or unasserted other than the
        Specified Avoidance Claims;

                      (c)   the portion of the Owned Real Property set forth on Schedule
        2.2(c), as such Schedule may be amended in accordance with Section 15.10 (the
        “Excluded Owned Real Property”);

                       (d)    Sellers’ corporate seals, stock record books, minute books and
        organizational documents and other records which are not necessary or useful for the
        operation of the Business;

                      (e)    any written or oral agreements, contracts or leases not identified in
        this Agreement as an Assumed Contract;

                       (f)     all insurance policies relating to the Business and all claims arising
        under such policies prior to the Closing, and all credits, premium refunds, proceeds,
        causes of action or rights thereunder, but excluding the Assumed Insurance Policies;

                       (g)     all rights of Sellers arising under this Agreement or in connection
        with the Transactions;

                        (h)    any Inventory sold or otherwise disposed of pursuant to Section
        5.2 prior to the Closing Date;

                       (i)    any Tax refund or reimbursement due to Sellers or their Affiliates
        for a Pre-Closing Tax Period;

                        (j)     all amounts owed to Sellersany Seller by any one or more of
        Sellers’ Affiliatesthe other Sellers;

                        (k)    any shares of stock, membership interests or other equity interests
        in any of Sellers;

                        (l)     If not included in Purchased Assets in accordance with Section
        2.1(0), Sellers’ equity interest in Resort Hotel Insurance Company; and

                       (m)     all other assets listed on Schedule 2.2(m).
                                                 --14-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:156 of
                                     278


                2.3.  Assumed Liabilities. Upon the terms and subject to the conditions of this
 Agreement, and excluding the Excluded Liabilities, Purchaser shall, effective at the time of the
 Closing, assume, and thereafter pay, perform and discharge, promptly when payment or
 performance is due or required, the following liabilities and obligations of Sellers that have not
 been paid, performed or discharged as of the Closing Date (the “Assumed Liabilities”):

                      (a)     all trade accounts payable related to the Business, incurred in the
        ordinary course of business and outstanding as of the Closing Date;

                        (b)    all obligations and liabilities of Sellers related to or arising under
        the Assumed Contracts, Permits and Intellectual Property Rights from and after the
        Closing (to the extent such Assumed Contracts, Permits and Intellectual Property Rights
        are validly assigned or transferred to Purchaser);

                     (c)    the Cure Costs set forth on Schedule 2.3(c), as such Schedule may
        be amended in accordance with Section 15.10, or reflected on the Final Working Capital
        Statement;

                      (d)    obligations under the Deferred Compensation Plan to the
        employees and former employees and in the amounts specified on Schedule 2.3(d) (the
        “Specified Base Deferred Compensation Obligations”);

                       (e)     all Accrued Payroll and Accrued Payroll Taxes;

                       (f)     all Accrued Sales and Use Taxes;

                       (g)     to the extent expressly set forth in Section 9.2, all Transfer Taxes;

                       (h)    as contemplated by and in accordance with Section 7.9, all of
        Sellers’ obligations to honor Customer Reservations associated with the Customer
        Deposits and Prepayments; and

                       (i)     all Gift Certificate Obligations.;

                      (j)     supplemental obligations under the Deferred Compensation
        Plan owed to the employees and former employees and in the amounts specified on
        Schedule 2.3(j) (the “Specified Supplemental Deferred Compensation Obligations”);
        and

                      (k)   obligations under the Deferred Compensation Plan to the
        persons set forth on Schedule 2.3(k) in an amount not to exceed $440,520 in the
        aggregate (the “Specified Additional Deferred Compensation Obligations”) (the
        Specified Base Deferred Compensation Obligations, the Specified Supplemental
        Deferred Compensation Obligations and the Specified Additional Deferred
        Compensation Obligations are collectively referred to as “Specified Deferred
        Compensation Obligations”).

                                                --15-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:157 of
                                     278


                  2.4.     Excluded Liabilities. Notwithstanding any other provision of this
 Agreement to the contrary and regardless of any disclosure to the Purchaser, Purchaser is
 assuming only the Assumed Liabilities and is not assuming any other liability or obligation of
 Sellers of whatever nature, whether presently in existence or arising hereafter, whether known or
 unknown, and whether relating to or arising out of the operation of the Business or the Purchased
 Assets. All such other liabilities and obligations shall be retained by and remain obligations and
 liabilities of Sellers, (all such liabilities and obligations not being assumed being herein referred
 to as the “Excluded Liabilities”), including but not limited to:

                         (a)     except for Accrued Payroll Taxes, Accrued Sales and Use Taxes
        and, to the extent expressly set forth in Section 9.2, Transfer Taxes, any and all Claims,
        liabilities or obligations relating to Taxes arising out of, relating to or in respect of the
        Business or the Purchased Assets for any Pre-Closing Tax Period and any and all Claims,
        liabilities or obligations relating to Taxes of any Seller or any Affiliate of any Seller;

                        (b)     any and all liabilities, obligations and commitments of the Sellers
        relating to or arising out of the Excluded Assets;

                      (c)     any and all liabilities, obligations and commitments of the Sellers
        with respect to environmental conditions, the presence or Release of Hazardous
        Substances and violations of Environmental Laws existing or occurring on or prior to the
        Closing;

                         (d)     except as expressly set forth in this Agreement, any and all
        liabilities, obligations and commitments of the Sellers with respect to current or former
        employees and their dependents and beneficiaries including, but not limited to, arising
        under any collective bargaining agreement, Employee Benefit Plan, stock appreciation
        rights plan, unit appreciation rights plan, executive restoration agreement, COBRA
        liabilities, WARN Act liabilities, accrued severance, vacation, salary, wages, bonuses,
        applicable payroll or employment-related Taxes, employee benefits and other amounts of
        any kind or nature whatsoever due to or related to employees of the Sellers;

                        (e)     any and all liabilities, obligations and commitments of the Sellers
        or their Affiliates relating to or arising out of (i) any third-party debt (other than as
        expressly set forth in this Agreement) incurred or owed by the Sellers or any Affiliates of
        the Sellers or (ii) any intercompany debt incurred by the Sellers or any Affiliates of the
        Sellers;

                      (f)      any and all claims, liabilities, obligations or commitments related
        to any pending litigation involving the Sellers;

                         (g)     any and all obligations and liabilities (A) arising or in connection
        with any Club Member Agreements, including, but not limited to, obligations and
        liabilities arising or in connection with the Specified Club Member Agreements, or (B)
        owed to, or for the benefit of, members of the club located on St. Simons Island related to
        the Frederica Golf Club, including, but not limited to, any and all obligations and
                                                 --16-
                                                   -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:158 of
                                     278


        liabilities arising under or related to any membership agreements related to such
        members; provided, however that Purchaser has agreed to provide to certain Club
        Members the benefits set forth on Schedule 11.1(b) hereto; and

                      (h)    any and all liabilities and obligations under that certain Amended
        and Restated Membership Interest Purchase Agreement dated March 26, 2009 by and
        among Luxury Apparel Group, L.L.C., Sea Island Apparel, LLC, Winona Capital
        Partners, LLC Series E-PM and Sea Island Company and the related Escrow Agreement
        date March 31, 2009 by and among Winona Capital Partners, LLC Series E-PM, Sea
        Island Apparel, LLC and RBS Citizens, N.A.

                2.5.    Assumption/Assignment of Assumed Contracts. To the maximum extent
 permitted by the Bankruptcy Code, the Assumed Contracts shall be assumed by Sellers and
 assigned to Purchaser at the Closing pursuant to Section 365 of the Bankruptcy Code and the
 Confirmation Order. Purchaser shall pay all Cure Costs due in connection with the assumption
 and assignment of the Assumed Contracts, provided, that, to the extent the aggregate Cure Costs
 paid by Purchaser exceed the aggregate Cure Costs set forth on Schedule 2.3(c), as such
 Schedule may be amended in accordance with Section 15.10, such excess Cure Costs shall be
 reflected on the Final Working Capital Statement. Notwithstanding any other provision of this
 Agreement to the contrary, except as provided in Section 7.9, this Agreement shall not constitute
 an agreement to assign any Purchased Asset or any right thereunder if an attempted assignment,
 without the consent of a third party (unless such consent is not required pursuant to Section 365
 of the Bankruptcy Code), would constitute a breach or in any way adversely affect the rights of
 Purchaser or Sellers thereunder. If such consent is not obtained or such assignment is not
 attainable pursuant to Sections 105, 365 and/or 1123 of the Bankruptcy Code, then such
 Purchased Assets shall not be transferred hereunder and, subject to Section 12, the Closing shall
 proceed with respect to the remaining Purchased Assets without any reduction in the Purchase
 Price.

               2.6.    Purchase Price; Allocation of Purchase Price.

                        (a)    In addition to the assumption of the Assumed Liabilities, in
        consideration for the sale, transfer and delivery of the Purchased Assets, at the Closing,
        Purchaser shall (i) deliver to Sellers by wire transfer of immediately available federal
        funds to a bank account (or accounts) designated by Sellers to Purchaser in writing not
        later than one (1) day prior to the Closing Date an amount equal to (x) OneTwo Hundred
        Ninety-Seven Ten Million Five Seven Hundred Twenty-Three Thousand Seven
        Hundred Twenty Dollars ($197,500,0210,723,720.00) (the “Purchase Price”) minus (y)
        the sum of (A) the Working Capital Adjustment Holdback Amount, (B) the Sellers
        Apportioned Tax Amount, (C) the Post-Petition Payables Adjustment Amount, and (D)
        the amount of the Good Faith Deposit retained by Sellers as a credit against the Purchase
        Price in accordance with Section 2.8(b) and (ii) deposit the Working Capital Adjustment
        Holdback Amount with the Escrow Agent into the Escrow Fund created under the
        Escrow Agreement. In full satisfaction of Sellers obligations under Section 9.3,
        Purchaser shall pay on behalf of Sellers that portion of the Purchase Price equal to the

                                              --17-
                                                -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:159 of
                                     278


       Sellers Apportioned Tax Amount to the Taxing Authorities entitled thereto. The
       Purchase Price shall be subject to adjustment following the Closing as provided in
       Section 2.7.

                         (b)     Purchaser and Sellers agree that the Purchase Price (as adjusted),
       applicable Assumed Liabilities and other relevant items shall be allocated in accordance
       with Section 1060 of the Code and the regulations thereunder and Schedule 2.6 hereof
       (such schedule to be determined jointly by Purchaser and SIC prior to Closing).
       Purchaser and Sellers each agree to provide the other promptly with any other
       information required to complete Schedule 2.6. Such allocation shall be binding on
       Purchaser and Sellers for all purposes, including the reporting of gain or loss and
       determination of basis for income tax purposes, and each of the Parties hereto agrees (i)
       that it will file a statement (on IRS Form 8594 or other applicable form) setting forth such
       allocation with its federal and applicable state and local income tax returns and will also
       file such further information or take such further actions as may be necessary to comply
       with the regulations that have been promulgated pursuant to Section 1060 of the Code
       and similar applicable state and local Laws and regulations and (ii) that it will report
       (including filing its Tax Returns) in a manner consistent with such allocation to the extent
       permitted by applicable Law.

              2.7.    Adjustment of Purchase Price.

                      (a)      Within thirty (30) days after the Closing Date, Purchaser shall
       cause to be prepared, at Purchaser’s expense, a final statement of Specified W/C Assets
       and Specified W/C Liabilities as of the Closing Date (together with supporting
       calculations in reasonable detail, the “Final Working Capital Statement”). The Final
       Working Capital Statement shall be calculated and determined in the same manner as the
       Base Working Capital Statement, except that Final Working Capital Statement shall (i)
       exclude from Specified W/C Assets any amounts that would otherwise be included in
       “Prepaid Insurance” or “Prepaid Licenses/Permits/Fees” to the extent such amounts are in
       respect of assets (x) that are not transferred to Purchaser at Closing or (y) in the case of
       the beer, wine and liquor licenses listed on Schedule 12.2(h), the benefits of which
       Purchaser does not continue to receive after the Closing, (ii) exclude from Specified W/C
       Liabilities the Post-Petition Payables Adjustment Amount, and (iii) include as an
       additional Specified W/C Liability the amount, if any, by which the aggregate Cure Costs
       paid by Purchaser exceed the aggregate Cure Costs set forth on Schedule 2.3(c), as such
       Schedule may be amended in accordance with Section 15.10. The amount equal to total
       Specified W/C Assets minus total Specified W/C Liabilities, each as shown in the Final
       Working Capital Statement is referred to as the “Final Working Capital”. Upon
       completion of such statement, Purchaser shall deliver the Final Working Capital
       Statement to Sellers.

                       (b)     To the extent the Base Working Capital Statement includes in
       “Prepaid Insurance” or “Prepaid Licenses/Permits/Fees” any amounts in respect of assets
       (x) that are not transferred to Purchaser at Closing or (y) in the case of the beer, wine and

                                               --18-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:160 of
                                     278


       liquor licenses listed on Schedule 12.2(h), the benefits of which Purchaser does not
       continue to receive after the Closing, the Base Working Capital shall be adjusted to
       exclude such amounts from the calculation thereof. The Base Working Capital as so
       adjusted is referred to as the “Adjusted Base Working Capital”.

                      (c)     If the Final Working Capital, as set forth on the Final Working
       Capital Statement as conclusively determined as set forth in Section 2.7(e) (the Working
       Capital as so determined, the “Certified WC”), is less than the Adjusted Base Working
       Capital (such difference, the “Deficiency”), then (i) Purchaser shall be entitled to
       withdraw from the Escrow Fund the amount of the Deficiency up to and including the
       Working Capital Adjustment Holdback Amount, and (ii) Seller shall be entitled to
       withdraw from the Escrow Fund the portion of the Working Capital Adjustment
       Holdback Amount remaining following Purchaser’s withdrawal in accordance with this
       Section 2.7(b), if any. Any withdrawal pursuant to this Section 2.7(c) shall be made in
       accordance with the terms of the Escrow Agreement.

                     (d)     If the Certified WC is greater than or equal to the Adjusted Base
       Working Capital, then (i) Purchaser shall pay to Sellers the amount of any excess, and (ii)
       Sellers shall be entitled to withdraw from the Escrow Fund the Working Capital
       Adjustment Holdback Amount. Any payment pursuant to this Section 2.7(d) shall be
       made within ten (10) days following the date on which the Final Working Capital
       Statement (including the Certified WC calculation) becomes final pursuant to Section
       2.7(e). Any payment made pursuant to this Section 2.7(d) shall be made by wire transfer
       of immediately available federal funds to an account designated by Sellers. Any
       withdrawal pursuant to this Section 2.7(d) shall be made in accordance with the terms of
       the Escrow Agreement.

                       (e)     Unless Sellers notify Purchaser in writing within thirty (30) days
       after receipt by Sellers of the Final Working Capital Statement, of any objections thereto
       (specifying in reasonable detail the basis therefor), such statement shall be final and
       binding for all purposes. If Sellers timely notify Purchaser of any such objection,
       Purchaser and Sellers shall attempt in good faith to reach an agreement as to the matter in
       dispute. If the Parties shall have failed to resolve any such dispute within ten (10)
       Business Days after receipt of timely notice of such objection, then any such disputed
       matter may, at the election of Purchaser or Sellers, be submitted to and determined by an
       Independent Accounting Firm. The fees and expenses of such Independent Accounting
       Firm incurred in resolving the disputed matter shall be equitably apportioned by such
       accountants based on the extent to which Purchaser, on the one hand, or Sellers, on the
       other hand, is or are determined by such accountants to be the prevailing Party or Parties
       in the resolution of such disputed matters. The Final Working Capital Statement shall,
       after resolution of any dispute pursuant to this Section 2.7(e), be final, binding and
       conclusive on all Parties hereto.

              2.8.    Good Faith Deposit.

                      (a)    Simultaneously with the execution of this Agreement, Purchaser
                                            --19-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:161 of
                                     278


        shall deposithas deposited in escrow with Sellers’ counsel or an escrow agent acceptable
        to Purchaser and Seller (the “GFD Escrow Agent”) cash in immediately available federal
        funds by wire transfer to an account designated by the GFD Escrow Agent, an amount
        equal to Ten Million and No Dollars ($10,000,000) (the “Good Faith Deposit”), to be
        applied as provided in Section 2.8(b). The Good Faith Deposit shall be held by the GFD
        Escrow Agent in a non-interest bearing bank account and shall not be property of the
        estate in the Bankruptcy Cases, except to the extent of the Sellers’ rights with respect
        thereto under Section 2.8(b). In the event that Purchaser reaches an agreement on or
        before October 19, 2010 to permit Sea Island Holdings, L.L.C., The Anschutz
        Company, Starwood Capital Group Global, L.P. or any of their affiliates
        (collectively, the “Holdings Parties”) to participate in the Transactions, Purchaser
        will accept an assignment of the Holdings Parties’ cash deposit, which shall be held
        as part of the Good Faith Deposit on the terms hereunder; provided, however, that
        the Good Faith Deposit shall be increased to $20,000,000 in such event.

                       (b)     The Good Faith Deposit may be retained by Sellers (i) at the
        Closing as a credit against the Purchase Price, or (ii) if this Agreement is terminated by
        Sellers pursuant to Section 14.1(b)(ii) or Section 14.1(e) and, in either case, at the time of
        such termination this Agreement is not terminable by Purchaser pursuant to Section
        14.1(d). Except as described in the previous sentence, the Good Faith Deposit shall be
        returned to Purchaser within two (2) Business Days after any termination of the
        Agreement pursuant to Section 14.1.

                 2.9.   Closing. The closing (the “Closing”) of the purchase and sale of the
 Purchased Assets and the assumption of the Assumed Liabilities shall take place at the offices of
 King & Spalding LLP, 1180 Peachtree Street, Atlanta, Georgia, no later than five (5) days after
 satisfaction of the conditions set forth in Section 12 (other than those requiring a delivery, or the
 taking of other action, at the Closing), or at such other time or place as Purchaser and Sellers
 may agree.

                2.10. Deliveries by Sellers. At the Closing, Sellers will deliver or cause to be
 delivered to Purchaser (unless delivered previously) the following:

                        (a)     a Bill of Sale, Assignment and Assumption Agreement
        substantially in the form attached hereto as Exhibit C (the “Assignment and Assumption
        Agreement”), duly executed by Sellers;

                        (b)     as to the Acquired Owned Real Property, limited warranty deeds
        in recordable form, duly executed by Sellers and transferring good, valid and marketable
        fee simple title to the Acquired Owned Real Property to Purchaser in form and substance
        reasonably satisfactory to Purchaser, other than as set forth in subsection (c) below;

                         (c)    a quit claim deed, in form and substance reasonably satisfactory to
        Purchaser, conveying to Purchaser all improvements located within and under any right-
        of-way, including, without limitation, underground sewer, water and other utility lines
        and facilities, as well as all improvements, including but not limited to all bridges, guard
                                                --20-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:162 of
                                     278


       gates and guard buildings; notwithstanding the foregoing, all rights-of-way will be
       conveyed by limited warranty deed pursuant to Section 2.10(b);

                       (d)     originals (or, to the extent originals are not available, copies) of all
       Assumed Contracts (together with all amendments, supplements or modifications thereto)
       to the extent not already located at the Acquired Owned Real Property;

                      (e)   physical possession of all of the Purchased Assets capable of
       passing by delivery with the intent that title in such Purchased Assets shall pass by and
       upon delivery;

                       (f)    a duly executed assignment agreement or agreements transferring
       the Intellectual Property Rights to Purchaser, in form and substance reasonably
       satisfactory to Purchaser;

                      (g)    an affidavit from each Seller, sworn under penalty of perjury and
       dated as of the Closing Date, in form and substance required under the regulations issued
       pursuant to Section 1445 of the Code stating that such Seller is not a foreign person as
       defined in Section 1445 of the Code;

                      (h)    certificates of title and title transfer documents to all titled motor
       vehicles included within the Purchased Assets;

                      (i)    as to each Declaration, (A) an estoppel certificate from the
       property owners’ association or condominium owners’ association identified in the
       Declaration, (B) an assignment of the applicable Declarant’s rights, and (C) an
       assignment of the “development rights,” each of (A), (B) and (C) to be in form and
       substance reasonably satisfactory to Purchaser;

                       (j)     as to Dune Cottage Lot 38 at Ocean Forest, located on Parcel 49
       (as identified in the Title Commitment), which is subject to a Declaration, but for which
       the Title Commitment does not identify the amendment or supplement that annexed such
       Lot 38 into the Declaration, an amendment or supplement to the applicable Declaration
       annexing such Lot 38, in form and substance reasonably satisfactory to Purchaser;

                      (k) the original $2,000,000 Non-Negotiable Promissory Note and
       Guaranty dated September 5, 2008 by JLV-VASI, LLC, as maker, to Sea Island
       Company, as payee (the “JLV-VASI Note”), which Sellers shall, on behalf of Purchaser,
       mark “canceled” and deliver to JLV-VASI, LLC against receipt by Sellers of the items
       described in the following clause (l) for delivery to Purchaser pursuant to Section 2.10;

                       (l) (i) a recordable easement agreement, in form and substance reasonably
       satisfactory to Purchaser, from JLV-VASI, LLC or its successor-in-interest for the benefit
       of Parcel 15 (as identified in the Title Commitment) providing (x) Parcel 15 with
       vehicular and pedestrian access to Sea Island Road (over and across the existing
       roadways located on the property immediately east of Parcel 15, which property is
                                                --21-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:163 of
                                     278


        currently owned by JLV-VASI, LLC and (y) that all parking spaces located in whole or
        in part within the boundary lines of Parcel 15 are available for the exclusive use of
        Purchaser and its successors, assigns, affiliates, agents, employees, invitees and guests,
        and (ii) a recordable termination by and between Seller and JLV-VASI, LLC of that
        certain Agreement Regarding Right of First Refusal, filed and recorded on September 10,
        2008 as Book 2483, Page 84 with the Clerk of the Superior Court of Glynn County;

                       (m)    a waiver or extinguishment of any rights or options to purchase
        affecting the Acquired Owned Real Property;

                       (n)   as to each license and contract set forth on Schedule 2.10(n),
        consents to assignment of such licenses and contracts to Purchaser; and

                     (o)    all other documents, instruments and writings reasonably requested
        by Purchaser to be delivered by Sellers at or prior to the Closing pursuant to this
        Agreement.

                2.11. Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
 be delivered to Sellers (unless previously delivered) the following:

                         (a)   the cash portion of the Purchase Price less the Good Faith Deposit;

                      (b)    a letter authorizing and directing the GFD Escrow Agent to release
        the Good Faith Deposit to Sellers;

                         (c)   the Assignment and Assumption Agreement, duly executed by
        Purchaser; and

                      (d)    all other documents, instruments and writings reasonably requested
        by Sellers to be delivered by Purchaser at or prior to the Closing pursuant to this
        Agreement.

            2.12. “AS IS” TRANSACTION. PURCHASER HEREBY ACKNOWLEDGES
 AND AGREES THAT, NOTWITHSTANDING THE REPRESENTATIONS AND
 WARRANTIES EXPRESSLY PROVIDED IN SECTION 3, THE CONSENT OF A PARTY
 TO THE CLOSING SHALL CONSTITUTE A WAIVER BY SUCH PARTY OF ANY
 CONDITIONS TO CLOSING NOT SATISFIED AS OF THE CLOSING DATE, AND
 FOLLOWING CLOSING SELLERS MAKE NO REPRESENTATIONS OR WARRANTIES
 WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO ANY MATTER RELATING
 TO THE PURCHASED ASSETS, INCLUDING INCOME TO BE DERIVED OR EXPENSES
 TO BE INCURRED IN CONNECTION WITH THE PURCHASED ASSETS, THE PHYSICAL
 CONDITION OF ANY PERSONAL OR REAL PROPERTY COMPRISING A PART OF THE
 PURCHASED ASSETS OR WHICH IS THE SUBJECT OF ANY LEASE OR CONTRACT
 TO BE ASSIGNED TO PURCHASER AT THE CLOSING, THE ENVIRONMENTAL
 CONDITION OR ANY OTHER MATTER RELATING TO THE PHYSICAL CONDITION
 OF ANY REAL PROPERTY OR IMPROVEMENTS, THE ZONING OF ANY SUCH REAL
                                               --22-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:164 of
                                     278


 PROPERTY OR IMPROVEMENTS, THE VALUE OF THE PURCHASED ASSETS (OR
 ANY PORTION THEREOF), THE TRANSFERABILITY OF THE PURCHASED ASSETS,
 THE TERMS, AMOUNT, VALIDITY OR ENFORCEABILITY OF ANY ASSUMED
 LIABILITIES, THE TITLE OF THE PURCHASED ASSETS (OR ANY PORTION
 THEREOF), THE MERCHANTABILITY OR FITNESS OF THE PERSONAL PROPERTY
 OR ANY OTHER PORTION OF THE PURCHASED ASSETS FOR ANY PARTICULAR
 PURPOSE, OR ANY OTHER MATTER OR THING RELATING TO THE PURCHASED
 ASSETS OR ANY PORTION THEREOF. WITHOUT IN ANY WAY LIMITING THE
 FOREGOING, SELLERS HEREBY DISCLAIM ANY WARRANTY, EXPRESS OR
 IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS
 TO ANY PORTION OF THE PURCHASED ASSETS. UPON THE CLOSING DATE,
 PURCHASER WILL ACCEPT THE PURCHASED ASSETS AT THE CLOSING “AS IS,”
 “WHERE IS,” AND “WITH ALL FAULTS.”

         3. Representations and Warranties of Sellers. Subject to the terms, conditions and
 limitations set forth in this Agreement, Sellers hereby represent and warrant to Purchaser as of
 the date hereof and as of the Closing Date as follows:

                 3.1.   Organization. Each Seller is a legal entity duly organized, validly existing
 and in good standing under the Laws of the state of its organization, is qualified to do business in
 every jurisdiction in which it is required to be qualified and has the corporate or organizational
 power and authority to own, lease and operate the Purchased Assets, and to carry on in all
 material respects the Business as now being conducted.

                 3.2.   Corporate Authorization. The execution, delivery and performance by
 Sellers of this Agreement and the consummation of the Transactions are within Sellers’
 corporate or organizational powers and have been duly authorized by all necessary actions on the
 part of Sellers. Subject to entry by the Bankruptcy Court of the Bidding Procedures Order and
 the Confirmation Order in the Bankruptcy Cases, this Agreement constitutes a valid and binding
 agreement of Sellers that is enforceable in accordance with its terms. The boards of directors of
 the Sellers have resolved to request that the Bankruptcy Court approve this Agreement, and the
 transactions contemplated hereby. Subject to the entry of the Bidding Procedures Order, the
 Sellers have full power and authority to grant the Breakup Fee without further order of the
 Bankruptcy Court, and the Breakup Fee shall constitute an administrative expense of the Sellers
 under Section 503(b)(1) of the Bankruptcy Code.

                 3.3.    Governmental Authorization. Except as set forth on Schedule 3.3, the
 execution, delivery and performance by Sellers of this Agreement and the consummation of the
 transactions contemplated hereby by Sellers require no action by or in respect of, or filing with,
 any Governmental Authority other than (a) consents, approvals or authorizations of, or
 declarations or filings with, the Bankruptcy Court, and (b) any such action or filing as to which
 the failure to make or obtain would not have a Material Adverse Effect.

               3.4.   Noncontravention. Except as set forth on Schedule 3.4, and subject to
 entry by the Bankruptcy Court of the Bidding Procedures Order and the Confirmation Order in
 the Bankruptcy Cases, the execution, delivery and performance by Sellers of this Agreement and
                                              --23-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:165 of
                                     278


 the consummation of the Transactions do not and will not (a) violate Sellers’ articles or
 certificates of incorporation, bylaws, or other equivalent organizational documents, (b) assuming
 compliance with the matters referred to in Section 3.3, materially violate any applicable Law, (c)
 except as to matters which would not reasonably be expected to have a Material Adverse Effect,
 constitute a default under or give rise to any right of termination, cancellation or acceleration of
 any right or obligation or to a loss of any benefit relating to any Purchased Asset to which any
 Seller is entitled under any provision of any agreement or other instrument binding upon such
 Seller except for breaches and defaults referred to in Section 365(b)(2) of the Bankruptcy Code,
 or (d) result in the creation or imposition of any Lien on any Purchased Asset, except for
 Permitted Liens and Assumed Liabilities or Liens that will be released at or prior to Closing.

                  3.5.   Required Consents. Except for consents, approvals or authorizations of,
 or declarations or filings with, the Bankruptcy Court, and except as otherwise set forth on
 Schedule 3.5, there is no agreement or other instrument binding upon Sellers requiring by its
 terms or pursuant to Section 365 of the Bankruptcy Code a consent or other action by any Person
 as a result of the execution, delivery and performance of this Agreement, except such consents or
 actions as would not, individually or in the aggregate, have a Material Adverse Effect if not
 received or taken by the Closing Date.

                 3.6.   Litigation. Except as disclosed in Schedule 3.6, as of the date hereof,
 there is no action, suit, investigation or proceeding pending against, or to the Knowledge of
 Sellers, threatened against or affecting, the Purchased Assets before any court or arbitrator or any
 Governmental Authority which is reasonably likely to have a Material Adverse Effect or which
 in any manner challenges or seeks to prevent, enjoin, alter or materially delay the Transactions.

                3.7.    Compliance with Laws and Court Orders. To the Knowledge of Sellers,
 no Seller is in violation of any Law applicable to the Purchased Assets or the conduct of the
 Business, except for violations which would not reasonably be expected to have a Material
 Adverse Effect.

                 3.8.   Permits. Sellers maintain and hold all rights to all Permits and all other
 licenses and permits that are necessary to permit Sellers to lawfully conduct and operate the
 Business, and to own and use the Purchased Assets, in the manner consistent with the past
 practices of Sellers. Schedule 3.8(a) sets forth a list of all Permits required to conduct and
 operate the Business as it is currently being conducted. Each such Permit is valid and in full
 force and effect. Except as set forth on Schedule 3.8(b): (a) to the Knowledge of Sellers, each
 Seller is in compliance with the terms and requirements of each such Permit; and (b) no notice of
 violation of any Permit has been received from any Governmental Authority and no proceeding
 is pending or, to the Knowledge of Sellers, threatened to revoke or limit any such Permit.

                3.9.     Intellectual Property Rights. Schedule 3.9(a) sets forth an accurate and
 complete list of all registered Intellectual Property Rights included in the Purchased Assets. The
 Intellectual Property Rights being conveyed hereunder include: (a) all registered and
 unregistered trademarks, service marks, trade dress, logos and trade names used in connection
 with the Business (including all registrations and applications therefor), together with all
 translations, adaptations, derivations, and combinations thereof and including all goodwill
                                                 --24-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:166 of
                                     278


 associated therewith and all applications, registrations, and renewals in connection therewith, (b)
 all copyrightable works, all copyrights, and applications, registrations, and renewals in
 connection therewith used in connection with the Business and (c) all other Intellectual Property
 Rights necessary to conduct the Business as currently conducted. Sellers have taken all actions
 reasonably necessary to ensure that the Intellectual Property Rights are protected under
 applicable Law. Except as set forth on Schedule 3.9(b), to the Knowledge of Sellers, there exist
 no outstanding challenges to the ownership and use of such Intellectual Property Rights by any
 Seller, nor any alleged infringements of such Intellectual Property Rights by third parties.
 Except as set forth on Schedule 3.9(c), none of the Intellectual Property Rights have been
 licensed by Sellers to any other Person.

                3.10. Environmental Matters. Other than as may be set forth in the reports
 described on Schedule 3.10, none of Sellers have received written notice from any Governmental
 Authority or third party of any violation of or failure to comply with any Environmental Laws
 with respect to the Acquired Owned Real Property which to the Knowledge of Sellers remains
 uncorrected, or of any obligation to undertake or bear the cost of any remediation with respect to
 the Acquired Owned Real Property which to the Knowledge of Sellers remains unperformed.

                  3.11. Real Property. Schedule 3.11(a) sets forth the address and description of
 all Owned Real Property of Sellers. With respect to each parcel of Acquired Owned Real
 Property, except as set forth on Schedule 3.11(b), (a) the applicable Seller has fee simple title
 free and clear of all encumbrances, except for Permitted Liens and Liens that will be released at
 or prior to Closing; (b) there are no leases, subleases, licenses, concessions, or other agreements,
 written or oral, granting to any Person the right of use or occupancy of any portion of such
 Acquired Owned Real Property; (c) there are no outstanding options, rights of first offer, or
 rights of first refusal to purchase such Acquired Owned Real Property (other than the right of
 Purchaser pursuant to this Agreement), or any portion thereof or interest therein; and (d) there
 are no condemnation or eminent domain proceedings pending or, to the Knowledge of Sellers,
 threatened with respect to all or any part of the Acquired Owned Real Property. Except as set
 forth on Schedule 2.1(b), none of the Sellers are lessees, sublessees or licensees under any leases,
 subleases or licenses, as applicable, with respect to any real property.

                 3.12. Employee Benefit Plans. Schedule 3.12(a) sets forth a complete and
 accurate list of each Employee Benefit Plan that provides health benefits to current or former
 employees of Sellers. Sellers have provided to Purchaser true and correct copies of each such
 Employee Benefit Plan and all material documents pursuant to which such Employee Benefit
 Plans are maintained, funded and administered (including all plan documents and amendments
 thereto, and the most recent or current summary plan documents, trust documents, annual
 reports, actuarial reports, service agreements and group insurance contracts, and schedule of
 employee contributions).

               3.13. Personnel Matters. Sellers have provided to Purchaser an accurate and
 complete list of the names, job classifications, dates of hire, base compensation, and any
 supplemental or bonus compensation (including any retention or stay bonus arrangements) for
 and any accrued vacation, severance or other commitments that exist with respect to all salaried

                                                --25-
                                                  -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:167 of
                                     278


 employees of any Seller including: (a) information about each Seller’s obligations to make salary
 payments to salaried employees who are terminable at will and without notice, and (b) all other
 commitments that exist with respect to salaried employees, including accrued vacation and
 severance, whether oral or in writing, including all employment agreements, consulting
 agreements, retainers and severance agreements, under which any Seller has any obligation to
 provide wages, salary, commissions, or other compensation, remuneration or benefits. Sellers
 have provided to Purchaser true and correct copies of each written employment agreement,
 consulting agreement, retainer and severance agreement or other similar agreement under which
 any Seller has any obligation to provide wages, salary, commissions, or other compensation,
 remuneration or benefits to any salaried employee. No Seller is in default with respect to any
 material obligation to any of such salaried employees. To the Knowledge of Sellers, no key
 executive employee of any Seller has any plans to terminate his or her employment with such
 Seller. Sellers have provided to Purchaser an accurate and complete list of the names, job
 classifications, dates of hire, hourly rate and any accrued vacation, severance or other
 commitments that exist with respect to hourly employees, whether oral or in writing. Such
 schedules also indicate which such employees, if any, are not actively at work as of the date
 specified therein (other than due to vacation or short-term illness).

                 3.14. Contracts. To the Knowledge of Sellers, there are no material outstanding
 contracts, commitments, leases, licenses, understandings, undertaking or agreements of any
 nature, written or oral (including commitments to enter into any of such) to which Sellers or their
 Affiliates are or may become subject in respect of the Purchased Assets or the Business, except
 the contracts and agreements listed on Schedule 3.14 (the “Contracts”). Except for defaults that
 will be cured in connection with the assumption and assignment of the Assumed Contracts,
 Sellers are not currently in default under any term, condition, or provision of any Assumed
 Contract and no Seller has received written notice from any third party regarding any alleged
 default that has not been previously cured or resolved. To the Knowledge of Sellers, no other
 party to any Assumed Contract is in material default thereunder. There are no other material
 amendments or any other material agreements concerning the Contracts that are not listed on
 Schedule 3.14. All of the Assumed Contracts are in full force and effect and, following the
 Closing, shall be enforceable by Purchaser in accordance with their terms.

                  3.15. Sufficiency of and Title to the Purchased Assets. Sellers will have at
 Closing good, valid and marketable title to, or a valid leasehold interest in, all of the Purchased
 Assets, free and clear of all Liens (other than Permitted Liens, Liens to be satisfied in full or
 released at or prior to Closing, and the Assumed Liabilities). Upon consummation of the
 Transactions at the Closing, Purchaser will have acquired good, valid and marketable title in and
 to, or a valid leasehold interest in, each of the Purchased Assets, free and clear of all Liens, other
 than Assumed Liabilities and Permitted Liens. The Acquired Owned Real Property is all of the
 real property owned or used in connection with the Business as currently conducted. The
 Purchased Assets constitute all of the assets, properties and rights required for the conduct of the
 Business as currently conducted and as conducted as of the Closing Date. The material
 equipment included in the Purchased Assets is in good repair and operating condition, subject
 only to ordinary wear and tear, and is adequate and suitable for the purposes for which such
 equipment is presently being used or held for use.
                                                 --26-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:168 of
                                     278


                 3.16. Condition of Improvements.         To the Knowledge of Sellers, all
 Improvements located on the Acquired Owned Real Property are in good general state of repair
 and good working order sufficient to carry out the functions for which they are currently being
 used and have no structural defects, and there are no conditions with respect to such
 Improvements that currently require material repairs or replacements, except for those set forth
 on Schedule 3.16. The Improvements located on the Acquired Owned Real Property have been
 constructed and installed in material compliance with all Laws. The Improvements located on
 the Acquired Owned Real Property have been maintained in accordance with industry standards.
 The tees, fairways, roughs, bunker complexes, greens and practice areas of the golf properties
 included in the Acquired Owned Real Property have been properly cultivated, are free of disease,
 except as is reasonable and customary, and have been properly maintained.

               3.17. Club Documents, Memberships. Schedule 3.17 contains a true and correct
 copy of the Sea Island Club Membership Program, the Ocean Forest Golf Club Membership
 Program, and the form of membership application/agreements used by Sellers with respect to
 each program (the “Existing Membership Documents”), and a complete listing of all of the
 current Club Members, detailing the type of membership that is applicable to each such Club
 Member and the amount of all refundable initiation fees paid to Sellers by each such Club
 Member. Except as disclosed to Purchaser in writing, each Club Member has paid all amounts
 due and payable pursuant to the Existing Membership Documents.

                3.18. Financial Statements. Sellers’ consolidated audited financial statements
 for the year ended December 31, 2009 (the “Financial Statements”) attached hereto as Schedule
 3.18 are complete, true, and correct in all material respects and fairly present the financial
 condition and the results of operation of the Business, as of the date of and for the period stated
 in the Financial Statements, in accordance with GAAP except as provided on Schedule 3.18.
 There are no material costs or expenses associated with the operation of the Business or the
 Purchased Assets other than those detailed on Schedule 3.18, and the amounts of such costs and
 expenses are not materially (individually or in the aggregate) in excess of the amounts shown on
 Schedule 3.18 with respect to such period. Since the date of the latest of the Financial
 Statements, there has been no material adverse change in the financial condition or operations of
 the Business except any change that would not constitute a Material Adverse Effect and the
 filing of the Bankruptcy Cases.

                3.19. Certain Fees. Sellers have retained Goldman, Sachs & Co. (“Goldman
 Sachs”) as financial advisor in connection with the Transactions. Sellers shall be responsible for
 all fees due and owing to Goldman Sachs and its other professional advisors in connection with
 the Transactions contemplated in this Agreement and no such advisor is entitled to any fee or
 commission or like payment from Purchaser in connection with the Transactions.

                3.20.   Taxes. Except as set forth on Schedule 3.20:

                        (a)   Each Seller has filed all Tax Returns required to be filed by Seller
        (taking into account any extensions of time within which to file such Tax Returns) with
        respect to the Purchased Assets and the Business, and all such Tax Returns are complete
        and accurate in all material respects. Each Seller has paid all Taxes required to be paid
                                               --27-
                                                 -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:169 of
                                     278


        by Seller with respect to the Purchased Assets and the Business. All Taxes required to be
        withheld, collected or deposited by or with respect to each Seller have been withheld,
        collected or deposited, as the case may be, and to the extent required by applicable Law,
        have been paid to the relevant Governmental Authority.

                      (b)     To the Knowledge of Sellers, there are no outstanding audits,
        examinations or judicial or administrative proceedings with respect to Taxes relating to
        the Purchased Assets or the Business.

         4. Representations and Warranties of Purchaser. Purchaser represents and warrants
 to Sellers as follows:

                4.1.   Organization. Purchaser is a legal entity duly organized, validly existing
 and in good standing under the Laws of the state of its organization and has all corporate or
 organizational powers and all material governmental licenses, authorizations, permits, consents
 and approvals required to carry on its business as now conducted.

                 4.2.    Corporate Authorization. The execution, delivery and performance by
 Purchaser of this Agreement and the consummation of the Transactions are within the corporate
 or organizational powers of Purchaser and have been duly authorized by all necessary actions on
 the part of Purchaser. This Agreement constitutes a valid and binding agreement of Purchaser
 that is enforceable in accordance with its terms.

                4.3.    Governmental Authorization. The execution, delivery and performance by
 Purchaser of this Agreement and the consummation of the Transactions by Purchaser require no
 action by or in respect of, or filing with, any Governmental Authority other than (a) consents,
 approvals or authorizations of, or declarations or filings with, the Bankruptcy Court and (b) any
 such action or filing as to which the failure to make or obtain would not have a material adverse
 effect on the Purchaser or its ability to close the Transactions.

                 4.4.    Noncontravention. Neither the execution and delivery of this Agreement
 by Purchaser nor the consummation of the Transactions by Purchaser will (a) conflict with or
 result in any breach of any provision of the articles or certificate of incorporation, bylaws, or
 other equivalent organizational documents of Purchaser; (b) require any filing with, or the
 obtaining of any permit, authorization, consent or approval of, any Governmental Authority; (c)
 violate, conflict with or result in a default (or any event which, with notice or lapse of time or
 both, would constitute a default) under, or give rise to any right of termination, cancellation or
 acceleration under, any of the terms, conditions or provisions of any note, mortgage, other
 evidence of indebtedness, guarantee, license, agreement, lease or other contract, instrument or
 obligation to which Purchaser is a party or by which Purchaser or any of its assets may be bound;
 or (d) violate any Law applicable to Purchaser, excluding from the foregoing clauses (b), (c) and
 (d) such requirements, violations, conflicts, defaults or rights (i) which would not adversely
 affect the ability of Purchaser to consummate the Transactions, or (ii) which become applicable
 as a result of any acts or omissions by, or the status of or any facts pertaining to, Sellers.


                                               --28-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:170 of
                                     278


                4.5.   Financing. Purchaser has sufficient cash, readily available lines of credit
 or other sources of immediately available funds to enable it to make payment of the Purchase
 Price and any other amounts to be paid by it hereunder.

                 4.6.    Litigation. There is no action, suit, investigation or proceeding pending
 against or, to the knowledge of Purchaser, threatened against or affecting Purchaser before any
 court or arbitrator or any Governmental Authority which in any manner challenges or seeks to
 prevent, enjoin, alter or materially delay the Transactions.

                4.7.    Certain Fees. Purchaser has not employed any broker, finder, investment
 banker, or other intermediary or incurred any liability for any investment banking fees, financial
 advisory fees, brokerage fees, finders’ fees, or other similar fees in connection with this
 Agreement or the Transactions.

                4.8.   No Other Representations. Purchaser acknowledges that Sellers make no
 representation or warranty with respect to (a) any projections, estimates or budgets delivered to
 or made available to Purchaser of future revenues, future results of operations (or any component
 thereof), future cash flows or future financial condition (or any component thereof) of the
 Business or the future prospects or operations of the Business or (b) any other information or
 documents made available to Purchaser or its counsel, accountants or advisors with respect to the
 Business, except as expressly set forth in this Agreement.

        5. Covenants of Sellers. Sellers agree that:

                  5.1.   Bankruptcy Filing; Joint Administration. Not later than ten (10) Business
 Days following the execution of this Agreement, (a) each Seller shall file a voluntary chapter 11
 petition for relief with the Bankruptcy Court, and (b) each Seller shall file a substantially similar
 motion with the Bankruptcy Court seeking to have its bankruptcy case jointly administered with
 the other Sellers’ bankruptcy cases pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy
 ProcedureIntentionally Omitted.

                 5.2.    Conduct of the Business. Except as may be required by the Bankruptcy
 Code or by order of the Bankruptcy Court, and except as may be required or contemplated by
 this Agreement, from the date hereof until the Closing Date, Sellers shall use their commercially
 reasonable efforts to conduct the Business in the ordinary course consistent with past practice
 and to preserve intact their relationships with third parties (including suppliers and customers)
 and to keep available the services of the present employees of the Business. Without limiting the
 generality of the foregoing, from the date hereof until the Closing Date, except (i) as disclosed on
 Schedule 5.2 or (ii) as may be required or contemplated by this Agreement, Sellers will not:

                      (a)    with respect to the Business, acquire a material amount of assets
        from any other Person;

                        (b)    sell, lease, license or otherwise dispose of any Purchased Assets,
        except for the leasing of resort and event space and sales of Inventory, in each case, in the
        ordinary course of business consistent with past practice;
                                                --29-
                                                  -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:171 of
                                     278


                        (c)    terminate or amend in any material respect any Assumed Contract
        or existing insurance policies;

                       (d)    incur any material obligation or liability, except current liabilities
        for trade or business obligations incurred in connection with the purchase of goods or
        services in the ordinary course of business consistent with past practice or otherwise
        permitted by the terms of this Agreement;

                        (e)    transfer, grant or modify any existing rights with respect to the
        Intellectual Property Rights, except for non-exclusive licenses in the ordinary course of
        business consistent with past practice;

                     (f)     bill and collect membership dues for periods after the date of this
        Agreement on other than a monthly basis;

                        (g)    agree or commit to do any of the foregoing; or

                       (h)     take any action that would reasonably be expected to cause the
        failure of any condition contained in Section 12.2 (other than actions taken by Sellers in
        connection with the discharge of their fiduciary duties during the Bankruptcy Cases).

                 5.3.   Access to Information. From the date hereof until the Closing Date,
 Sellers shall reasonably afford, and shall cause its officers, employees, attorneys and other agents
 to reasonably afford, to Purchaser and its counsel, accountants and other representatives, access
 (at reasonable times during normal business hours) to officers and other employees of the
 Business for the purposes of evaluating the Business and all properties, books, accounts, records
 and documents of, or relating to, the Business, subject to the terms of the Confidentiality
 Agreement.

                5.4.    Notices of Certain Events. Sellers shall promptly notify Purchaser of:

                       (a)    any written notice or, to Knowledge of Sellers, other
        communication from any Person alleging that the consent of such Person is or may be
        required in connection with the consummation of the Transactions;

                      (b)     any material communication from any Governmental Authority in
        connection with or relating to the Transactions, the Business or the Purchased Assets; and

                        (c)   the commencement of any actions, suits, investigations or
        proceedings relating to Sellers, the Business or the Purchased Assets that, if pending on
        the date of this Agreement, would have been required to have been disclosed pursuant to
        Section 3.6.

                5.5.   New Club Members. From the date hereof, the Sellers shall not accept
 any new members into Sellers’ golfing, club, dining, social or other membership programs,
 including, without limitation, the Specified Club Member Agreements, except (a) Persons to

                                                --30-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:172 of
                                     278


 whom Club Members transfer all of their rights under either of the Specified Club Member
 Agreements with the consent of the Sellers in connection with a sale by such Club Member to
 such Person of a residence located on Sea Island or a Sea Island development, provided that any
 such transferee acknowledges in writing the amount of refundable initiation fees associated with
 the transferred membership, which shall not exceed the amount shown on Schedule 3.17 for the
 transferor, or (b) as agreed to in writing by Purchaser. Sellers shall give Purchaser prompt
 written notice of any transfer of membership pursuant to clause (a) of the preceding sentence,
 which notice shall identify the transferor, the transferee and the transferred membership and
 include a copy of the transferee’s acknowledgement referred to in the proviso to such clause (a).

                5.6.   Notices to Parties to Assumed Contracts. Sellers shall provide timely and
 proper written notice of the motions seeking entry of the Bidding Procedures Order and the
 Confirmation Order to all parties to executory contracts and unexpired leases to be assumed by
 Sellers and assigned to Purchaser pursuant to this Agreement and to take all other actions
 necessary to cause such executory contracts and unexpired leases to be assumed by Sellers and
 assigned to Purchaser pursuant to Section 365 of the Bankruptcy Code.

                 5.7    Cooperation with respect to Title. From and after the date hereof until the
 Closing Date, Sellers shall reasonably cooperate with Purchaser in order to address and correct
 any title and/or survey issues that may arise.

                  5.8      Condemnation, Casualty. Promptly upon learning thereof, Sellers shall
 give Purchaser written notice of any condemnation, casualty, damage or destruction of all or any
 portion of the Acquired Owned Real Property occurring prior to the Closing. If any such
 condemnation, casualty, damage or destruction to all or any portion of the Acquired Owned Real
 Property occurs prior to the Closing and Purchaser does not exercise its right to terminate this
 Agreement pursuant to Section 14.1(f) to the extent that it is entitled to do so, then (i) the
 proceeds of any condemnation award or payment under any property or casualty insurance
 policies (for losses other than business interruption) shall be applied toward the payment of the
 Purchase Price to the extent such condemnation awards or insurance payments have been
 received by any Seller and (ii) Purchaser shall receive an assignment from Sellers of Sellers'
 right, title and interest in any such awards or payments.

         5.9     Personnel Matters. On or before Closing, Sellers shall provide Purchaser an
 updated version of the lists provided to Purchaser pursuant to Section 3.13, with the data therein
 as of a date not earlier than five (5) days prior to Closing.

        6. Covenants of Purchaser. Purchaser agrees that:

               6.1.   Confidentiality. Prior to the Closing Date and after any termination of this
 Agreement, the Confidentiality Agreement shall remain in full force and effect.

               6.2.   Access. On and after the Closing Date, upon reasonable advance notice,
 Purchaser will afford promptly to Sellers and their agents, advisers and representatives
 reasonable access during normal business hours to Purchaser’s properties, books, records,
 employees, auditors and counsel to the extent necessary for financial reporting and accounting
                                             --31-
                                               -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:173 of
                                     278


 matters, employee benefits matters, the preparation and filing of any Tax returns, reports or
 forms, the defense of any Tax audit, claim or assessment, the reconciliation of Claims in the
 Bankruptcy Cases or otherwise to enable Sellers to address issues arising in connection with or
 relating to the Bankruptcy Cases or to permit Sellers to determine any matter relating to their
 rights and obligations hereunder (including in connection with Sellers’ review of the Final
 Working Capital Statement) or any other reasonable business purpose related to the Excluded
 Assets or Excluded Liabilities; provided, however, that any such access by Sellers shall not
 unreasonably interfere with the conduct of the business of Purchaser or any of its Affiliates.
 Sellers will hold, and will use their commercially reasonable efforts to cause their officers,
 directors, employees, accountants, counsel, consultants, advisors and agents to hold, in
 confidence, unless compelled to disclose by judicial or administrative process or by other
 requirements of Law, all confidential documents and information concerning Purchaser or any of
 its Affiliates or the Business provided to them pursuant to this Section 6.2.

               6.3.    Insurance. Except as otherwise provided in Section 5.8, to the extent that
 any insurance policies of Sellers or any of their Affiliates cover any loss, liability, claim, damage
 or expense relating to any Purchased Assets and such insurance policies continue after the
 Closing to permit claims to be made thereunder with respect to events occurring prior to the
 Closing, Purchaser shall use reasonable commercial efforts to cooperate with Sellers in
 submitting and pursuing such claims for the benefit of Sellers.

        7. Covenants of Purchaser and Seller. Purchaser and Sellers agree that:

                7.1.    Efforts; Further Assurances. Subject to the terms and conditions of this
 Agreement, Purchaser and Sellers will use their respective commercially reasonable efforts to
 take, or cause to be taken, all actions and to do, or cause to be done, all things necessary or
 desirable under applicable Laws and regulations to consummate the Transactions contemplated
 by this Agreement; provided, however, Sellers shall be entitled to take such actions as are
 required in connection with the discharge of its fiduciary duties during the Bankruptcy Cases
 (including soliciting higher or better offers for the Purchased Assets). Sellers and Purchaser
 agree to execute and deliver such other documents, certificates, agreements and other writings
 and to take such other actions as may be necessary or desirable in order to vest in Purchaser good
 title to the Purchased Assets or to evidence the assumption by Purchaser of the Assumed
 Liabilities. Notwithstanding anything to the contrary set forth herein, nothing in this Agreement
 shall be construed as requiring Purchaser or its affiliates to litigate or agree to hold separate or to
 dispose of any assets or property in order to obtain approval of any Governmental Authority of
 the consummation of the Transactions contemplated by this Agreement.

                7.2.    Certain Filings. Sellers and Purchaser shall cooperate with one another in
 good faith (a) in determining whether any action by or in respect of, or filing with, any
 Governmental Authority is required, including any filing required by the HSR Act, or any
 actions, consents, approvals or waivers are required to be obtained from parties to any Assumed
 Contracts or Intellectual Property Rights, in connection with the consummation of the
 Transactions and (b) in taking such actions or making any such filings, including any filings


                                                 --32-
                                                   -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:174 of
                                     278


 required by the HSR Act, furnishing information required in connection therewith and seeking
 timely to obtain any such actions, consents, approvals or waivers.

                  7.3.  Public Announcements. Sellers shall develop a communications plan with
 respect to the Transactions in consultation with Purchaser. Such communications plan, including
 any and all written scripts, handouts, letters or other written communications intended for
 widespread distribution pursuant thereto, shall be subject to Purchaser’s prior written approval
 (as so approved, the “Communications Plan”). Except pursuant to the Communications Plan or
 as otherwise may be required by Law, neither Purchaser nor Sellers shall make any public
 announcements or statements concerning the Transactions (other than statements made to, or
 filings with, the Bankruptcy Court in the Bankruptcy Cases) without the prior written consent of
 the other; in case such consent shall not be unreasonably withheld, delayed or conditioned.
 Purchaser acknowledges and agrees that Sellers may provide copies of this Agreement to parties
 in interest in the Bankruptcy Cases and to those parties to whom Sellers determine it is necessary
 to provide copies in connection with soliciting higher or better bids for the Purchased Assets or
 as otherwise necessary in connection with the Bankruptcy Cases. Sellers also shall be entitled to
 file copies of this Agreement with the Bankruptcy Court or as otherwise required by Law and
 shall be entitled to publish notice of the contemplated Transactions as may be required to give
 adequate notice under the Bankruptcy Code thereof. In case any Party is required by Law to
 make any public announcement or statement, or any filing with any Governmental Entity or any
 national securities exchange concerning the Transaction that is not made pursuant to the
 Communications Plan, the Party required to make such announcement, statement or filing shall,
 to the extent practicable (i) consult with the other Party prior to making such announcement,
 statement or filing and (ii) provide that the content of such announcement, statement or filing is
 consistent with the Communications Plan. Nothing herein shall prevent either Sellers or
 Purchasers from responding to inquiries in a manner consistent with the Communications Plan.

                7.4.    Notices. If at any time (a) Purchaser becomes aware of any material
 breach by Sellers of any representation, warranty, covenant or agreement contained herein and
 such breach is capable of being cured by Sellers, or (b) Sellers become aware of any material
 breach by Purchaser of any representation, warranty, covenant or agreement contained herein
 and such breach is capable of being cured by Purchaser, the Party becoming aware of such
 breach shall promptly notify the other Party, in accordance with Section 14.1, in writing of such
 breach. Upon such notice of breach, the breaching Party shall have ten (10) days to cure such
 breach prior to the exercise of any remedies in connection therewith.

                 7.5.   Liquor License. Not later than ten (10) days following the date on which
 the Bidding Procedures Order shall have been entered, Purchaser shall makehas made all
 necessary applications (subject to any amendments that may be required) for, and shall
 thereafter diligently pursue, issuance of all licenses and approvals required under any Law for
 the continued sale of alcoholic beverages in connection with the conduct of the Business from
 and after the Closing Date (including temporary permits, to the extent available) consistent with
 the practices and procedures in effect as of the date hereof. Purchaser shall keep Sellers
 informed of the status of such applications, and shall promptly respond to Sellers’ inquiries
 regarding the status of the same.

                                               --33-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:175 of
                                     278


                 7.6.    Checked Baggage. On the Closing Date, representatives of Sellers and
 Purchaser shall make a written inventory of all baggage and similar items left in the care of
 Sellers by Sellers’ customers (collectively, “Inventoried Baggage”). Purchaser shall be
 responsible for, and shall indemnify Sellers and their Affiliates and their respective directors,
 officers and employees against, any losses or liabilities incurred by any of them with respect to
 any theft, loss or damage to any Inventoried Baggage from and after the time of such inventory,
 and any other baggage or similar items left in the care of Purchaser on or after the Closing Date
 which was not inventoried. Sellers shall be responsible for, and shall indemnify the Purchaser
 against, any losses or liabilities incurred by Purchaser with respect to any theft, loss or damage to
 any Inventoried Baggage prior to the time of such inventory, and any other baggage or similar
 items left in the care of Sellers prior to the Closing Date which was not inventoried.

                 7.7.    Safe Deposit Boxes. On or before the Closing Date, Sellers shall notify all
 guests who are then using a safe deposit box owned or maintained by Sellers in connection with
 the conduct of the Business advising them of the pending change in the management of the
 Business. At Closing, all safe deposit boxes which are then in use shall be opened in the presence
 of representatives of Sellers and Purchaser, and the contents thereof shall be inventoried.
 Following the inventory of each safe deposit box, Sellers shall deliver to Purchaser all keys,
 receipts and agreements for such box. Purchaser shall be responsible for, and shall indemnify
 Sellers and their Affiliates and their respective directors, officers and employees against, any
 losses or liabilities incurred by any of them with respect to any theft, loss or damage to the
 contents of any safe deposit box from and after the time such safe deposit box is inventoried,
 provided that such claimed theft, loss or damage relates to contents that were inventoried.
 Sellers shall be responsible for, and shall indemnify Purchaser against, any losses or liabilities
 incurred by Purchaser with respect to any theft, loss or damage to the contents of any safe
 deposit box prior to the time such safe deposit box is inventoried.

                 7.8.    Customer Obligations. Purchaser agrees that with respect to any
 Customer Reservation related to services, amenities, activities or accommodations to be provided
 to a customer of the Business after the Closing Date, (a) Purchaser will honor such Customer
 Reservation in a manner consistent with Sellers’ past practices, and (b) Purchaser will give such
 customer a credit against the amounts owed with respect to the Customer Reservation in an
 amount equal to the Customer Deposit and Prepayment made by the customer consistent with
 Sellers’ past practices. For the sake of clarity, the Parties acknowledge that Sellers have
 included a line item for outstanding and unapplied Customer Deposits and Prepayments as of the
 Balance Sheet Date in the current Assumed Liabilities on the Base Working Capital calculation
 attached hereto as Exhibit B. Likewise, the Parties agree and acknowledge that the Final
 Working Capital Statement shall include a similar line item setting forth the outstanding and
 unapplied Customer Deposits and Prepayments as of the Closing Date in the current Assumed
 Liabilities used to determine the Final Working Capital.

                7.9.   Transfers Not Effected as of Closing. Nothing herein shall be deemed to
 require the conveyance, assignment or transfer of any Purchased Asset that by its terms and by
 operation of applicable Law (including, but not limited to, Section 365 of the Bankruptcy Code)
 cannot be freely conveyed, assigned, transferred or assumed. To the extent the parties hereto

                                                --34-
                                                  -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:176 of
                                     278


 have been unable to obtain on or before the Closing Date any governmental or any third-party
 consents or approvals required under applicable Law for the transfer of any Purchased Asset and
 to the extent not otherwise prohibited by the terms of any Purchased Asset, for not more than
 ninety 90 days following the Closing Date, (a) the parties hereto shall continue to use their
 commercially reasonable efforts to obtain such unobtained consents or approvals at the earliest
 practicable date, (b) Sellers shall continue to be bound by the terms of such applicable Purchased
 Asset, but shall exercise or exploit their rights in respect of such Purchased Assets only as
 directed by Purchaser and at Purchaser’s expense, and (c) Purchaser shall pay, perform and
 discharge fully all the obligations of Sellers thereunder from and after the Closing to the extent
 that the corresponding benefit is received by Purchaser. If and when any such consents or
 approvals shall be obtained, then Sellers shall promptly assign their rights and obligations
 (except to the extent such obligations constitute Excluded Liabilities) thereunder to Purchaser
 without payment of consideration and Purchaser shall, without the payment of any consideration
 therefore, assume such rights and obligations. The parties shall execute such good and sufficient
 instruments as may be necessary to evidence such assignment and assumption.

        8. Bankruptcy Related Covenants.

                 8.1.    Plan of Reorganization. As soon as reasonably practicable following the
 execution of this Agreement (and in any event not later than two (2) Business Days after the
 commencement of the Bankruptcy Cases), Sellers shall prepare and filehave filed with the
 Bankruptcy Court (i) a plan of reorganization with respect to Sellers’ bankruptcy estates that,
 among other things, implements, contains or otherwise incorporates the terms, conditions and
 provisions of this Agreement (the “Plan of Reorganization”), and (ii) a disclosure statement
 related to and accompanying the Plan of Reorganization (the “Disclosure Statement”), in each
 case in form and substance consistent with this Agreement and satisfactory to Purchaser in its
 reasonable discretion. Sellers shall use commercially reasonable efforts to obtain entry of an
 Order confirming the Plan of Reorganization (the “Confirmation Order”) by no later than
 November 18, 2010, and such Confirmation Order shall be in form and substance consistent with
 this Agreement and satisfactory to Purchaser in its reasonable discretion. The Confirmation
 Order will provide, among other things, that: (i) the Plan of Reorganization is confirmed and the
 transactions contemplated therein are approved; (ii) this Agreement and the Transactions
 contemplated herein are approved; (iii) on the Effective Date, the Purchased Assets shall be sold
 to Purchaser free and clear of any and all Liens (except for Permitted Liens and the Assumed
 Liabilities); and (iv) on the Effective Date, the Assumed Contracts shall be assumed by Sellers
 and assigned to the Purchaser pursuant to Section 365 of the Bankruptcy Code and Purchaser
 shall pay all Cure Costs due in connection with the assumption and assignment of the Assumed
 Contracts, provided, that, to the extent the aggregate Cure Costs paid by Purchaser exceed the
 aggregate Cure Costs set forth on Schedule 2.3(c), as such Schedule may be amended in
 accordance with Section 15.10, such excess Cure Costs shall be reflected on the Final Working
 Capital Statement. In addition, the Confirmation Order will include the matters specified in
 Section 9.5. Sellers and Purchaser agree to use commercially reasonable efforts cooperate, assist
 and consult with each other to obtain the issuance and entry of the Confirmation Order, including
 furnishing affidavits, declarations or other documents or information for filing with the
 Bankruptcy Court.
                                               --35-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:177 of
                                     278


              8.2.   Bidding Procedures.

                        (a)            Filing of Bidding Procedures Motion.       As soon as
       reasonably practicable following the execution of this Agreement (and in any event not
       later than two (2) Business Days after the commencement of the Bankruptcy Cases),
       Sellers shall file with the Bankruptcy Court a motion (the “Bidding Procedures Motion”)
       seeking entry of an Order (the “Bidding Procedures Order”) approving the provisions of
       Section 8.2 of this Agreement. The Bidding Procedures Motion and the Bidding
       Procedures Order shall be in a form approved by Purchaser and shall include, among
       other matters, the items set forth below.

                       (b)          Bidding Procedures. In the Bidding Procedures Motion,
       Sellers shall seek, among other things, approval of the following bidding procedures (the
       “Bidding Procedures”), which shall be incorporated into the Bidding Procedures Order:

                             (i)    Any third party (other than Purchaser) that is interested in
              acquiring the Purchased Assets must submit an “Initial Overbid” in conformance
              with the Bidding Procedures at or prior to October 11, 2010 (the “Bid Deadline”).
              Any such Initial Overbid must:

                             (A)     Contain a signed definitive asset purchase agreement
                             (together with a copy of the signed agreement that is marked to
                             show changes from this Agreement, including all schedules and
                             exhibits hereto) with, at a minimum, the following requirements:
                             (w) having substantially identical terms and conditions as this
                             Agreement except with higher and better consideration; (x)
                             containing terms and conditions no less favorable to Sellers’
                             estates than the terms and conditions in this Agreement (provided
                             that no Initial Overbid shall provide for the payment to the
                             overbidder of any breakup fee, topping fee, expense
                             reimbursement or other similar arrangement); (y) provide for a
                             purchase price in an amount equal to or greater than the sum of (1)
                             the Purchase Price, (2) the Breakup Fee, and (3) $2,500,000](the
                             “Initial Overbid Amount”); and (z) not be subject to any (1)
                             financing contingency, (2) contingency relating to the completion
                             of unperformed due diligence, (3) contingency relating to the
                             approval of the overbidder’s board of directors or other internal
                             approvals or consents, or (4) any conditions precedent to the
                             overbidder’s obligation to purchase the Purchased Assets other
                             than those included in this Agreement;

                             (B)    Include a cashiers’ or certified check in the amount of Ten
                             Million and No/00 Dollars ($10,000,000) to be held as a deposit (it
                             being understood that the deposit may also be sent by wire transfer
                             of immediately available funds to the GFD Escrow Agent); and

                                             --36-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:178 of
                                     278




                             (C)      To the extent not previously provided to Sellers, be
                             accompanied by evidence satisfactory to Sellers in their
                             commercially reasonable discretion that the overbidder is willing,
                             authorized, capable and qualified financially, legally and
                             otherwise, of unconditionally performing all obligations under the
                             Agreement (or its equivalent) in the event that it submits the
                             Prevailing Bid at the Auction.

                      (c)   The Bidding Procedures Order. The Bidding Procedures Order
       shall, among other matters:

                             (i)     approve the Breakup Fee and provide that, if the obligation
              of the Sellers to pay Purchaser (or such Person or Persons as Purchaser may
              designate) the Breakup Fee arises, such obligation shall constitute an
              administrative expense pursuant to Section 503(b)(1) and Section 507(a)(1) of the
              Bankruptcy Code and shall be payable out of the proceeds to the Sellers from any
              transactions with any such competing bidder and in accordance with the
              provisions of this Agreement without further order of the Bankruptcy Court; and

                             (ii)    approve the Bidding Procedures.

                      (a)    Intentionally Omitted.

                      (b)    Intentionally Omitted.

                      (c)    Intentionally Omitted:

                       (d)     Notice to Parties to Acquired Contracts. Sellers shall provide
       provided timely and proper written notice of the motion seeking entry of the Bidding
       Procedures Ordera bidding procedures order (docket no. 190 in the Bankruptcy
       Cases) to all parties to executory contracts and unexpired leases to be assumed by Sellers
       and assigned to Purchaser pursuant to thisthat certain Asset Purchase Agreement dated
       as of August 4, 2010 by and to among the Sellers, as seller, and Sea Island
       Acquisition LP, as buyer, and shall take all other actions necessary to cause such the
       executory contracts and unexpired leases set forth on Schedule 2.1(b) to be assumed by
       Sellers and assigned to Purchaser pursuant to Section 365 of the Bankruptcy Code and
       Sellers shall, at or prior to the Closing, comply with all requirements under Section 365
       necessary to assign to the Purchaser the contracts and agreements included in the
       Assumed Liabilities.

                      (e)     Auction. In the event that Sellers timely receive a conforming
       Initial Overbid from a prospective purchaser as described above (a “Qualified Bidder”) in
       accordance with the Bidding Procedures, then Sellers will conduct an auction (the
       “Auction”) with respect to the sale of the Purchased Assets. In order to participate in the
       Auction, each Qualified Bidder shall be required to comply with the requirements of the
                                              --37-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:179 of
                                     278


        Bidding Procedures and to submit an Initial Overbid that is timely and that complies in
        all respects with the Bidding Procedures. At the Auction, Qualified Bidders and/or
        Purchaser may submit successive bids in increments of at least $1.0 million greater than
        the prior bid (the “Incremental Bid Amount”) for the purchase of the Purchased Assets
        until there is only one offer that Sellers determine, in accordance with the Bidding
        Procedures and subject to Bankruptcy Court approval, is the highest or best offer (the
        “Prevailing Bid”). When bidding at the Auction, Purchaser shall receive a “credit” in the
        amount of the Breakup Fee. All bidding for the Purchased Assets will be concluded at
        the Auction and there will be no further bidding at the Bankruptcy Court hearing (the
        “Confirmation Hearing”) held in the Bankruptcy Cases to consider confirmation of the
        Plan of Reorganization and approval of the highest or best bid for the Purchased Assets
        (which shall serve as the basis for the Plan of Reorganization). If no conforming Initial
        Overbid from a Qualified Bidder shall have been received at or prior to the Bid Deadline,
        the Auction will not be held and the Confirmation Hearing will proceed with respect to
        the Plan of Reorganization and this AgreementIntentionally Omitted.

                        (f)    Breakup Fee. Upon the consummation of a sale of all or
        substantially all of the Purchased Assets to any third party (other than Purchaser) who
        submits a Prevailing Bid for the Purchased Assets, Sellers shall pay to Purchaser (or such
        Person or Persons as Purchaser may designate) cash or other immediately available funds
        in an amount equal to Five Million Nine Hundred Twenty Five Thousand Dollars
        ($5,925,000) (the “Breakup Fee”); provided, however, the Breakup Fee shall not be due
        and payable if Purchaser has committed a material breach of this Agreement prior to any
        termination of this Agreement pursuant to Section 14.1(g) or Section 14.1(h) and at the
        time of such termination this Agreement is not terminable by Purchaser pursuant to
        Section 14.1(d). The Parties agree that the Breakup Fee and the return of the Good Faith
        Deposit shall be the full and liquidated damages of Purchaser arising out of any
        termination of this Agreement pursuant to Section 14.1. The provisions of this Section
        8.2(f) shall survive any termination of this Agreement. The Breakup Fee shall be treated
        as an administrative expense claim in the Bankruptcy Cases under Section 503(b)(1) and
        Section 507(a)(1) of the Bankruptcy Code, shall be paid to Purchaser (or such Person or
        Persons as Purchaser may designate) at the closing of such sale to the third party, and
        shall be paid to Purchaser (or such Person or Persons as Purchaser may designate) prior
        to the payment of the proceeds of such sale to any third party asserting a Lien on the
        Purchased Assets (and no Lien of any third party shall attach to the portion of the sale
        proceeds representing the Breakup Fee)Intentionally Omitted.

         9. Tax Matters. Except as otherwise provided in this Section 9, Purchaser and Sellers
 agree that after the Closing:

               9.1.    Tax Cooperation. Purchaser and Sellers agree to furnish or cause to be
 furnished to each other, upon reasonable written request, as promptly as practicable, such
 information and assistance relating to the Business and the Purchased Assets (including access to
 books and records) as is reasonably necessary for the preparation and filing of all Tax Returns,
 the making of any election relating to Taxes, the preparation for any audit by any Taxing

                                              --38-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:180 of
                                     278


 Authority, and the prosecution or defense of any Claim, suit or proceeding relating to any Tax.
 Sellers and Purchaser shall reasonably cooperate with each other in the conduct of any audit or
 other proceeding relating to Taxes involving the Purchased Assets or the Business or in
 connection with any Tax matter set forth in this Section 9.

               9.2.    Allocation of Taxes.

                        (a)    The Parties acknowledge and agree that the Transactions will be
        consummated pursuant to a confirmed plan of reorganization in the Bankruptcy Cases.
        As a result, as contemplated by Section 1146(a) of the Bankruptcy Code, the making or
        delivery of any instrument of transfer, including the filing of any deed or other document
        to evidence, effectuate or perfect the rights, transfers and interests contemplated by this
        Agreement, shall be free and clear of any and all transfer taxes, stamp taxes or similar
        taxes. All deeds, instruments, Orders and agreements transferring the Purchased Assets
        to Purchaser shall contain the following endorsement:

               “Because this [instrument] has been authorized pursuant to Grantor’s plan
               of reorganization that was confirmed by order of the United States
               Bankruptcy Court for the Southern District of Georgia, it is exempt from
               transfer taxes, stamp taxes or similar taxes pursuant to 11 U.S.C.
               §1146(a).”

                       (b)     In the event that, notwithstanding the provisions of Section 1146(a)
        of the Bankruptcy Code or for any other reason, any sales, use, value added, transfer,
        stamp, recording, documentary, registration or other similar taxes, fees or charges (the
        “Transfer Taxes”) are assessed at Closing or at any time thereafter on the transfer of any
        Purchased Assets pursuant to this Agreement, then in each instance such Transfer Taxes
        incurred as a result of the Transactions contemplated hereby shall be paid by Purchaser.
        Purchaser and Sellers shall reasonably cooperate in providing each other with any
        appropriate resale exemption certifications and other similar documentation.

                  9.3.   Property Taxes. 2010 Property Taxes shall be apportioned between
 Sellers, on the one hand, and Purchaser, on the other hand, based on the number of days of such
 Tax period included in the Pre-Closing Tax Period and the number of days of such Tax period
 after the Closing Date (with respect to any such Tax period, the “Post-Closing Tax Period”).
 Sellers shall be liable for the proportionate amount of such 2010 Property Taxes that is
 attributable to the Pre-Closing Tax Period (the “Sellers Apportioned Tax Amount”), and
 Purchaser shall be liable for the proportionate amount of such 2010 Property Taxes that is
 attributable to the Post-Closing Tax Period.

               9.4. Return Filing. Purchaser shall have the right to prepare and file (or cause
 to be prepared and filed) all Tax Returns due after the Closing with respect to any Property
 Taxes, Transfer Taxes, Accrued Payroll Taxes or Accrued Sales and Use Taxes and shall pay or
 cause to be paid any liability shown as due on any such Tax Return to the applicable Taxing
 Authority.

                                               --39-
                                                 -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:181 of
                                     278


                  9.5.   Certain Tax Matters. Without limiting the provisions of Section 8.1, each
 Seller shall use its commercially reasonable efforts to include in the Confirmation Order express
 rulings that: (i) under Ga. Comp. R & Regs. 560-12.1-.07, the transfer of the Purchased Assets to
 Purchaser or any of its Affiliates as contemplated by this Agreement is exempt from taxation
 under Chapter 8 of Title 48 of the OCGA (Sales and Use Taxes); (ii) under OCGA § 48-6-
 2(a)(7.1) and Section 1146(a) of the Bankruptcy Code, the transfer of the Purchased Assets to
 Purchaser or any of its Affiliates as contemplated by this Agreement is exempt from taxation
 under OCGA § 48-6-1 (Real Estate Transfer Tax); (iii) upon the payment of the Purchase Price
 by Purchaser pursuant to this Agreement, any obligation or liability Purchaser or any of its
 Affiliates may have under any applicable Law to withhold, deduct or deposit any amount from
 the Purchase Price and any obligation or liability Purchaser or any of its Affiliates may have
 under any applicable Law as successor or transferee for Taxes of any Seller or any Affiliate of
 any Seller shall hereby be satisfied and Purchaser and its Affiliates shall hereby be released and
 discharged from any such obligation or liability (in each case, including, without limitation, all
 Specified Georgia Tax Obligations); (iv) the Purchased Assets and the Business transferred to
 Purchaser or any of its Affiliates as contemplated by this Agreement shall be free and clear from,
 and shall not be subject to, any Liens for or arising from any Tax delinquencies or deficiencies of
 any Seller or any Affiliate of any Seller (including, without limitation, any Liens for or arising
 with respect to any Specified Georgia Tax Obligation); and (v) any bank account designated in
 writing by Sellers pursuant to Section 2.6(a) shall be approved by the Bankruptcy Court to be an
 account in which the Purchase Price may be deposited, and all amounts deposited therein by
 Purchaser shall be distributed only pursuant to the Confirmation Order.

                9.6.   Tax Treatment. Purchaser and Sellers agree to treat any payment
 (including an indemnity payment, if any) made between one another pursuant to, or in
 connection with, this Agreement as an adjustment to the Purchase Price for Tax purposes to the
 extent permitted by applicable Law.

        10. Employee Matters.

                 10.1. Employees and Offers of Employment. Effective as of the Closing Date,
 Purchaser shall offer employment to all employees of Sellers that are actively at work at the
 Closing, including those employees who are away from work due to vacation or short-term
 illness. Purchaser shall also offer employment to each other person employed by Sellers at
 Closing, to be effective as of the date such person is available to return to active employment,
 provided that the Purchaser shall not be obligated to offer employment to any person who cannot
 return to active employment on or before the 90th day following Closing. From and after the date
 he or she commences employment with the Purchaser, each employee of Seller hired by
 Purchaser pursuant to the two immediately preceding sentences shall be called “Transferred
 Employees.” In each case, such offers of employment shall be on terms and with benefits agreed
 to between Purchaser and such persons and, except as expressly set forth in this Agreement,
 without regard to, and without assumption or continuation of, any compensation, benefits or
 arrangements provided by Sellers. Effective as of the Closing Date, Purchaser shall assume
 responsibility for the Transferred Employees, but, except as expressly set forth in this
 Agreement, only to the extent related to (i) services rendered after the Closing Date, (ii) any

                                               --40-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:182 of
                                     278


 termination by Purchaser of a Transferred Employee after the Closing Date or (iii) any actions by
 Purchaser. Sellers shall retain all liabilities in respect of all Sellers’ employees, including
 Transferred Employees, except (a) liabilities associated with (x) the Transferred Employees’
 service with Purchaser after the Closing Date, (y) any termination of a Transferred Employee by
 Purchaser after the Closing Date, or (z) any violation by Purchaser of applicable law or this
 Section 10.1, and (b) as otherwise expressly set forth in this Agreement. For the avoidance of
 doubt, nothing in this Agreement (A) guarantees any Transferred Employee employment with
 Purchaser for any period of time, (B) causes any Transferred Employee to be employed on any
 basis other than on an “at-will” basis or (C) in any way restricts Purchaser’s right to terminate
 the employment of any Transferred Employee after the Closing Date.

                 10.2. Specified Deferred Compensation Obligations. The Specified Deferred
 Compensation Obligations shall be paid by Purchaser at the time and in the manner provided for
 by the terms of the Deferred Compensation Plan, including employee elections thereunder.
 Information as to such payment dates (including any employee elections) shall be provided to
 Purchaser by Sellers as soon as reasonably practicable, but in no event later than 10 business
 days after Closing; provided, however, that payments with respect to the Specified
 Additional Deferred Compensation Obligations shall be made on a pro rated basis only to
 each person Listed on Schedule 2.3(k) who has not waived his or her rights to such claims
 (each, an “Eligible Payee”) in an amount determined by multiplying (i) $440,520 times (ii)
 the percentage determined with respect to such Eligible Payee by dividing (A) the total
 obligation to such Eligible Payee in respect of such Special Additional Deferred
 Compensation Obligations by (B) the aggregate amount of all obligations to all Eligible
 Payees in respect of such Special Additional Deferred Compensation Obligations. From and
 after the date the respective amounts of Specified Deferred Compensation Obligations listed on
 ScheduleSchedules 2.3(d), 2.3(j) and 2.3(k) were determined (including after giving effect to
 the proviso in the immediately preceding sentence), such amounts shall be credited quarterly
 with interest at an annual rate equal to the “Prime Rate” that is reported in the Money Rates
 section of the Wall Street Journal published on the first business day of such quarter.

                 10.3. Retiree Health Benefits. From and for a period of one year following
 Closing, Purchaser shall make available to the retirees listed on Schedule 10.3 the same health
 benefit plan as is in effect from time to time for active employees of Purchaser at a level of
 contribution not greater than the level of contribution in effect for such retirees at the time of
 Closing under the Sea Island Company Healthgram employee benefits plan designed and
 maintained by the Sea Island Company to provide health care benefits; provided that for a retiree
 or any beneficiary thereof eligible for Medicare, the benefits under such health benefit plan shall
 be secondary to Medicare benefits. Nothing in the immediately preceding sentence shall be
 construed to limit Purchaser’s right to modify the terms of its health benefit plan or, following
 the period specified therein, to modify the level of contribution required from retirees, or the
 eligibility of retirees to participate in such health benefit plan; provided, however, that, if
 Purchaser at any time directly or indirectly ceases to make coverage under its health benefits
 plan applicable to active employees available to the retirees listed on Schedule 10.3 and their
 beneficiaries, Purchaser shall promptly establish a trust or other funding vehicle to make medical
 benefits available to such retirees and their beneficiaries and shall contribute to such trust or
                                               --41-
                                                 -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:183 of
                                     278


 vehicle an amount, if any, equal to the remainder of (i) $1,448,957 million minus (ii) the costs
 incurred by Purchaser prior to such cessation of coverage to provide medical benefits coverage to
 such retirees and their beneficiaries. The retiree health benefits provided pursuant to this Section
 shall be subject to a lifetime maximum for each participant of (x) $50,000 minus (y) the total
 amount of retiree health benefits received by each such participant prior to Closing.
 Schedule 10.3 shall indicate the total amount of benefits received by each retiree health plan
 participant, and the amount of the remaining benefits each participant is eligible to receive.

                10.4.   Employee Plans.

                        (a)     Each Transferred Employee shall be eligible to receive benefits
        consistent with Purchaser’s applicable human resources policies. As promptly as
        reasonably practicable after the Closing Date (and as permitted by Purchaser’s employee
        benefit plans and employee policies), Purchaser shall enroll the Transferred Employees in
        Purchaser’s employee benefit plans for which such employees are eligible (and as
        permitted by Purchaser’s employee benefit plans and employee policies). Purchaser
        shall, as permitted by Purchaser’s employee benefit plans and employee policies,
        recognize the prior service with Sellers of each of the Transferred Employees for
        purposes of eligibility to participate under such employee benefit plans of Purchaser.
        Transferred Employees will be eligible to participate in Purchaser’s employee benefit
        plans (including Purchaser’s health plans), as permitted by Purchaser’s employee benefit
        plans and employee policies, and will be treated under such plans on the same terms and
        conditions as any other similarly situated employee of Purchaser with similar service
        (after giving effect to this Section 10.4) with Purchaser. Notwithstanding anything to the
        contrary contained herein, (i) Purchaser shall recognize the prior service with the Seller
        of each of the Transferred Employees for purposes of eligibility to participate under
        Purchaser’s health plans and 401(k) defined contribution plan, if any, and shall enroll the
        Transferred Employees in such plans without waiting periods so long they have satisfied
        prior service requirements (after giving effect to the foregoing recognition of prior
        service with Sellers) and (ii) Purchaser shall provide coverage to such employees who are
        eligible under Purchaser’s health, medical, life insurance and other welfare plans (A)
        without the need to undergo a physical examination or otherwise provide evidence of
        insurability; (B) by taking into account the period of coverage under Sellers’ (or its
        Affiliates’) plans for purposes of applying any pre-existing condition or similar
        limitations or exclusions; and (C) by applying and giving credit for amounts paid for the
        plan year in which the Closing Date occurs as deductibles, out of pocket expenses and
        similar amounts paid by individuals and their beneficiaries. Except as expressly
        provided by this Agreement, the Purchaser shall retain the right to modify, amend or
        terminate any and all employee benefit plans and policies at any time.

                      (b)    Effective as of Closing, Purchaser shall assume and make available
        to Transferred Employees the accrued vacation amounts indicated on the list provided
        pursuant to Section 5.9, which accrued vacation amounts shall be determined and
        administered consistently with the policies of Sellers as of the date of this Agreement.
        Purchaser may adopt differing policies with respect to any vacation benefits accruing on

                                                --42-
                                                  -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:184 of
                                     278


        or after the Closing Date.

                        (c)     Effective as of Closing, Purchaser shall adopt a policy to provide
        severance payments to Transferred Employees who are terminated without cause and
        who have provided at least one complete year of service to the business. If any employee
        of Sellers who accepts an offer of employment from Purchaser is subsequently terminated
        by Purchaser within the 6-month period after the Closing Date, then Purchaser shall make
        severance payments to such employee in an amount that is not less than the amount of
        severance that such employee would have been entitled to receive under Sellers’
        severance policy in effect on the date hereof if such employee had been terminated by
        Sellers as of the Closing Date.

                      (d)     From and after the Closing Date, Sellers shall remain solely
        responsible for any and all liabilities relating to or arising in connection with the
        requirements of Section 4980B of the Code to provide continuation of health care
        coverage in respect of (A) employees and their covered dependents with respect to any
        qualifying event occurring prior to the Effective Time and (B) employees other than
        Transferred Employees with respect to any qualifying event occurring after the Effective
        Time. Purchaser shall be responsible for any and all liabilities relating or arising in
        connection with the requirements of Section 4980B of the Code to provide continuation
        of health care coverage in respect of Transferred Employees and their covered
        dependents with respect to any qualifying event occurring after the Effective Time.

                        (e)    Neither Purchaser nor any of its affiliates shall have any liability or
        responsibility for any (i) claims arising out of the employment by the Sellers of any
        current or former Employee or a beneficiary or dependent thereof or (ii) benefits payable
        in respect of any current or former Employee under any Employee Benefits Plan., in each
        case, other than the Specified Deferred Compensation Obligations. The Sellers shall
        remain solely responsible for any and all liabilities, obligations and commitments in
        respect of such current or former Employee relating to or arising out of or as a result of
        the employment or the actual or constructive termination of employment of any such
        current or former Employee by the Sellers (including in connection with the
        consummation of the Transaction). The Sellers shall remain responsible for the payment
        of any and all severance, retention, change in control or other similar compensation or
        benefits under the various plans and arrangements maintained or entered into by the
        Sellers and that are or may become payable in connection with the consummation of the
        Transaction.

                 10.5. WARN Obligations. From and after the Closing Date, Sellers shall
 remain solely responsible for any and all obligations that might arise under the Worker
 Adjustment and Retraining Notification Act (the “WARN Act”), or under any similar provision
 of any federal, state, regional, foreign or local law, rule or regulation (hereinafter referred to
 collectively as “WARN Obligations”) arising as a result of any employment losses occurring
 prior to, on or after the Closing Date with respect to all current and former employees.


                                                --43-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                   Page:185 of
                                     278


               10.6. Collective Bargaining Agreements. The Sellers shall retain all collective
 bargaining agreements, including all employee benefit obligations thereunder.

                10.7. Employee Records. Purchaser shall maintain employee records transferred
 to Purchaser hereunder for a period of not less than four (4) years and during that period will
 afford Sellers reasonable access to such records during Purchaser’s normal business hours.
 Purchaser shall maintain the confidentiality of such records and limit access thereto in a manner
 consistent with Purchaser’s treatment of its employee records.

                10.8. Workers’ Compensation. Sellers shall be liable for all workers’
 compensation claims arising out of injuries with an identifiable date of occurrence sustained by
 Sellers’ employees prior to the Closing Date. Purchaser shall be liable for all workers’
 compensation claims arising out of injuries with an identifiable date of occurrence, sustained by
 the Transferred Employees on and after the dates (hereinafter, “Transferred Employees’
 Employment Date”) Purchaser hires them, including injuries sustained by a Transferred
 Employee on or after the Transferred Employees’ Employment Date that are aggravations,
 exacerbations or re-injuries of medical conditions or diagnoses resulting from injuries that were
 sustained before the Transferred Employees’ Employment Date. Sellers shall be liable for all
 workers’ compensation claims arising out of injuries or occupational diseases without an
 identifiable date of occurrence or exposure, which are alleged to have been sustained or
 contracted prior to the Closing Date, provided such claims are filed with the appropriate
 Workers’ Compensation authority within ninety (90) days after the Transferred Employees’
 Employment Date. Purchaser shall be liable for all workers’ compensation claims arising out of
 injuries or occupational diseases without an identifiable date of occurrence or exposure, which
 are alleged to have been sustained or contracted either before or after the Transferred
 Employees’ Employment Date, provided that, in the case of any such injuries or diseases
 allegedly sustained before the Transferred Employees’ Employment Date, such claims are filed
 with the appropriate workers’ compensation authority more than ninety (90) days after the
 Transferred Employees’ Employment Date.

        11. Club Memberships.

               11.1.   New Membership Programs and Agreements.

                       (a)    Purchaser will offer Club Members, including inactive Club
        Members who have terminated their membership and are waiting for return of their
        deposit, the opportunity to join the new Ocean Forest and Sea Island clubs and execute
        agreements on the terms and conditions of new membership programs, which shall set
        forth and govern the rights of club members post-Closing (the "“New Membership
        Programs").”).

                       (b)   The New Membership Programs will be generally consistent with
        the Sea Island Club Membership Program or the Ocean Forest Golf Club Membership
        Program, as applicable, with certain modifications, including, but not limited to, those
        specified in Schedule 11.1(b). Purchaser will credit to new member accounts of Club
        Members who execute agreements under the New Membership Programs ("(“Electing
                                             --44-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:186 of
                                     278


        Club Members")”) an amount equal to their respective existing membership deposits that
        had been paid in cash. Electing Club Members will not be required to post any
        additional deposit amounts to join under the New Membership Programs. Purchaser
        will refund member deposits of Electing Club Members as set forth on Schedule 11.1(b)
        in paragraphs 1, 3 and 4 under the heading "“Sea Island Club"” and paragraphs 1, 2, 3
        and 4 under the heading "“Ocean Forest Golf Club",”, as applicable.

        12. Closing Conditions.

               12.1. Conditions to Obligations of Purchaser and Seller. The obligations of
 Purchaser and Sellers to consummate the Closing are subject to the satisfaction of the following
 conditions:

                        (a)    the Bankruptcy Court shall have entered the Confirmation Order in
        the Bankruptcy Cases, authorizing the Transactions and approving this Agreement and
        the ancillary agreements contemplated hereby under Sections 105(a), 365, 1123 and 1129
        of the Bankruptcy Code, in form and substance reasonably acceptable to Sellers and
        Purchaser, and as of the Closing Date the Confirmation Order shall be a Final Order and
        shall not be stayed, shall be in full force and effect, and shall not have been vacated or
        reversed.

                       (b)     the Effective Date shall have occurred or shall occur as a result of
        the Closing; and

                       (c)     no injunction, stay or similar Order, issued by any Governmental
        Authority shall be in effect that restrains, enjoins, stays or prohibits the consummation of
        the Transactions.

                12.2. Conditions to Obligations of Purchaser. The obligation of Purchaser to
 consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the following
 further conditions:

                       (a)    Sellers shall have performed in all material respects all of their
        obligations hereunder required to be performed by Sellers on or prior to the Closing Date;

                       (b)    Sellers shall have made all deliveries required of them by Section
        2.10;

                       (c)      the representations and warranties of Sellers contained in this
        Agreement shall be true and correct in all material respects at and as of the Closing Date,
        as if made at and as of such date (or to the extent such representations and warranties
        speak as of an earlier date, they shall be true and correct as of such earlier date);

                      (d)     a title insurance company selected by Purchaser and
        Commonwealth Land Title Insurance Company (“Commonwealth Title”), as co-insurers
        on a 50/50 basis with Commonwealth Title acting as the lead underwriter in connection
                                               --45-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:187 of
                                     278


        with the preparation of the Title Commitment, shall have irrevocably and unconditionally
        committed to issue an owner’s title insurance policy in form and substance reasonably
        satisfactory to Purchaser, insuring Purchaser’s good, marketable and indefeasible fee
        simple title to the Acquired Owned Real Property, subject only to the Permitted Liens;

                         (e)     no material adverse changes to the condition of any of the
        Acquired Owned Real Property (other than immaterial Acquired Owned Real Property)
        shall have occurred since the Effective Datedate of this Agreement for which Purchaser,
        in its sole discretion, has not consented to in writing; and

                       (f)   all consents required for the assignment to Purchaser of the Permits
        listed on Schedule 3.8(a) (other than licenses for the sale of beer, wine and liquor),
        Assumed Contracts and Intellectual Property Rights listed on Schedule 12.2(f) shall have
        been received;

                       (g)   Sellers shall have issued a compliant WARN notice with respect to
        Sellers’ employees and at least sixty (60) days shall have passed since such notice was
        delivered; and

                      (h)    Purchaser shall have received approval of the beer, wine and liquor
        licenses set forth on Schedule 12.2(h) or such licenses are otherwise available to
        Purchaser on reasonable terms to permit the continued sale of beer, wine and liquor in
        connection with the Business.

                12.3. Conditions to Obligations of Seller. The obligation of Sellers to
 consummate the Closing is subject to the satisfaction (or waiver by Sellers) of the following
 further conditions:

                        (a)     (i) Purchaser shall have performed in all material respects all of its
        obligations hereunder required to be performed by it at or prior to the Closing Date, and
        (ii) the representations and warranties of Purchaser contained in this Agreement shall be
        true and correct in all material respects at and as of the Closing Date, as if made at and as
        of such date (or to the extent such representations and warranties speak as of an earlier
        date, they shall be true and correct in all material respects as of such earlier date); and

                       (b)     Purchaser shall have made all deliveries required of it by Section
        2.11.

        13. Survival; Indemnification.

                13.1. Survival.     The (a) representations and warranties of Sellers, and
 (b) covenants and agreements of Sellers that by their terms are to be performed before Closing,
 contained in this Agreement or in any certificate or other writing delivered in connection
 herewith, shall not survive the Closing. The covenants and agreements of Sellers contained
 herein that by their terms are to be performed after Closing shall survive the Closing for such
 terms. The (a) representations and warranties of Purchaser, and (b) covenants and agreements of
                                                --46-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:188 of
                                     278


 Purchaser that by their terms are to be performed before Closing, contained in this Agreement or
 in any certificate or other writing delivered in connection herewith, shall not survive the Closing.
 The covenants and agreements of Purchaser contained herein that by their terms are to be
 performed after Closing shall survive the Closing for such terms.

                 13.2. Indemnification. Each of Purchaser and Sellers agrees to indemnify the
 other with respect to any investment banking fees, financial advisory fees, brokerage fees,
 finders’ fees, or other similar fees which are alleged to be due and payable with respect to the
 Transactions and which are asserted as a result of the actions of the indemnifying party. There
 shall be no post-Closing indemnification of Purchaser by Sellers with respect to any matter not
 set forth in Section 7.6, Section 7.7 or this Section 13.2.

        14. Termination.

                 14.1. Grounds for Termination. This Agreement may be terminated at any time
 prior to the Closing:

                        (a)    by mutual written agreement of Sellers and Purchaser;

                       (b)     by Sellers or Purchaser, if the Closing shall not have been
        consummated on or before the later of (i) December 31, 2010, or (ii) eleven (11) days
        after any notice delivered pursuant to Section 7.4 if the breach that is the subject of such
        notice remains uncured (the later of clause (i) and (ii), the “End Date”), unless the Party
        seeking termination is in breach of its obligations hereunder;

                        (c)    by Sellers or Purchaser, if any condition set forth in Section 12.1 is
        not satisfied, and such condition is incapable of being satisfied by the End Date;

                        (d)    by Purchaser, if any condition set forth in Section 12.2 has not
        been satisfied, and such condition is incapable of being satisfied by the End Date;

                        (e)    by Sellers, if any condition set forth in Section 12.3 has not been
        satisfied, and such condition is incapable of being satisfied by the End Date;

                      (f)    by Purchaser, if a Material Adverse Effect has occurred and is
        continuing and such matter is incapable of being remedied or cured on or before the End
        Date;

                        (g)    by Sellers, if (i) Sellers execute a definitive agreement with a third
        party (other than Purchaser) for the acquisition of all or substantially all the Purchased
        Assets, and (ii) the Bankruptcy Court enters an Order in the Bankruptcy Cases approving
        such definitive agreement;

                        (g)    Intentionally Omitted.

                        (h)    by Purchaser, if Sellers execute and deliver a definitive agreement

                                                --47-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:189 of
                                     278


       with a third party (other than Purchaser) for the acquisition of all or substantially all the
       Purchased Assets;

                       (i)     by Purchaser, if the Secured Lenders do not, on or before the fifth
       (5) Business Day following the date of this Agreement, enterhave not entered into an
       agreement with Sellers, in form and substance satisfactory to Purchaser, to support the
       Plan of Reorganization, not to credit bid their secured indebtedness or otherwise bid in
       the Auctionauction and not to transfer any of the secured indebtedness they hold unless
       such transfer is subject to the terms of such agreement (the “Plan Support Agreement”);

                      (j)     by Purchaser, if (A) the Sellers do not file with the Bankruptcy
       Court on or before the August 17, 2010 the Bidding Procedures Motion and thereafter use
       its commercially reasonable efforts to serve the Bidding Procedures Motion as required
       by orders of the Bankruptcy Court or applicable rules in existence at 10:00 AM
       (Brunswick time) on the Business Day prior to the day the Bidding Procedures Motion is
       filed; (B) the Bidding Procedures Order shall not have been entered, on or before the
       September 17, 2010, provided, however, that Purchaser shall not be entitled to exercise
       its rights under this clause if the Bidding Procedures Order has been entered by the
       Bankruptcy Court prior to Purchaser exercising such rights, or (C) following entry of the
       Bidding Procedures Order, the Bidding Procedures Order is revised, revoked, voided,
       vacated, modified or stayed by an order of any Governmental Authority in any manner
       that is materially adverse to the Purchaser (a “Modifying Order”) and such Modifying
       Order is not reversed, revoked, voided, vacated, stayed or further modified within thirty
       (30) days such that the Bidding Procedures Order is in full force and effect;

                      (j)     Intentionally Omitted;

                      (k)     by Purchaser, if the Bankruptcy Cases are dismissed or converted
       to chapter 7 of the Bankruptcy Code or a trustee or examiner with expanded powers is
       appointed for the Sellers;

                       (l)    by Purchaser if (A) the Confirmation Order has not been entered
       by the Bankruptcy Court on or before November 8, 2010, provided that Purchaser shall
       not be entitled to exercise its rights under this clause if the Confirmation Order has been
       entered by the Bankruptcy Court prior to Purchaser exercising such rights, or (B)
       following entry of the Confirmation Order, the Confirmation Order is materially and
       adversely modified by a Modifying Order and such Modifying Order is not reversed,
       revoked, voided, vacated, stayed or further modified within thirty (30) days such that the
       Confirmation Order is in full force and effect;

                      (m)    by Purchaser, if either (i) Sellers do not obtain from the Secured
       Lenders prior to commencing the Bankruptcy Cases, (x) consent to debtor-in-possession
       financing in aggregate principal of $5,000,000 to be provided in the Bankruptcy Cases by
       Affiliates of Purchaser on the terms previously provided to Sellers or (y) a commitment,
       in form and substance satisfactory to Purchaser, to provide Sellers not less than
       $5,000,000 aggregate principal amount of debtor-in-possession financing in the
                                              --48-
                                                -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:190 of
                                     278


        Bankruptcy Cases, (ii) the Bankruptcy Court does not enter an Order approving such
        debtor-in possession financing on a final basis on or before September 30, 2010, or (iii)
        such debtor-in possession financing is terminated for any reason and not promptly
        replaced by another comparable financing facility;

                        (n)     by Purchaser, if any Secured Lender or transferee of any secured
        lender is in breach of the Plan Support Agreement.

 The Party desiring to terminate this Agreement pursuant to this Section 14.1 (other than pursuant
 to Section 14.1(a)) shall give notice of such termination to the other Party in accordance with
 Section 15.1.

                 14.2. Effect of Termination. If this Agreement is terminated as permitted by
 Section 14.1, such termination shall be without liability of any Party (or any stockholder,
 director, officer, employee, agent, consultant or representative of such Party) to the other Party to
 this Agreement except as expressly provided in Sections 2.8, 8.2(f) and 14.3. The provisions of
 Sections 6.1 and 13.2, 14.2, 14.3, 15.1, 15.2, 15.4, 15.5, 15.6, 15.7 and 15.9 shall survive any
 termination hereof pursuant to Section 14.1.

                14.3. Remedies. Effective as of Closing, Purchaser waives irrevocably any
 rights and Claims Purchaser may have against Sellers, whether in Law or in equity, relating to (i)
 any breach of representation, warranty, covenant or agreement contained herein and occurring on
 or prior to the Closing, or (ii) the Purchased Assets, Assumed Liabilities or the Business.
 Purchaser and Sellers acknowledge and agree that if this Agreement is terminated by Purchaser
 pursuant to Section 14.1, the provisions of Section 14.2 set forth the sole and exclusive remedies
 of Purchaser. Purchaser and Sellers further acknowledge and agree that if this Agreement is
 terminated by Sellers pursuant to either (i) Section 14.1(e) or (ii) Section 14.1(b)(ii), then, in
 addition to Sellers’ remedies set forth in Section 14.2, Sellers shall also retain any and all claims,
 rights, remedies, prayers for damages and causes of action, whether arising in law or in equity,
 arising from or related to any breach of this Agreement by Purchaser, including the right to
 specific performance.

                14.4. Expenses. Except as otherwise set forth expressly herein, all costs and
 expenses incurred in connection with this Agreement shall be paid by the Party incurring such
 cost or expense.

        15. Miscellaneous.

                15.1. Notices. All notices, requests and other communications to any Party
 hereunder shall be in writing (including facsimile transmission) and shall be given,

                if to Purchaser, to:

                        Sea Island Acquisition GP, LLC
                        333 South Grand Avenue, 28th Floor
                        Los Angeles, CA 90071
                                                 --49-
                                                   -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:191 of
                                     278


                     Attention: Kenneth Liang
                     Fax: 213-830-8585




             with copies to:

                     Oaktree Capital Management. L.P.
                     333 South Grand, 28th Floor
                     Los Angeles, CA 90071
                     Attention: Emily Alexander, Esq.
                     Fax: 213-830-8599

                     Oaktree Capital Management. L.P.
                     1301 Avenue of the Americas, 34th Floor
                     New York, NY 10019
                     Attention: Philip Hofmann
                     Fax: 212-284-7879

                     Avenue Capital Management II, LP
                     535 Madison Avenue
                     New York, NY 10022
                     Attention: Edward Gellert
                     Fax 212 850 7545

                     Debevoise & Plimpton LLP
                     919 Third Ave
                     New York, NY 10022
                     Attention: Steven R. Gross, Esq.
                                George E.B. Maguire, Esq.
                     Fax: 212-909-6836
                     Fax: 212.521.7586

             if to Sellers, to:

                     Sea Island Company
                     100 Salt Marsh Drive
                     Sea Island, Georgia 31522
                     Attention: James B. Gilbert, Jr.
                     Fax: 912-634-3124

                                             --50-
                                               -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:192 of
                                     278


                with a copy to:

                        King & Spalding LLP
                        1180 Peachtree Street
                        Atlanta, Georgia 30309
                        Attention: Sarah Robinson Borders, Esq.
                        Fax: 404-572-5128

 All such notices, requests and other communications shall be deemed received on the date of
 receipt by the recipient thereof if received prior to 5:00 p.m. in the place of receipt and such day
 is a Business Day in the place of receipt. Otherwise, any such notice, request or communication
 shall be deemed not to have been received until the next succeeding Business Day in the place of
 receipt.

                15.2. Waivers. No failure or delay by any Party in exercising any right, power
 or privilege hereunder shall operate as a waiver thereof nor shall any single or partial exercise
 thereof preclude any other or further exercise thereof or the exercise of any other right, power or
 privilege. The rights and remedies herein provided shall be cumulative and not exclusive of any
 rights or remedies provided by Law.

                15.3. Successors and Assigns. The provisions of this Agreement shall be
 binding upon and inure to the benefit of the Parties and their respective successors and assigns;
 provided, however, that no Party may assign, delegate or otherwise transfer any of its rights or
 obligations under this Agreement without the written consent of the other Party. Notwithstanding
 the foregoing, in the event that by written notice to the Sellers given not later than three (3)
 Business days prior to the Closing, Purchaser may, in its sole discretion, designate one or more
 entities which have been newly formed for such purpose and are directly or indirectly wholly
 owned by funds managed by Oaktree Capital Management, L.P. or ., Avenue Capital
 Management II, L.P., Sea Island Holdings, L.L.C., The Anschutz Company or Starwood
 Capital Group Global, L.P. to take title to specified Purchased Assets, in which case, Section
 2.10 shall be deemed to be appropriately amended to reflect any such designation.

                15.4. Governing Law. This Agreement shall be governed by and construed in
 accordance with the internal Laws of the State of Georgia and any applicable provisions of the
 Bankruptcy Code, without regard to the principles of conflicts of Law that would provide for
 application of another Law.

                15.5.   Jurisdiction.

                        (a)    Prior to the closing of the Bankruptcy Cases, except as otherwise
        expressly provided in this Agreement, the Parties hereto agree that any suit, action or
        proceeding seeking to enforce any provision of, or based on any matter arising out of or
        in connection with, this Agreement or the Transactions shall be brought exclusively in the
        Bankruptcy Court, and each of the Parties hereby irrevocably consents to the jurisdiction
        of the Bankruptcy Court (and of the appropriate appellate courts therefrom) in any such
        suit, action or proceeding and irrevocably waives, to the fullest extent permitted by Law,
                                                --51-
                                                  -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:193 of
                                     278


        any objection that it may now or hereafter have to the laying of the venue of any such
        suit, action or proceeding in the Bankruptcy Court or that any such suit, action or
        proceeding which is brought in the Bankruptcy Court has been brought in an
        inconvenient forum. Process in any such suit, action or proceeding may be served on any
        Party anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
        Court. Without limiting the foregoing, each Party agrees that service of process on such
        Party as provided in Section 15.1 shall be deemed effective service of process on such
        Party.

                        (b)    Upon the closing of the Bankruptcy Cases, except as otherwise
        expressly provided in this Agreement, the Parties hereto agree that any suit, action or
        proceeding seeking to enforce any provision of, or based on any matter arising out of or
        in connection with, this Agreement or the Transactions may be brought in any court
        having subject matter jurisdiction over such suit, action or proceeding, and that any cause
        of action arising out of this Agreement shall be deemed to have arisen from a transaction
        of business in the State of Georgia, and each of the Parties hereby irrevocably consents to
        the jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any
        such suit, action or proceeding and irrevocably waives, to the fullest extent permitted by
        Law, any objection that it may now or hereafter have to the laying of the venue of any
        such suit, action or proceeding in any such court or that any such suit, action or
        proceeding which is brought in any such court has been brought in an inconvenient
        forum. Process in any such suit, action or proceeding may be served on any Party
        anywhere in the world, whether within or without the jurisdiction of any such court.
        Without limiting the foregoing, each Party agrees that service of process on such Party as
        provided in Section 15.1 shall be deemed effective service of process on such Party.

           15.6. Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
 IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
 PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
 TRANSACTIONS.

               15.7. Third Party Beneficiaries. No provision of this Agreement is intended to
 confer upon any Person other than the Parties hereto any rights or remedies hereunder.

                15.8. Entire Agreement; Amendments; Counterparts.                This Agreement
 (including the Schedules and Exhibits hereto) and the Confidentiality Agreement set forth the
 entire agreement among the Parties with respect to the subject matter hereof and may be
 amended only by a writing executed by Purchaser and Sellers. This Agreement may be executed
 in counterparts, each of which when taken together shall constitute an original. This Agreement
 shall become effective when each Party hereto shall have received a counterpart hereof signed by
 the other Party hereto.

              15.9. Captions, Headings, Interpretation. The captions herein are included for
 convenience of reference only and shall be ignored in the construction or interpretation hereof.
 The headings contained in this Agreement are for convenience of reference only and shall not
 affect the meaning or interpretation of this Agreement. Whenever the words “include,”
                                              --52-
                                                -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:194 of
                                     278


 “includes” or “including” are used in this Agreement, they shall be deemed to be followed by the
 words “without limitation.” In the event an ambiguity or question of intent or interpretation
 arises, this Agreement shall be construed as if drafted jointly by the Parties and no presumption
 or burden of proof shall arise favoring or disfavoring any Party by virtue of authorship of any
 provisions of this Agreement.

               15.10. Disclosure Schedules.

                        (a)     The Parties acknowledge and agree that (i) the Schedules to this
        Agreement may include certain items and information solely for informational purposes
        for the convenience of Purchaser and (ii) the disclosure by Sellers of any matter in the
        Schedules shall not be deemed to constitute an acknowledgment by Sellers that the matter
        is required to be disclosed by the terms of this Agreement or that the matter is material.

                       (b)     Notwithstanding anything in this Agreement to the contrary,
        Purchaser may amend Schedule 2.1(b) and Schedule 2.3(c) by giving written notice to
        Sellers on or before two (2) days prior to the AuctionOctober 15, 2010 in order to (i)
        exclude from the definition of Assumed Contracts and Cure Costs, any contract,
        agreement or lease not otherwise excluded therefrom, or (ii) include in the definition of
        Assumed Contracts and Cure Costs, any contract, agreement or lease not otherwise
        included therein, and Sellers agree to give required notice to any of the non-debtor parties
        to any such contract, agreement or lease or as otherwise reasonably requested by
        Purchaser, provided, however, that any such exclusion or inclusion shall not serve to
        reduce, increase or otherwise affect the amount of the Purchase Price. In connection with
        the possible inclusion of any contract, agreement or lease as an Assumed Contract
        pursuant to this Section 15.10, Sellers shall reasonably cooperate with Purchaser to
        determining any related Cure Costs to be included on Schedule 2.3(c), which Cure Costs
        shall be paid by Purchaser and shall not be reflected in the Final Working Capital
        Statement.

                      (c)     Notwithstanding anything in this Agreement to the contrary,
        Purchaser may amend Schedule 2.2(c) by giving written notice to Sellers on or before
        two (2) days prior to the Closing Date in order to include in the definition of Excluded
        Owned Real Property any Acquired Owned Real Property set forth in Part II of
        Schedule 2.1(a) or not otherwise included on Schedule 2.1(a).

                 15.11. Certain Cooperation. Sellers shall use commercially reasonable efforts to
 facilitate any request by Purchaser to pay a portion of the Purchase Price by making a payment to
 any or all of the Sellers’ secured lenders in exchange for an assignment of the secured debt held
 by such Persons, which secured debt Purchaser would immediately contribute to Sellers to be
 cancelled.

                15.12. License of Name. SIC grants to Purchaser and its Affiliates a royalty free,
 non-exclusive license to use "“Sea Island"” in the name of such Persons in connection with the
 transactions contemplated by this Agreement, provided that such license shall terminate upon a
 termination of this Agreement pursuant to Section 14.1 and Purchaser and its Affiliates will
                                              --53-
                                                 -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:195 of
                                     278


 remove "“Sea Island"” from the name of any such Person through appropriate filings in the
 jurisdiction of their organization.




                                           --54-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:196 of
                                     278


        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
 executed by their respective authorized officers as of the day and year first above written.

                                    SEA ISLAND ACQUISITION LP


                                    By:

                                    Name:

                                    Title:




                                             --55-
                                               -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00             Page:197 of
                                     278



                                  SEA ISLAND COMPANY


                                  By:

                                  Name:                        James B. Gilbert, Jr.

                                  Title:                              Senior   VP/General
 Counsel


                                  SEA ISLAND COASTAL PROPERTIES LLC


                                  By:
 Sea Island Company
                                        its manager


                                   By:
                                   Name:
                      James B. Gilbert, Jr.
                                   Title:
                                   Senior VP/General Counsel


                                  SEA ISLAND RESORT RESIDENCES, LLC


                                   By:
                            Sea Island Company
                                       its Sole Member


                                 By:
                                 Name:
                    James B. Gilbert, Jr.
                                 Title:
 Senior VP/General Counsel



                                  SEA ISLAND APPAREL, LLC

                                  By Sea Island Company
                                      its Sole Member


                                            --56-
                                              -
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:198 of
                                     278


                                    By:
                                    Name:        James B. Gilbert, Jr.
                                    Title:       Senior VP/General Counsel




                                    FIRST SEA ISLAND, LLC


                                    By:
                             Sea Island Company
                                        its Sole Member


                                   By:
                                   Name:
                      James B. Gilbert, Jr.
                                   Title:                                    Senior
 VP/General Counsel



                                    SEA ISLAND SERVICES, INC.


                                    By:

                                   Name:
                      James B. Gilbert, Jr.
                                   Title:                                             Senior
 VP/General Counsel




                                              --57-
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Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00 Page:199 of
 CONFIDENTIAL                        278
                                            Execution VersionEXECUTION COPY




                           DISCLOSURE SCHEDULE TO



                         ASSET PURCHASE AGREEMENT



                                      among



                          SEA ISLAND ACQUISITION LP;



                             SEA ISLAND COMPANY,

                     SEA ISLAND COASTAL PROPERTIES, LLC,

                     SEA ISLAND RESORT RESIDENCES, LLC,

                             FIRST SEA ISLAND, LLC,

                           SEA ISLAND APPAREL, LLC

                                        and

                           SEA ISLAND SERVICES, INC.



                        Dated as of August 4October 19, 2010




 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                          Page:200 of
                                     278


 Reference is hereby made to that certain Asset Purchase Agreement, dated as of August 4October 19,
 2010 (the “Agreement”), by and among Sea Island Acquisition LP, a Delaware limited partnership (the
 “Purchaser”), and Sea Island Company, Sea Island Coastal Properties, LLC, Sea Island Resort
 Residences, LLC, First Sea Island, LLC, Sea Island Apparel, LLC and Sea Island Services, Inc. (each a
 “Seller” and, collectively, the “Sellers”). This Disclosure Schedule has been prepared and delivered in
 accordance with the Agreement. Capitalized terms used in this Disclosure Schedule without definition
 shall have the respective meanings ascribed to them in the Agreement.

 The Parties acknowledge and agree that (i) this Disclosure Schedule may include certain items and
 information solely for informational purposes for the convenience of Purchaser and (ii) the disclosure by
 Sellers of any matter in this Disclosure Schedule shall not be deemed to constitute an acknowledgment by
 Sellers that the matter is required to be disclosed by the terms of this Agreement or that the matter is
 material.




 2
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:201 of
                                     278

                                       SECTION 1.1(ccc)
                                  Exceptions to Permitted Liens


 See Exhibit A attached hereto.




 3
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00        Page:202 of
                                     278

                                       SECTION 1.1(mmm)
                                      Specified Condo Units


 1. Parcel 38, Beach Club Residences, Unit BCO1 and BCO2
 2. Parcel 39, Ocean Club Residences, Unit ON3
 3. Parcel 40, Beach Club Residences, Unit GS6
 4. Parcel 42, Ocean Club Residences, ON Resort Unit
 5. Parcel 43, Beach Club Residences, BCO Resort Unit and GN Resort Unit




 4
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                  Page:203 of
                                     278

                                                SECTION 2.1(a)
                                                                           1
                                       Acquired Owned Real Property



 1. Parcel 1, Cloister Hotel and Resort -- West of Sea Island Drive
 2. Parcel 2, Black Banks River Residences, a Condominium, Resort Unit
 3. Parcel 3, Sea Island Resorts Beach Club Condominium, 25 Resort Units and 209 Parking Units
 4. Parcel 4, Cloister Ocean Residences on Sea Island, a Condominium, Quarter Ownership Interests
 5. Parcel 5, Cloister Hotel and Resort -- East of Sea Island Drive
 6. Parcel 6, Sea Island Strip of Oceanfront Property
 7. Parcel 7, Sea Island Street and Road rights of way, including without limitation any bridges
 8. Parcel 8, Ocean Forest Lots 30 and 31
 9. Parcel 9, Ocean Forest Clubhouse, Golf Course, and Resort Facilities
 10. Parcel 10, Lodge, Plantation and Seaside Golf Courses, and Resort Facilities, including, for the
     avoidance of doubt, the Corn Barn and Golf School depicted as “Real Estate B” and “Real Estate C”
     respectively, on page 43 of the Sea Island Management Presentation dated June 2010.
 11. Parcel 11, Retreat Clubhouse, Golf Course, and Resort Facilities
 12. Parcel 13, Black Banks Residential Tract
 13. Parcel 14, Sea Island Support Services Campus - South
 14. Parcel 15, Sea Island Support Services Campus - North (Parking Area)
 15. Parcel 18, Frederica Lots 201, 219, 232 and 240
 16. Parcel 26(a) and (b), Dune Cottage Lots, Ocean Forest
 17. Parcel 27, Ocean Forest Expansion Property
 18. Parcel 29 and 29 (a), Old Seaside Lot 9 and Lot 8
 19. Parcel 30, Old Seaside Expansion Property
 20. Parcel 31, Sea Island Lake Cottages Lots
 21. Parcel 32, Sea Island Lake Cottages Expansion Property
 22. Parcel 33, Frederica Lots 202 and 251
 23. Parcel 35, Tract IX, “Finger”, Cloister Residences East
 24. Parcel 36, Expanded Tract V, Cloister Residences East
 25. Parcel 37, Tract I (West Point Plantation), Tract III (Lot 12, Marsh Point), Tract IV (Lot 19 Vassar
     Point), Tract V (Lot 122, Phase 2-B, Oak Forest) and Tract VI (portion of Black Banks Subdivision)
 26. Parcel 38(a) and (b), Beach Club Residences, Unit BCO1 and BCO2

 1
  The Acquired Owned Real Property includes the parcels included on this list, as more fully described on the Legal
 Descriptions attached as Exhibit B hereto, which may be revised to be consistent with the Title
 Commitment.
 5
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:204 of
                                     278

 27. Parcel 39, Ocean Club Residences, Unit ON3
 28. Parcel 40, Beach Club Residences, Unit GS6
 29. Parcel 41, Beach Club Residences, GS Resort Unit
 30. Parcel 42, Ocean Club Residences, ON Resort Unit
 31. Parcel 43, Beach Club Residences, BCO Resort Unit and GN Resort Unit
 32. Parcel 44, Kings Point Lot 13
 33. Parcel 45, Kings Point Lot 15
 34. Parcel 47, Frederica Subdivision Lot 46
 35. Parcel 48, Frederica Subdivision Lot 131 (1/2 interest)
 36. Parcel 49, Dune Cottage Lot 38, Ocean Forest
 37. Parcel 50, Tracts 1, 2 and 3, Woodbine property
 38. Parcel 51, Tabby House at Malcolm McKinnon Airport
 39. Parcel 52, Salt Marsh, Frederica and Cannon’s Point Tracts
 40. Parcel 53, Laundry and Purchasing Facility
 41. Parcel 54, Rainbow Hammock
 42. Parcel 55, Salt Marsh and Hammocks lying to the west of the Plantation and Seaside Golf Courses
     and south of Kings Way
 43. Parcel 56, South End of Sea Island
 44. Parcel 57, Salt Marsh and high ground west of Sea Island Subdivision No. 1
 45. Parcel 58, Native American Burial Ground
 46. Parcel 59, Well Site, Sea Island
 47. Parcel 60, Marshlands Around Hawkins Island bounded south by property of Epworth By The Sea,
     Inc., by Hamilton Landing Subdivision, etc.
 48. Parcel 61, Lanier Island
 49. Parcel 62, Sea Island Resorts Beach Club Condominium, Beach Club Suite “CC”
 50. Parcel 63, Sixty Acres, more or less (60 +/-), Camden County
 51. Parcel 64, Miscellaneous Parcels, including 400 Sea Island Subdivision Road and Common
     Area, marsh west of Sea Island Rd. and northeast of Epworth S/D, Twitty Park (Tax Parcel
     No. 04-13915), miscellaneous gaps and gores of land, and other parcels of land that cannot
     be accurately described without a survey
 51. Parcel 64, Twitty Park lying north of Sea Island Road
 52. Parcel 65, Old Seaside Drive in Old Seaside Subdivision, St. Simons Island, Glynn
     County, Georgia
 53. Parcel 66, 400 Sea Island Drive Subdivision Streets and Buffers
 54. Parcel 67, Tract between Sea Island Road and Epworth Oaks Subdivision
 55. Parcel 68, St. Perpetual Church Lot

 6
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00     Page:205 of
                                     278

 56. Parcel 69, Roads and Streets, St. Simons Island Club Subdivision




 7
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:206 of
                                     278

                                         SECTION 2.1(a)
                                   Acquired Owned Real Property


                                                 Part II

 1. Parcel 27, Ocean Forest Expansion Property
 2. Parcel 63, Sixty Acres, more or less (60 +/-), Camden County
 3. Parcel 64, Miscellaneous Parcels, including 400 Sea Island Subdivision Road and Common
    Area, marsh west of Sea Island Rd. and northeast of Epworth S/D, Twitty Park (Tax Parcel
    No. 04-13915), miscellaneous gaps and gores of land, and other parcels of land that cannot
    be accurately described without a survey
 3. Parcel 64, Twitty Park lying north of Sea Island Road
 4. Parcel 65, Old Seaside Drive in Old Seaside Subdivision, St. Simons Island, Glynn
    County, Georgia
 5. Parcel 66, 400 Sea Island Drive Subdivision Streets and Buffers
 6. Parcel 67, Tract between Sea Island Road and Epworth Oaks Subdivision
 7. Parcel 68, St. Perpetual Church Lot
 8. Parcel 69, Roads and Streets, St. Simons Island Club Subdivision




 8
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00              Page:207 of
                                     278

                                      SECTION 2.1(b)
                                     Assumed Contracts


     1.    Agreement by and among Sea Island Company and E-Z-GO dated August 25, 2008.
     2.    Agreement by and among Sea Island Company and Georgia Turf & Tractor, Inc. and
           John Deere Equipment Company dated March 31, 2008.
     3.    Master Lease Agreement by and among Textron Financial Corporation and Sea
           Island Company dated September 26, 2007.
     4.    Master Lease Agreement by and among Textron Financial Corporation and Sea
           Island Company dated November 6, 2002.
     5.    Letter Agreement by and among PGA TOUR, INC., DavidDavis Love III Foundation
           and Sea Island Company dated January 22, 2010.
     6.    Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest
           Golf Club and GCI, LLC.
 7. Services Agreement by and among Exclusive Resorts Club Management, LLC and Sea
    Island Company dated May 15, 2007, as amended.
     8.    Management Agreement by and among MeadWestvaco Coated Board, Inc. and
           MWV Cabin Bluff, LLC and Sea Island Company dated December 2009.
     98.   Software License Agreement by and among Host Analytics, Inc. and Sea Island
           Company dated December 12, 2005September 29, 2010.
     109. Software License Agreement by and among InvoTech Systems, Inc. and Sea Island
          Company dated April 11, 2003.
 11. Database Management Services Agreement by and among LMG Data Mining and Sea Island
     Company dated December 3, 2007.
     1210. Licensing and Services Agreement by and among Littleton Marketing Group LLC
           and Sea Island Company dated December 3, 2007.
     1311. Landscape Service Agreements by and among Sea Island Company and certain
           property owners.
     1412. Outsourcing Services Agreement by and among Sea Island Company and Network
           Services Plus, Inc. dated November 7, 2008.
 15. Music Services Agreement by and among Sea Island Company and Muzak, LLC dated July
     26, 2007.
     1613. Statement of Work by and among Sea Island Company and Network Services Plus,
           Inc. dated November 11, 2009.
     1714. 16. Hardware Maintenance Agreement by and among Sea Island Company and
           Postec, Inc. dated June 16, 2005.
 18. Client Pricing Agreement by and among Sea Island Company and Pre-employ.com, Inc.
     dated May 29, 2009.
 19. Contract by and among Sea Island Company and Southern Nights dated April 1, 2005.

 9
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:208 of
                                     278

 20. Maintenance Agreement by and among Sea Island Company and Southern Nights dated
     April 14, 2009.
 21. Marketing and Management Services Agreement by and among Sea Island Company and
     TIG Global dated October 15, 2007.
     22.   Consulting Services Agreement by and among Sea Island Company and Ultimate
           Software dated July 18, 2008.
 23. Lease Agreements by and among Sea Island Company and GMAC.
     2416. Essentials Renewal Service Agreement and Extended Warranty by and among Sea
           Island Company d/b/a Sea Island Golf Club and Toro National Support Network
           dated May 28, 2008.
     2517. Classic 36 Renewal Service Agreement and Extended Warranty by and among Sea
           Island Company d/b/a Retreat Golf Club and Toro National Support Network dated
           May 28, 2008.
     2618. Lease Agreement by and among Sea Island Company and Golden Isles dated October
           1, 2009.
 27. Lease Agreement by and among Sea Island Company and Satilla Riverkeeper dated February
     15, 2010.
     2819. Lodging Official Appointment Agreement by and among Sea Island Company and
           the American Automobile Association dated May 28, 2009.
 29. Membership Agreement by and among the Cloister and the Lodge at Sea Island and
     Associated Luxury Hotels International Holdings, LLC dated January 1, 2010.
     3020. Agreement by and among the Cloister Hotel and American Express Travel Related
           Services Company, Inc. dated July 24, 2009.
     3121. Agreement by and among the Lodge at Sea Island and American Express Travel
           Related Services Company, Inc. dated July 24, 2009.
     3222. Agreement by and among Sea Island Company and Due South Publishing, Inc. dated
           April 8, 2010.
 33. Agreement by and among Sea Island Company and Elite Meetings International dated
     September 30, 2009.
     3423. Subscription Agreement by and among Sea Island Company and Hoovers dated
           November 28, 2009.
 35. Membership Agreement by and among Sea Island Company and IAGTO dated February 15,
     2010.
     3624. Participation Agreement by and among The Cloister at Sea Island and Kiwi
           Collection, Inc. dated January 25, 2010 (Visa Luxury Hotel Collection).
 37. Agreement by and among Sea Island Company and Preferred Hotel Group, Inc. dated July 1,
     2009.
     3825. Agreement by and among The Cloister at Sea Island and Signature Travel Network
           effective January 1, 2010.

 10
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:209 of
                                     278

     3926. Agreement by and among Sea Island Company and SpearTek, Inc. effective October
           1, 2002.
     4027. Marketing and Management Services Agreement by and among Sea Island Company
           and TIG Global, LLC effective January 1, 2010.
     4128. Subscription Agreement by and among The Cloister at Sea Island and TravelCLICK,
           Inc. dated December 7, 2009.
     4229. Preferred Supplier Agreement by and among Sea Island – The Cloister and Virtuoso,
           Ltd. effective January 1, 2010.
     4330. Preferred Supplier Agreement by and among Sea Island – The Lodge and Virtuoso,
           Ltd. effective January 1, 2010.
     4431. Professional Services Agreement by and among Sea Island Company and Roger and
           Anne Ditmer dated November 26, 2008.
     4532. Professional Services Agreement by and among Sea Island Company and Ellen
           Rogers dated September 12, 2008.
     4633. Professional Services Agreement by and among Sea Island Company and Celeste
           Pittman dated February 17, 2009.
     4734. Professional Services Agreement by and among Sea Island Company and Dulany
           Hall dated October 2, 2008.
     4835. Professional Services Agreement by and among Sea Island Company and Audrey
           Wood dated October 3, 2008.
     4936. Agreement by and among Sea Island Company and William Lewis Mason dated July
           27, 2009.
 50. Letter Agreement by and among Sea Island Company and Davis M. Love III dated August
     10, 2006.
     5137. Independent Contractor Agreement by and among Sea Island Company and Coastal
           Commercial Laundry Services, Inc. dated January 5, 2009.
     5238. Professional Services Agreement by and among Sea Island Company and J&S
           Associates, Inc. dated July 23, 2010.
 53. Product Purchase Agreement by and among Sea Island Company and Institution Food
     House, Inc. dated August 1, 2010.
 54. Agreement by and among Sea Island Company and Pristine Water Coffee dated May 4,
     2010.
 55. Master Maintenance Agreement by and among Sea Island Company and Schindler Elevator
     Corporation dated May 5, 2010.
 56. Rental/Service Agreements by and among Sea Island Company and Aqua/Quench USA.
     5739. Service Agreement by and among Sea Island Company and Audio Visual Services
           Group, Inc. dated September 2, 2009.
     5840. Agreement by and among Sea Island Company and E-Z-GO dated September 10,
           2009.

 11
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00             Page:210 of
                                     278

 59. Lease Agreement by and among Sea Island Company and Action Mobile Industries Inc.
     dated November 1, 2007.
     6041. Planned Maintenance Agreement by and among Sea Island Company and Agri-
           Business Technologies, Inc. dated February 11, 2010.
     6142. Lease Agreement by and among Sea Island Company and Sea Island Coastal
           Properties LLC and CSI Leasing, Inc. dated January 22, 2009.
 62. Lease by and among Sea Island Company and Donald C. McCaskill III and Annie Bell
     McCaskill Friedman dated February 5, 2008.
 63. Agreement by and among Sea Island Company and Emery Hardware and Rental Center
     dated December 1, 2009.
 64. Service Agreement by and among Sea Island Company and G&K Services dated September
     12, 2006.
 65. Gas Service Agreement by and among Sea Island Company and SouthStar Energy Services,
     LLC d/b/a Georgia Natural Gas dated April 27, 2009.
 66. Finance Agreement by and among Sea Island Company and Imperial Credit Corporation
     dated March 16, 2010.
 67. Agreement by and among Sea Island Company and Modular Mailing Systems dated May 8,
     2007.
 68. Lease Agreement by and among Sea Island Company and Hasler Financial Services, LLC
     date July 9, 2007.
 69. Meter Agreement by and among Sea Island Company and Hasler Financial Services, LLC
     dated July 9, 2007.
 70. Agreement by and among Sea Island Company and Otis Elevator Company dated July 10,
     2002, as amended.
     7143. Care Management Services Agreement by and among Sea Island Company and
           Primary PhysicianCare, Inc. dated December 17, 2007.
     7244. Agreement by and among Sea Island Company and Stromberg dated December 23,
           2005.
 73. Service Agreement by and among Sea Island and Georgia Trane Service Company dated
     January 20, 2005.
 74. Service Agreement by and among Sea Island and Georgia Trane Service Company dated
     June 15, 2006 (New Chiller Plant).
 75. Service Agreement by and among Sea Island and Georgia Trane Service Company dated
     June 15, 2006 (Cloister Hotel).
 76. Service Agreement by and among Sea Island and Georgia Trane Service Company dated July
     20, 2006.
 77. Service Agreement by and among Sea Island and Georgia Trane Service Company dated
     December 6, 2007.


 12
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00              Page:211 of
                                     278

 78. Agreement by and among Sea Island Company and Tennant Capital Services dated May 28,
     2008.
 79. Agreement by and among Sea Island Company and Waste Management of Brunswick dated
     September 8, 2009.
     8045. Lease Agreement by and among Sea Island Company and Williams Scotsman, Inc.
           dated July 21, 2009.
 81. Agreement by and among Sea Island Company and Yates-Astro Termite & Pest Co.
     8246. Lease Agreement by and among Sea Island Company and PNCEF, LLC (f/n/a
           National City Commercial Capital Company) dated September 24, 2009, as amended
           January 11, 2010.
     83.   47.     Agreement by and among Sea Island Company and Hasty’s
           Communications East, Inc.
 84. Agreement by and among St. Simons Island Club and Estate Management Services dated
     September 30, 1996.
 85. Agreement by and among Cannon Point Lake and Estate Management Services, Inc. dated
     June 17, 2004.
 86. Agreement by and among Ocean Forest and Estate Management Services dated September
     30, 1996.
 87. Agreement by and among Lake Sinclair and Estate Management Services dated May 19,
     2000.
 88. Agreement by and among The Sea Island Golf Club and Estate Management Services dated
     January 6, 1999.
     8948. Lease Agreement by and among Sea Island Company and Ecolab Inc. dated June 23,
           2005.
     9049. Lease Agreement by and among Sea Island Company and the United States Postal
           Service dated March 17, 2008.
     9150. Agreement by and among Sea Island Company and Agilysys, NV, LLC dated January
           7, 2010.
     9251. Products and Services Agreement by and among Sea Island Company and The Active
           Network, Inc. dated April 1, 2010.
 93. Agreement by and among Sea Island Company and Crystal Enterprises, Inc. dated March 4,
     2009.
     9452. Agreement by and among Sea Island Company and OpenCourse Solutions, LLC
           dated October 15, 2004.
 95. Software License and Support Agreement by and among Sea Island Company and Datavision
     Technologies, Inc. dated December 27, 2005.
     9653. Agreement by and among Sea Island Company and Tri H Friesians LLC dated
           February 4, 2010.
     9754. Shared Equity Financing Agreement by and among C. Allen Brown and Sea Island

 13
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:212 of
                                     278

           Company.
     9855. Shared Equity Financing Agreement by and among Todd W. Anderson, Stacey L.
           Anderson and Sea Island Company.
     9956. Land Lease Agreement by and among Sea Island Company and Verizon Wireless of
           the East LP dated March 8, 2004 (The Cloisters).
     10057. Land Lease Agreement by and among Sea Island Company and Verizon Wireless
          of the East LP dated March 24, 2004 (Sea Island Lodge).
     10158. Land Lease Agreement by and among Sea Island Company and Verizon Wireless
          of the East LP dated March 8, 2004 (Ocean Forest).
     10259. Master Lease Agreement by and among Sea Island Company and Sea Island
          Coastal Properties LLC and Computer Sales International, Inc. dated March 10, 2004.
     10360. Agreement by and among Sea Island Company and AG-Hill Farms, Inc. dated
          August 16, 2007.
     10461. Agreement by and among Sea Island Company and Tabby House, Inc. dated
          December 6, 2007.
     10562. Agreements by and among Sellers and any customer entered into in the ordinary
          course of business for services or accommodations to be provided to such customer
          by Sellers.
     10663. Rental agreements for the rental of the Beach Club Suites, the Cloister Ocean
          Residences Sea Island Cottages and Beach Club Condominiums by Sea Island
          Company on behalf of unit owners.
     10764. Rental management agreements for the rental of the Beach Club Suites, the
          Cloister Ocean Residences, Sea Island Cottages and Beach Club Condominiums
          between Sea Island Company and the unit owners.
     10865. Master Lease Agreement by and among Sea Island Company and Deere Credit,
          Inc. dated July 8, 2008, and related individual equipment leases.
     10966. Agreement by and among Sea Island Resorts and CapSure, Inc. dated May 5,
          2007.
 110. Agreement by and among Sea Island Company and Procleansed, Inc. dated September
    17, 2008.
     11167. National Service Agreement by and among Sea Island Company and Verizon
          Wireless dated December 23, 2008.
     11268. Travel Directory Marketing Agreement by and among The Cloister at Sea Island
          and Andrew Harper dated October 16, 2009.
     11369. Agreement by and among Sea Island Resorts and Fortibus Marketing of
          Charleston, LLC July 17, 2009.
     11470. Affiliate Hotel Agreement by and among Sea Island Resort and Clubcorp USA,
          Inc. dated August 7, 2009.
     11571. Cable Television Service Agreement and License by and among Sea Island
          Company and Owensboro-Brunswick, Inc. d/b/a Adelphia Cable Communications

 14
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00              Page:213 of
                                     278

           dated March 28, 2006.
     11672. Bulk Services Agreement by and among Sea Island Company and Comcast of
          Florida/Georgia, LLC dated April 23, 2008.
     11773. Container Lease Agreement #GGL 104459 by and among Sea Island Company
          and Con Global Industries dated February 29, 2008.
     11874. Container Lease Agreement #GGL 105115 by and among Sea Island Company
          and Con Global Industries dated February 29, 2008.
     11975. Net Lease Agreement by and among Sea Island Company and JLV VASI, LLC
          dated September 5, 2008, as amended December 31, 2008.
     12076. Professional Services Agreement by and among Sea Island Company and Nancy
          Adcock.
     12177. Google Message Delivery Contract by and among Google, Inc. and Sea Island
          Company dated January 1, 2009.
     12278. Lease Agreement by and among Sea Island Company and Alfred W. Jones, III
          dated October 8, 2007.
     12379. Microsoft Enterprise Enrollment and Pricing for Office Pro Sea Island dated
          November 1, 2006 under Business Agreement U9423233 and Master Agreement
          Number 01E611258.
     12480. Software License Agreement by and among Sea Island Company and Newmarket
          International, Inc. dated December 30, 2003.
     12581. Property Exposure Contract No. 000902-0609-31 by and among The Cloister at
          Sea Island and Kiwi Collection Inc. dated June 23, 2009.
     12682. Property Exposure Contract No. 001403-0110-250 by and among The Lodge at
          Sea Island Golf Club and Kiwi Collection Inc. dated January 15, 2010.
     12783. Finance Agreement by and among Sea Island Company and Imperial Credit
          Corporation dated March 16, 2010.
     84.   Premium Finance Agreement and Disclosure Statement and Security Agreement by
           and among Sea Island Company and Imperial Credit Corporation dated June 17,
           2010.
 128. Agreement by and among Sea Island Company and Barry’s Beach Service, Inc. dated
    June 30, 2006.
     12985. Letter Agreement by and among Sea Island Company and Atlantic Bike Shop,
          Inc. dated March 11, 2010.
 130. Agreement by and among Sea Island Company and Steve Hightower dated November 30,
    2008.
 131. Agreement by and among Sea Island Company and Resort Photography, LLC dated
    March 6, 2000.
 132. Yacht Charter Agreement by and among Sea Island Company and Captain Brian Quinn
    dated August 2008.


 15
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                Page:214 of
                                     278

     13386. Agreement by and among Sea Island Company and Georgia Power Company
          dated January 23, 2004.
     13487. Equipment Service Agreement by and among Sea Island Company and BancTec,
          Inc. dated January 22, 2007.
     13588. Merchant Agreement by and among Sea Island Resort and Columbus Bank and
          Trust dated March 11, 2009.
     13689. Business Rental Preferred Rate Agreement by and among Sea Island and
          Enterprise Leasing Company – Southeast dated July 8, 2010.
     13790. Concessionaire Agreement by and among Sea Island Company and Enterprise
          Rent-A-Car Southeast dated September 8, 2008.
     13891. Extended Warranty Agreement by and among Sea Island Company and
          SAFLOK, Inc. dated December 3, 2007.
     13992. Product Service Agreement by and among Sea Island Company and Dowling-
          Douglas Co. dated July 22, 2010.
     14093. Contract Service Arrangement Agreement by and among Sea Island Company
          and Bellsouth Telecommunications, Inc. dated February 4, 2005.
     14194. Contract Service Arrangement Agreement by and among Sea Island Company
          and Bellsouth Telecommunications, Inc. dated May 18, 2006.
     14295. Transport Payment Plan by and among Sea Island Company and BellSouth
          Telecommunications, Inc. dated February 4, 2005.
     14396. Services Master Agreement by and among Sea Island Co. and BellSouth
          Company dated October 4, 2006.
     14497. Marketing Support Agreement by and among Sea Island Company and American
          Express Travel Related Services Company, Inc. dated November 20, 1998.
     14598. Card Acceptance Agreement by and among Sea Island Company and American
          Express Travel Related Services Company, Inc. dated November 20, 1998, as
          amended November 20, 1998 and January 15, 2002.
     14699. Master Services Agreement by and among Sea Island Company and International
          Business Machines Corporation dated December 28, 2005.
     147100. Service Agreement by and among Sea Island Company and Badger Meter, Inc.
          dated January 10, 2006.
     148101. Service Agreement by and among Sea Island Company and Badger Meter, Inc.
          dated July 10, 2001.
     149102. Software License Agreement by and among Sea Island Company and Badger
          Meter, Inc. dated July 10, 2001.
     150103. Agreements entered into in the ordinary course of business with certain
          unaffiliated Persons for the short-term leasing of resort and event space.
     151104. Commercial lease contract by and among Sea Island Company and Island
          Acquisitions, LLC dated September 28, 2009.
     105. Contract for Accounting Services by and among Sea Island Company and
 16
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00      Page:215 of
                                     278

          Eaddy Sams dated August 2, 2010.
     106. Letter Agreement by and among Sea Island Company and Jack Lumpkin dated
          December 17, 2009.
     107. Independent Contractor Agreement by and among Sea Island Company and
          Mike Taylor dated December 18, 2009.
     108. Agreement by and among Sea Island Company and PEAK Technologies dated
          Sepetember 29, 2009.
     109. SDD Managed Services Agreement (SDD-Hosted) by and between Sea Island
          Company and Systems Design and Development, Inc. Dated December 10, 2007.




 17
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:216 of
                                     278

                                  SECTION 2.1(f)
                                  Personal Property


 See Exhibit C attached hereto.




 18
 23290154v5
                      Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                       Page:217 of
                                                           278




                                                                        SECTION 2.1(i)
                                                                  Intellectual Property Rights


                                                                             Copyrights

                                                                                                                    Owned /        Registration       Registration
        Sea Island Party                                         Copyright                                          Licensed        Number               Date

      Sea Island Company     This happy isle : the story of Sea Island and the Cloister / Harold H. Martin         Owned         TX0000250694        12/26/78
      Sea Island Company     The Sea Island activity and coloring book                                             Owned         VA0000729934        8/7/95


                                                                             Trademarks

      Mark            Jurisdiction     Status       Serial No        Reg. No.       Owner                                    Class/Description
                                                   Filing Date      Reg. Date
OCEAN FOREST          United         Registered    74391941        1949354         Sea          36    Residential real estate brokerage; residential real estate
                      States of                                                    Island       management.
                      America                      May 18,         Jan 16, 1996    Company      37    Residential real estate development; custom construction of homes.
                                                   1993                                         41    Golf club and country club services.

SEA ISLAND            United         Registered    73481430        1338346         Sea          36       Planning and laying out of residential communities and real estate
                      States of                                                    Island       brokerage and management services.
                      America                      May 21,         May 28,         Company      37       Garage and auto repair services, laundry and dry cleaning services,
                                                   1984            1985                         landscaping services and construction of resort homes and condominiums.
                                                                                                41       Educational services - namely, providing instruction in the fields of
                                                                                                dancing, tennis, golf, horseback riding, skeet shooting, swimming, diving,
                                                                                                fishing, sailing and windsurfing, entertainment services - namely, arranging
                                                                                                and conducting tennis and golf tournaments, lectures and concerts for
                                                                                                others; and country club and beach club services.
                                                                                                42       Barber and beauty salon services, retail flower shop services and
                                                                                                resort hotel and restaurant services.



     19
     23290154v5
                        Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                  Page:218 of
                                                             278

        Mark            Jurisdiction    Status       Serial No       Reg. No.     Owner                                   Class/Description
                                                    Filing Date     Reg. Date
SEA ISLAND              United         Registered   74342270       1789075        Sea       03      Personal care products and toiletries, namely, shampoo, hair
                        States of                                                 Island    conditioner, body lotion, bath/shower gel, sunscreen and massage oil.
                        America                     Dec 22,        Aug 24,        Company
                                                    1992           1993
SEA ISLAND              United         Registered   77025670       3443477        Sea       16      Wedding planning guides and information guides and score cards
                        States of                                                 Island    for playing sports; and paper goods, namely, stationery and photographs;
                        America                     Oct 20, 2006   Jun 10, 2008   Company   Publications, namely, magazines, newsletters, guidebooks, maps, historical
                                                                                            and photographic books and brochures related to a Georgia coastal resort
                                                                                            and the scenery, culture, life style and history of the Golden Isles region of
                                                                                            the Georgia coast.
                                                                                            41      Wedding event planning and coordination services; special events
                                                                                            planning and coordination services; wedding party planning and
                                                                                            consultation.

SEA ISLAND (and         United         Registered   74444546       1888148        Sea       03      Personal care products and toiletries; namely, hair shampoo, hair
shield design)          States of                                                 Island    conditioner, body lotion, bath and shower gel, skin cleansing lotion, skin
                        America                     Oct 7, 1993    Apr 11,        Company   moisturizer lotion, skin moisturizer gel, sunscreen preparations, sun block
                                                                   1995                     preparations, skin dyes, namely sunless self tanning skin preparations and
                                                                                            massage oils.



SEA ISLAND (stylized)   United         Registered   73002723       1001562        Sea       25       Trousers, slacks, robes, swimwear, shirts and jackets, [the shirts
                        States of                                                 Island    being known as dress-shirts, outer-shirts, terry shirts, knit-shirts and sport-
                        America                     Oct 3, 1973    Jan 14, 1975   Company   shirts, and the jackets being known as outer-jackets, parka-jackets, regular-
                                                                                            lined jackets, regular-unlined jackets, and ski-jackets].




      20
      23290154v5
                        Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                               Page:219 of
                                                             278

        Mark            Jurisdiction    Status       Serial No      Reg. No.    Owner                                  Class/Description
                                                    Filing Date    Reg. Date
SEA ISLAND (stylized)   United         Registered   73481562      1338347       Sea       36       Planning and laying out of residential communities and real estate
                        States of                                               Island    brokerage and management services.
                        America                     May 22,       May 28,       Company   37       Garage and auto repair services, laundry and dry cleaning services,
                                                    1984          1985                    landscaping services and construction of resort homes and condominiums.
                                                                                          41       Educational services, namely, providing instruction in the fields of
                                                                                          dancing, tennis, golf, horseback riding, skeet shooting, swimming, diving,
                                                                                          fishing, sailing and windsurfing; entertainment services-namely, arranging
                                                                                          and conducting tennis and golf tournaments, lectures and concerts for
                                                                                          others; and country club beach club services.
                                                                                          42       Barber and beauty salon services, retail flower shop services and
                                                                                          resort hotel and restaurant services.

SEA ISLAND BEACH        United         Registered   74445354      1885428       Sea       42       Snack bar services, restaurant and cocktail lounge services, and
CLUB                    States of                                               Island    retail gift shop services.
                        America                     Oct 8, 1993   Mar 21,       Company
                                                                  1995
SEA ISLAND BEACH        United         Registered   74444466      1887573       Sea       42     Resort services; namely, beach club and swimming club services
CLUB (and design)       States of                                               Island    and beauty care, spa and health club services.
                        America                     Oct 7, 1993   Apr 4, 1995   Company




      21
      23290154v5
                   Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                   Page:220 of
                                                        278

      Mark         Jurisdiction    Status       Serial No       Reg. No.     Owner                                    Class/Description
                                               Filing Date     Reg. Date
SEA ISLAND CLUB    United         Registered   75563878       3436491        Sea       35       Retail stores featuring items, sporting goods, souvenirs, and
                   States of                                                 Island    toiletries; and retail flower shop services.
                   America                     Oct 1, 1998    May 27,        Company   41       Recreational, educational and entertainment services in connection
                                                              2008                     with providing golf courses, tennis courts, golf and tennis instruction,
                                                                                       tournaments, lectures and competitions in the fields of fitness, exercise,
                                                                                       beauty, health, yoga, boating, yachting, sailing, fishing, nature, sightseeing,
                                                                                       shooting, movies, swimming, diving, windsurfing, history, art, architecture,
                                                                                       literature, music, dancing, cooking, wines, decorative arts, games, cards,
                                                                                       bingo, bridge, crafts, organized children's activities, volleyball, bicycling,
                                                                                       horseback riding, birdwatching, gardening, landscaping, horticulture,
                                                                                       storytelling and singing; country club, golf club, tennis club, beach club,
                                                                                       health club, swim club and yacht club services; theater productions; live
                                                                                       music performances.
                                                                                       42       Resort hotel, restaurant, cocktail bar, and snack bar services,
                                                                                       catering services, barber and beauty salon services, health spa services.

SEA ISLAND YACHT   United         Registered   75125258       2196269        Sea       39      Marina services and boat and yacht charter services.
CLUB               States of                                                 Island
                   America                     Jun 25, 1996   Oct 13, 1998   Company

SEA ISLAND YACHT   United         Registered   75125348       2200173        Sea       41      Yacht club services.
CLUB               States of                                                 Island    42      Restaurant and bar services and food and beverage catering
                   America                     Jun 25, 1996   Oct 27, 1998   Company   services.

SHIELD DESIGN      United         Registered   74491423       1877007        Sea       41      Resort services, namely beach club, golf club, swimming club, and
                   States of                                                 Island    health club services.
                   America                     Feb 16,        Jan 31, 1995   Company   42      Hotel, restaurant, cocktail bar, and snack bar services, beauty salon
                                               1994                                    services, and health spa services, and retail stores featuring clothing,
                                                                                       clothing accessories, gift items, sporting goods, souvenirs, and toiletries.


THE CLOISTER       United         Registered   73060424       1197018        Sea       42      Restaurant services.
                   States of                                                 Island
                   America                     Aug 13,        Jun 1, 1982    Company
                                               1975



     22
     23290154v5
                  Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                 Page:221 of
                                                       278

      Mark        Jurisdiction    Status       Serial No      Reg. No.    Owner                                   Class/Description
                                              Filing Date    Reg. Date
THE CLOISTER      United         Registered   73481518      1329070       Sea       42      Hotel services.
                  States of                                               Island
                  America                     May 22,       Apr 2, 1985   Company
                                              1984
THE CLOISTER      United         Registered   75566137      2323479       Sea       25       Clothing, namely, shirts, jackets, t-shirts, sweatshirts, caps, hats
                  States of                                               Island    and shorts.
                  America                     Oct 6, 1998   Feb 29,       Company   41       Recreational and entertainment services; namely, providing golf
                                                            2000                    courses, tennis courts, conducting and arranging golf and tennis
                                                                                    tournaments and competitions, theater productions, and live music
                                                                                    performances; educational services; namely, providing instruction and
                                                                                    lectures in the fields of golf, tennis, fitness, exercise, beauty, health, yoga,
                                                                                    boating, yachting, sailing, fishing, nature, sightseeing, shooting, movies,
                                                                                    swimming, diving, windsurfing, history, art, architecture, literature, music,
                                                                                    dancing, cooking, wines, decorative arts, games, cards, bingo, bridge,
                                                                                    crafts, organized children's activities, ping pong, volleyball, bicycling,
                                                                                    horseback riding, birdwatching, gardening, landscaping, horticulture,
                                                                                    storytelling and singing; country club, golf club, tennis club, beach club,
                                                                                    health club, swim club and yacht club services.

THE CLOISTER      United         Registered   77134629      3637264       Sea       41       Recreational and entertainment services; namely, providing golf
(stylized)        States of                                               Island    courses, tennis courts, squash courts, conducting and arranging golf and
                  America                     Mar 19,       June 16,      Company   tennis tournaments and competitions, live music performances, movies,
                                              2007          2009                    boating, yachting, sailing, fishing, sightseeing, shooting, swimming, diving,
                                                                                    games, cards, bingo, bridge, crafts, organized children's activities, table
                                                                                    tennis, volleyball, bicycling, horseback riding, birdwatching, storytelling,
                                                                                    and singing; country club, golf club, tennis club, swim club and yacht club
                                                                                    services; Educational services; namely, providing instruction and lectures
                                                                                    in the fields of golf, tennis, fitness, exercise, beauty, health, yoga, history,
                                                                                    art, architecture, literature, music dancing, cooking, wines, gardening,
                                                                                    landscaping, horticulture, and decorative arts; special event planning and
                                                                                    coordinating, namely, planning and consultation for parties and weddings;
                                                                                    Beach club services, namely providing a membership club with beach and
                                                                                    pool swimming facilities; Health club services, namely, providing
                                                                                    instruction and equipment in the field of physical exercise.
                                                                                    43       Hotel and resort services; restaurant services.




     23
     23290154v5
                        Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                Page:222 of
                                                             278

        Mark            Jurisdiction    Status       Serial No      Reg. No.      Owner                                 Class/Description
                                                    Filing Date    Reg. Date
TREE AND WAVE           United         Registered   76189092      2512487         Sea       41     Private club services featuring, tennis, beach club, swimming,
DESIGN                  States of                                                 Island    organized events and entertainment, bar and restaurant services for
                        America                     Jan 3, 2001   Nov 27,         Company   members; golf club services.
                                                                  2001




SEA ISLAND              US-Georgia     Registered                 S5177           Sea        01    Resort hotel and restaurant services.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 S5178           Sea        08    Educational, recreational and entertainment.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 S5180           Sea        02    Business and retail services.
                                                                                  Island
                                                                  Jun 20, 1984    Company
SEA ISLAND              US-Georgia     Registered                 T12413          Sea        51     Personal care products and toiletries, namely, conditioner, body
                                                                                  Island     lotion, bath/shower gel, sunscreen and massage oil.
                                                                  Jan 27, 1993    Company
SEA ISLAND              US-Georgia     Registered                 T12475          Sea        52    Shampoo.
                                                                                  Island
                                                                  Feb       15,   Company
                                                                  1993
SEA ISLAND (stylized)   US-Georgia     Registered                 S5175           Sea        02    Retail services.
                                                                                  Island
                                                                  Jun 20, 1984    Company




      24
      23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                               Page:223 of
                                                              278

         Mark            Jurisdiction    Status       Serial No     Reg. No.      Owner                                 Class/Description
                                                     Filing Date    Reg. Date
SEA ISLAND (stylized)    US-Georgia     Registered                 S5179          Sea       08   Educational, recreational and entertainment services.
                                                                                  Island
                                                                   Jun 20, 1984   Company




SEA ISLAND (stylized)    US-Georgia     Registered                 S5176          Sea       01   Resort hotel and restaurant services.
                                                                                  Island
                                                                   Jun 20, 1984   Company




SHOPS     AT     SEA     US-Georgia     Registered                 S14791         Sea       04   Shopping center development services.
ISLAND                                                                            Island
                                                     Jul 5, 1995   Jul 5, 1995    Company

ST. SIMON'S ISLAND       US-Georgia     Registered                 S5181          Sea       08   Beach, golf and tennis club services.
CLUB (and oval design)                                                            Island
                                                                   Jun 20, 1984   Company




ST. SIMON'S ISLAND       US-Georgia     Registered                 S5182          Sea       01   Restaurant services.
CLUB (and oval design)                                                            Island
                                                                   Jun 20, 1984   Company




      25
      23290154v5
                         Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                             Page:224 of
                                                              278

        Mark             Jurisdiction    Status       Serial No     Reg. No.      Owner                               Class/Description
                                                     Filing Date    Reg. Date
ST. SIMON'S ISLAND       US-Georgia     Registered                 S5183          Sea       02   Real estate development, sales and management services.
CLUB (and oval design)                                                            Island
                         S1710-                                    Jun 20, 1984   Company
                         010759




THE CLOISTER             US-Georgia     Registered                 S2944          Sea       01   Hotel, restaurant and resort services.
                                                                                  Island
                         S1710-                                    Oct 3, 1973    Company
                         010755

      Patents

      None.

      Licenses

      None.




      26
      23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                 Page:225 of
                                     278

                                             SECTION 2.2(c)
                                                                   2
                                      Excluded Owned Real Property


 None.




 2
   The Excluded Owned Real Property includes any land tracts included on this list, as more fully described on the
 Legal Descriptions attached as Exhibit D hereto, which may be revised to be consistent with the Title
 Commitment.

                                                        27
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:226 of
                                     278

                                            SECTION 2.2(m)
                                          Other Excluded Assets

 1. The personal property of A.W. Jones III and members of the Jones family or extended relatives
    thereof located within the Purchased Assets, as disclosed to Purchaser in writing on August 4, 2010.
 2. For purposes of clarity, any and all personal property of any employee of any Seller kept in the office
    or other working space of employee is an Excluded Asset under the Agreement.




                                                     28
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:227 of
                                     278

                                 SECTION 2.3(c)
                                   Cure Costs


 None.




                                      29
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00        Page:228 of
                                     278

                                     SECTION 2.3(d)
                     Specified Base Deferred Compensation Obligations

                   Name                                       Amount ($)
 Adams, C.T.                                561,667.05556,844
 Alexander, C.                              15,787.43845
 Butler, N.                                 48,636.39814
 Cate, Vassa                                28,443.52547
 Edenfield, W.                              100,371.8497,945
 Engel, S.                                  11,671.43112
 Graham, W.R.                               49,319.0348,339
 Heins, Ann                                 7,412.32439
 Huffman, C.                                1,285.37290
 McNeely, J.                                104,859.88100,379
 Miller, B.                                 71,412.1669,788
 Owens, C.A.                                19,146.5516,340
 Rogers, E.                                 12,685.11731
 Sayer, S.                                  464,751.03466,448
 Schneider, Eric                            72,639.905
 Tipton, M.                                 125,326.90784
 Veal, Brannen                              15,859.78918




                                           30
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:229 of
                                     278

                                        SECTION 2.3(j)
                    Specified Supplemental Deferred Compensation Obligations

                      Name                                    Amount ($)
 Adams, C.T.                                   308,900
 Alexander, C.                                 2,580
 Butler, N.                                    34,580
 Cason, J. M.                                  32,690
 Cate, Vassa                                   570
 Edenfield, W.                                 24,370
 Engel, S.                                     15,480
 Fox, G. P.                                    6,250
 Gibson, B. R.                                 133,470
 Graham, W.R.                                  103,250
 Heins, A.                                     3,110
 Hogan, D.                                     12,170
 Huffman, C.                                   2,770
 Johns, B. A.                                  50,050
 Johnson, M. B.                                1,960
 Kelly, J. R.                                  10,060
 Lembcke, B.                                   42,510
 McNeely, J.                                   31,160
 Miller, B.                                    10,530
 O’Connor, K.                                  54,340
 Owens Jr., C.A.                               98,470
 Sayer, S.                                     136,770
 Shelnutt, R. D.                               11,150
 Shelnutt, T. L.                               4,340
 Smith, W. C.                                  53,490
 Talley Jr., C. P.                             43,280
 Theus Jr., A. S.                              9,770
 Tipton, M.                                    13,210




                                              31
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:230 of
                                     278

 Veal, B.                              1,500
 Watson, D. S.                         7,980




                                      32
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:231 of
                                     278

                                         SECTION 2.3(k)
                     Specified Additional Deferred Compensation Obligations

                      Name                                    Amount ($)
 Capone, P.                                    401,907
 Gibson, B.R.                                  282,828
 Hodgdon, M.                                   48,119
 Jones III, A. W.                              1,544,629
 Love III, D.                                  389,775
 McSwiney, J                                   512,051
 Nunn, S.                                      357,093
 Smith, W.                                     83,444
 Williams, J. B.                               432,644
 Wright Jr., E. T.                             26,129


 For the avoidance of doubt, amounts paid shall be capped at an aggregate amount of
 $440,520 as provided in the Agreement.




                                              33
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:232 of
                                     278

                                  SECTION 2.6(b)
                                    Allocation

                         [To be agreed upon prior to Closing]




                                         34
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:233 of
                                     278

                                SECTION 2.10(n)
                                   Consents

 None.




                                      35
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:234 of
                                     278

                                          SECTION 3.3
                                    Governmental Authorizations

 1. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission
    allowing Sea Island Company the nonexclusive right and privilege of providing limited ground
    transportation services between Brunswick Golden Isles Airport and the Sea Island Company.
 2. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah
    District US Army Corps of Engineers allowing Sea Island Company to perform certain work to
    construct a marina facility at the Cloister Hotel.
 3. Coastal Marshlands Protection Committee Permit #508, dated October 20, 2005, issued by the
    Coastal Resources Division of the Georgia Department of Natural Resources allowing Sea Island
    Company to perform certain work to construct a marina facility at the Cloister Hotel.
 4. Department of Army Permit 074OYN dated January 8, 1990 allowing beach renourishment activities.
 5. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
 6. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
 7. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
 8. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).




                                                  36
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                    Page:235 of
                                     278

                                             SECTION 3.4
                                            Noncontravention

 1. Reference is made to the liquor licenses listed on Section 3.8(a) hereof.
 2. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
 3. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
    dated November 6, 2002.
 4. Agreement by and among Sea Island Company and Tennant Capital Services dated May 28, 2008.
 5. Software License and Support Agreement by and among Sea Island Company and Datavision
    Technologies, Inc. dated December 27, 2005.
 6. Card Acceptance Agreement by and among Sea Island Company and American Express Travel
    Related Services Company, Inc. dated November 20, 1998, as amended November 20, 1998 and
    January 15, 2002.
 7. Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest Golf Club and
    GCI, LLC.
 8. Lease Agreement by and among Sea Island Company and Hasler Financial Services, LLC dated July
    9, 2007.
 9. Extended Warranty Agreement by and among Sea Island Company and SAFLOK, Inc. dated
    December 3, 2007.




                                                     37
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:236 of
                                     278

                                             SECTION 3.5
                                               Consents

 1. Software License Agreement by and among Host Analytics, Inc. and Sea Island Company dated
    December 12, 2005.
 2. Software License Agreement by and among InvoTech Systems, Inc. and Sea Island Company dated
    April 11, 2003.
 3. Outsourcing Services Agreement by and among Sea Island Company and Network Services Plus, Inc.
    dated November 7, 2008.
 4. Agreement by and among Sea Island Company and SpearTek, Inc. effective October 1, 2002.
 5. Master Lease Agreement by and among Sea Island Company and Sea Island Coastal Properties LLC
    and Computer Sales International, Inc. dated March 10, 2004.
 6. Products and Services Agreement by and among Sea Island Company and The Active Network, Inc.
    dated April 1, 2010.
 7. Agreement by and among Sea Island Company and OpenCourse Solutions, LLC dated October 15,
    2004.
 8. Agreement by and among the Cloister Hotel and American Express Travel Related Services
    Company, Inc. dated July 24, 2009.
 9. Agreement by and among the Lodge at Sea Island and American Express Travel Related Services
    Company, Inc. dated July 24, 2009.
 10. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah
     District US Army Corps of Engineers allowing Sea Island Company to perform certain work to
     construct a marina facility at the Cloister Hotel.
 11. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission
     allowing Sea Island Company the nonexclusive right and privilege of providing limited ground
     transportation services between Brunswick Golden Isles Airport and the Sea Island Company.
 12. Independent Contractor Agreement by and among Sea Island Company and Coastal Commercial
     Laundry Services, Inc. dated January 5, 2009.
 13. Lease Agreements by and among Sea Island Company and GMAC.
 14. Services Agreement by and among Exclusive Resorts Club Management, LLC and Sea Island
     Company dated May 15, 2007, as amended.
 15. Management Agreement by and among MeadWestvaco Coated Board, Inc. and MWV Cabin Bluff,
     LLC and Sea Island Company dated December 2009.
 16. Caddie Services Agreement by and among Sea Island Company d/b/a Ocean Forest Golf Club and
     GCI, LLC.
 17. Licensing and Services Agreement by and among Littleton Marketing Group LLC and Sea Island
     Company dated December 3, 2007.
 18. Preferred Supplier Agreement by and among Sea Island – The Cloister and Virtuoso, Ltd. effective
     January 1, 2010.
 19. Preferred Supplier Agreement by and among Sea Island – The Lodge and Virtuoso, Ltd. effective
     January 1, 2010.



                                                   38
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:237 of
                                     278

 20. Product Purchase Agreement by and among Sea Island Company and Institution Food House, Inc.
     dated August 1, 2010.
 21. Lease by and among Sea Island Company and Donald C. McCaskill III and Annie Bell McCaskill
     Friedman dated February 5, 2008.
 22. Gas Service Agreement by and among Sea Island Company and SouthStar Energy Services, LLC
     d/b/a Georgia Natural Gas dated April 27, 2009.
 23. Premium Finance Agreement by and among Sea Island Company and Imperial Credit Corporation
     dated March 16, 2010.
 24. Lease Agreement by and among Sea Island Company and Hasler Financial Services, LLC dated July
     9, 2007.
 25. Care Management Services Agreement by and among Sea Island Company and Primary
     PhysicianCare, Inc. dated December 17, 2007.
 26. Service Agreement by and among Sea Island and Georgia Trane Service Company dated January 20,
     2005.
 27. Service Agreement by and among Sea Island and Georgia Trane Service Company dated June 15,
     2006 (New Chiller Plant).
 28. Service Agreement by and among Sea Island and Georgia Trane Service Company dated June 15,
     2006 (Cloister Hotel).
 29. Service Agreement by and among Sea Island and Georgia Trane Service Company dated July 20,
     2006.
 30. Service Agreement by and among Sea Island and Georgia Trane Service Company dated December 6,
     2007.
 31. Lease Agreement by and among Sea Island Company and Ecolab Inc. dated June 23, 2005.
 32. Lease Agreement by and among Sea Island Company and the United States Postal Service dated
     March 17, 2008.
 33. Master Lease Agreement by and among Sea Island Company and Deere Credit, Inc. dated July 8,
     2008.
 34. Agreement by and among Sea Island Resorts and CapSure, Inc. dated May 5, 2007.
 35. Container Lease Agreement # GGL 104459 by and among Sea Island Company and Con Global
     Industries dated February 29, 2008.
 36. Container Lease Agreement #GGL 105115 by and among Sea Island Company and Con Global
     Industries dated February 29, 2008.
 37. Reference is made to the liquor licenses listed on Section 3.8(a) hereof.
 38. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
 39. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
     dated September 26, 2007.
 40. Agreement by and among Sea Island Company and Tennant Capital Services dated May 28, 2008.
 41. Software License and Support Agreement by and among Sea Island Company and Datavision
     Technologies, Inc. dated December 27, 2005.
 42. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission.



                                                     39
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                       Page:238 of
                                     278

 43. Agreement by and among Sea Island Company and Stromberg dated December 23, 2005.
 44. Master Lease Agreement by and among Textron Financial Corporation and Sea Island Company
     dated November 6, 2002.
 45. Software License Agreement by and among Sea Island Company and Newmarket International, Inc.
 dated December 30, 2003.
 46. Merchant Agreement by and among Sea Island Resort and Columbus Bank and Trust dated March
 11, 2009.
 47. Extended Warranty Agreement by and among Sea Island Company and SAFLOK, Inc. dated
 December 3, 2007.
 48. Contract Service Arrangement Agreement by and among Sea Island Company and BellSouth
 Telecommunications, Inc. dated February 4, 2005.
 49. Contract Service Arrangement Agreement by and among Sea Island Company and BellSouth
 Telecommunications, Inc. dated May 18, 2006.
 50. Services Master Agreement by and among Sea Island Company and BellSouth Company dated
 October 4, 2006.
 51. Card Acceptance Agreement by and among Sea Island Company and American Express Travel
 Related Services Company, Inc. dated November 20, 1998, as amended November 20, 1998 and January
 15, 1998.
 52. Software License Agreement by and among Sea Island Company and Badger Meter, Inc. dated July
 10, 2001.
 53. Database Management Services Agreement by and among LMG Data Mining and Sea Island
     Company dated December 3, 2007.
 54. Microsoft Enterprise Enrollment and Pricing for Office Pro dated November 1, 2006 under Business
     Agreement U9423233 and Master Agreement Number 01E61258.
 55. Commercial Lease contract by and among Sea Island Company and Island Acquisitions, LLC dated
     September 28, 2009.
 56. Lodging Official Appointment Agreement by and among Sea Island Company and the American
     Automobile Association dated May 28, 2009.
 57. Agreement by and among Sea Island Company and Verizon Wireless dated December 23, 2008.
 58. Premium Finance Agreement and Disclosure Statement and Security Agreement by and among Sea
     Island Company and Imperial Credit Corporation dated June 17, 2010.
 59. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
 60. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
 61. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
 62. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).




                                                  40
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:239 of
                                     278




 41
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                             Page:240 of
                                     278

                                               SECTION 3.6
                                                Litigation
 1. Claim made orally by owner of Cloister Ocean Residence that Sea Island Company breached an oral
    representation made by an agent that a like interest in such individual’s unit would not be sold for less
    than what the individual paid for her interest.
 2. Claim made orally by owner of LLC interest in a condominium development that Sea Island
     Company breached a written agreement to inform the individual of the availability of a
     Penthouse unit in the condominium development.
 3. Cross-claims filed by Joseph Ferguson and Andrew Head, owners of a membership interest in Beach
     Club Garden North Residences, LLC, alleging fraudulent actions by Sea Island Company to induce
     them to buy such interest.
 43. Claim made orally by owner of Ocean Club Residence alleging that Sea Island Company failed to
     deliver the purchased unit as agreed upon.
 54. Claim asserted by SAI Engineering (orally through a collection agency) in the approximate amount of
     $225,000 for engineering work alleged to have been performed on property now or formerly owned
     by Sea Island Company. No lien has been filed of record and the time for perfecting a lien under
     Georgia law has expired. Because no formal, written statement of the claim has been presented, it is
     not possible to provide an opinion as to whether all or any part of this amount is due at this time.
 65. Claim made orally by property owner alleging that certain landscaping of a beach right of way owned
     by Sea Island Company is an obstruction to an easement granted to such owner. The legal action
     would seek the removal of the landscaping as an obstruction to the claimed easement.
 76. Indemnification claim made in writing by Winona Capital Partners, LLC Series E-PM, the purchaser
     of Sea Island Apparel, LLC’s membership interest in Luxury Apparel Group, L.L.C. under that
     certain Amended and Restated Membership Interest Purchase Agreement dated March 26, 2009. If
     such claim were to be successful, any amounts due pursuant to such indemnification claim.
 87. Audit and investigation by the U.S. Immigration and Customs Enforcement (ICE) into potential
     violations relating to the Sea Island Company’s I-9 forms.
 9. The following workers’8. Workers’ compensation claims made by employees of Sea Island
    Company, including the following:
       • Claim of Robert Cundy (1998) – Quarterly medical tx/antiflammatories
       • Claim of Raymond Ray (2001) – Claim is closed with final payment to be made
       • Claim of James Smith (2001) – Claim is closed with final payment to be made
       • Claim of Danny Moreu (2004) – Open claim
       • Claim of Don Smith (2006) – Claim is closed with final payment to be made
       •    Claim of Rodney Butler (2006) - Hearing judge denied claim, awaiting final decision
            on appeal
       • Claim of Rodney Butler (2006) – Company has prevailed and expects to close in
          October
       • Claim of Joyce West (2007) – Open claim
       •    Claim of James Gasque (2008) – Open claim

 42
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:241 of
                                     278

      • Claim of Carla Pentelakis (2008) – Open claim
      •   Claim of Patricia Ryals (2008) – Claim controverted, hearing July 30th
      • Claim of Cheryl Peeples (2009) – Open claim
      • Claim of Carlos Recinos (2010) – Claim controverted, deposition August 2nd
      • Claim of Karen Blake (2010) – Open claim
      • Claim of Sonya Floyd (2010) – Open claim
      • Claim of Hubert Clark (2010) – Open claim
      • Claim of Tina Nimmo (2010) – Open claim
      • Claim of Edward Joyner (2010) – Open claim
      • Claim of Chuck Dean (2008) – Open claim
      • Claim of Octoria Kent (2010) – Open claim
      • Claim of Sonny Sullivan (2010) – Open claim




 43
 23290154v5
                  Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                             Page:242 of
                                                       278

                                                                SECTION 3.8(a)
                                                                   Permits


Liquor Licenses

The following liquor licenses have been obtained at both the state and county level. Unless otherwise indicated, the county in which the license
has been obtained is Glynn County.

                         Location                                  Licensee               License Type             Products Sold
 Davis Love Grill                                            Sea Island Company      Consumption                Beer, Wine & Liquor
 Ocean Forest Golf Club (Tee House)                          James B. Gilbert        Retail                     Beer
 Ocean Forest Golf Club                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Ocean Forest Golf In Room Service                           James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor
 The Lodge at Sea Island                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 The Lodge at Sea Island In Room Service                     Sea Island Company      Hotel In-Room Service      Beer, Wine & Liquor
 The Lodge at Sea Island Additional Facility                 Sea Island Company      Consumption                Beer, Wine & Liquor
 Sea Island Golf Club Snack Bar                              Sea Island Company      Retail                     Beer
 Cloister Hotel Clubrooms                                    Sea Island Company      Consumption                Beer, Wine & Liquor
 Cloister Hotel                                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Hotel In Room Service                              James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor
 Cloister Hotel (Additional Facility, River Bar)             James B. Gilbert        Consumption                Beer, Wine & Liquor
 Black Banks Parlor                                          James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Ballroom East                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Ballroom West                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Garden (North)                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Garden (South)                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Cloister Patio                                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Georgia Room Terrace                                        James B. Gilbert        Consumption                Beer, Wine & Liquor
 Main Dining Room Terrace                                    James B. Gilbert        Consumption                Beer, Wine & Liquor
 North Hospitality Suite                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 North Patio                                                 James B. Gilbert        Consumption                Beer, Wine & Liquor
 South Hospitality Suite                                     James B. Gilbert        Consumption                Beer, Wine & Liquor
 Spanish Lounge Terrace                                      James B. Gilbert        Consumption                Beer, Wine & Liquor
 Big George's Raw Bar and Grill                              James B. Gilbert        Consumption                Beer, Wine & Liquor
 Sea Island Beach Club     (In-room)                         James B. Gilbert        Hotel In-Room Service      Beer, Wine & Liquor


44
23290154v5
                  Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                     Page:243 of
                                                       278

 Restaurant Terrace                                        James B. Gilbert     Consumption              Beer, Wine & Liquor
 Beach Bar                                                 James B. Gilbert     Consumption              Beer, Wine & Liquor
 Snack Bar                                                 James B. Gilbert     Consumption              Beer, Wine & Liquor
 Miramar                                                   James B. Gilbert     Consumption              Beer, Wine & Liquor
 Miramar Terrace                                           James B. Gilbert     Consumption              Beer, Wine & Liquor
 Ocean Room                                                James B. Gilbert     Consumption              Beer, Wine & Liquor
 Ocean Room Terrace                                        James B. Gilbert     Consumption              Beer, Wine & Liquor
 Beach Pavilion                                            James B. Gilbert     Consumption              Beer, Wine & Liquor
 Sea Island Spa (NO SUNDAY SALES on county
         license)                                          James B. Gilbert     Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff                                 Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Pub at Cabin Bluff                                   Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff Additional Facility             Ellis H. Howard      Consumption              Beer, Wine & Liquor
 *The Lodge at Cabin Bluff Additional Facility (In Rm
         Svc)                                              Ellis H. Howard      Hotel In-Room Service    Beer, Wine & Liquor

         *County license obtained in Camden County.

Elevator Operating Permits

           Jurisdiction                         Serial #                          Location                        Expiration Date
225325                              643-1851                           Beach Club Garden North - #8      3/1/2011
225309                              642-8512                           Beach Club Garden North - #1      3/1/2011
225310                              642-8523                           Beach Club Garden North - #3      3/1/2011
225311                              642-3089                           Beach Club Garden North - #5      3/1/2011
225312                              642-0226                           Beach Club Garden North - #9      3/1/2011
225313                              642-0248                           Beach Club Garden North - #4      3/1/2011
225323                              642-3078                           Beach Club Garden North – Beach   3/1/2011
                                                                       Club
225324                              642-3067                           Beach Club Garden North – Beach   3/1/2011
                                                                       Club
241304                              238073                             Beach Club Garden North -         2/1/2011
                                                                       Basement
241313                              28680831                           Beach Club Garden North -         2/1/2011
                                                                       Basement
236852                              238077                             Beach Club Garden North - #1      2/1/2011

45
23290154v5
             Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00       Page:244 of
                                                  278

236853                    238078                     Beach Club Garden North - #2     2/1/2011
236854                    238079                     Beach Club Garden North - #3     2/1/2011
236855                    238080                     Beach Club Garden North - #4     2/1/2011
215427                    B5612-05                   Cloister Hotel - #5 Hotel        3/1/2011
215428                    B5614-07                   Cloister Hotel - #7              3/1/2011
215429                    B5615-08                   Cloister Hotel - #8 Hotel        3/1/2011
215430                    B4984-03                   Cloister Hotel - #3 Wing         3/1/2011
215433                    B5610-03                   Cloister Hotel - #3 Hotel        3/1/2011
215463                    B5613-06                   Cloister Hotel - #6 Hotel        3/1/2011
215464                    B5616-09                   Cloister Hotel - #9 Hotel        3/1/2011
215480                    4982-01                    Cloister Hotel - #2 Wing         3/1/2011
215482                    B4985-04                   Cloister Hotel - #4 Wing         3/1/2011
215483                    B5609-01                   Cloister Hotel - #1 Hotel        3/1/2011
215484                    B5609-02                   Cloister Hotel - #2 Hotel        3/1/2011
220280                    B5611-04                   Cloister Hotel - #4 Hotel        3/1/2011
223148                    34983-02                   Cloister Hotel - #2 Wing         3/1/2011
241323                    PD6639A                    Cloister Hotel – River Bar       3/1/2011
241325                    PD6699B                    Cloister Hotel – 100 Hudson      3/1/2011
241326                    PD6639C                    Cloister Hotel – Main Kitchen    3/1/2011
120533                    457910                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Dunbar
120495                    457911                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Mackay
241315                    31820835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241319                    31830835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241320                    31840835                   Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
241305                    238071                     Beach Club Residences P.O.A. -   2/1/2011
                                                     Basement
195448                    1359946                    Beach Club Residences P.O.A. -   3/1/2011
                                                     Office
195353                    460447                     Beach Club Residences P.O.A. -   3/1/2011
                                                     Abbott


46
23290154v5
                 Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00             Page:245 of
                                                      278

195354                            460448                      Beach Club Residences P.O.A. -    3/1/2011
                                                              Sinclair
236856                            238081                      Ocean Club North - #1             2/1/2011
236858                            238082                      Ocean Club North - #2             2/1/2011
236859                            238083                      Ocean Club North - #3             2/1/2011


Water Heater Operating Permits

          Jurisdiction                National Board Number               Location                         Expiration Date
215472                            107091                      Cloister Hotel – Boiler Room      3/1/2012
215473                            107034                      Cloister Hotel – Boiler Room      3/1/2012
215474                            107045                      Cloister Hotel – Boiler Room      3/1/2012
215475                            107174                      Cloister Hotel – Boiler Room      3/1/2012
215476                            107144                      Cloister Hotel – Boiler Room      3/1/2012
215477                            107026                      Cloister Hotel – Boiler Room      3/1/2012
215469                            107033                      Cloister Hotel – Boiler Room      3/1/2012
215470                            107180                      Cloister Hotel – Boiler Room      3/1/2012
215471                            107046                      Cloister Hotel – Boiler Room      3/1/2012
243496                            2780                        Cloister Hotel – Womens’ Spa      3/1/2012
243497                            2916                        Cloister Hotel – Ladies Fitness   3/1/2012
243498                            2800                        Cloister Hotel – Mens Fitness     3/1/2012
243499                            2910                        Cloister Hotel – Mens Spa         3/1/2012


Low Pressure Water Heater Operating Permits

          Jurisdiction                National Board Number               Location                         Expiration Date
243485                            243485                      Cloister Hotel – North Wing       3/1/2012
243486                            104943                      Cloister Hotel – North Wing       3/1/2012
243487                            106427                      Cloister Hotel – North Wing       3/1/2012
243488                            106451                      Cloister Hotel – South Wing       3/1/2012
242489                            106479                      Cloister Hotel – South Wing       3/1/2012
243490                            106478                      Cloister Hotel – South Wing       3/1/2012
243491                            108793                      Cloister Hotel – Spa & Tennis     3/1/2012
243492                            108795                      Cloister Hotel – Spa & Tennis     3/1/2012

47
23290154v5
                 Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                           Page:246 of
                                                      278

243493                              108744                              Cloister Hotel – Spa & Tennis        3/1/2012
243494                              108796                              Cloister Hotel – Spa & Tennis        3/1/2012
243495                              108792                              Cloister Hotel – Spa & Tennis        3/1/2012


Other Permits/Licenses

1. Limited Hotel Shuttle Permit, dated January 30, 2006, issued by Glynn County Airport Commission allowing Sea Island Company the
   nonexclusive right and privilege of providing limited ground transportation services between Brunswick Golden Isles Airport and the Sea
   Island Company.
2. Department of the Army Permit (No. 200501418), dated December 21, 2005, issued by Savannah District US Army Corps of Engineers
   allowing Sea Island Company to perform certain work to construct a marina facility at the Cloister Hotel.
3. Coastal Marshlands Protection Committee Permit #508, dated October 20, 2005, issued by the Coastal Resources Division of the Georgia
   Department of Natural Resources allowing Sea Island Company to perform certain work to construct a marina facility at the Cloister Hotel.
4. MPLC Certificate of License renewal, dated June 3, 2010, issued by the Motion Picture Licensing Corporation allowing the Cloister Hotel –
   Children’s Program the right under copyright law to publicly perform certain lawfully obtained motion pictures.
5. Building Permit CBUI10042 issued July 2, 2010 by the Glynn County, Georgia Building Inspection Department.
6. Department of Army Permit 074OYN dated January 8, 1990 allowing beach renourishment activities.
7. Groundwater Withdrawal Permit # 063-033 (Ocean Forest Golf Course).
8. Groundwater Withdrawal Permit #063-0021 (Island Club Golf Course).
9. Groundwater Withdrawal Permit #063-0020 (Sea Island Golf Course).
10. Groundwater Withdrawal Permit #063-0009 (Cloister Complex).
11. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000073 (The Cloister).
12. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000077 (Ocean Forest).
13. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000074 (Beach Club) .
14. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000075 (Rainbow Island).
15. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000076 (The Lodge).
16. Department of Community Health, Division of Public Health Food Service Permit FS139-4224 (Davis Love III Grill).


48
23290154v5
               Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00           Page:247 of
                                                    278

17. Department of Community Health, Division of Public Health Food Service Permit FSP-063-000073 (The Cloister).




49
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:248 of
                                     278

                                 SECTION 3.8(b)
                                Permits in Violation

 None.




 50
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00           Page:249 of
                                     278

                                            SECTION 3.9(a)
                                      Intellectual Property Rights


 1.   Reference is made to Schedule 2.1(i).
 2.   Reference is made to the software licenses listed on Schedule 2.1(b).




 51
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:250 of
                                     278

                                     SECTION 3.9(b)
                       Intellectual Property Rights Infringements
 None.




 52
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                        Page:251 of
                                     278

                                            SECTION 3.9(c)
                                 Intellectual Property Rights Licenses

 The Sea Island Company has granted a non-exclusive (except with respect to certain media rights, which
 may be exclusive) royalty free right and license to PGA TOUR, INC. and the Davis Love III Foundation
 to use the Sea Island Club logo and the name, logo and images of Seaside Golf Course in connection with
 the McGladrey Classic, a PGA TOUR co-sanctioned 72 hole competition to take place at the Seaside Golf
 Course in October 2010.




 53
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:252 of
                                     278

                                         SECTION 3.10
                                      Environmental Matters

 See reports attached as Exhibit E.




 54
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                      Page:253 of
                                     278

                                                   SECTION 3.11(a)
                                                                      3
                                                  Owned Real Property

             DESCRIPTION                                ADDRESS                               TAX PARCEL

 PARCEL 1
 Cloister Resort West of Sea Island Drive   250 Service Rd Sea Island, GA 31561    Portion of 05-00462
 PARCEL 2
                                            100 Black Banks Ln 90 Sea Island, GA
 Black Banks River Residences RU            31561                                  05-01314
 PARCEL 3
 SIBCR Condo Resort/Parking Units           N/A                                    05-00822
 SIBCR Condo Resort/Parking Units           N/A                                    05-00911
 PARCEL 4
 COR Unit 1-I                               50 Dune Av 101 Sea Island, GA 31561    05-01150
 COR Unit 1-II                              50 Dune Av 1012 Sea Island, GA 31561   05-01151
 COR Unit 1-III                             50 Dune Av 1013 Sea Island, GA 31561   05-01152
 COR Unit 1-IV                              50 Dune Av 1014 Sea Island, GA 31561   05-01153
 COR Unit 2-I                               50 Dune Av 102 Sea Island, GA 31561    05-01154
 COR Unit 2-II                              50 Dune Av 1022 Sea Island, GA 31561   05-01155
 COR Unit 2-III                             50 Dune Av 1023 Sea Island, GA 31561   05-01156
 COR Unit 2-IV                              50 Dune Av 1024 Sea Island, GA 31561   05-01157
 COR Unit 4a-I                              50 Dune Av 106 Sea Island, GA 31561    05-01162
 COR Unit 4a-II                             50 Dune Av 1062 Sea Island, GA 31561   05-01163
 COR Unit 4a-III                            50 Dune Av 1063 Sea Island, GA 31561   05-01164
 COR Unit 4a-IV                             50 Dune Av 1064 Sea Island, GA 31561   05-01165
 COR Unit 4b-I                              50 Dune Av 107 Sea Island, GA 31561    05-01166
 COR Unit 4b-II                             50 Dune Av 1072 Sea Island, GA 31561   05-01167
 COR Unit 4b-III                            50 Dune Av 1073 Sea Island, GA 31561   05-01168
 COR Unit 4b-IV                             50 Dune Av 1074 Sea Island, GA 31561   05-01169
 COR Unit 6-I                               50 Dune Av 113 Sea Island, GA 31561    05-01174
 COR Unit 6-IV                              50 Dune Av 1134 Sea Island, GA 31561   05-01177
 COR Unit 7-III                             50 Dune Av 1173 Sea Island, GA 31561   05-01180
 COR Unit 7-IV                              50 Dune Av 1174 Sea Island, GA 31561   05-01181
 COR Unit 8-I                               50 Dune Av 116 Sea Island, GA 31561    05-01182
 COR Unit 8-II                              50 Dune Av 1162 Sea Island, GA 31561   05-01183
 COR Unit 8-III                             50 Dune Av 1163 Sea Island, GA 31561   05-01184
 COR Unit 8-IV                              50 Dune Av 1164 Sea Island, GA 31561   05-01185
 COR Unit 9-I                               50 Dune Av 121 Sea Island, GA 31561    05-01186
 COR Unit 9-III                             50 Dune Av 1213 Sea Island, GA 31561   05-01188
 COR Unit 10-II                             10 Dune Av 1302 Sea Island, GA 31561   05-01191
 COR Unit 10-III                            10 Dune Av 1303 Sea Island, GA 31561   05-01192
 COR Unit 10-IV                             10 Dune Av 1304 Sea Island, GA 31561   05-01193
 COR Unit 11-I                              10 Dune Av 132 Sea Island, GA 31561    05-01194
 COR Unit 11-III                            10 Dune Av 1323 Sea Island, GA 31561   05-01196
 COR Unit 12-I                              10 Dune Av 134 Sea Island, GA 31561    05-01198
 COR Unit 12-II                             10 Dune Av 1342 Sea island, GA 31561   05-01199
 COR Unit 12-III                            10 Dune Av 1343 Sea Island, GA 31561   05-01200
 COR Unit 12-IV                             10 Dune Av 1344 Sea Island, GA 31561   05-01201
 COR Unit 14-I                              10 Dune Av 136 Sea Island, GA 31561    05-01202
 COR Unit 14-II                             10 Dune Av 1362 Sea Island, GA 31561   05-01203
 COR Unit 14-III                            10 Dune Av 1363 Sea Island, GA 31561   05-01204
 COR Unit 15-I                              10 Dune Av 137 Sea Island, GA 31561    05-01206
 COR Unit 15-II                             10 Dune Av 1372 Sea Island, GA 31561   05-01207
 COR Unit 15-III                            10 Dune Av 1373 Sea Island, GA 31561   05-01208
 COR Unit 15-IV                             10 Dune Av 1374 Sea Island, GA 31561   05-01209
 COR Unit 16-II                             10 Dune Av 1402 Sea Island, GA 31561   05-01211
 COR Unit 16-III                            10 Dune Av 1403 Sea Island, GA 31561   05-01212
 COR Unit 16-IV                             10 Dune Av 1404 Sea Island, GA 31561   05-01213
 COR Unit 17-I                              10 Dune Av 142 Sea Island, GA 31561    05-01214
 COR Unit 18-II                             10 Dune Av 1432 Sea Island, GA 31561   05-01219


 3
     Tax parcel identification numbers in this Section 3.11(a) are for information purposes only.

 55
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                           Page:254 of
                                     278

 COR Unit 18-III                           10 Dune Av 1433 Sea Island, GA 31561         05-01220
 COR Unit 18-IV                            10 Dune Av 1434 Sea Island, GA 31561         05-01221
 COR Unit 22-I                             10 Dune Av 152 Sea Island, GA 31561          05-01234
 COR Unit 22-III                           10 Dune Av 1523 Sea Island, GA 31561         05-01236
 COR Unit 22-IV                            10 Dune Av 1524 Sea Island, GA 31561         05-01237
 PARCEL 5
 East of Sea Island Drive                  N/A                                          Portion of 05-00462
 PARCEL 6
 Strip of Oceanfront Property              N/A                                          Portion of 05-00462
 PARCEL 7
 Roads                                     N/A                                          05-00796
 PARCEL 8
 OFOC Lot 30, Ph 9                         14 Ocean Lane Sea Island, GA 31561           05-01146
 OFOC Lot 31, Ph 9                         15 Ocean Lane Sea Island, GA 31561           05-01145
 PARCEL 9
 OF Golf Cottage                           100 Ocean Road Sea Island, GA 31561          05-01148
 Acreage North of 36th Street (Ocean
 Forest)                                   N/A                                          Portion of 05-00001
 PARCEL 10
                                           97 Retreat Ave, St Simons Island, GA
 Sea Island Golf Course                    31522                                        Portion of 04-04808
 Golf Retreat North Common Area            N/A                                          04-02852
 Golf Retreat North Common Area            N/A                                          04-13700
 Portion of Old Seaside Drive              N/A                                          Portion of 04-11777
                                           16 Retreat Ave, St. Simons Island, GA
 Lot 24, Golf Retreat North                31522                                        04-14185
 PARCEL 11
 Retreat Golf course, club house &
 support facilities (120 acres Clubhouse   168 Merion 11000 St. Simons Island, GA
 area; 89.6 acres Golf Course, 15.9        31522                                        04-05967
 PARCEL 13
 Black Banks Residential                   N/A                                          04-14249
 PARCEL 14
                                           100 Salt Marsh Dr St. Simons Island, GA
 Admin Bldg, Salt Marsh Drive              31522                                        04-01597
 PARCEL 15
 Support Campus North - Parking            N/A                                          04-14220
 PARCEL 18
                                           344 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 201                                31522                                        04-13465
                                           297 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 219                                31522                                        04-13432
                                           435 Pikes Bluff Dr St. Simons Island,   GA
 FT Lot 232                                31522                                        04-13445
                                           26 Telford Lane St. Simons Island,      GA
 FT Lot 240                                31522                                        04-13720
 PARCEL 26(a) and 26(b)
 OFDC Lot 3                                17 Forest Ln, Sea Island, GA 31561           05-00803
 OFDC Lot 6                                426 Forest Rd, Sea Island, GA 31561          05-00805
 OFDC Lot 7                                430 Forest Rd, Sea Island, GA 31561          05-00806
 OFDC Lot 9                                438 Forest Rd, Sea Island, GA 31561          05-00748
 OFDC Lot 10                               442 Forest Rd, Sea Island, GA 31561          05-00749
 OFDC Lot 12                               420 Forest Rd, Sea Island, GA 31561          05-00808
 OFDC Lot 13                               454 Forest Rd, Sea Island, GA 31561          05-00809
 OFDC Lot 14                               458 Forest Rd, Sea Island, GA 31561          05-00810
 OFDC Lot 16                               466 Forest Rd, Sea Island, GA 31561          05-00812
 OFDC Lot 17                               470 Forest Rd, Sea Island, GA 31561          05-00813
 PARCEL 27
 OF Common Area 9.439 AC Forest Rd         N/A                                          05-00687
 OF Forest Cottage Expansion, remainder
 acreage                                   N/A                                          05-00744
 OFOC Common Area - Ph 1                   N/A                                          05-00693
 OFOC Common Area - Ph 2                   N/A                                          05-00692
 OFOC Common Area - Ph 3                   N/A                                          05-00697


 56
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                             Page:255 of
                                     278

 OFOC Common Area - Ph 4                       N/A                                        05-00715
 OFOC Common Area Ph 5                         N/A                                        05-00734
 OFOC Common Areas, Ph VIII                    N/A                                        05-00823
 PARCEL 29 and 29(a)
                                               352 Old Seaside Dr, St Simons Island,
 OS Lot 8                                      GA 31522                                   04-11785
                                               105 Old Seaside Ln, St Simons Island,
 OS Lot 9                                      GA 31522                                   04-11786
 PARCEL 30
 7.853 AC, Old Seaside                         N/A                                        04-11368
 Seaside Tract                                 N/A                                        Portion of 04-11777
 PARCEL 31
                                               222 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 8                            Simons Island, GA 31522                    04-11405
                                               212 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 9                            Simons Island, GA 31522                    04-11406
                                               127 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 37                           Simons Island, GA 31522                    04-14165
                                               129 Sea Island Lake Cottages     Dr, St
 SI Lake Cott Lot 38                           Simons Island, GA 31522                    04-14166
 PARCEL 32
 Roads within SI Lake Cottages; 3.595 AC       N/A                                        04-11397
 SI Lake Cottages Undeveloped Acreage          N/A                                        04-00798
 PARCEL 33
                                               348 Pikes Bluff Dr, St Simons Island, GA
 FT Lot 202                                    31522                                      04-13464
                                               124 Telford Ln, St Simons Island, GA
 FT Lot 251                                    31522                                      04-13709
 PARCEL 35
 Tract 9; 6.550 total acres; "Finger" parcel   N/A                                        05-01241
 PARCEL 36
 Expanded Tract V, Cloister Residences
 East                                          100 Dune Avenue, Sea Island, GA 31561      05-00787
 1/2 TIC                                                                                  05-01242
 PARCEL 37
                                               427 Mimosa Dr, St Simons Island, GA
 Tract 1, West Point Plantation, SSI           31522                                      04-01009
                                               2023 Sea Palms W Dr, St Simons Island,
 Lot 12 Marsh Point, SSI                       GA 31522                                   04-09512
                                               509 Vassar Point Dr, St Simons Island,
 Lot 19 Vassar Point                           GA 31522                                   04-08447
                                               118 Brookfield Trc, St Simons Island, GA
 Oak Forest - Phase 2-B                        31522                                      04-10017
                                               69 Black Banks Dr, St Simons Island, GA
 Black Banks                                   31522                                      04-00742
 PARCEL 38
                                               200 Beach Club Ln 401, Sea Island, GA
 200 Beach Club Lane, Unit 401; BCO1           31561                                      05-01243
 200 Beach Club Lane, Unit 402; BCO2           200 Beach Club Ln 402, Sea Island, GA
 Beach Club Residences                         31561                                      05-01244
 PARCEL 39
 Ocean Club Unit ON3                           150 Dune Av 173, Sea Island, GA 31561      05-01300
 PARCEL 40
                                               100 Beach Club Lane, 431, Sea Island,
 Beach Club Residences Unit GS6                GA 31561                                   05-01286
 PARCEL 41
                                               100 Beach Club Ln 10000, Sea Island,
 Beach Club Residences GS Resort Unit          GA 31561                                   05-01297
 PARCEL 42
                                               159 Dune Av 10001, Sea Island, GA
 Ocean Club Resort Unit                        31561                                      05-01312
 PARCEL 43
                                               200 Beach Club Ln 10001, Sea Island,
 Beach Club Residences BCO Resort Unit         GA 31561                                   05-01263


 57
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                                        Page:256 of
                                     278

                                           300 Beach Club Ln 10001, Sea Island,
 Beach Club Residences GN Resort Unit      GA 31561                                  05-01280
 PARCEL 44
                                           146 Point Ln, St Simons Island, GA
 Kings Point Lot 13                        31522                                     04-11178
 PARCEL 45
                                           145 Point Ln, St Simons Island, GA
 Kings Point Lot 15                        31522                                     04-11176
 PARCEL 47
                                           21 Marlin Ln, St Simons Island, GA
 FT Lot 46                                 31522                                     04-12386
 PARCEL 48
                                           185 Kirkaldy Ln, St Simons Island, GA
 FT Lot 131                                31522                                     04-13111
 PARCEL 49
 OFDC Lot 38                               220 Forest Rd, Sea Island, GA 31561       05-01313
 PARCEL 50
 Woodbine                                  N/A                                       W09 01 002
 Woodbine                                  N/A                                       W09 01 003
 PARCEL 51
                                           1550 Frederica Rd, St Simons Island, GA
 Tabby House                               31522                                     04-02802
 PARCEL 52
 1545 AC Marsh Frederica Tract             N/A                                       04-14275
 6.7 AC Marsh Frederica Tract              N/A                                       04-14276
 1268.44 AC Marsh Cannons Point            N/A                                       04-14277
 PARCEL 53
                                           3374 Cypress Mill Rd, Brunswick, GA
 Laundry Facility - Brunswick              31520                                     01-06954
 PARCEL 54
                                           11 Sea Island Rd, St. Simons Island, GA
 Shooting School                           31522                                     05-00459
                                           46 Rainbow Island Dr, St Simons Island,
 Rainbow Marsh                             GA 31522                                  04-00715
 PARCEL 55
 Salt Marsh and Hammocks lying to the
 west of the Plantation and Seaside Golf
 Courses and south of Kings Way            N/A                                       Portion of 04-02830
 PARCEL 56
 South End of Sea Island                   N/A                                       Portion of 05-00462
 PARCEL 57                                                                           N/A
 Salt Marsh and High Ground west of SI
 Subdivision No. 1                         N/A                                       05-00001
 PARCEL 58
                                           315 Cedar Bank Rd, St Simons Island,
 Native American Burial Ground             GA 31522                                  04-13359
 PARCEL 59
                                           238 W Twenty Second St 21000, Sea
 22nd Street Well Site                     Island, GA 31561                          05-00821
 PARCEL 60
 Undeveloped Marsh Hamilton Landing        N/A                                       04-01706
 Undeveloped Marsh Hamilton Hawkins
 Island                                    N/A                                       04-01116
 PARCEL 61
                                           0 FJ Torras Cswy, St Simons Island, GA
 Lanier Island                             31522                                     02-00100
 PARCEL 62
                                           500 Beach Club Dr 522, Sea Island, GA
 SIBCR Condo Unit CC                       31561                                     05-00901
 PARCEL 63
 60 Acres - Camden                         N/A                                       118 036A
 PARCEL 64


 58
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00    Page:257 of
                                     278

                                400 Sea Island Cir St.3000
 400Twitty Park lying north Frederica Road, St. Simons
 of Sea Island Common Area/Road Island, GAGeorgia 31522    04-1024813915
 Marsh W of SI Rd and NE of N/A                            04-01716
 EpworthPARCEL 65
 Twitty       ParkOld   Seaside
 Drive in Old Seaside
 Subdivision, St. Simons N/A100 Sea Island Drive, St.
 Island,       Glynn    County, Simons Island, Georgia
 Georgia                        31522                      04-1391511777
 PARCEL 66
 400 Sea Island Drive
 Subdivision Streets and 400 Sea Island Circle, St.
 Buffers                        Simons Island, Ga 31522    04-10248
 PARCEL 67
 Tract between Sea Island 847 Sea Island Road, St.
 Road and Epworth Oaks Simons Island, Georgia
 Subdivision                    31522                      04-01716
 PARCEL 68
                                115 Lawrence Road, St.
 St. Perpetua Church Lot        Simons Island, Ga 31522    04-00215
 PARCEL 69
 Roads and Streets, St.
 Simons          Island   Club                             None (mapped as public
 Subdivision                    N/A                        streets)




 59
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:258 of
                                     278

                                         SECTION 3.11(b)
                               Acquired Owned Real Property Exceptions



 1. As to Parcels 38, 39, and 40, Sea Island Company does not now have fee simple title free and clear of
    all encumbrances, except for Permitted Liens and Liens that will be released at or prior to Closing,
    but shall have such title at Closing. For additional information:

     Parcel 38: Sea Island Company owns good and valid title to membership interests in Beach Club
     Ocean Residences, LLC, which entitle it to require Beach Club Ocean Residences, LLC (and Beach
     Club Garden North Residences, LCC, and Beach Club Garden South Residences, LLC) to convey to
     it the real property in Parcel 38.

     Parcel 39: Sea Island Company owns good and valid title to membership interests in Ocean Club
     North Residences, LLC, which entitle it to require Ocean Club North Residences, LLC, to convey to
     it the real property in Parcel 39.

     Parcel 40: Sea Island Company owns good and valid title to membership interests in Beach Club
     Garden South Residences, LLC, which entitle it to require Beach Club Garden South Residences,
     LLC (and Beach Club Ocean Residences, LCC, and Beach Club Garden North Residences, LLC) to
     convey to it the real property in Parcel 40.

 2. As to Parcels 42 and 43, Sea Island Resort Residences, LLC does not now have fee simple title free
    and clear of all encumbrances, except for Permitted Liens and Liens that will be released at or prior to
    Closing, but shall have such title at Closing. For additional information:

     Parcel 42: Sea Island Resort Residences, LLC owns good and valid title to membership interests in
     Ocean Club North Residences, LLC, which entitle it to require Ocean Club North Residences, LLC,
     to convey to it the real property in Parcel 42.

     Parcel 43: Sea Island Resort Residences, LLC owns good and valid title to membership interests in
     Beach Club Ocean Residences, LLC, and Beach Club Garden North Residences, LLC, which entitle
     it to require Beach Club Ocean Residences, LLC, Beach Club Garden North Residences, LLC (and
     Beach Club Garden South Residences, LLC) to convey to it the real property in Parcel 43.

 3. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to the United
    States Postal Service dated March 17, 2008, as set forth in the Title Commitment.


 4. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Atlantic Bike
    Shop, Inc. dated March 11, 2010.


 5. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Steve
    Hightower dated November 30, 2008.


 6. As to Parcel 01, a portion of Parcel 01 is subject to a lease from Sea Island Company to Resort
    Photography, LLC dated March 6, 2000.


 60
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                            Page:259 of
                                     278



 7. As to Parcel 01, a portion of Parcel 01 is subject to a Yacht Charter Agreement relating to the Cloister
    Belle, between Sea Island Company and Captain Brian Quinn dated August 2008.


 8. As to Parcel 03, two parking units, which are currently fenced and identified by signage as reserved
    for use by certain Beach Club Suites as storage, are subject to agreements reserving such parking
    units for the benefit of the owners of such Beach Club Suites.


 9. As to Parcels 05, 06, and 07, portions of such parcels are subject to a lease from Sea Island Company
    to Barry’s Beach Service, Inc. dated June 30, 2006.


 10. As to Parcels 05, 06, 07, and 54, portions of such parcels are subject to a lease from Sea Island
     Company to Tri H Friesians LLC dated February 4, 2010.


 11. As to Parcels 06 and 07, Sea Island Company has from time to time granted licenses to owners of
     property on Sea Island (including Ocean Forest) and their guests and invitees to access Sea Island
     Beach and in some cases to maintain landscaping and/or improvements on real property owned by
     Sea Island Company within Parcels 06 and 07 including without limitation the rights of way of the
     roads on Sea Island.


 12. As to Parcel 09, portions of Parcel 09 constitute common area and/or limited common area for the
     benefit of the owners of property within Ocean Forest.


 13. As to Parcel 09, a portion of Parcel 09 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East LP dated March 8, 2004 (Ocean Forest), as set forth in the Title Commitment.


 14. As to Parcel 10, owners of lots within Old Seaside, and their guests and invitees, have been granted
     rights to cross the road within Parcel 10 providing access to Old Seaside and to cross the boardwalk
     and pathway leading from Old Seaside subdivision to the beach adjacent to the St. Simons Sound.


 15. As to Parcel 10, a portion of Parcel 10 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East LP dated March 24, 2004 (Sea Island Lodge), as set forth in the Title
     Commitment.


 16. As to Parcel 11, owners of lots within Retreat (formerly St. Simons Island Club Subdivision), and
     their guest and invitees, have been granted rights to cross the entrance road to the subdivision
     crossing a portion of Parcel 11.


 17. As to Parcel 15, Parcel 15 is subject to an Agreement Regarding Right of First Refusal by and
     between Sea Island Company and JLV-VASI, LLC. dated September 5, 2008, as set forth in the Title
     Commitment.



 61
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                           Page:260 of
                                     278

 18. As to Parcel 27, portions of Parcel 27 constitute common area and/or limited common area for the
     benefit of the owners of property within Ocean Forest.


 19. As to Parcel 32, Parcel 32 is subject to a right of first offer in the Purchase Agreement by and among
     Sea Island Coastal Properties LLC, Lake Cottages III, LLC, and Sea Island Company, dated July 17,
     2007, which right of first offer shall be extinguished prior to Closing.


 20. As to Parcel 32, portions of Parcel 32 constitute common area and/or limited common area for the
     benefit of the owners of property within Lake Cottages, and other portions of Parcel 32 indentified as
     Twitty Park are subject to the rights of others for use as a park.


 21. As to Parcel 37, Parcel 37, Tract VI is subject to a lease from Sea Island Company to Alfred W.
     Jones, III dated October 8, 2007.


 22. As to Parcel 48, Parcel 48 is subject to a Shared Equity Financing Agreement with C. Allen Brown
     dated April 25, 2005, as set forth in the Title Commitment.


 23. As to Parcel 50, a portion of Parcel 50 is subject to a lease from Sea Island Company to Satilla River
     Keeper dated February 15, 2010, as set forth in the Title Commitment.


 24. As to Parcel 51, Parcel 51 is subject to a lease from Sea Island Company to The Tabby House, as set
     forth in the Title Commitment.


 25. As to Parcels 52, 55, 57, 60, and 61, such parcels are subject to existing encroachments by existing
     docks or other existing improvements constructed by third parties.


 26. As to Parcel 54, a portion of Parcel 54 is subject to a lease from Sea Island Company to Verizon
     Wireless of the East dated March 8, 2004 (The Cloister), as set forth in the Title Commitment.


 27. As to Parcel 64, portions of Parcel 64 constitute common area and/or limited common area
     for the benefit of the owners of property within 400 Sea Island Road Subdivision, and other
     portions of Parcel 64 identified as Twitty Park are subject to the rights of others for use as a
     parkAs to Parcel 64, the restrictive covenants and reversion clause set out in that certain
     deed from Glynn County to Sea Island Company dated April 26, 1982, recorded in the
     office of the Clerk of Superior Court of Glynn County, Georgia at Deed Book 23-P,
     Page 609 (the Parcel being affected thereby containing 0.892 acre).


 28. As to Parcel 65, the rights of owners of lots in Old Seaside Subdivision, their guests,
     invitees and licensees, to use said road for access to the lots in said subdivision.


 29. As to Parcel 66, the rights of owners of lots in 400 Sea Island Drive Subdivision, their

 62
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                 Page:261 of
                                     278

    guests, invitees and licensees, to use Hamilton Island Circle for access to the lots in said
    subdivision.


 30. As to Parcel 52, lack of a right of access to and from the land.


 31. As to Parcels 52, 54, 55, 56, 57, 60 and 61, the terms and conditions of the Georgia
     Coastal Marshlands Protection Act of 1970 and such title claims as the State of Georgia
     may choose to exert to the title to salt marshes, which Act and claims may relate only to
     certain portions of said parcels.


 32. As to Parcel 68, the inexact nature of the description of the property, and the rights of
     others associated with the probability of at least one grave being located upon the
     property.


 33. As to Parcel 69, the rights of lot owners in the nine phases of St. Simons Island Club
     Subdivision to the streets in said phases, and that certain Agreement, dated February
     20, 1989 (recorded as Exhibit A to that certain Agreement, dated April 21, 2004,
     between the St. Simons Island Club Property Owner’s Association, Inc. and Sea Island
     Company on March 23, 2005 at Deed Book 1675, Page 322), between the St. Simons
     Island Club Property Owner’s Association and Sea Island Company, whereby the
     Association assumed the duty and responsibility of maintaining all streets in the nine
     phases of St. Simons Island Subdivision.




 63
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:262 of
                                     278

                                       SECTION 3.12(a)
                            Employee Benefit Plans with Health Benefits

 1. Postretirement Benefit Plan, contained in the Sea Island Company Healthgram 2010 Health Care Plan
 2. Sea Island Company Healthgram 2010 Health Care Plan
 3. Sea Island Dental Care Plan, contained in the Sea Island Company Healthgram 2010 Health Care
 Plan
 4. Prescription Drug Plan, contained in the Sea Island Company Healthgram 2010 Health Care Plan
 5. Starbridge Sickness and Accident Plan
 6. Long-term Care Insurance
 7. Employment Agreement by and among Sea Island Company and David Bansmer dated April 15,
 2006
 8. Separation Agreement by and among Jim Brown and Sea Island Company
 9. Separation Agreement by and among Taylor Adams and Sea Island Company




 64
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                         Page:263 of
                                     278

                                              SECTION 3.14
                                                Contracts

 1. The contracts listed in Section 2.1(b) hereof.
 2. The permits and licenses listed in Section 3.8(a) hereof.
 3. Sea Island Club Membership agreements with approximately 3,000 members.
 4. Ocean Forest Membership agreements with approximately 450 members.
 5. The Employee Benefit Plans listed in Section 3.12(a) hereof and all other Employee Benefit Plans of
 Sellers.
 6. Certain insurance policies of Sellers.




 65
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:264 of
                                     278

                                           SECTION 3.16
                                           Improvements


 Reference is made to that certain Property Condition Assessment Report prepared by Shepard Consulting
 Group, Inc. dated June 30, 2010 attached hereto as Exhibit F.




 66
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:265 of
                                     278

                                         SECTION 3.17
                                   Club Documents; Membership

 See documents attached as Exhibit G and the list of all current Club Members of Sea Island Club
 Membership Program and the Ocean Forest Club Membership Program, detailing the type of membership
 that is applicable to each such Club Member and the amount of all refundable initiation fees paid to
 Sellers by each such Club Member provided in writing to Purchaser on August 4, 2010.




 67
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:266 of
                                     278

                                              SECTION 3.18
                                           Financial Statements

 See financial statements attached as Exhibit H.




 68
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:267 of
                                     278

                                  SECTION 3.20
                                     Taxes

 None.




 69
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                         Page:268 of
                                     278

                                            SECTION 5.2
                                          Conduct of Business

     Sellers shall in no way be prohibited from conducting the following activities:


     1. Conducting and completing the sale or transfer of the Excluded Owned Real Property listed on
        Schedule 2.2(c) hereof.


     2. Reevaluating and reducing the principal amount of that certain loan made my Sea Island
        Company to Todd W. Anderson and Stacey L. Anderson pursuant to that certain Shared Equity
        Financing Agreement and related documents.


     3. Entering into a final Tournament Agreement with PGA TOUR, INC. and the Davis Love III
        Foundation in connection with the McGladrey Classic, a PGA TOUR co-sanctioned 72 hole
        competition to take place at the Seaside Golf Course in October 2010, provided that the licenses
        contained therein shall remain non-exclusive, except as to matters where Sea Island has
        exclusive rights to grant.




 70
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:269 of
                                     278

                                   SECTION 10.3
                               Retiree Health Benefits


                            Remaining Balance in Medical     Consumed Balance in Medical
                            Plan as of December 31, 2009     Plan as of December 31, 2009
            Name                         ($)                              ($)
 ADAMS, CAMILLE                                    29,620                           20,380
 ADAMS, CLAUDE T                                   30,636                           19,364
 ATKINSON, S.G.                                      4,598                          45,402
 BALDWIN, ULYSESS                                  14,971                           35,029
 BEISEL, ALICE                                     16,540                           33,460
 BENEFIELD, J.D.                                   33,915                           16,085
 BENEFIELD, MIRIAM                                 36,022                           13,978
 BUTLER, CALVIN                                    50,000                                 -
 BUTLER, NANCY                                     47,701                             2,299
 BUTLER, ROBERT                                    42,749                             7,251
 BYARD, MARGARET                                   48,359                             1,641
 CASON, JULIAN                                     42,836                             7,164
 CLARK, ALBERT
 CLARK, DONNIE                                     23,543                           26,457
 CLAYTON, ERNESTINE                                48,491                            1,509
 CRAWFORD, PAUL                                    47,055                            2,945
 DAVIS, ELBA                                       48,037                            1,963
 DAVIS, LOUIS                                      47,245                            2,755
 DERKACZ, MICHAEL                                  48,718                            1,282
 DICKERSON, ROBERT                                 44,555                            5,445
 DIXON, EDNA                                       45,689                            4,311
 ESPANA, ANGEL                                      5,562                           44,438
 FLETCHER, GEORGE                                  24,404                           25,596
 FLETCHER, PHYLLIS                                 39,238                           10,762
 GALBREATH, ELVENOIR                               43,506                            6,494
 GALBREATH, ELVENOIR                               46,632                            3,368
 GIBSON, BILLY R.                                  40,215                            9,785
 GIBSON, LINDA                                     43,678                            6,322
 GIBSON, PATRICIA                                  43,969                            6,031
 GIVENS, FLORENCE
 GRAHAM, MIRIAM                                    48,975                            1,025
 GRAHAM, W.R.                                      48,705                            1,295
 GROVNER, CELIA                                    44,192                            5,808
 HAAS, BETTY                                       46,321                            3,679
 HAMMETT, JANET                                    47,004                            2,996
 HAMMETT, WILLIE                                   47,805                            2,195
 HARRISON, EDWEINA
 HARRISON, MAYNARD                                 44,408                            5,592
 HARRISON, VALERIE F.                              46,778                            3,222
 HARVEY, HARRIS                                    44,431                            5,569
 HIGGENBOTHAM, WILLIE M.                           40,558                            9,442
 HOPKINS, ALMA                                     49,479                              521

 71
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:270 of
                                     278

 HUGHES JR, CLAUDE R
 HUTCHERSON, CARLETHA
 IHDE, INGEBORG                                31,744                     18,256
 IHDE, WERNER                                  37,458                     12,542
 JOHNS, BARBARA                                48,661                      1,339
 JOHNS, CODY                                   44,341                      5,659
 JOHNS, CODY (Larry)                           25,988                     24,012
 JONES JR, IRVIN                               46,410                      3,590
 JONES, ELSIE                                  45,389                      4,611
 JONES, JAMES                                  49,323                        677
 JONES, JANICE                                 46,654                      3,346
 JONES, SARAH                                  45,928                      4,072
 KUNTZ, DAVID                                  32,257                     17,743
 KUNTZ, MARIANNA                               18,074                     31,926
 LOTT, ARCHIE                                  47,217                      2,783
 LOTT, WILLENE                                 44,701                      5,299
 MANKIN, LANOLA
 MARION, ISIAH
 MARION, NORMA                                 35,253                     14,747
 MAY, DEBORAH
 MAY, ROBERT                                   30,683                     19,317
 MCCRARY, DENNIE                               39,426                     10,574
 MCCRARY, FRANCIS                              15,695                     34,305
 MCNEELY, JOYCE                                49,562                        438
 MULLIS, MARY                                  33,865                     16,135
 NUNNALLY, HAZEL                               49,750                        250
 NUNNALLY, TOMMY
 O'CONNOR, KATHERINE                           15,727                     34,273
 O'CONNOR, PAUL                                32,225                     17,775
 OUTLAW, NETHEL R.                             49,517                        483
 OWENS, RANDY                                  38,080                     11,920
 RAMSEY, CARTER                                38,583                     11,417
 RAMSEY, JOYCE S.                              36,283                     13,717
 RAULS, SHIRLEY                                30,387                     19,613
 SAWYER, JANE                                  46,572                      3,428
 SHEDD, LOUISE                                 42,752                      7,248
 SMALL, LUVENIA                                43,908                      6,092
 SMITH, WILLIAM C.                             34,440                     15,560
 SMITH, WILLIAM C.                             45,819                      4,181
 TALLEY, CARL PATRICK                          46,300                      3,700
 TALLEY, CLYDE                                 41,820                      8,180
 TODD, ELEANOR                                 36,525                     13,475
 WALKER, HERCULE                               41,718                      8,282
 WELLS, LENOIR                                 46,903                      3,097
 WICKER, GENE
 WILLIAMS, JOHN
 WRIGHT, E.T.                                  36,633                     13,367
 WRIGHT, RACHEL                                37,807                     12,193


 72
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:271 of
                                     278

                                  SECTION 11.1(b)
                                  Membership Terms

 See Exhibit I attached hereto.




 73
 23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00   Page:272 of
                                     278

                                SECTION 12.2(f)
                                Required Consents

 None.




 74
 23290154v5
                 Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00            Page:273 of
                                                      278

                                                    SECTION 12.2(h)
                                                     Liquor Licenses

                        Location                        Licensee            License Type          Products Sold
Davis Love Grill                                  Sea Island Company   Consumption             Beer, Wine & Liquor
Ocean Forest Golf Club (Tee House)                James B. Gilbert     Retail                  Beer
Ocean Forest Golf Club                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Ocean Forest Golf In Room Service                 James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
The Lodge at Sea Island                           James B. Gilbert     Consumption             Beer, Wine & Liquor
The Lodge at Sea Island In Room Service           Sea Island Company   Hotel In-Room Service   Beer, Wine & Liquor
The Lodge at Sea Island Additional Facility       Sea Island Company   Consumption             Beer, Wine & Liquor
Sea Island Golf Club Snack Bar                    Sea Island Company   Retail                  Beer
Cloister Hotel Clubrooms                          Sea Island Company   Consumption             Beer, Wine & Liquor
Cloister Hotel                                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Hotel In Room Service                    James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
Cloister Hotel (Additional Facility, River Bar)   James B. Gilbert     Consumption             Beer, Wine & Liquor
Black Banks Parlor                                James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Ballroom East                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Ballroom West                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Garden (North)                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Garden (South)                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Cloister Patio                                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Georgia Room Terrace                              James B. Gilbert     Consumption             Beer, Wine & Liquor
Main Dining Room Terrace                          James B. Gilbert     Consumption             Beer, Wine & Liquor
North Hospitality Suite                           James B. Gilbert     Consumption             Beer, Wine & Liquor
North Patio                                       James B. Gilbert     Consumption             Beer, Wine & Liquor
South Hospitality Suite                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Spanish Lounge Terrace                            James B. Gilbert     Consumption             Beer, Wine & Liquor
Big George's Raw Bar and Grill                    James B. Gilbert     Consumption             Beer, Wine & Liquor
Sea Island Beach Club     (In-room)               James B. Gilbert     Hotel In-Room Service   Beer, Wine & Liquor
Restaurant Terrace                                James B. Gilbert     Consumption             Beer, Wine & Liquor
Beach Bar                                         James B. Gilbert     Consumption             Beer, Wine & Liquor
Snack Bar                                         James B. Gilbert     Consumption             Beer, Wine & Liquor
Miramar                                           James B. Gilbert     Consumption             Beer, Wine & Liquor
Miramar Terrace                                   James B. Gilbert     Consumption             Beer, Wine & Liquor
Ocean Room                                        James B. Gilbert     Consumption             Beer, Wine & Liquor

75
23290154v5
                Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00               Page:274 of
                                                     278

Ocean Room Terrace                                    James B. Gilbert   Consumption             Beer, Wine & Liquor
Beach Pavilion                                        James B. Gilbert   Consumption             Beer, Wine & Liquor
Sea Island Spa (NO SUNDAY SALES on county
        license)                                      James B. Gilbert   Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff                              Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Pub at Cabin Bluff                                Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff Additional Facility          Ellis H. Howard    Consumption             Beer, Wine & Liquor
The Lodge at Cabin Bluff Additional Facility (In Rm
        Svc)                                          Ellis H. Howard    Hotel In-Room Service   Beer, Wine & Liquor




76
23290154v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                  Page:275 of
                                     278

                                       SCHEDULE 11.1(b)

                   CERTAIN CHANGES TO THE SEA ISLAND CLUB
              AND OCEAN FOREST GOLF CLUB MEMBERSHIP PROGRAMS


 All Club Member Agreements with members under the existing Sea Island Club and Ocean
 Forest Golf Club Membership Programs will be rejected in the Bankruptcy Cases pursuant to
 Section 365 of the Bankruptcy Code, including, without limitation, rejection of the possible
 option of members, which may presently exist under the existing Ocean Forest Golf Club
 Membership Program, to buy the club facilities. Purchaser will honor the deposit liability owed
 to each existing Club Member who agrees to be bound by the terms and conditions of new
 membership documents to be prepared for their respective clubs by crediting the amount of such
 deposit liability to such member’s account pursuant to the applicable New Membership Program;
 provided that the Purchaser’s obligation to refund such credited deposit liability will be
 exclusively governed by the terms of the applicable New Membership Program, and not by the
 terms of the applicable existing Club Member Agreements that will be rejected in the
 Bankruptcy Cases. Please note that those Club Members who received a credit or the benefit of
 any promotion upon acquiring their existing membership will only receive a credit to their new
 membership account in the amount of their existing membership deposit paid in cash. Electing
 Club Members will not be required to post any additional deposit amounts to join under
 the New Membership Programs.

 The New Membership Programs will be generally consistent with the existing Sea Island Club
 and Ocean Forest Golf Club Membership Programs, however, the new documentation will be
 more contemporary and comprehensive. A determination will have to be made concerning what
 categories of membership will be offered following the closing, the timing of the offerings and
 the pricing thereof so as to be responsive to the marketplace and grow the membership, while
 being sensitive to the interests of existing members. Some of the more significant changes,
 clarifications and reaffirmations Purchaser presently proposes are set forth below.


 Sea Island Club

         1.     The 30-year deposit refund obligation for all memberseach member who stay in
 the program will be reset effective from the date of signing-upjoins under the New Membership
 Program will be reset to a date which is the later of (a) December 31, 2035 or (b) the
 effective date ofwhich is 30 years after the member joined the New Membership Program, as
 applicableSea Island Club.

         2.     Limitations or caps on dues increases or fee increases, will be eliminated.    In
 light of this change, the Club may elect to offer preferred pricing for a member’s extended
 family members (i.e., the member’s and spouse’s parents, adult children, grandchildren and their
 respective spouses) versus regular guests with respect to guest cards and usage fees.

        3.    Until the Club has issued all of its memberships, the Club will refund one deposit
 for a membership on the resigned membership list (by reissuing the membership of the member


 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:276 of
                                     278

 on the resigned membership list) for every fourthree of its memberships that are sold (i.e., 1 in
 54). At such time as the Club has issued all of its memberships, each membership issued will be
 a resigned membership. Resigned memberships will be reissued on a first-resigned, first-reissued
 basis, subject to paragraph 4 below.

        4.      Upon the death of a member, if the surviving spouse or an adult child does not
 succeed to the membership, the membership will be placed on the resigned wait list for refunding
 of the applicable deposit below the last membership of a deceased member and above all
 memberships of resigning but not deceased members. This change will not be applied to
 already deceased members and their memberships shall be refunded based upon death of the
 member prior to the New Membership Program taking effect.

         5.      The Club will reaffirm its right to offer memberships to owners of properties that
 are not located in a Sea Island Company development or a development that has been designated
 as a “Qualified Residential Development,” upon terms and conditions as determined from time to
 time by the Club.

         6.      The Club can be converted to an equity, member-owned club. Further, the Club
 can sell or otherwise dispose of any or all of the Club facilities.

        7.       The Club will reserve the right to modify, eliminate or add to the dues options that
 are available for any membership category, such as single, family, national, etc.

          8.      The Club will reserve the right to offer new dues categories and new membership
 categories having different membership joining fees, including deposits and non-refundable
 initiation fees, and different dues. Further, the Club will reserve the right to terminate or modify
 any dues category or membership category, as well as discontinue offering any dues category or
 membership category.

         9.    Those members who presently do not pay dues as a result of an agreement arising
 from or in connection with a prior real estate transaction with the Sea Island Company will be
 obligated to commence paying dues, but at a rate equal to seventy-five percent (75%) of the
 applicable dues for their particular category. This lower dues rate is not transferable to the
 successor member.

       10.     Rental guests staying in a member’s residence will be entitled to have temporary
 membership privileges at the Club as renters and not as guests, subject to approval and the
 payment of applicable fees and charges.

         11.     The Club will reserve the right to, from time to time, discontinue or determine the
 terms of eligibility for inactive status, and to modify the terms and conditions relating to inactive
 status such as, for example, the duration of this status.

         12.    The Club will reserve the right to enter into reciprocal use arrangements with
 other clubs and resorts.

        13.     A membership can be transferred to an adult child during the member’s lifetime
 or upon death, subject to the Club’s approval of the adult child and payment of an administrative

                                                  2
 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:277 of
                                     278

 fee only; a new 30-year period will start for the refund of the membership deposit. This is a one-
 time only right per membership. The next transfer to an adult child will require the payment of
 the difference between the then current membership deposit and the amount of the membership
 deposit previously paid for the membership in question.

         14.    Members, through the Club, can exchange their membership privileges and dues
 obligations, on a membership year basis.

         15.    The Club can issue honorary, company and other complimentary memberships on
 terms and conditions determined by it. These memberships shall not count against any cap or
 limit on the number of memberships.



 Ocean Forest Golf Club

        1.      The 30-year deposit refund obligation for all members each member who stay in
 the program will be reset effective from date of sign-upjoins under the New Membership
 Program will be reset to a date which is the later of (a) December 31, 2035 or its effective (b)
 the date, as applicable which is 30 years after the member joined the Ocean Forest Golf
 Club (the “Outside Refund Date”).

         2.      The refund procedure specified in the existing Ocean Forest Golf Club
 Membership Program will be revised to provide that until the Club has issued all of its
 memberships, the Club will refund one deposit for a membership on the resigned membership
 list (by reissuing the membership of the member on the resigned membership list) for every
 fourthree of its memberships that are sold (i.e., 1 in 54). At such time as the Club has issued all
 of its memberships, each membership issued will be a resigned membership. Resigned
 memberships will be reissued on a first-resigned, first-reissued basis.

        3.     At the end of 30 yearsOutside Refund Date, a member who desires to continue
 the membership privileges must keep their initiation deposit with the Club and continue to pay
 applicable dues, fees and charges. The member will then be entitled to a deposit refund after
 another 30 years thereafter or earlier, upon resignation and reissuance of the membership.

      4.      The obligation of the Club to refund the initiation deposit paid for a spousal
 membership upon the spousal member succeeding to his or her deceased spouse’s primary
 membership in the Club or in the case of divorce, will be eliminated. Instead, the spousal
 membership will be placed on a resigned wait list for refunding.

         5.      The Club can be converted to an equity, member-owned club. Further, the Club
 can sell or otherwise dispose of any or all of the Club facilities.

        6.       The Club will reserve the right to modify, eliminate or add to the dues options that
 are available for any membership category, such as single, family, national, etc.

        7.     The Club will reserve the right to offer new dues categories and new membership
 categories having different membership joining fees, including deposits and non-refundable

                                                  3
 23243563v5
Case:10-21034-EJC Doc#:293 Filed:10/19/10 Entered:10/19/10 17:43:00                      Page:278 of
                                     278

 initiation fees, and different dues. Further, the Club will reserve the right to terminate or modify
 any dues category or membership category, as well as discontinue offering any dues category or
 membership category.

         8.     A membership can be transferred to an adult child during the member’s lifetime
 or upon death, subject to the Club’s approval of the adult child and payment of an administrative
 fee only; with a new 30-year period starting for the refund of the initiation deposit. This is a one-
 time only right per membership. The next transfer to an adult child will require the payment of
 the difference between the then current initiation deposit and the amount of the membership
 deposit previously paid.

         9.     The age of children who can enjoy membership privileges under a membership
 will be increased to 25.

         10.     Membership in the Club is by invitation only. The New MemberMembership
 Program will reaffirm that the owner of Ocean Forest Golf Club has the right in its sole
 discretion to determine eligibility criteria for admission to the Club’s membership.

       11.    The Club will reserve the right to issue honorary, company and other
 complimentary memberships on such terms and conditions as are determined by the Club, which
 memberships do not count against the cap on the number of primary memberships permitted.




                                                  4
 23243563v5
